Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 1 of 436




                    EXHIBIT 5
             Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 2 of 436



                  UNITED STATES      PATENT AND                                OFFICE
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                                                                                                             wmensplogor


      APPIACATION      NI 70                      N N MBER                         GROUP ART UNIT                               FILE     WRAPPER LOCATION

            13849606                          9218156                                   2183                                                  92X




                                                                                                11111
                                                                                                        II         rn                        iltgl   II   III   II   II




                                  Correspondence             AddressFee Address Change

The following       fields have   been   set to   Customer Number 144359 on 07312017

     Correspondence Address
     Maintenance Fee Address


The address       of   record for Customer    Number 144359           is


144359

Blueshift    IP   LLC
1
    Broadway      14th Floor

Cambridge MA 02142




                                           PART     1   ATTORNEYAPPLICANT                 COPY
                                                               page   1   of   1




                                                                                                                                               SINGULAR 00001174
                         Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 3 of 436

                                           UNITED STATES PATENT AND TRADEMARK                                                OFFICE

                                                    CERTIFICATE OF CORRECTION

PATENT NO                                 9218156 B2                                                                                                                      of 1
                                                                                                                                                              Page    1

APPLICATION                  NO            13849606

DATED                                     December          22 2015
INVENTORS                                 Bates



It   is   certified   that   error   appears   in   the   above identified patent and that said   Letters   Patent      is   hereby   corrected    as shown   below




                In Column            9 Lines 3031          delete   IO controller 108 and insert               I0 unit 108               therefor



                In Column            20 Line 1 delete               and insert           therefor



                In Column            21 Line 3 delete         OMxM            d insert    0MxM              therefor



                In Column            21 Line 5 delete         OMxM         and insert     0MxM              therefor



                In Column            22 Line 6 delete Kahan Kahan and insert                      Kahan            therefor




                In Column            30 Line 7 in Claim 2 delete The method and insert                          The device               therefor




                                                                                                               Signed and Sealed                    this


                                                                                                     Twentythird                  Day of May 2017




                                                                                                                              Michelle   K Lee
                                                                                                    Director   of the   United States Patent and   Trademark Office




                                                                                                                                                       SINGULAR 00001175
         Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 4 of 436



                                      ATTORNEYS           DOCKET       NO     A0006 1001C2


                         IN    THE    UNITED         STATES     PATENT       AND    TRADEMARK         OFFICE




Patent No                                                US9218156B2

Serial No                                                13849606
Confirmation             No                              6059

Title                                                    Processing          with compact         arithmetic
                                                         processing          element

First    Inventor                                        Bates        Joseph

Filing       Date                                        March     25    2013

Examiner                                                 Yaary        Michael       D

Art Unit                                                 2193



             STATEMENT          ACCOMPANYING             REQUEST       FOR    CERTIFICATE         OF CORRECTION


        Please       correct          the    above      referenced           patent      in    accordance       with


the   attached           draft       Certificate           f    Correction


        At    least       some       errors were          the    fault        f    the   Applicant       and

accordingly              please       charge          $10000     to    our    Deposit         Account    No     50

1797         In    the    event       that       a    further    fee    is    required          please    charge


the   amount        to    the    same       Deposit       Account


        The       exact       locations          where    the    errors       appear      in    the    patent     and


patent       application             are    as       follows




                                                                                                               SINGULAR 00001176
        Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 5 of 436
Application    Serial   No    13849606             Attorney    Docket     No   A0006 1001C2




      In    Column      9 Lines 3031           delete    IO controller 108 and
      insert             IO unit 108 therefor
      SUBSTITUTE  SPECIFICATION DATED JULY 30                             2013     PAGE    16
      PARAGRAPH  0049 LINES                   78
      In Column         20    Line   1   delete          and    insert
      therefor
      SUBSTITUTE  SPECIFICATION DATED                   JULY    30        2013     PAGE    34
      PARAGRAPH  0107 LINE 3
      In    Column      21    Line   3   delete      OMxM and insert                       0MxM
         therefor
      SUBSTITUTE  SPECIFICATION DATED                   JULY    30        2013     PAGE    36
      PARAGRAPH  0112 LINE 4
      In    Column      21    Line   5   delete      OMxM and insert                       0MxM
         therefor
      SUBSTITUTE  SPECIFICATION DATED                   JULY    30        2013     PAGE    36
      PARAGRAPH  0112 LINE 6
      In Column         22    Line   6   delete      Kahan     Kahan             and   insert
      Kahan             therefor
      SUBSTITUTE  SPECIFICATION DATED                   JULY    30        2013     PAGE    37
      PARAGRAPH  0118 LINE 7
      In    Column      30    Line   7   in   Claim 2 delete              The method         and
      insert            The    device           therefor
      ORIGINALLY         FILED    SPECIFICATION          IN    THE    CLAIMS       DATED    JULY    30
      2013      PAGE    51     CLAIM 2 LINE 1


      The     requested       corrections      are   attached        on   Form PTO        1050




                                                                                                 SINGULAR 00001177
            Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 6 of 436
Application     Serial    No   13849606                Attorney   Docket   No    A0006 1001C2




                                                 CONCLUSIONS


       If     this    response      is    not    considered       timely   filed    and    if   a



request       for    extension      of    time    is   otherwise     absent       applicant         hereby


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Respectfully          submitted



Robert        Plotkin                                    January     19    2016

Robert      Plotkin        Esq                           Date

Reg    No      43861


Robert      Plotkin        PC
15   New    England       Executive       Park

Burlington           MA   01803    USA

Tel    978          3189914

Fax    978          3189060




                                                                                                SINGULAR 00001178
                         Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 7 of 436
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                                                                  CERTIFICATE OF CORRECTION

                                                                                                                                                                                                                            Page         1    of    1


PATENT              NO                         9218156                 B2


APPLICATION                    NO               13849606


ISSUE DATE                                     December                 22 2015

INVENTORS                                       Bates



                                                 that an error                                                                                          the above identified                                                and
                    It   is   certified
                                                               appears or errors appear                                                           in                                                        patent                   that

said Letters Patent                        is    hereby corrected as shown below




                    In    Column 9 Lines 3031                                      delete             IO controller 108 and                                        insert                    IO unit 108
                    therefor



                    In    Column 20 Line 1                                  delete                    and     insert                                   therefor



                    In    Column 21 Line 3 delete                                      OMxM and                              insert                     0MxM                             therefor



                    In    Column 21 Line 5 delete                                      OMxM and                               insert                    0MxM                             therefor



                    In    Column 22 Line 6 delete Kahan Kahan and insert                                                                                                Kahan                       therefor



                    In    Column 30 Line 7 in Claim 2 delete                                                          The method                            and     insert                   The device

                    therefor




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15     New      England Executive                          Park
Burlington               MA 01803 USA

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                                                                                                                                                                                                                            SINGULAR 00001179
                    Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 8 of 436


                                         Electronic Patent Application         Fee Transmittal


 Application      Number                                    13849606




 Filing Date                                                25 Mar 2013




 Title of Invention                                         PROCESSING WITH COMPACT ARITHMETIC    PROCESSING ELEMENT




 First   Named InventorApplicant              Name          Joseph   Bates




 Filer                                                      Robert   PlotkinKaren   Del Greco




 Attorney Docket       Number                               A0006 1001C2



 Filed as   Small Entity




Filing   Fees for   Utility   under 35 USC 111a




                                                                                                                Sub Total in
                                Description                          Fee Code          Quantity   Amount
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                                                                                                           SINGULAR 00001180
            Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 9 of 436
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                    Description               Fee Code      Quantity       Amount
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Extension of Time




Miscellaneous




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                                                                                    SINGULAR 00001181
                Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 10 of 436
                                          Electronic       Acknowledgement                          Receipt


                            EFS ID                               24656573




                    Application     Number                        13849606




          International    Application        Number


                    Confirmation     Number                      6059




                      Title of Invention                         PROCESSING WITH COMPACT               ARITHMETIC    PROCESSING ELEMENT




        First   Named InventorApplicant             Name         Joseph      Bates




                     Customer Number                             24208




                            Filer                                Robert     PlotkinKaren     Del Greco




                     Filer Authorized    By                      Robert     Plotkin




                 Attorney Docket       Number                    A0006 1001C2



                        Receipt Date                              19 JAN 2016




                         Filing Date                             25   MAR 2013


                        Time Stamp                                141139



                      Application Type                           Utility   under 35 USC     111a



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                  Case 1:19-cv-12551-FDS           Document 494-5
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                                                                         Filed 05/19/23 Page 11 of 436
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New       Applications Under 35         USC 111
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If   a   new application   is   being    filed                                     includes        the necessary components                         for a filing      date see 37 CFR

153b            and MPEP        506 a Filing Receipt 37 CFR 154 will be issued in due course and the date shown on this
Acknowledgement            Receipt      will   establish       the filing       date of the application



National      Stage of an International Application under 35                          USC 371
If   a   timely submission to enter the national stage of an international application                                          is
                                                                                                                                     compliant with the conditions of 35
USC 371 and other applicable                   requirements a Form PCTDOE0903                                indicating         acceptance of the application as a
national      stage submission under 35                USC 371          will    be issued     in   addition to the Filing Receipt                          in     due course


New       International   Application          Filed with      the USPTO as a Receiving Office

If   a   new international      application       is
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an international       filing   date see PCT Article 11 and MPEP                       1810 a Notification of the International                                     Application Number
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the application




                                                                                                                                                                        SINGULAR 00001183
                       Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 12 of 436
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        APPLICATION       NO                        ISSUE   DATE                         PATEN1                              i




           13849606                                  12222015                             9218156                           0006i oii         =




               24208              7590                     12022015

         Robert Plotkin          PC
         15   New England         Executive         Park

         Burlington        MA 01803




                                                                          ISSUE NOTIFICATION

The projected             patent number             and issue date are specified above



                                  Determination                of Patent Term Adjustment under 35                                USC 154 b
                                                            application          filed   on or after        May 29 2000

The     Patent         Term Adjustment                 is    158      days Any            patent       to   issue from the          above identified application                         will

include       an indication        of the adjustment                  on the front page



If   a Continued          Prosecution          Application                CPA was        filed    in   the above identified application                             the filing   date    that

determines          Patent      Term Adjustment is the filing                       date of the most recent              CPA

Applicant          will    be able       to   obtain         more detailed          information             by accessing         the   Patent            Application           Information

Retrieval          PAIR WEB site httppairusptogov

Any      questions         regarding          the    Patent        Term Extension            or Adjustment determination                            should          be directed     to    the

Office     of Patent            Legal     Administration                   at   5712727702                  Questions      relating          to    issue         and      publication     fee

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APPLICANTs                     Please see PAIR WEB                 site   httppairusptogov          for additional applicants



Singular   Computing LLC Newton                      MA
Joseph   Bates Newton            MA




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                                                                                                                                                                      SINGULAR 00001184
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                                  Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 13 of 436 PTOL85BEFS
                     IFEE



Document             Description           Issue     Fee Payment PTO 85B




                                                                                  Issue Fee Transmittal                                Form


     Application Number                                         Filing   Date                       First   Named Inventor                               Atty Docket           No                   Confirmation         No


13849606                                             25 Mar2013                                  Joseph     Bates                            A0006 1001C2                                    6059


                                                                                                   TITLE OF INVENTION




PROCESSING                WITH     COMPACT ARITHMETIC PROCESSING                                   ELEMENT


                                Entity Status                                                    Application Type                        Art Unit                Class Subclass                          EXAMINER



      Small                                                                            Utility     under 35 USC 111a                  2183                        209000                      MICHAEL YAARY

         Issue Fee             Due                         Publication         Due                     Total       Fees Due                                 Date Due                                 Prey Paid Fee



      $480                                            0                                                $480                                  18   Nov 2015




1Change                   of Correspondence                       Address         andor Indication                       Of Fee Address                    37 CFR 133                     1363
                            Current Correspondence                       Address                                                              Current Indicated                 Fee Address




24208

Robert       Plotkin         PC

15   New England               Executive         Park




Burlington               MA 01803
UNITED        STATES

9783189914
RRLOTIONRPLOTKINCOM

       Change of correspondence address requested system                                                                Fee Address indication requested system generated SB47EFS
ri
II
      generated AIA122EFS form attached                                                                                 form attached




2Entity       Status




Change in Entity Status


       Applicant certifying                    micro entity status system generated Micro Entity certification                                      form attached              See 37 CFR 129
        Note        Absent a valid certification          of micro entity   status     issue fee payment      in   the micro entity   amount      will   not   be accepted     at the   risk of   application   abandonment

        If      box is checked you will be prompted to choose a micro entity
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        37     CFR        129d
                           and make the applicable certification online




        Applicant asserting small entity                          status    See 37 CFR           127
        Note        If   the application      was previously     under micro    entity    status   checking   this   box will be taken to be a notification          of loss of entitlement         to micro entity   status




        Applicant             changing to regular undiscounted                         fee status

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WEB IFEE 10


                                                                                                                                                                                                  SINGULAR 00001185
Doc Code
                                    Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 14 of 436 PTOL85BEFS
                    IFEE



Document            Description           Issue    Fee Payment PTO 85B




3The Following Fees Are Submitted




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         Issue    Fee
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    1   ROBERT PLOTKIN                 PC

    2 ROBERT         PLOTKIN



    3




5Assignee            Names and Residence Data To Be Printed
PLEASE     NOTE     Unless an assignee        is   identified        below no assignee data will appear on the patent                    If   an assignee is identified   below the document     has   been filed   for


recordation    as   set   forth   in   37 CFR 311 Completion                 of this   form is NOT a substitute   for filing    an assignment


                                                   Name                                                                  City                         State                Country                      Category


                                                                                                                                                MASSACHUS
    Singular Computing                 LLC                                                                           Newton                                            united states                   corporation
                                                                                                                                                      ETTS




6Signature



I
    certify in accordance with          37 CFR     14d4 that            I
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power    of attorney      in this   application     I   also certify        that this Fees Transmittal form is being transmitted  to the USPTO via EFSWEB on the date indicated below




Signature                                                      Robert Plotkin                                                       Date                                  11162015




Name                                                           Robert Plotkin                                                       Registration           Number         43861




WEB IFEE 10


                                                                                                                                                                                             SINGULAR 00001186
                    Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 15 of 436


                                           Electronic             Patent Application Fee Transmittal


 Application       Number                                                 13849606




 Filing   Date                                                            25 Mar2013




 Title of Invention                                                       PROCESSING WITH COMPACT   ARITHMETIC   PROCESSING ELEMENT




 First   Named InventorApplicant                   Name                   Joseph   Bates




 Filer                                                                    Robert Plotkin




 Attorney Docket           Number                                         A0006 1001C2



 Filed as Small Entity




Filing   Fees for    Utility     under 35 USC 111a




                                                                                                                               Sub Total in
                                   Description                                     Fee Code   Quantity           Amount
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                               Utility   Appl   Issue   Fee                           2501          1             480                 480



                    Publ   Fee    Early Voluntary or          Normal                  1504




 Pages



 Claims




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 Patent Appeals and Interference




                                                                                                                          SINGULAR 00001187
            Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 16 of 436
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                                                                                     SINGULAR 00001188
               Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 17 of 436
                                             Electronic       Acknowledgement                 Receipt


                            EFS ID                                 24086968




                    Application        Number                      13849606




         International      Application          Number


                    Confirmation        Number                     6059




                      Title of   Invention                         PROCESSING WITH COMPACT         ARITHMETIC   PROCESSING ELEMENT




       First   Named InventorApplicant                 Name        Joseph     Bates




                     Customer Number                               24208




                             Filer                                 Robert Plotkin




                     Filer Authorized       By


                Attorney Docket          Number                    A0006 1001C2



                        Receipt Date                               16NOV2015



                         Filing Date                               25   MAR 2013


                         Time Stamp                                103457



                      Application Type                             Utility   under 35 USC   111a



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Submitted with Payment                                             yes


Payment Type                                                     Credit      Card


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                  Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 18 of 436
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File Listing


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                           Issue   Fee Payment PTO         85B                              Web85bpdf                                                                       no

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                                 Fee Worksheet          SB06                                feeinfopdf                                                                      no

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New       Applications Under 35           USC 111
                                                  and the application
            d
If   a   new application    is
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153b            and MPEP         506 a Filing Receipt 37 CFR 154 will be issued in due course and the date shown on this
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National      Stage of an International Application under 35                           USC 371
If   a timely submission to          enter the national stage of an international application                                   is   compliant with the conditions of 35
USC 371 and other applicable                    requirements a Form PCTDOE0903                              indicating          acceptance of the application as a
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New       International   Application           Filed with      the USPTO as a Receiving Office

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an international        filing   date see PCT Article 11 and MPEP                      1810 a Notification of the International                                     Application        Number
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the application




                                                                                                                                                                           SINGULAR 00001190
                                  Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 19 of 436

                                UNITED STATES PATENT AND TRADEMARK OFFICE
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                                                         NOTICE OF ALLOWANCE AND FEES DUE


             24208                 7590                   08182015

       Robert Plotkin               PC                                                                                                                                          YAARY MICHAEL D
       15   New England            Executive          Park

       Burlington              MA 01803                                                                                                                            ART UNIT                           PAPER   NUMBER

                                                                                                                                                                     2193



                                                                                                                                                     DATE MAILED 08182015




       AY                                       FILING   11                                     FIRST NAMED        11111                                ATTORNEY        DOCKET NO               CONFIRMATION        NO

             13849606                            03252013                                             Joseph       Bates                                      A0006 1001C2                                6059

TITLE       OF INVENTION            PROCESSING WITH COMPAC                           ARIMMETIC      PROCESSING ELEMENT




        APPLN        TYPE                        STATUS                 ISSUE FEE DUE            PUBLICATION        FEF            pRiv        SUE FEB                          FEES DUE                 DATE DUE

       nonprovisional                      SMALL                               $480                          $0                                                             $480                         11182015



THE APPLICATION IDENTIFIED ABOVE HAS BEEN EXAMINED AND IS ALLOWED FOR ISSUANCE AS A PATENT
PROSECUTION ON THE MERITS IS CLOSED     THIS NOTICE OF ALLOWANCE IS NOT A GRANT OF PATENT RIGHTS
THIS APPLICATION IS SUBJECT TO WITHDRAWAL FROM ISSUE AT THE INITIATIVE OF THE OFFICE OR UPON
PETITION BY THE APPLICANT  SEE 37 CFR 1313 AND MPEP 1308

THE            AND PUBLICATION FEE IF REQUIRED MUST BE PAID WITHIN THREE MONTHS FROM THE
            ISSUE FEE
MAILING  DATE OF THIS NOTICE OR THIS APPLICATION SHALL BE REGARDED         AS ABANDONED      THIS
STATUTORY PERIOD CANNOT BE EXTENDED      SEE 35 USC 151 THE ISSUE FEE DUE INDICATED ABOVE DOES
NOT REFLECT A CREDIT FOR ANY PREVIOUSLY PAID ISSUE FEE IN THIS APPLICATION    IF AN ISSUE FEE HAS
PREVIOUSLY  BEEN PAID IN THIS APPLICATION AS SHOWN ABOVE THE RETURN OF PART B OF THIS FORM
WILL BE CONSIDERED A REQUEST TO REAPPLY THE PREVIOUSLY PAID ISSUE FEE TOWARD THE ISSUE FEE NOW
DUE

HOW TO REPLY TO THIS NOTICE
I Review             the ENTITY          STATUS          shown above            If   the ENTITY      STATUS           is   shown as SMALL          or   MICRO verify whether                     entitlement      to that

entity      status     still
                                applies

If    the   ENTITY STATUS                  is   the   same as shown above pay the TOTAL                        FEES DUE shown above
If    the   ENTITY STATUS                  is   changed from that shown above on PART B                                FEES TRANSMITTAL                       complete           section     number 5 titled
Change            in   Entity Status       from status indicated above
For purposes            of this notice small entity fees are                     12 the amount       of undiscounted           fees      and micro entity fees are 12 the amount                         of small entity
fees




II    PART B             FEES TRANSMITTAL                             or its   equivalent      must be completed            and returned      to   the United        States Patent          and Trademark           Office

USPTO                with      your ISSUE       FEE and PUBLICATION                      FEE if required              If you are charging the fees to your deposit account section                                     4b
of Part       B        Fees Transmittal should                and an extra copy
                                                                 be completed                                      of the form should be submitted If an equivalent  of Part B is filed a

request       to     reapply a previously paid issue fee must be clearly made and delays                                       in   processing     may occur due to the difficulty                       in   recognizing

the paper as           an equivalent        of Part      B
III    All    communications regarding this application must give                                   the application          number       Please   direct all       communications prior to issuance                     to

Mail Stop ISSUE FEE unless advised                               to   the contrary


IMPORTANT                       REMINDER               Utility        patents        issuing   on   applications           filed    on    or after      Dec   12 1980               may      require          payment    of

maintenance fees It                 is    patentees responsibility to ensure timely payment of maintenance                                         fees    when due



                                                                                                      Page     1   of 3

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                                                                                                                                                                                           SINGULAR 00001191
                                   Case 1:19-cv-12551-FDS  Document
                                                        PART B FEES494-5  Filed 05/19/23 Page 20 of 436
                                                                    TRANSMITTAL

  Complete and send this form together with applicable                                                                     fees to Mail                       Mail Stop ISSUE FEE
                                                                                                                                                              Commissionerfor Patents
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INSTRUCTIONS                This     form       should       be     used  for transmitting the ISSUE FEE and PUBLICATION           FEE if required Blocks                                                                           I      through 5 should be completed where
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appropriate                       correspondence                  including                                                              fees will                                                                                    to

indicated unless         corrected   below or directed                       otherwise          in   Block    1    by         specifying       a new     correspondence                    address              andor             indicating           a separate    TEE ADDRESS                  for

maintenance        fee notifications

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                                                                                                                                                              Fees Transmittal                      This certificate cannot be used for any other accompanying
               CORRESPONDENCE              ADDRESS           Note                                                                                                              Each       additional                                                                              drawing
                                                                                                                                                                                                                 paper such as an assignment or formal
                                                                       Use   Block   I   for
                                                                                               any change
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                                                                                                                                                                                                   Certificate of Mailing or Transmission
           24208                      7590                              08I 82015
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                                      PC
                                                                                                                                                              I hereby certify that                     this                                      is being deposited   with the United
    Robert Plotkin                                                                                                                                            States Postal Service                       with       sufficient     postage        for first class mail in an envelope
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           New England                                                                                                                                                                                                                                      above or being facsimile
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    Burlington             MA 01803

                                                                                                                                                                                                                                                                                            11itttre



                                                                                                                                                                                                                                                                                             Date




    AppLR                                                                                                                                           INVENT                                                      ATTORNEY            DOCKET NO                   CONFIRMATION              NO

           1384606                                                                                                                   Joseph     l>lics                                                                   A0006 1001C2                                           6059

TITLE    OF INVENTION                 PROCESSING WITH COMPACT                                          ARITHMETIC                 PROCESSING ELEMEN                        I




     APPLN         TYPE                                                                                                                                                                                                      TOTAL           FEES DUE                        DATE DUE

     nonprovisional                             SMALL                                                $480                                                                                                                                  $480                              11182015




                          EXAMINER                                                             ART UNIT                            LASS     SUBCLASS

               YAARY MICHAEL D                                                                       2193                                708209000


1 Change of correspondence                 address      or indication            of Fee Address                    37             2 For printing on       the patent             front
                                                                                                                                                                                           page          list


CFR 1363
                                                                                                                                  1 The names          of up       to    3 registered patent                    attorneys
   la Change        of correspondence             address         or Change              of Correspondence                        or agents   OR alternatively
   Address form          PTOSW122               attached
                                                                                                                                  2 The name     of a single firm having as a member a

   la Fee Address             indication        or Fee Address                   Indication           form                        registered attorney or agent and the names of up to
   PTOSB47           Rev     0302 or more recent                       attached      Use of a Customer                            2 registered patent attorneys or agents If no name is

   Number      is   required                                                                                                      listed no    name    will       be printed


3 ASSIGNEE NAME AND RESIDENCE DATA TO BE PRINTED ON THE PATENT                                                                                      print or type

   PLEASE NOTE               Unless        an   assignee          is   identified         below       no assignee          data    will
                                                                                                                                           appear   on the patent  If an assignee                                   is   identified     below          the   document        has been     filed   for

   recordation as set        forth    in   37   CFR 311                Completion              of this form is      NOT a substitute           for filing an assignment


   A NAME OF ASSIGNEE                                                                                                        B RESIDENCE CITY                           and     STATE OR COUNTRY




Please check       the   appropriate assignee                                or categories           will    not   be printed        on the patent                L     Individual              la Corporation                or other private group                            la Government
                                                         category                                                                                                                                                                                                   entity




4a The following fees are submitted                                                                                      4b Payment of Fees Please                         first
                                                                                                                                                                                     reapply            any         previously      paid      issue fee       shown above

   la Issue    Fee                                                                                                           la A check        is   enclosed

   la Publication         Fee   No small entity discount                      permitted                                      la Payment by credit card Form                            PTO 2038 is attached


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   la Advance        Order           of Copies                                                                               UlThe        director    is herebyauthorized to charge                                  fees
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5 Change in Entity Status from status indicated above
   Ca Applicant          certifying    micro      entity      status See 37              CFR 129                             NOTE Absent             a valid      certification      of Micro Entity Status see forms PT0SB15A and 15B issue
                                                                                                                             fee   payment in        the micro          entity    amount will not be accepted at the risk of application abandonment

   la Applicant          asserting small entity              status See 37 CFR                    127                        NOTE If the application was previously under micro entity status checking                                                              this   box will    be taken

                                                                                                                             to   be a notification      of loss of entitlement                     to     micro                  status
                                                                                                                                                                                                                         entity


   la Applicant                       to regular undiscounted                    fee status                                  NOTE         Checking this box                      be taken                he                             of loss of entitlement                  small or micro
                                                                                                                                         tt
                         changing                                                                                                                                        will                      to           a   notification                                           to

                                                                                                                              ntit            as appli111


NOTE     This form        must be signed          in   accordance             with 37          CFR 131        and       133 Sec      z

                                                                                                                                          IR 14                                  1i1111      111    I1                    1111 11       11



   Authorized       Signature                                                                                                                                                   Date




   Typed    or printed      name                                                                                                                                                Registration              No



                                                                                                                                   Page 2 of 3

PTOL85      Part    B 1013 Approved                    for   use through             10312013                                     OMB 06510033                     US Patent and Trademark Office US DEPARTMENT                                                             OF COMMERCE


                                                                                                                                                                                                                                                             SINGULAR 00001192
                                Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 21 of 436

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   APPLICATION             NO               FILING   DATE                              FIRST   NAMED INVENTOR                        I
                                                                                                                                         ATTORNEY       IXCKET NO               CONFIRMATION       NO

         13849606                              03252013                                        Joseph    Bates                               A0006 1001C2                                 6059



         24208                    7590                08182015

   Robert Plotkin                 PC                                                                                                                            YAARY MICHAEL D
   15    New England              Executive      Park

   Burlington              MA 01803                                                                                                                ART UNIT                           PAPER   NUMBER

                                                                                                                                                     2193



                                                                                                                                     DATE MAILED 08182015




                                           Determination            of Patent Term Adjustment under 35                              USC 154 b
                                                                 Applications          filed    on      or after    May 29 2000

The Office has discontinued                          providing a Patent           Term Adjustment PTA                      calculation       with the Notice                   of Allowance



Section          1h2              of     the    AIA        Technical      Corrections            Act       amended       35    USC 154b3Bi                                     to      eliminate       the

requirement                that    the     Office       provide     a    patent    term adjustment                  determination        with       the         notice        of allowance             See
Revisions             to   Patent        Term Adjustment 78 Fed Reg 19416                                  19417     Apr 1 2013 Therefore the Office                                     is   no longer

providing             an    initial      patent term adjustment             determination               with      the notice   of allowance              The        Office       will     continue      to


provide          a    patent          term adjustment             determination          with        the     Issue    Notification        Letter        that        is    mailed         to    applicant

approximately three weeks                            prior to the       issue date       of the      patent and         will   include     the      patent term adjustment                        on the

patent     Any             request for reconsideration                  of the patent          term adjustment           determination             or reinstatement                   of patent term

adjustment should follow the process outlined                                     in   37 CFR           1705



Any questions                 regarding         the Patent       Term Extension            or Adjustment determination                     should         be directed             to    the Office of

Patent     Legal            Administration            at    5712727702                 Questions         relating to     issue and publication                    fee payments                should    be
directed         to   the Customer Service Center of the Office of Patent                                        Publication   at   18887860101                          or   5712724200




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PTOL85    Rev 0211


                                                                                                                                                                           SINGULAR 00001193
           Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 22 of 436
                                OMB Clearance                     and PRA Burden Statement                                                 for    PTOL85                 Part B


The      Paperwork         Reduction            Act       PRA of 1995 requires Federal                                      agencies             to    obtain          Office      of Management                             and

Budget        approval         before    requesting            most types of information                                  from the public When                           OMB        approves              an agency

request       to   collect      information             from the public                  OMB             i    provides a valid                   OMB             Control      Number and                   expiration

date     for the     agency       to    display         on the instrument                    that    will      be    used       to   collect          the information               and ii            requires the

agency        to   inform the           public       about      the     OMB             Control              Numbers            legal significance                     in    accordance              with           5    CFR
13205b

The information             collected         by PTOL85                Part       B is required by 37 CFR 1311 The                                           information            is   required              to       obtain

or   retain    a benefit         by the public which                  is    to file      and by the USPTO                            to    process an application                         Confidentiality                      is


governed           by 35       USC 122 and 37 CFR 114 This collection                                                        is      estimated              to    take      12    minutes            to    complete
including          gathering        preparing             and submitting the completed application form to the USPTO Time                                                                                      will       vary

depending          upon      the individual               case Any  comments on the amount of time you require to complete                                                                                     this      form

andor suggestions                 for   reducing           this      burden            should be              sent    to    the      Chief Information                      Officer        US Patent and
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The Privacy           Act of 1974             PL 93579                      requires that                you be given certain information                                    in   connection               with           your
submission           of    the     attached          form related                 to     a    patent           application                or    patent           Accordingly               pursuant                 to       the

requirements of the Act                      please be advised                   that    1         the general             authority            for    the collection             of     this   information                    is


35  USC 2b2 2 furnishing of the information                 voluntary and 3 the principal purpose for which
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                           is                                        process andor examine your submission                      is   to

related   a patent application or patent
              to                          you do not furnish the requested information the US Patent and
                                                                             If

Trademark Office may not be able to process andor examine your submission which may result in termination of

proceedings or abandonment of the application or expiration of the patent



The information             provided         by you in this form will be subject to the following routine uses
     1   The       information          on   this form will   be treated confidentially  to the extent allowed under                                                                        the       Freedom of
         Information            Act     5 USC 552 and the Privacy Act 5 US0 552a                                                                  Records              from this system of records
                                                                                                                             whether
         may be       disclosed         to   the     Department of Justice                          to   determine                               disclosure of these records                              is    required

         by the Freedom of Information Act
     2 A record           from this system of records                        may be disclosed                       as a routine               use    in    the course           of presenting                 evidence

         to   a court      magistrate              or administrative                   tribunal          including         disclosures                to   opposing          counsel        in   the course                   of
         settlement negotiations

     3 A record           in this      system of records may be disclosed as a routine use to a Member of Congress submitting a
         request      involving          an individual to whom the record pertains when the individual has requested assistance
         from the Member with respect                           to    the subject            matter of the record

     4 A record           in this      system of records                may be disclosed                        as a routine               use    to       a contractor           of the    Agency having
         need      for    the    information              in   order        to    perform           a contract              Recipients                of information               shall        be    required                to


         comply with the requirements of the Privacy Act of 1974 as amended pursuant to 5                                                                                    USC 552am
     5   A record related to an International Application filed under the Patent Cooperation Treaty                                                                                        in this         system of
         records      may be           disclosed          as a routine              use       to    the International                     Bureau           of the      World       Intellectual                Property

         Organization             pursuant         to   the Patent Cooperation                           Treaty
     6 A record   in this system of records                            may be disclosed                        as a routine               use    to   another          federal agency                for purposes

         of National Security review 35                              USC 181 and for review pursuant                                             to    the       Atomic          Energy Act               42 USC
         218c
     7 A record            from this system of records                             may        be     disclosed             as     a routine            use        to   the    Administrator                     General

         Services         or    hisher designee during an inspection of records                                                      conducted              by     GSA as part of that agencys
         responsibility           to   recommend improvements                                in    records       management                    practices          and programs under authority
         of 44       USC 2904 and 2906                               Such         disclosure             shall      be     made           in   accordance               with      the     GSA             regulations

         governing         inspection of records                     for this          purpose and any other relevant                                  ie GSA or Commerce directive
         Such disclosure shall not be used to make determinations about individuals
     8 A record from this system of records                                  may be disclosed                       as a routine use                  to    the public           after    either publication

         of the application pursuant to 35                           USC 122b or issuance of a patent pursuant                                                         to   35    USC 151 Further a
         record may be disclosed subject                               to    the limitations of                      37    CFR 114                as a routine               use    to     the public                   if   the

         record      was       filed    in   an application which became                                     abandoned           or       in   which the proceedings                       were           terminated

         and       which                             is    referenced             by either              a                                                       an
                                application                                                                   published              application                       application          open               to       public

         inspection or an issued patent

     9 A record from this system of records                                       may be            disclosed             as a routine            use        to    a   Federal State or local law
         enforcement agency                   if   the    USPTO            becomes            aware of a violation or potential violation of law or regulation




                                                                                                                                                                                                          SINGULAR 00001194
                              Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 23 of 436

                                                                                                                      Application          No                                              Applicants
                                                                                                                        13849606                                                           BATES JOSEPH
                                                                                                                      Examiner                                                             Art Unit                          AIA First    Inventor to
                             Notice of Allowability
                                                                                                                      MICHAEL            D YAARY                                           2193                              File Status


                                                                                                                                                                                                                             No


                        The MAILING               DATE     of this         communication                appears on the cover sheet with the correspondence                                                                   address
All    claims     being     allowable        PROSECUTION                   ON THE MERITS                      IS   OR REMAINS                  CLOSED          in   this       application                  If    not included

herewith         or previously         mailed a Notice                of   Allowance         PTOL85                or   other appropriate             communication                      will    be mailed              in   due course THIS
NOTICE OF ALLOWABILITY                              IS   NOT A GRANT OF PATENT RIGHTS                                            This    application      is
                                                                                                                                                               subject              to    withdrawal               from issue        at    the    initiative

of    the   Office   or   upon     petition        by the applicant              See 37 CFR 1313 and MPEP 1308

1     Z     This communication               is
                                                  responsive      to       07242015

                 A declarationsaffidavits                       under      37 CFR          1130b waswere filed on

2 0 An election was made by the applicant                                   in
                                                                                 response          to   a    restriction       requirement          set forth       during          the     interview             on                the     restriction


            requirement         and election         have been incorporated                      into this       action


3 Z The allowed claims isare 142 As a result of the allowed claims you may be eligible                                                                              to       benefit        from       the Patent              Prosecution

            Highway program             at   a participating          intellectual         property          office     for   the corresponding           application                    For more information please                              see

            httpwwwusptogovpatentsinit                           eventsophlindexjsp                     or       send an       inquiry   to    PPHfeedbackausptoaov

4 0 Acknowledgment                     is    made of a claim           for foreign         priority         under     35      USC § 119a              d   or     f
            Certified     copies

              a0      All
                                  b 0 Some                 c 0 None              of   the

                      1     0    Certified        copies   of   the   priority    documents                 have    been received

                      2 0 Certified copies                 of   the   priority    documents                 have    been received             in
                                                                                                                                                   Application          No

                      3 0 Copies of the certified                     copies      of   the       priority    documents           have     been received                 in   this    national          stage            application       from     the


                                 International        Bureau      PCT        Rule      172a
               Certified     copies     not received




     Applicant       has THREE          MONTHS FROM THE MAILING DATE of this communication to                                                             file      a    reply       complying                   with   the requirements

      noted   below         Failure    to timely complyresult ABANDONMENT of this application
                                                                  will                in


      THIS THREEMONTH                   PERIOD IS NOT EXTENDABLE

5 0 CORRECTED                     DRAWINGS                 as   replacement sheets                          must be submitted

             0     including    changes required by the attached                             Examiners Amendment                              Comment or in the Office                           action           of


                   Paper      NoMail Date

       Identifying      indicia    such as the application       number see 37 CFR 184c should be written on the drawings                                                                       in the front            not the back         of

       each sheet         Replacement             sheets should be labeled as such in the header according to 37 CFR 1121d

6 0 DEPOSIT OF andor INFORMATION                                           about the deposit                of BIOLOGICAL MATERIAL must be submitted Note the
        attached      Examiners comment                    regarding         REQUIREMENT                      FOR THE DEPOSIT OF BIOLOGICAL MATERIAL



Attachments
1 0 Notice of References                      Cited      PTO 892                                                                    5 0 Examiners AmendmentComment
2 El Information              Disclosure          Statements          PTOSB08                                                       6 E Examiners Statement                                     of   Reasons             for   Allowance

             Paper    NoMail          Date    06252015
3 0 Examiners Comment Regarding                                  Requirement               for    Deposit                           7 0 Other
             of Biological       Material

4 0 Interview Summary PTO 413
             Paper    NoMail          Date


 MICHAEL D YAARY
Primary Examiner Art Unit 2193




US Patent and Trademark Office
PTOL37 Rev 0813                                                                                              Notice      of Allowability                                                        Part   of   Paper         No Mail Date 20150812




                                                                                                                                                                                                                         SINGULAR 00001195
      Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 24 of 436


ApplicationControl       Number 13849606                                                                            Page 2

Art Unit   2193




                                     REASONS FOR ALLOWANCE

       The following       is   an examiners statement            of reasons       for allowance




       The prior art of record does              not explicitly   teach or suggest wherein                  the dynamic



range of the possible valid inputs to the first operation                  is   at least as wide as from



165000      through    65000 and for at least X=5 of the possible                        valid inputs to the first



operation the      statistical    mean over repeated execution                  of the   first   operation      on each


specific   input from the at least      X        of the possible   valid    inputs to the         first   operation of


the numerical      values represented        by the first output signal of the               LPHDR unit executing

the first operation    on that     input differs by at least       Y=05 from the result of an exact

mathematical       calculation    of the first    operation    on the numerical values                of that   same


input and similarly in independent               claims 9   16 26 an 33




       Any comments             considered   necessary        by applicant       must be submitted no              later




than the payment of the issue fee and to avoid processing delays                                 should preferably



accompany the issue fee             Such submissions should be clearly                    labeled         Comments on


Statement     of   Reasons for Allowance




                                                                                                                  SINGULAR 00001196
     Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 25 of 436


ApplicationControl      Number 13849606                                                                            Page 3

Art Unit    2193


       Any inquiry concerning         this communication            or earlier communications               from the



examiner should be directed         to   MICHAEL       D YAARY whose telephone number                         is




5712701249            The examiner can normally be reached on Mon Fri 9 am530                                     pm
       If
            attempts to reach the examiner by telephone                       are unsuccessful       the examiners



supervisor Chat       Do can be reached on 5712723721                           The fax phone number          for the




organization    where   this application     or proceeding          is    assigned   is   5712738300

       Information      regarding   the status of an application                may be obtained        from the


Patent Application      Information      Retrieval   PAIR system Status information for

published applications      may be obtained          from either         Private   PAIR    or Public       PAIR


Status information      for unpublished      applications      is   available      through       Private   PAIR only


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system call 8007869199          IN USA OR CANADA                     or 5712721000




MICHAEL D YAARY
Primary Examiner Art Unit 2193




                                                                                                              SINGULAR 00001197
               Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 26 of 436

                                              ApplicationControl   No              ApplicantsPatent           Under
                                                                                   Reexamination

            Search Notes                      13849606                             BATES JOSEPH

                                              Examiner                             Art   Unit


                                              MICHAEL D YAARY                      2193




                                                       CPC SEARCHED

                                       Symbol                                              Date                 Examiner




                                     CPC COMBINATION            SETS      SEARCHED

                                       Symbol                                              Date                 Examiner




                                         US CLASSIFICATION              SEARCHED

      Class                                     Subclass                                   Date                Examiner




                                                       SEARCH NOTES

                                     Search    Notes                                       Date                 Examiner
 EAST search       with   keywords                                                       01202015        MY
 NPL search                                                                              01202015        MY
 CPC search                                                                              01202015        MY
 Inventor   name search                                                                  01202015        MY
 Updated search                                                                          08122015        MY



                                                INTERFERENCE         SEARCH

   US Class                           US Subclass        CPC Group                         Date                Examiner
  CPC Symbol
 GO6F                     738                                                            08122015        MY




US Patent and Trademark   Office                                                                    Part of   Paper   No 20150812


                                                                                                               SINGULAR 00001198
                                    Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 27 of 436
                                                                       ApplicationControl   No          ApplicantsPatent              Under     Reexamination


  Issue Classification                                                 13849606                         BATES JOSEPH



                                1111
                                                                       Examiner                         Art Unit

       111   111       1   1               11   11   11   11


                                                                       MICHAEL D YAARY                  2193




 CPC

 Symbol                                                                                                                         Type                         Version


 GOOF                                                          38                                                                                    20130101

 GO6F                                                          4833                                                                                  20130101

 GO6F                                                          5235                                                                                  20130101

 HO3K                          19                              17728                                                                                 20130101




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 CPC Combination                    Sets


 Symbol                                                                                          Type              Set          Ranking                      Version




 NONE
                                                                                                                                  Total   Claims     Allowed


                                                                                                                                                42
 AGsIstant     Examiner                                                                            Date
  MICHAEL          D   YAARY
 Primary ExaminerArt                  Unit 2193                                                  08122015                0G   Print   Claims         0G      Print   Figure



                                                                                                                                                                 6
                                                                                                   Date
                                                                                                                                  1
 Primary Examiner


US Patent and Trademark               Office                                                                                                   Part of   Paper   No 20150812




                                                                                                                                           SINGULAR 00001199
                          Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 28 of 436

                                                       ApplicationControl   No                 ApplicantsPatent             Under     Reexamination


  Issue Classification                                 13849606                                BATES      JOSEPH




                            111111
                                                       Examiner                                Art Unit


     111   111   1   1                  11   11   11


                                                       MICHAEL D YAARY                         2193




                 US ORIGINAL CLASSIFICATION                                            INTERNATIONAL         CLASSIFICATION

                 CLASS                                  SUBCLASS                     CLAIMED                                   NON CLAIMED
                                                                                 6




                         CROSS REFERENCES

  CLASS                  SUBCLASS ONE SUBCLASS PER BLOCK




 NONE
                                                                                                                           Total   Claims Allowed


                                                                                                                                      42
 Assistant   Examiner                                                                     Date
 MICHAEL D YAARY
 Primary ExaminerArt Unit            2193                                               081122015           0G     Print    Claims         0G      Print   Figure



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 Primary Examiner


US Patent and Trademark     Office                                                                                                   Part of   Paper   No 20150812




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                                          Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 29 of 436

                                                                                    ApplicationControl       No                         ApplicantsPatent               Under        Reexamination


  Issue Classification                                                              13849606                                            BATES      JOSEPH

                                                                                    Examiner                                            Art Unit


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                                                                                    MICHAEL D YAARY                                     2193




                  Claims renumbered                         in   the same order as presented by applicant                0         CPA                TD                 0         R147

  Final             Original                  Final         Original        Final      Original   Final   Original   Final   Original      Final   Original    Final          Original        Final        Original



     1                   1                        17             17          33           33

    2                    2                        18             18          34           34


    3                    3                        19             19          35           35


    4                    4                        20             20          36           36


     5                   5                        21             21          37           37


    6                    6                        22             22          38           38


    7                    7                        23             23          39           39


    8                    8                        24             24          40           40


    9                    9                        25             25          41           41



    10                   10                       26             26          42           42


    11                   11                       27             27


    12                   12                       28             28


    13                   13                       29             29


    14                   14                       30             30


    15                   15                       31             31



    16                   16                       32             32




 NONE
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 Assistant              Examiner                                                                                                    Date
 MICHAEL D YAARY
 Primary ExaminerArt                              Unit 2193                                                                     08122015                0G    Print    Claims            0G      Print     Figure



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 Primary          Examiner                                                                                                          Date
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US Patent and Trademark                           Office                                                                                                                          Part of
                                                                                                                                                                                            Paper     No   20150812




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                       ALL REFERENCES                  CONSIDERED       EXCEPT WHERE         LINED    THROUGH   NY
             Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 30 of 436


                                                                           Application       Number 13849606

                                                                                        Filing Date     3252013
    INFORMATION DISCLOSURE                                                First   Named      Inventor   Bates
    STATEMENT BY APPLICANT
                                                                                             Art Unit   2193

                                                                                    Client   Number A0006

                       Page      1   of   2                                         Matter   Number 1001C2



                                                      FOREIGN PATENT DOCUMENTS

  Initials      Cite   No            Document Number                      Publication     Date                  Country

 NY                1                          2008158822                     07102008                             JP

 KY
   NY3
                   2                          2012530966                      12062012                            JP

                                              110314128                      01221991                             JP



                                                           OTHER DOCUMENTS
  Initials      Cite   No   Author            Title   Date Pages etc

                                                           A
   MY
                            Naohito  Nakasato et al    Compiler for High Performance Adaptive Precision Computing A paper
                   4        of SACSIS Symposium on Advanced Computing Systems and Infrastructures 2008 Information
                            Processing Society of Japan June 4 2008 No5 pp 149156




  Examiner Signature                  Michael Yaaryi                I         Date Considered               08122015

Examiner Please initial if citation considered whether or not citation is in conformance with MPEP Section
609 Please draw a line through the citation if it is not in conformance and     is not considered Please include
                                                                                                 it




a copy of this form with the next communication                to the   applicant


SyncIDScom




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                                       ALL REFERENCES                  CONSIDERED            EXCEPT WHERE                      LINED     THROUGH               NY
                  Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 31 of 436


                                                                                                    Application                Number 13849606

                                                                                                                        Filing Date          3252013
          INFORMATION DISCLOSURE                                                                   First       Named           Inventor      Bates
          STATEMENT BY APPLICANT
                                                                                                                               Art Unit      2193

                                                                                                                 Client        Number A0006

                                       Page 2 of 2                                                               Matter        Number 1001C2



                                                                                    GENERAL
 Pursuant         to    37   CFR 197 and 198 and                 to    the duty of disclosure         set forth        in   37   CFR 156 the Examiner                in   charge   of

the       above identified application            is   requested       to    consider    and make         of   record       the references      listed    herewith   A copy of each
 listed        reference other than          US patentsapplications                and references              cited   in a    parent    application      is   enclosed


Although          the information          submitted    herewith        may be material         to    the      Examiners consideration               of   the subject     application
 this     submission is not intended             to    constitute      an admission that such information                        is   prior art as   to   the claimed     invention



 In   accordance             with 37   CFR 197g the               filing
                                                                            of this information       Disclosure            Statement      shall   not be construed        to   mean
that      a search       has been made




                                                                                         TIMING

 n    accor       ance with            7        17 c         t    is    n   ormation
                                                                          sclosure    tatement is being re a er t e period
specified          in   37 CFR         197b     and before the mailing date of a Final Action under 37 CFR 1113 a Notice of
Allowance              under 37 CFR           1311 or an Action that otherwise closes prosecution in the application



                                                                       CERTIFICATION               STATEMENT
Each           item of information           contained      in this         information      disclosure          statement          was first cited in a communication
from a foreign                patent office     ina counterpart              foreign     application           not more          than three months prior to the filing of
this      information          disclosure      statement




                                                                                             FEE
No fee is required                     This Information          Disclosure       Statement          is   being        filed     in   accordance     with      37   CFR 197c
     nd   is   accompanied              by the certification           statement        of   37 CFR       197e1
If
      necessary the Director is hereby authorized to charge or credit Deposit Account No 501797 for any
     dditionalfees or any underpayment   or credit for overpayment in connection herewith Please reference

     ttorney docket number A0006 1001C2 for any such charge or credit




                                                                                   SIGNATURE

           Signature          Robert Plotkin                                                                                   Date June      25 2015
                 Name          Robert Plotkin                                                 Registration             Number           43861

SyncIDScom




                                                                                                                                                                          SINGULAR 00001203
EAST Search History
                            Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 32 of 436




                  EAST Search               History


                  EAST Search               History Prior Art



                      Ref   i
                                Hits    i
                                            Search    Query                                        DBs          Default    Plurals   Time
                            i                                                                                   Operator              Stamp
                      Li            5   low near5 precision near10 high near5                      US      B    OR         ON        20150812
                                        i
                                            dynamic                                                USPAT                              1036



                      iand  i
                                863     i   708clas      or   712clas    or   382clas              US      B OR            ON        120150812
                                                 parallel    near5 execution        and mean       USPAT                              1036

                            i
                                130i C136F7$cpc              and range and wide and                US      B    OR                   20150812
                                        i
                                            mean and fpga                                          USPAT                              1037

                      L6        84          GO6F7$cpc        and range and wide and                US      B    OR         ON        20150812
                                        i
                                            mean and fpga and multiply$3             or            USPAT                              1037
                                            multiplication
                                                                                               3
                                        i




                      L7        1           20140095571PN                                          US      B OR            OFF       20150812
                                                                                                   USPAT                              1041
                                                                                                   usocR

                      S2        20          5887160          or 5867683        or                  US      B OR            OFF       20120124
                                            5809320          or 5293500        or                  USPAT                              1348
                                        i
                                            5226166          or 4380046        or                  USOR
                                        i
                                            5170484          or 5801715        or

                                        i
                                            5966528          or 6173388        or

                                        i
                                            6405185          or 6728871        or

                                        i   6859869          or 7243333        or

                                        i   20050076187           or 20060031659          or

                                        i   20070124565           or 20070150698          or

                                        i
                                            20070247189           or

                                            20080059764FN
                      S3        20i 5887160                  or 5867683        or                  US      B OR            OFF       20120124
                                        i
                                            5809320          or 5293500        or                  USPAT                              1527
                                        i   5226166          or 4380046        or                  USOR
                                        i
                                            5170484          or 5801715        or

                                        i   5966528          or 6173388        or

                                        i   6405185          or 6728871        or

                                        i
                                            6859869          or 7243333        or

                                        i   20050076187           or 20060031659          or

                                        i
                                            20070124565           or 20070150698          or

                                        i   20070247189           or

                                            20080059764FN
                      S4        13i 53 and width              or wide                              US      13   OR         ON        20120124
                                                                                                   USPAT                              1527

                      55        20i 5887160                  or 5867683        or                  USFGPUB      OR         OFF       20120206
                                        i   5809320          or 5293500        or                  USPAT                              1038
                                        i
                                            5226166          or 4380046        or                  USOR
                                        i   5170484          or 5801715        or

                                        i   5966528          or 6173388        or

                                        i
                                            6405185          or 6728871        or

                                        i   6859869          or 7243333        or

                                        i
                                            20050076187           or 20060031659          or

                                        i   20070124565           or 20070150698          or

                                        i   20070247189           or

                                        20080059764FN
                      56        6i          55 and precision                                       USPGPUB
                                                                                                   USPAT
                                                                                                                                     20120206
                                                                                                                                      1042




EASTSearchHistory13849606AccessibleVersionhtm8122015                    112741      AM
                                                                                                                                        SINGULAR 00001204
EAST Search History
                              Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 33 of 436
                                      1
                                                  20100325186FN                                                USPGPUB       OR   OFF   20120206
                                                                                                               USPAT                     1046
                      167
                                                                                                               usocR

                      S81 13                        and    width    or wide                                    US        a   OR   ON    20120206
                                                                                                               USPAT                     1102

                      S9                      S8 and precision                                                 USPGPUB       OR   ON    20120206
                                  f6
                                                                                                               USPAT                     1102

                      S10         i
                                      22628       low near5 precision                                          US   PUB OR        ON    20120206
                                                                                                               USPAT                     1410

                      S11             632     i

                                                  low near5 precision and high near5                           USFGPUB       OR   ON    20120206
                              I
                                  1               dynamic                                              jUSPAT                            1411

                                                                                                               USFGPUB       OR   ON    20120206
                                                                                                           1

                      S12             59          low near5 precision near10 high              near5       i




                                                  dynamic                                                      USPAT                     1411

                                                                                                                             bR
                       is13




                                                  low near5                near10 high         near5       1USP3PUB                     20120206
                                                                    signal$1i USPAT
                                      146                     precision                                                           ION
                                                  dynamic and                                              i
                                                                                                                                         1411

                      S14             4323        708clas      or    712clas     or   382clas1 USPGPUB                       OR   ON    20120206
                                                  and   parallel    near5 execution                    j
                                                                                                               USPAT                     1504

                      S15             611         708das or 712clas              or   382clas              1USP3PUB          OR   ON    20120206
                                                  and   parallel    near5 execution      and   mean            USPAT                     1505

                      S16             1140        708clas      or    712clas     or   382clas                  USFGPUB       OR   ON    20120206
                                                  and   parallel    near5 execution      and mean              USPAT                     1505
                                                  and   precision                                          i




                      S17             28          708clas      or   712clas      or   382clas              1USPGPUB          OR   ON    20120206
                                                  and   parallel near5 execution and mean                  i
                                                                                                               USPAT                     1505
                                                  and   high or low near5 precision

                      S18                         20080276232FN                                                USPGPUB       OR   OFF   20120206
                                                                                                               USPAT                     1531
                                                                                                               USOcR

                      S19             1
                                                  7549145PN                                                    USPGPUB       OR   OFF   20120206
                                                                                                               USPAT                     1534
                                                                                                               USOGR

                      sn              682         382255ccls                                                   US   PUB      OR   ON    20120207
                                                                                                       J
                                                                                                               USPAT                     1034

                                                  382255ccls                                                   USPGPUB       OR   ON    20120207
                                                                                                           1

                      S21             494                           and range                              i




                                                                                                               USPAT                     1035
                                                                                                           i




                                                                                                           i




                      S22             1208        382255cds         and range and wide                     1USP3PUB          OR   ON    20120207
                                                                                                            USPAT                        1035

                      s23             86          382255ccls        and range and wide and                     US       UB   OR         20120207
                                                  mean                                                         USPAT                     1035

                      S24             42          382255ccls        and range and wide and                     US        B OR           20120207
                                                  mean and blur                                            i
                                                                                                               USPAT                     1035

                      S25             92708clas                or    712clas     or   382clas                  US        B OR     ON    20120207
                                                  and   parallel    near5 executionclm         and             USPAT                     1037
                                                  mean
                                                                                                           i




                                                                                                           i




                      sn              1           20080276232FN                                                USPGPUB       OR   OFF   20120207



                                                  8150902FN
                                                                                                               USPAT                     1050
                                                                                                               U SOcR
                                                                                                       3

                      S35             1                                                                        USPAT         OR   OFF   20121114
                                                                                                                USOOR                    0941

                      S36             696         low near5 precision and high near5                       1USP3PUB          OR   ON    20121115
                                                  dynamic                                                      USPAT                     1038

                                                                                                               US        B   OR   ON    20121115
                       1S37




                                      63          low near5 precision near10 high near5
                                                  dynamic                                                      USPAT                     1039

                      S382                        low near5 precision near10 high near5                        US        B OR     ON    20121115
                                                  dynamic and fpga                                             USPAT                     1039




EASTSearchHistory13849606AccessibleVersionhtm8122015                            112741   AM
                                                                                                                                           SINGULAR 00001205
EAST Search History
                               Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 34 of 436
                      S39              2         i
                                                     low near5 precision near10 high near5           US   PUB OR                ON            20121115
                                                 i   dynamic and 708clas                             USPAT                                    1039

                      540      i
                                       20        i   5887160         or 5867683      or              USFGPUB         OR         OFF           20121115
                                                 i
                                                     5809320         or 5293500      or              USPAT                                    1040
                                                 i   5226166         or 4380046      or              USOcR
                                                 i
                                                     5170484         or 5801715      or

                                                 i   5966528         or 6173388      or

                                                 i   6405185         or 6728871      or

                                                 i
                                                     6859869         or 7243333      or

                                                 i   20050076187          or 20060031659       or

                                                 i
                                                     20070124565          or 20070150698       or

                                                 i   20070247189          or

                                                     20080059764FN
                      543              1         i   8407273FN                                       USPAT           OR         OFF           20150120
                                                                                                     USOR                                     1040

                      S44              892       i
                                                     low near5 precision and high near5              USFGPUB         OR         ON            20150120
                                                 i   dynamic                                         USPAT                                    1212

                      545      i
                                       79        i

                                                     low near5 precision near10 high near5           USPGPUB         OR         ON            20150120
                                                     dynamic                                         USPAT                                    1212

                      S46              79        1low near5 precision near10 high near5              US   PUB OR                ON            20150120
                                                 i   dynamic                                         USPAT                                    1213

                      S47      18                    006F7$cpc       and low near5 precision         USFGPUB         OR         ON            20150120
                                                     near10 high near5 dynamic                       USPAT                                    1224
                                                                                                     U
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                                                                                                     I
                                                                                                         BMTDB
                      S48              73            036F74cpc       and range and wide and          US          B   OR                   i   20150120
                                                     mean and blur                                   USPAT                                    1302


                  EAST Search                        History Interference




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                                             i
                                                 Search     Query                                         DBs        Default    Plurals       Time
                      Refpits                                                                                        Operator                 Stamp
                               1             i




                      L3
                                       2I GO6F7$cpc              and low near5 precisiondm                USPAT      OR         ON            20150812
                                             1
                                                 near10 high near5 dynamic                                LUPAD                               1036

                      L4               2              6F7$cpc    and low near5 predsiondm                 USPAT      OR                       20150812
                                                 near10 high near5 dynamicclm                              UPAD                               1036
                                             z



                                             j



                      fl               6         708clas        or   712clas   or   382clas    and        USPAT      OR         ON            20120207
                               J                 parallel   near5 executionclm       and   mean            UPAD                               1037

                      S28              8         708das         or   712clas   or   382clas and           USPAT      OR         ON        I
                                                                                                                                              20120207
                                                 parallel   near5 executionclm        and meanclm          UPAD                               1037
                                   I



                      S29              0         708clas        or   712clas   or   382clas and           USPAT      OR         ON        20120207
                                                 parallel   near5 executionclm        and meanclm          UPAD                               1038
                                                 and precisionclm

                      S30          6         1708das            or   712clas   or   382clas    and        USPAT      OR         ON            20120207
                                             1
                                                 meanclm        and precisionclm                           UPAD                               1038

                      S31              17    i   708clas        or   712clas   or   382clas    and        USPAT      OR         ON        I
                                                                                                                                              20120207
                                                 low near3 precisionclm                                    UPAD                               1039

                           2   i
                                       0     i   708clas        or   712clas   or   382clas    and        USPAT      OR         ON            20120207
                                                     low near3 precisionclm and deblurclm                  UPAD                               1039

                           3   i
                                       12    i   708clas        or   712clas   or   382clas    and        USPAT      OR         ON            20120207
                                                     low near3 precisionclm and high near3                 UPAD                               1040

                                             i   precision

                      S348                   i   708clas        or   712clas   or   382clas    and        USPAT      OR         ON        20120207
                                                 low near3 precisionclm and high near3                     UPAD                               1040
                                             1




EASTSearchHistory13849606AccessibleVersionhtm8122015                           112741     AM
                                                                                                                                                SINGULAR 00001206
EAST Search History
                        Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 35 of 436
                      LJ      precisiondm
                                  11                                 L       L     1
                      S41   528   11708das          or   712clas   or   382clas   USPAT         20121115
                                                                                   UPAD   57    1043
                                  1Lparallel near5 executionclm

                      S42   528   1
                                       708das       or   712clas   or   382clas   USPAT   IOR   20121115
                                  z
                                       parallel   near5 executionclm               UPAD   i
                                                                                                1043


                  8 12 2015 112731 AM
                  C Users myaary Documents EAST Workspaces 12816201wsp




EASTSearchHistory13849606AccessibleVersionhtm8122015               112741   AM
                                                                                                   SINGULAR 00001207
               Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 36 of 436

                                                                 ApplicationControl       No              ApplicantsPatent          Under
                                                                                                          Reexamination

             Index of Claims                                     13849606                                 BATES JOSEPH

                                                                 Examiner




                                    111111



                                               1111
                                                                                                          Art Unit


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                                                                 MICHAEL D YAARY
              111   1    1                              11
                                                                                                          2193




                        ected                                 Cancelled                        Non Elected                           Appeal


               Allowed                                        Restricted                       Interference                         Objected



      Claims renumbered                 in   the   same order as presented by applicant               I   CPA        0 TD             I     R147


           CLAIM                                                                               DATE
     Final              Original         01202015        08122015

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      19                     19                0             =


      20                     20                0             =


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      22                     22                0             =


      23                     23                0             =


      24                     24                0
      25                     25                0             =

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      28                     28                    =         =

      29                     29                    =         =

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      32                     32

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      34                     34                0
      35                     35                0             =

      36                     36                0
US Patent and Trademark            Office                                                                                 Part of   Paper   No 20150812




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               Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 37 of 436

                                                                 ApplicationControl       No              ApplicantsPatent          Under
                                                                                                          Reexamination

             Index of Claims                                     13849606                                 BATES JOSEPH

                                                                 Examiner




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                                               1111
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                                                                 MICHAEL D YAARY
              111   1    1                              11
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                        ected                                 Cancelled                        Non Elected                           Appeal


               Allowed                                        Restricted                       Interference                         Objected



      Claims renumbered                 in   the   same order as presented by applicant               I   CPA        0 TD             I     R147


           CLAIM                                                                               DATE


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     Final              Original         01202015        08122015

      37                                                     =

      38                     38                0
      39                     39                0
      40                     40                0
      41                     41                0             =

      42                     42                0             =




US Patent and Trademark            Office                                                                                 Part of   Paper   No 20150812




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                          Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 38 of 436                                                                        PTOSB26
Doc Code DISTEFILE                                                                                                                          US Patent and Trademark Office
Document              Description Electronic           Terminal Disclaimer                   Filed                                                Department of Commerce




     Electronic        Petition   Request                 TERMINAL           DISCLAIMER              TO OBVIATE      A DOUBLE PATENTING           REJECTION OVER        A
                                                          PRIOR PATENT




     Application        Number                                 13849606



               Date                                            25 Mar 2013
     Filing




     First    Named Inventor                                   Joseph   Bates




                      Docket   Number                          A0006 1001C2
     Attorney




 Title        of Invention



                                                               Processing     with     Compact         Arithmetic    Processing   Element




             Filing   of terminal disclaimer         does not obviate requirement                   for   response under 37 CFR 1111        to outstanding

             Office Action




             This electronic Terminal Disclaimer is              not being used for a Joint Research Agreement



Owner                                                                                                      Percent   Interest




Singular Computing                LLC                                                                       100


The owners with percent interest                      listed   above    in   the instant application hereby disclaims except as provided below the

terminal         part of the statutory        term of any patent granted on the instant application which would extend beyond the expiration
date of the full statutory term of prior patent numbers



8407273


as the term of said prior patent                is
                                                     presently    shortened by any terminal disclaimer The owner hereby agrees that any patent so

granted on the instant application                    shall be   enforceable only for and during                  such period that   it   and the prior patent are commonly

owned This agreement runs with any patent granted on the instant application                                           and is binding upon the grantee       its   successors

or assigns



In    making the above            disclaimer the owner           does not disclaim the terminal part of the term of any patent granted on the instant

application           that   would extend to the expiration date of the full statutory term of the prior patent as the term of said prior patent

is
     presently         shortened by any terminal disclaimer                  in    the event that said prior patent later

 expires for failure to            pay a maintenance fee
 is    held     unenforceable
 is    found invalid by a court of competent jurisdiction

 is
       statutorily       disclaimed     in   whole or terminally disclaimed under 37 CFR 1321

     has all claims       canceled      by a reexamination certificate
 is    reissued or

 is    in any     manner terminated            prior to the expiration            of its   full   statutory   term as presently shortened by any terminal disclaimer




             Terminal disclaimer fee           under 37 CFR       120d       is    included with Electronic          Terminal Disclaimer      request




                                                                                                                                                         SINGULAR 00001210
                         Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 39 of 436
                         in   accordance           with     37 CFR   14d4 that the terminal disclaimer fee under 37 CFR 120d
    certifyO
           I




           required for this terminal disclaimer has already been                              paid in the above identified application




Applicant claims              the following fee status




           Small Entity




    0      Micro Entity




    0      Regular    Undiscounted



I

    hereby declare that all statements made herein of my own knowledge are true and that                                          all   statements made on information     and

belief are believed to be true                       and further that these statements were made with the knowledge that willful                        false   statements and

the like so made are punishable by fine or imprisonment or both under Section                                           1001   of Title   18 of the United States Code and

that      such willful        false   statements          may jeopardize the validity of the application or any patent issued thereon



    THIS       PORTION    MUST BE COMPLETED BY THE SIGNATORY OR SIGNATORIES


    I
        certify   in accordance             with     37 CFR     14d4 that am      I




           An attorney or agent registered to practice                                                                            who is of record in
    O
                                                                                 before the Patent and Trademark Office

           this   application




                Registration          Number          43861




    0      A sole inventor


           A joint inventor                                    lam authorized
    O
                                       I

                                           certify   that                             to sign this submission   on behalf of all of the inventors as evidenced        by the

           power of attorney                in   the application


    0      A joint inventor all              of   whom are signing this request


    Signature
                                                                 Robert Plotkin



    Name
                                                                 Robert Plotkin




Statement under 37 CFR                        373b        is
                                                               required   if   terminal disclaimer   is
                                                                                                          signed   by the assignee      owner
Form PTOSB96                  may be used for making this certification                       See MPEP § 324




                                                                                                                                                          SINGULAR 00001211
                    Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 40 of 436


                                      Electronic Patent Application           Fee Transmittal


 Application      Number                                  13849606




 Filing Date                                              25 Mar2013




 Title of Invention                                       Processing   with   Compact Arithmetic   Processing   Element




 First   Named InventorApplicant           Name           Joseph   Bates




 Filer                                                    Robert Plotkin




 Attorney Docket        Number                            A0006 1001C2



 Filed as Small Entity




Filing   Fees for    Utility   under 35 USC 111a




                                                                                                                          Sub Total in
                                 Description                       Fee Code           Quantity          Amount
                                                                                                                            USD$


 Basic   Filing




                     Statutory   or Terminal Disclaimer                1814               1                160                160




 Pages



 Claims




 Miscellaneous Filing




 Petition




 Patent Appeals and Interference




 Post Allowance       and Post Issuance




                                                                                                                      SINGULAR 00001212
           Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 41 of 436
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                    Description               Fee Code      Quantity       Amount
                                                                                         USD$


Extension of Time




Miscellaneous




                                                    Total   in   USD   $               160




                                                                                    SINGULAR 00001213
                       Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 42 of 436

Doc Code DISQEFILE
Document        Description   Electronic   Terminal Disclaimer         Approved




Application     No    13849606



Filing   Date         25 Ma r2013



ApplicantPatent under Reexamination                      Bates et al




Electronic   Terminal Disclaimer filed on             July 24   2015




  x          APPROVED



                 This patent    is   subject   to a   terminal disclaimer




  0          DISAPPROVED




ApprovedDisapproved           by     Electronic   Terminal Disclaimer automatically   approved   by EFSWeb




US Patent and Trademark Office




                                                                                                             SINGULAR 00001214
               Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 43 of 436
                                             Electronic         Acknowledgement                      Receipt


                            EFS ID                                     23016926




                    Application        Number                          13849606




          International     Application          Number


                    Confirmation        Number                         6059




                      Title of   Invention                             Processing    with   Compact Arithmetic       Processing   Element




       First   Named InventorApplicant                 Name            Joseph     Bates




                     Customer Number                                   24208




                             Filer                                     Robert Plotkin




                     Filer Authorized       By


                Attorney Docket          Number                        A0006 1001C2



                        Receipt Date                                   241UL2015



                         Filing Date                                   25   MAR 2013


                         Time Stamp                                    142633



                      Application Type                                 Utility   under 35 USC   111a



Payment information

Submitted with Payment                                                 yes


Payment Type                                                          Credit     Card


Payment was successfully         received   in   RAM                  $160

RAM confirmation Number                                                730


Deposit Account                                                        501797


Authorized   User                                                      PLOTKIN      ROBERT

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                                                                                                                                        SINGULAR 00001215
                  Case 1:19-cv-12551-FDS
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                                     under 37 CFR
                                            required
                                                       494-5    Filed 05/19/23 Page 44 of 436
                                                          Document supply fees  Section



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characterized      by the applicant and including page counts where applicable                                            It    serves as evidence                   of receipt        similar to a

Post Card as described            in   MPEP 503


New       Applications Under 35          USC 111
                                                  and the application
            d
If   a   new application    is
                                 being    filed                                    includes        the   necessary components                        for a filing      date see 37 CFR

153b            and MPEP         506 a Filing Receipt 37 CFR 154 will be issued in due course and the date shown on this
Acknowledgement             Receipt      will   establish       the filing      date of the application



National      Stage of an International Application under 35                              USC 371
If   a timely submission to          enter the national stage of an international application                                    is   compliant with the conditions of 35
USC 371 and other applicable                    requirements a Form PCTDOE0903                               indicating          acceptance of the application as a
national      stage submission under 35                 USC 371          will   be issued        in   addition to the Filing Receipt                       in   due course


New       International   Application           Filed with      the USPTO as a Receiving Office

If   a   new international       application       is
                                                        being    filed    and the international application includes the necessary components                                                     for

an international        filing   date see PCT Article 11 and MPEP                         1810 a Notification of the International                                  Application         Number
and of the International Filing Date Form PCTRO105                                   will    be issued       in   due course subject                    to prescriptions concerning

national security         and the date shown on this Acknowledgement                                    Receipt    will   establish           the international               filing    date of

the application




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         Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 45 of 436



                                  ATTORNEYS          DOCKET          NO     A0006 1001C2


                      IN    THE   UNITED    STATES         PATENT          AND    TRADEMARK   OFFICE




Serial       No                                  13849606
Confirmation          No                         6059

Title                                            Processing                with Compact Arithmetic
                                                 Processing                Element

First    Inventor                                BATES           Joseph

Filing Date                                      Mar       25        2013




Examiner                                         Michael             D     Yaary

Art   Unit                                       2193



Office       Action    Mailing      Date         01262015


                                  RESPONSE      TO   NON FINAL             OFFICE    ACTION


        In    response       to   the    Non Final         Office          Action    mailed   on   the   Office


Action       Mailing       Date   indicated      above           the       following    amendments       andor

remarks       are   respectfully          submitted


        RemarksArguments                begin   on       page    2    of    this    paper


        Conclusions          begin on page           3    of    this       paper




                                                                                                       SINGULAR 00001217
           Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 46 of 436
Application    Serial     No    13849606               Attorney   Docket   No     A0006 1001C2




                                          REMARKS ARGUMENTS


        Claims    1     1618       and    33    stand    rejected     on    the    grounds       of


obviousness type            double patenting            over    US    Pat       No    8407273

Today      Applicant      filed    a    Terminal      Disclaimer      of    this     application         over


US      Pat    No     8407273             Applicant         therefore        respectfully


requests      that    the      double    patenting       rejection     be    withdrawn


        All   other     pending        claims   have     either    already been           deemed


allowable      by the       Examiner      or    are   dependent      claims       which    depend       on


one   of    claims    1     1618        and    33     All   claims     therefore           are    now


allowable




                                                            2




                                                                                                   SINGULAR 00001218
           Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 47 of 436
Application       Serial    No     13849606                        Attorney         Docket   No     A0006 1001C2




                                                         CONCLUSIONS


        Any      dependent         claims          not       specifically             discussed           above       depend

either       directly        or    indirectly                 from       the    independent              claims       discussed


above      and    therefore            are    patentable                for    at    least        the    same    reasons

        If    the      Examiner         wishes          to    discuss          this     Response           the       Examiner


is   requested to            call       the       Applicants              attorney           at    the    phone       number

listed below


        No    admission           is    made       herein           explicitly           or       implicitly           that    any


amendments made              herein          are    made          for    reasons        of    patentability


        If    this      response         is       not    considered             timely        filed       and    if    a



request       for      extension         of       time       is    otherwise           absent           applicant          hereby


requests         any    extension            of    time            Please       charge        any       fees    or    make    any


credits          to    Deposit         Account          No        501797



Respectfully            submitted



Robert        Plotkin                                                   July    24      2015

Robert       Plotkin         Esq                                        Date

Reg     No       43861


Robert       Plotkin         PC
15   New     England        Executive             Park

Burlington             MA   01803        USA

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Fax     978           3189060


                                                                         3




                                                                                                                       SINGULAR 00001219
                    Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 48 of 436


                                     Electronic        Patent Application Fee Transmittal


 Application       Number                                      13849606




 Filing   Date                                                 25 Mar 2013




 Title of   Invention                                          Processing   with   Compact Arithmetic   Processing   Element




 First   Named InventorApplicant          Name                 Joseph   Bates




 Filer                                                         Robert Plotkin




 Attorney Docket        Number                                 A0006 1001C2



 Filed as Small Entity




Filing   Fees for    Utility   under 35 USC 1 1   1a


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                                Description                             Fee Code           Quantity          Amount
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 Basic    Filing




 Pages



 Claims




 Miscellaneous Filing




 Petition




 Patent Appeals and Interference




 Post Allowance       and Post Issuance



 Extension of Time




                                                                                                                           SINGULAR 00001220
           Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 49 of 436
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                            Description             Fee Code         Quantity       Amount
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                Extension   3 months with SO paid     2253                1           700             700




Miscellaneous




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               Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 50 of 436
                                             Electronic         Acknowledgement                      Receipt


                            EFS ID                                     23017172




                    Application        Number                          13849606




          International     Application          Number


                    Confirmation        Number                         6059




                      Title of   Invention                             Processing    with   Compact Arithmetic       Processing   Element




       First   Named InventorApplicant                 Name            Joseph     Bates




                     Customer Number                                   24208




                             Filer                                     Robert Plotkin




                     Filer Authorized       By


                Attorney Docket          Number                        A0006 1001C2



                        Receipt Date                                   241UL2015



                         Filing Date                                   25   MAR 2013


                         Time Stamp                                    143403



                      Application Type                                 Utility   under 35 USC   111a



Payment information

Submitted with Payment                                                 yes


Payment Type                                                          Credit     Card


Payment was successfully         received   in   RAM                  $700

RAM confirmation Number                                                892


Deposit Account                                                        501797


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                  Case 1:19-cv-12551-FDS
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                                     under 37 CFR
                                            required
                                                       494-5    Filed 05/19/23 Page 51 of 436
                                                          Document supply fees  Section



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New       Applications Under 35          USC 111
                                                  and the application
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If   a   new application    is
                                 being    filed                                    includes        the   necessary components                          for a filing        date see 37 CFR

153b            and MPEP         506 a Filing Receipt 37 CFR 154 will be issued in due course and the date shown on this
Acknowledgement             Receipt      will   establish       the filing      date of the application



National      Stage of an International Application under 35                              USC 371
If   a timely submission to          enter the national stage of an international application                                     is   compliant with the conditions of 35
USC 371 and other applicable                    requirements a Form PCTDOE0903                               indicating           acceptance of the application as a
national      stage submission under 35                 USC 371          will   be issued        in   addition to the Filing Receipt                           in   due course


New       International   Application           Filed with      the USPTO as a Receiving Office

If   a   new international       application       is
                                                        being    filed    and the international application includes the necessary components                                                         for

an international        filing   date see PCT Article 11 and MPEP                         1810 a Notification of the International                                       Application        Number
and of the International Filing Date Form PCTRO105                                   will    be issued       in   due course subject                      to prescriptions concerning

national security         and the date shown on this Acknowledgement                                    Receipt    will   establish            the international                  filing    date of

the application




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             Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 52 of 436


                                                                           Application       Number 13849606

                                                                                        Filing Date     3252013
    INFORMATION DISCLOSURE                                                First   Named      Inventor   Bates
    STATEMENT BY APPLICANT
                                                                                             Art Unit   2193

                                                                                    Client   Number A0006

                       Page      1   of   2                                         Matter   Number 1001C2



                                                      FOREIGN PATENT DOCUMENTS

  Initials      Cite   No            Document Number                      Publication     Date                  Country

                                              2008158822                     07102008                             JP

                   2                          2012530966                      12062012                            JP

                                              10314128                       01221991                             JP



                                                           OTHER DOCUMENTS
  Initials      Cite   No   Author            Title   Date Pages etc

                            Naohito  Nakasato et al        A
                                                       Compiler for High Performance Adaptive Precision Computing A paper
                            of SACSIS Symposium on Advanced Computing Systems and Infrastructures 2008 Information
                            Processing Society of Japan June 4 2008 No5 pp 149156




  Examiner Signature                                                          Date Considered

Examiner Please initial if citation considered whether or not citation is in conformance with MPEP Section
609 Please draw a line through the citation if it is not in conformance and     is not considered Please include
                                                                                                 it




a copy of this form with the next communication                to the   applicant


SyncIDScom




                                                                                                                          SINGULAR 00001224
                  Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 53 of 436


                                                                                                    Application                Number 13849606

                                                                                                                        Filing Date          3252013
          INFORMATION DISCLOSURE                                                                   First       Named           Inventor      Bates
          STATEMENT BY APPLICANT
                                                                                                                               Art Unit      2193

                                                                                                                 Client        Number A0006

                                       Page 2 of 2                                                               Matter        Number 1001C2



                                                                                    GENERAL
 Pursuant         to    37   CFR 197 and 198 and                 to    the duty of disclosure         set forth        in   37   CFR 156 the Examiner                in   charge   of

the       above identified application            is   requested       to    consider    and make         of   record       the references      listed    herewith   A copy of each
 listed        reference other than          US patentsapplications                and references              cited   in a    parent    application      is   enclosed


Although          the information          submitted    herewith        may be material         to    the      Examiners consideration               of   the subject     application
 this     submission is not intended             to    constitute      an admission that such information                        is   prior art as   to   the claimed     invention



 In   accordance             with 37   CFR 197g the               filing
                                                                            of this information       Disclosure            Statement      shall   not be construed        to   mean
that      a search       has been made




                                                                                         TIMING

 n    accor       ance with            7        17 c         t    is    n   ormation
                                                                          sclosure    tatement is being re a er t e period
specified          in   37 CFR         197b     and before the mailing date of a Final Action under 37 CFR 1113 a Notice of
Allowance              under 37 CFR           1311 or an Action that otherwise closes prosecution in the application



                                                                       CERTIFICATION               STATEMENT
Each           item of information           contained      in this         information      disclosure          statement          was first cited in a communication
from a foreign                patent office     ina counterpart              foreign     application           not more          than three months prior to the filing of
this      information          disclosure      statement




                                                                                             FEE
No fee is required                     This Information          Disclosure       Statement          is   being        filed     in   accordance     with      37   CFR 197c
     nd   is   accompanied              by the certification           statement        of   37 CFR       197e1
If
      necessary the Director is hereby authorized to charge or credit Deposit Account No 501797 for any
     dditionalfees or any underpayment   or credit for overpayment in connection herewith Please reference

     ttorney docket number A0006 1001C2 for any such charge or credit




                                                                                   SIGNATURE

           Signature          Robert Plotkin                                                                                   Date June      25 2015
                 Name          Robert Plotkin                                                 Registration             Number           43861

SyncIDScom




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 Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 54 of 436
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  Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 55 of 436
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M411
 10INftAJ6AeaWlMXYlztAtU                       A10JRAMAict46fat
MzAllo31744t4M10MVIMWWchtBM                     10mnaL
 MEMALAYFkAt150120MJNRAI5Atzz                  tt4WNSic0E411oYj
0143tdao4205I3t4WMtzM20MXMA                    Wtt64120MX4Nk
 ME4510MXMMEM20MAMWoOMAWD
6MEM205=310ucottMV752ORMLi                     16cLMLI64M+R
M2
AMILMM

 MEittezRMa
                                                                                  10




 ORM10MXMALMEM20MXMA0NR 050CMEfilevlip6M4EM
205=30reviWcIAMMAIMMMX 4tg3MMUMRIVIXMML
     1j                        r5       Q   eyi3fycwrnitu
A0T0eY04464AolctiNM                          ifit46VEMakOMMLt4t

 AtintifitOMMM04    031tOMk124h     Utti4ftwMEZI0MXMALWEM2
LoAXMAkkiRtk                        MLTMAtill1E420i1014kBAXRM

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                    iivooftLbT6cL                43WILI61NAVA2EdoM
Md460AAXMM
M444
 gMJNRA5ATAgua stlitAgE19YFWU                  M4MJNOAfflA46Rft
AsizM10513zrnt 4M410MXMAWhtZM
10MXMA0titfil3      AXAMMIt0T
 MEMA>IttA tU5MEM014kAY6Aictd                  tt6IKROMMEXI1o                     30

4640g42051 31114tT6M20MWMAt                    tbht6M20MXML
 ME4110MXMLig r4A1200XMW0NAMvD                 oTt1fhoRiteytip
SMEM2051            077fttLORMi44 t6ckMkt6i5OWitti
RM
MM5
 404NRAYRAVAMPAIANtt9FikAtiL5                  AfflOPJNRAXAiria
AlircM10523TM14M10MnMMbli603                    10n411mak
 0124407177FWL5PEM0442oVRA                     ttzwasicmcmlar
4gt91M20323Mt6M2oMWMA                          Iiitilr6M20MXR1UL
 Mi0110MRMAILMCM20MXM041a40                      cS             ftiZ     y   ip   40

614482M20fflicDoTttAtn520MML44                 16cLtLT6MNYAR
UM
RMogrsilgo4
rttMi
0001
 31144MMJNNAMIEfett6m                       iiTItZcVe644X7RMLtUM
ZMPAVS4MtlifiLuVaAILROt
MJAR1
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 110041imAcDALIttalticcti01g401zicfflozCW00M0D                                    50




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        Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 56 of 436
                                                    3                   JP   2008158822   A   2008710


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    0 0 0        4

    NAAS             ilfbdqk        AMUNIMONM10FITFa11ure                             In        Tin
            MOI11z                  oaMbiRltZ41LUTt100NM0M04NRAMXM
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e       1                 1    id


                                              10010WW1M04AATOftliPOffltb+RAAW                            10


NgJIMMtt 6CkIc4Z
 0      0 0      5

    40JARANXE                       019$16ftWLTU20140MXN44NLMCF
                     04M 2116haM61hLA1032MoAngnmpimmi60
L 1     7ontithi v4mtclVitk6540dRAMYIN6RLT6Ai
                                    nzI4AMMtt<4nct
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                                    111ANTUm
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                                    J4PAAMXI00±W055±0m76cLtLL
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10 3Aml T1351046T9aIliTtirgookc41S031
    ytfi5kablz                      UMN64020                                  4910i0kiblclaWl
1sTis640
 0007
    WILF3ZW1ka                      Aabffiftbn034103kTemey10MaNnictlittTOR
                                    2S11N0TtiztE16YWaNtOftVT<464M+
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                                     06083591
 CIVIA0Mg1
 CR0AMAIMI                           T6MAA                                                               30

 0008
    ALEiciNHAUP432                  1c464oMMIT10bJNMANIATRAEk
AlNO4404t                           firs3MXRVIMUMIWAA=iAhlWLTWY6
0411Mtlkitiatz                                                                            i3trEicEIN

                                    ETAUMMU40175LeV4IT06
 0009
    Roila±AU knAlhAfigxTfittktotoNMEt5L1J                                                      ghla
1zi4NivLAMMc                        RIAMWMAm944n1z4s1WtcL                                 ts
 CHAtikNR6k                         AboilIR
 Co         1    0                                                                                       40

  ±IENMAlatt 6kabk RIMIcV464M+MtAMXRMa  ge+R xtUre
IfittkItXt9 ittAhUNAWMAAff9iM4W6fattiVic510
P464110MXM                          A4110J46111oNNALMEMAt                                 U
41JJAAVA                            64WitMkMEM10Mjitibr201                                464446
4120MTWMM ti6m2umnaLsmem1comnmLegam20                                                     MnMA0
    Var                             tcettoffitSMITM200T14140                                  ff51tAiA



 001 1
    RMicct6L                        2VMMffiMi0MXMALM20MMEM01UPOMD
t4l0Riltev1YJ                       SM20FoC2044550VIMIA0MAic ZUCM1                                       50




                                                                                                SINGULAR 00001228
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                                                                                                       4                                       JP       2008158822                A   2008710


0          IVA 5                 fit   E          otpiaAtlitT6                                       bi if   ff6



 00                    1    2
      3 it                  41    2Q ulna                                                                                                                                                           Z
tog5       2                                             i4               M240AXMAAMhT6MUR4404oHMMT
                                                                          lEOMIJARAMARMikMio12tJAiT
M10MAIMA ViT Lob
 0
                                                                          UMi07tJAZoM20750440e
           0           1    3

      tt                         XI    2    0M13141311Z

               1                       m          L4120 401MLet1A±1ctoMAVb644alcUM40016A
                                            14                            KNk46
 cmikiozw                                                                                                                                                                                               10


 001
      lALEkW HA                                                           Rfflicct               L                 ktlA MMIIVCatftftWrzMAIt
                                            CS    tz                      LzkbifIgkrsB
      R                                     75    rcio                    140X14
 0                     1    5
           T                                0
               i                 ft                               gl1     MA6PM1JARAVINMM100071fMNCT6M7A56
      Mitct6 f0P1NRAM nmmlooasmiomsmAtmlomxmlo
 1    L    OM    MPe  tT64120MXHIO2LM10MRMALM20101M
                       II   2

      k    C  xvey11 t0ItIVT6k411M41036A6                                                                                                                                                               20

 0
511



                       1    6

      M10MWa                                      0          It                plNB5AeAffil11MAtt                                                                 13i     03
                                                                                                 H
                                             1



▪          0$114MA                                     J                      Mi0XMA                         gNi 41              C   1105      0 31                T                           u
651tM                  1    0               31             1Lt                     52    e                             1                                      M     1



      t                iffgc                IN         Mi rf                                     t1fL              1   0   iff         fstic            I   01MS013Ltrf               41   1   gili

RN                     to   5    ft                                       10IJ       I       M   1   0 Vf4fif
41rtA111At C                                           4
 0                     1    7

      m20Nrin                                1    0 2        It                                                                                                                                     1
ts                     2 0rMri                                            t   6 M  0$IXWIVtalN3dtizytif6A0775D
                                                                                         2                                                                                                              30

IR    014k                       11    2                                  `7P46 CCT                    M  cf5t3r01t
                                                                   4161




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IN         t       A
                                       OM    MAAS                         4   FAti
                                                                              es      1                      UfttitM
                                                                                                     2 OVIXtel 0 2 M                                                          I




 1    03reiPz4                         0               t     R1           275iii>rstN

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           0                8
                                       M 2 a                      116              144r7V461444161s                MrifirMrFfif30                                  41f41M 2 034
▪                      M 204V agisAttIM 20tiRML03
           S4                     it        3i 411 otil4MtgeM20MWWWkIiPocM20                                                                                                  3rWte1t2
      Us               1t41116         A               ht6
 001 9
      14   T                R          C 03 A          tik                               IARAMWMPKI000A4MLLTMmanlm+                                                                                     40


AMIltP1                                7    I A   47   W HA               5IttzitRCMg010JARANOTHM4=WtT64
21    C                                                      it41         140JARAMIIMMtRMaillffliiitErsou

 Co        0 2              0

      tt43                  LATO St C                                     SM46t10JARAMtIMM                                                          0 0 iN0Ah713ta
 IEEE                 of        In stitu
                          Electrical                                      te                                                                        and                   Electro
nic   Eng ineer  s  75

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               I       trv101
                                  ev
                              445LMS 2
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                                                                                                                               7 LMVUTE
                                                                                                                   kTiilatt6M2000741
                                                                                                                                               1    1   Iv
                                                                                                                                                              ik   11f1   F   1       5    2   tf


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                                                                                                                                                                                           SINGULAR 00001229
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                                                                                                         5                                         JP    2008158822                    A    2008710


                       L46
  0                   1
                                                                                                                                               lir
             0 2

                                                                                                                           i   00                                     Xi   1     0Mrigil                0

 1 0003 ts                           1   EEE7                54 tz45<iffitfteitrAgidttA1540511eZD                                                                                           4kff93S

 1     C N           1 ev 1kMftlifE X                                       P       1         1     Erv       106              LiVra$1                  R A C             52 esy 146
  0          0 2     2
            Xi 10Yiiir1
       N21tRW001o14A041c06M10$1galciloAftWONAMkWitgAT
                                                                                                                                                                                                            10


  0          0 2     3
   214WerM                                                             1a               iRrtgfF                                      of41456t014g                                               k
                                    o1 95 641Xil
                                         oitilagg                 0                                                     F      2                                                  2 0       1


                                                                                                   k MRXE
                                                              I



VAGE  k E 2      1                                                                 2          2                                       1   k    E    2   OVt1111514131c01416
VAN 2 0 3 ks                             f0314                                                                     7    1      I          ti            tr   204k MRSEI
                                                                                                                               52
                                                                                        fbi        145



L E          20A0EfItzZUT                                                               A64itlfg                   2 0                         0    7   L riRATiS                               S   2   0
IA OVA Ai       VA fIt1NkiNfOta X ag 2 0 8 L
                                    At 195                                                                                                IR   2   0    1    03 la

Mi460103 2 0 9 k A hT e
                                                                                                                               bri                                         fal



                                bNG4tcag141                                                                                          40D12                   1611H31                                e
       fsIN      III      RR    2        0                  ifi   L rc esy              Is    tin                                                                     7    1     Aq13           esy 1

                                                                                                                                     k 1141ARS
                                     1




ansma                      2    1    1                295                               A6ZAIN                     2       1   2                                  Ik S            2 LhiiXth 2

        1    li3tr5q111Rff 2                  020           tli       ful   03 44                            Itf          SIGN 490t1 611n Y 2 3                                                     1       20

             4I1E               1        fc       E 2 k                           ist   Etkaa§                2    I    0 tt tfesv 1fiLHEM112 iko                                           1



g6iiiitt4                                2        4   k                           6 SLICIt4014zAhuNATZ60
  0                   1
                                              1




             0   2

                 9rtg T         1g       MRS E                              20                                                                               0tt05               1Mgg               02
  tMR
       hil                                                    1       E                                                                                                                         2

                           E    1       20
                                         E                        306                                                                                        ti   >7731           2 0       3 afrilik

       F     2   >ff<t7              1160
  0
fifS




             0   2    51
                          MORSE    k          I       E      201VA                                                 iffft                           ortz 17                                  7 I 91
                          QYZ31 f141                  2      0 2                        OiEfItzZeC                                   VIV52              0 51stri           2     06
                                                                                                                                                                  tF 2tint4A
                                                                            r443R

                 C        tzw131              2   0   3     N                           2     0     1    OAjj                                  1F       1                                                   30



  0          0   2    6
       ANN            2    0    1   Us        2   DOrall5 FOISirtg 5                                                                 2    11   y                  A                         1
             C 5     3    ey             569Ts110Xtrio                                                   54                               0                                t
                                                                                                                                                                  en
51                                                                                                                 tf                OM                      Yk                       Jin



                          tri       4§ 2      0   1               40111i    OcJ         gni        ill   IX tl     2 0          10
       fi                 UM S                LS      2 hi PI         V           ft

  0
                                         1



             0 2      7
       KRA3F               1    L F      2    Ulitk1011CZ600                                                 v14gg             2     0 9       U MX                   2    0      1   0 al hid 0
anfoLCIE0iii16                                                                    y                IN        fialf      2            0    61       ffiaRkt7icti11101MAO
                                                                                                                                               us       ey            lA         NI 11          2   1   1   40



  0          0 2     8
       e v       1A tailq911N2ii                                                  fff   2     0 9 kN                    7            ft

 FkmAmn210vomukeFwmg4iii
7 1              `Ffi               E    x    P       M           1                     IL                              tR11 IN                2    1   0 013kttit                    ey
             giagg         2    1   4    IitAt16
       0 0 2          9

                 Z4N2I2a                              esY         1 it                        g§    2    1    1    ir   6 1E03
5 tTt3                          0A6Z1111                          IEEE754                                                                                             r          If   u VIA 1
                                                                                                                                                                                                            50




                                                                                                                                                                                                SINGULAR 00001230
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                                                                                                              6                               JP    2008158822                    A    2008710


0        0 3           0
    41Alfg2                   1    4           E 1ktE 2 iaNSev en
                                                       IS05                  1                                                                          ff    2    1    O ofiltfAikr5

                                          vJ6F 3tA
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106Zola
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                              2         2

                 02
                                   1



                                        31   4s s
                                                S    2 L 31W12 020                                                                                  3                        L iitIXOR




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                                                       t4                                  s                                                                                                     2   0

                                             LbPsS
                                   1                                                                                                          tii



101litiii04                                                                           GN1111160
0
                                                                                 1



         0 3           1
    JA±001111z                                                         0M41                                    FLM 2 05iX111                                  14   k 0111XtrliA

41MSIGN                                 Maff                x     P DAMP R A c etabSti6
    Y213 1tHR 20
                                                                                                                                                                                 Oil   T3

n                                                                 7  CFO
                                                                       ti    09 01831            fl      2                                    itT   ttf tiM                  03M4S
    OINEtefitch                         rFX                 ikros                u                       t                                                                                                10


0
1                                                 1



                       2
                              R
         0 3

         3a
                                                                                                                                               I
                                        rigo9M              0511§0110                            NI      2 orAlagg                  0 2 Hz tattin1116                   1    0   3 01AftrN

44414PkfrO                               4C4ZL
    14s                XS     2Q titX4R                     02z5M                          1     OgXil                      01 Lige                                ik   ria      2     0MX
                                                                                                                                              6
                                                                                                                        1



                                              140 KR= U±VE                                               ev 1691tftK11                                        30
                     1N 101
                                                                                                 4                                                      IN                                       rf44

1s1                                                    LINEMIE                            1       1      e            s                        f    1    4         es   sy       Ca
    t                              0         Xt                         r             rf         ss2                    1ev             05    k     MAN E 2 1 eyr
                       °Ali




                              1                                                                                                                                                        1



SO                            Of   f    2     4 ev                                    T4ilfatt6N5                           2    °DAN                  Ft Ah53tLt

Co       o 3           3                                                                                                                                                                                  20

    V4   3 tzAit                   X 2 03MAtil                     1   0 2       It        IfiRM               f    I       f    2 0f434 3zb6briXt                      R13 0          1



IME              1     k           2    0gt4Z6631Iffh                                 2    0     2                  VIEME                 E    2 ogtlifi                     fficgt104

VA412 0 3                          L                                                                                                          7         3     0 2       L              NMEI
    E    2       03g 05 1EflirZtTtilivki7PRA6VitHe2                                                                         o    52       0    7    L                   Ms IL S 205
41PftnAllfil                       t4U54441ttn44141ANN2                                                       o 8       k        MX1442       O         Oath iti2kAVAkg
                                                                                                                                              6
                                                                                                                                                    1




it4TZVO1                           3    0 3      Ls         MR6g44Jkg141plnighaXiITZ
C0       o 3           4
                                   th   1    01                                      I7302LtglAirg 2 O 2b1W04 4                                                                  IVIStall        E   1



L E      2       ogtr zucfrifeas                                       2    tty7 1140 1SJI14ith 20 20LL t  01E
                                                                            0lit173XC t1Ifil3 0 17krit1 7313 0 2O
                                                                   f                                                                                                                        Pt tz

                 191Mil            2    0 5      7ktF       2     0 6                                                                                                                                     30

At            Me                                       f    2 VOMA6
0        o 3    5
                 ffg   3      0         it       OVAg                  5 esy          60373ttliitt6hu                                                                        45 huXti
3   0                                                            I4kSflli                                101181             II   tg 2   08 1 fa if                 IS   1c5            b8X           tr
                                                                                                  rftJ




          1                        I




U31Vhllb tt4                                     X113                  0    3U             bri   XA 3 0                     0803160 tCrt                col




Co       o 3           6
    54n02                          1    3U MktA6S                            1   LS2L3117X202kUM$14120106031110
kiaNSM 203 Vf4115Xiiit6c
                                        ct3T                       1   OilkAA                                               2 aA1kOzt                                   03hEMMAIMTt                       40

                 X 2 a mxmex                                     tli        tt                   4ZYg         ffirc                            213                      M12073Z
tfg4413                       0    3ottit                                                        2       0fir                    4120112 ni1543tri                      0420Naffe
         Itiii         1
o        0 3           7
      z5jt
         3 tO    03 it Al OW ft              Fru ttc   1                              1                       $91           2    0RMCS        L     tket C14710te
ffiVig75t 44171It6MAWM304LM1                                                                                                ofilfAnt          X 2 04NOt                          t          40       T
                                                            44111i163            0    5    k             44    10           v1f117412         03M41613k                 tiEgfUTT
fict111i16                                       41         ri    3    0 6       e                            al Wg 3 0             4                              ig   3    0   514r13
                                                                                                                                                                                                 6
                                                                                                                                                        igk



6                3            IC                                                                                            6NOTAIM agg 3                     0 7       L                   A
0        0 3           8                                                                                                                                                                                  50




                                                                                                                                                                                            SINGULAR 00001231
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                                                                                                                 7                                      JP     2008158822                       A   2008710




                                                                  60MiT1ft                             1 y            1LSBLeasi                                                     Signif
                                                                                                                                                                               1EL1I X
                                                                                                   1             1

cant                       B    I    t               0x                                   tr      CLtdie O                     ti                   tOrct
Off                            Pre t             1   1       S    B                                                                                                a                       r             S     B oD

DAVI             L05
 0         0 3        9
                                          fill                    itttffq                         0    3     CU PLtAtt0111Vilirrtt<                                                                  1         S   B

           1Tftt61t0te1731KZE11104                                                                                        11t13`6                       rsts             MVOCIR1t <
                                                                                           0
                                                                                                             3   0 4

▪                       M                                                                                                                                                                                      3   0

403At1ev
           ta                                                               sY                                            >g        14                        ic                               it   Hi   gis



                                                             IsifilCLSB410<±itey11tP16Zkircti921SB                                                                                                                      10


ONIA41111416241155Ckt6                                                                                           4L<aP45e46
 0         0 4        0
     1                tifSac5k            M20 filic$V1                                                           tg 3 0 4                14     A                                        5304141+1       fi    3   0




                                                                                           1116
           1                                                                                           131



4d       illitiNtliOXVhiteRwitzz6754fpit46 vixas
 1   L S BON4gritli                    td        1                                                                                                                             L    S    BogIAME
                       110f t I 43 1441$344111fq                                                                                                                                    it         PI   6    T Stofi
                                                                              1511




           Fli                 fra



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                 4    13

     g3    1     69   IA                  Ni     2   0            Itatli                  7f 1 4 BB 3 0 5 z A in 11
54               e             fkaMfitifitlagfiWk                                          19    0 34                al             ic                             f11   tit   11        i 5        CL                  20



                                                                                                                                                                                    a
                                                                                                                               M103144SLg12                                    OACTqatitt

▪          WIN        3    0         ic          t           tt                                                  ttliigg            3    0 6        a                                          Allfi               5

                                                                                                                     6
                                                                                                                                                                   fit



▪    L                               14                           ik                                             4
 0                    2
                                                                                                       111



           0 4

                               efg   3     0     4                WAfin 3 0 5 Rtf 3 0 6 Oiiit                                                           141                                         3    0     7

Atit416                        PA A                               It                              0    4                                            0         hi 0 3 0 6 hi

                                             z
                                                                            ill      ig   3                                    10 tii    ig     3       5                                           41         tt26

                                     41                                                                A4014001117E                 3    0 7                                                   3    0    4
                 HI   4 3 O 5F053 0 60Pts< Lt                                                        Dt±ef   1



           103MA                     41     1    ontilltkiLls                             2       OtAIIMALOTt                                           ttbS                        41         iDtiringg

O          03                        40LkIt                  c
 0
      1



           0 4        3

     t41   4     4t            11010M                    1   0AMilic16105iftIllitel                                                 3    0      4   hifi5           iLsBoatvg14017
362464M                        F11 04C4356
           4          a        4          14                 Ot        Sg   3        0    4            AJ1                4A L BLiJi 1 S B                                     YisIg     <               tz        t
                                                                                                  0
                                                                                                  Ir


T          TO                  Plgalig               AM                1                                         B                                  1 OI                                                           A

                                                                                                                                                                                    0
                                                                             1       1    1                                     1   1    1      1



Z5 B             031111ftt     11A9ig3104k6k t                                                                                           S      B144t6C                                         003SM
                           L   S     Bar 1 L46
 00                   4
                     b
                 4

                                                                                                                               A     B                                    BAtt6tgat
                                                                                                             V
           4                                                                                                                        L                               S

                                                                                          0
                                                                                                                                                         1



                      FI       IS          AM                 1   0 0 0 0                              B             0    1     1    1                        Slc                              It    1   L     S   B    40

frg34440                                                     A    tf        B04fth09Attflit                                                0MIIMAC                                              ALBL
                           e         1failiC441                        0                 083114                                19        Ritsoey                                    Viitt      TM  1
      1    0Att tot



     4                                           b 0`ofti0t
                                                        tt
 r         0 4        53
                      a                                                                                          41111111MOTIIIV                    L         1z09116                    C

y                                    0               3                               1                                    L                             1                AM                    e                   31
                                                                                                                                         lilt




                                                                                          It      t              ALBetii±iime7
tt               A         B   kaiLS BiAT0140C6L11Vet6
     0 0 4            63
     r3 iV1PkiCbs±C                                                                  Dev               Iiotgnlt                                         A L B                                        ILSB               50




                                                                                                                                                                                                         SINGULAR 00001232
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                                                                                               8                                       JP   2008158822                   A   2008710


iiMffig04                         vzo toixteAcekc 0 a                                                                                                                   ABL
              NCO                 Tt60T ALBLbli LSBJA                                                                  34                   6 If               ft       tt

    0
                                                                                                                                                          k7


         0 4      7
                        5     121 6R40CititSIIMO                                   1   0 3 crAtt              re4rx         it4                           itviA

              a                                               MN fA 6 it ENS                                       3aAiliVa41MZOIP14EZ6
              Ana                                                                                                                                                                 Bn
     1   5                                     1                                                              O

o    A   0                            essy          IV fit    n ts 6 eft a                           i        ikeillS034ev                                              B

         ey             rIC       n       t6             it   a X5 2 0 Di for                             e Yist5fLT06                                    i4B521cAhtfolia

                                  4   k        ti        J
    0    0 4      8
    ftF4M1                    0   30AiiMd                                4V11111114            fra   MX       RI   4 5 0 0S 0 ntfA                                           A    0A             10


nkBOBn                                    O Cs                           41        fttIMNO81

         5    C OA ga 0 3 11SB ilf4VEVMMLT6MPOC                      1


a A kBO                       AnBn 040IMMM5160MINM
a


              AlkBls
              0

tLX 0 X15        Xnk L Lteff444 103 2LSBOMIV16thVFMML
  6ifiteic a AlLB 1 A 2 LB 2        AnLB110141MMAI1810MWM
         IllftLX                  0 XIS                                  X n           1   k                  O        t X n L46
    CO 0      4   9
    MI   6    a         21t1V49       03 NI    1    0AfitiffalizJA                 6 ifARUM                        304511ZSOIllfitfitltgtiM6
         ta                                    t 6       it   6   tr     8    If   y                      n = 7                   Lt   VP                           c        pi   1        tit



     Ct13ZI641WriltootaVeZ6                                                                                                                                                                      20




                                                                                                                                                V
    0    0    5   0
         51ttii4RitAAX                                   0        X      I         X   2       X     3 X           4   k X        5 X           6 k       X    7                           tt

ifkAtftliViiaig               6   0   1        6 0       4    L          littifluti01116                  1   1        6     1



         glikA    tit   X 2g 6 0          1    k 6       0    200010     0 k 0 3       1                      2             MAI 8181X NI 6                     0    5   ti   14

         NiginifilAtit                6   0         It           0 3 Ott10316
                                                              tfit                                                 fJz5NI 01 VI                           X Ig 6 0 3 k 6 0
                                                                                                              Xh16
                                               5                                                                                                    il4



4   GjjO 5 4 k 0 7 6 d                                            All    1         X WA 6 0 6            le                                 ikiNfirtIngg                6    0    6a
011 0         7   4     taltit6o
    0    0 5       1
     LtzV2T                       11030        nmdrney 1HiPSney                                                                             1




                  NOlitigoiXit 6                    1     1   k   6      1    2    01103       7     1    0        Z   3    2a MilfAiann                                6    1    5   ICA        30

3tt0                                                          5                        Z   3   0Iii t                                  aCSM                                       6        3

                                                                                                                            1714 AIRMNAkl
                                                          1                                                                       PI                                         gt

                                                                  d
                                                                                                                                                                                       1



     6   1    4   OffihZ              5   4    k Z       7    6                        Mit X              6   1    6                                                                  6     1



6   d                   Z 7 4         00716
     t tr e             Ts        Li3Z n            nadmev iIfftPSn                                      Hy

                  g±0336flbS                             X    0X              7    Ictti6                 0        Ditt           k 1 0gkthl5ti                              ef       tt   6


    0    0 5      2
                        1101Z         3   OLZ         7 4 Z 3 2 LZT 4 LX 1 01 0   Z 7 4 LX 2                                                                                      0   3    0

                  LX 50Rik                          03 0 LO5 4 kX   0Mirn 030 k 0 7 4 d
                                  6
L    Z   7    6

818411Z§ 6              2        irAi37416 lig11131Pit 62
                                          2    6                                                                             1         6    2   601101d                      MCRR 6              40

     96
                              1



2                 3     4 tinsCNI4VINni 6 3 5 k203Z416

    0   3
                                                                                                                                                                        X
         0 5

    11034010                      t                 81tg                      1        0   3   0     = 0 7         4   =     1    018iWd                       X 0                7



       =X 5 = 0                                                                        4 Z                         0 751                                                                   5
                                                                                                                            X 5IEthISRfte7
7    6                                              0    3    0   =                                  7    4   =                             X 2 =0             1    0   = 1
     Z 7 4 =Z 3 2 =0

                                                                                                                                 6
                                                                  x           =        ofrica                      X   O

ts0hiStifitgot                                 hiMiloi6kfiltet6                                                                             Z   7   4     =Z 3 0 =001§
                  X0          X7                    CO                            Ak           ebilA103Atr6
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             Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 62 of 436
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           Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 63 of 436
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          Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 64 of 436
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4t4Y17L41002                                                 frg              LE111tvA5 41        xvZ4
Y101007Afft                                                   4               ktE0631M0 MDteffit6
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4NRAMUMM
4E4         HEM10MRMLME1120MXMX4ttoMqMk
1SitittoMAMA4641wRoMOMMtt6M4tVmM4ZSw44u

 MENRMMVMMLMEnkeiNgiLbcR02RMMatffihLk1cMEM
1oMXMALME1420MXMAkMfor4k10fit6cLL1364E2Et
04014tAMXRM
4E5       WIEMI0MRMALMEM20MWMARTttlfIloMROMft
✓   UKliVoMM36IcRoaitOMMtlbtit6MROOkOMMsic
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472 7       4143415tAMATAIRtrc      gritt914W UM40114AWA
306NRMIcit10513Mt6A4                10MRMA4W3t 6mlomxtuam
110EM10MXM0Atff5MW ARMIztot
                                    JNEIA5Ac060Z ItMtctitEM1053T
10MtoM205t6M 200114MAkWtt ZM201114XL                                                         20

    ME010MXMAkMadM20MAM             0WROMDoT
6ME14203rW4Docit4M3 ItVRML4414c LttilLtUAD4A
HM
44E8  nEthomma
 MEMI0MXMJEkNEM20MIgmoftiftshDoT±Wev1                                   ffi   S    72 XI

207411cDoTesylfluclOMMS01VMXtff30MMOgRIMM                               HAIL
    MOMOMMWMX0MXIMANTRitoevi>T6ip                                       fa le     VOV
MWZoevil3T0IcRottfAMAtWt160a4135A0AMM                                   ks        4A 1

    MasiLW RiliffitontRMAVkl1tUkIcME4110MXM                             LME412               30

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Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 73 of 436


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Patent Application             Publication                      Jun 26 2008             Sheet 6 of 10                   US 2008015904              Al




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                                                                FIG 6B




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                                          FIG                 9




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Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 82 of 436


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Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 83 of 436


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output oflowenrier                 m            s                                                                     l0021                     411 is         schesnatic        expiaining           a comparison thm


160101          As dmribtal ahoetranarithoniceircuit                                          aIdaeon                 allows an      moron                  Sl and is made by a twatinatclittxtoe
pule syStem which detect                             an erfOr that is Mohlerntnic                          in     a   autmling            to the       first      pieftwed        embodirtamt of                  the      venal

14n 11113g           on arithmetic                 with     high prattahilby                and         with a        Weeilia

cinatit     tirmeunt       aS    least    as phiUtile              ia desired          and bekides           an       f0221          IC $            is   a Sdiallaik            ftMOlying                 a onifistration

31310tk           eimnit         and     a ounpirter system which can correct                                             Fan input unit ofthecompari4mtimit                                    according ie the tirst

all intermittent           error caused by the zoliision of inflation par                                             pnifterredeniboditnein                       of the    presot mention




                                                                                                                                                                                                                                  SINGULAR 00001255
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00231                           nA               a schema           fxeritpli         flying a         coutignratIon                    pfthepmem invention flowirm the present invention is not
                input unit of the
of the                                                                                                                        the       thdikki
                                                        comparkin circuit acseriling                                                                                                                      Mating        point arithmetic ciralit
                                                                                                                         to
                                                                                                                                                    toadoubikprecisiort

    int prelrnral embodittierit                                 of the present                                                          As a matter tiraitirst                               the present invoition                     is also applicable


WA
I                                                                                           iiivefilii333


                   FIG till            is ir      scholastic         eatanplifYitig                    Indianation                      lot
                                                                                                                                               colturia           to a singleinaision                                  floating            point    arninneth

o     the       ititan      titit      of the compatitm circuit                                 according                to   the       cinath      etc

first
         preferred enthorlintott                                of the present              invention                                   l0037          Te1lowiagdesionassnas that input data to
10025              MG 7               is    it   scimnitic examplifying                           a specifie                            the    floating       point                 arithmetic              circuit         100        akanAingto                 this


        nation of               a     Fast        atitthimic unit according                                  to   a   settiad           pratnal embodiment                                    is    data    in    a   Ottibleptaion                         Seating

moterral cnibtXlittierit                               of tile    present       inveatiom                                               point     Iiimint     has                   int      IMF Institute 4E1aideal                                 and      Elec

I002fil                          S is       a whetnatio             exempillying                  a     specific          care          tronic      Engineers                      754         Also        aiSterte         that       the     ChM      operand

J1311ratiE3330taAVOld                              arig3Aletie           wth    333A            a comparison cir                        ammd 43                         sign SI               I bit width an exponent                               El      11bil
ctt acandingto                             the     seeond          preferred           etiOaxt                           of the         width and             a        mantissa 11                        52 hit width                      and    he kemi
pittent invention                                                                                                                       Opetiletd      WIIIINAX1                    of a sip 62              i hit wiMi an exponent Ell
10027              PRI 9 is a schematic                              exshining                  an     exatple                in   a    fllbit      add and 3 maim P2 52biiwkilb are used as
case wham the putfernal enthinlimerit                                           is applied                   hi   a iterative           input data

Oonvergent                ealculithon                   awl                                                                             loom           Accordingly                            also the           C34333       Of the           floating       palm

10021q             ii10                is        a Nock         diagrammewllying andige                                                 antianok            citeutt                100       imuly the first arithmetic unit101
                                                                                                                                        aaairtinkx to this preferred embodiment
ration rnptired                      for the isexecution of                                                                                                                                                                           data into             double
                                                                                                              point arith                                                                                                        is
                                                                                 alitiatti4f

metic           circiti       tawling                   to      the patierrvit             embindiment of die                           precision floating                          point           thrum          based         on         EVE      754          and


proknit invingion                                                                                                                       as             to   be output                    data comilosal                era sign SIGN                    I   NO an
                                                                                                                                        esponera        MP                     i   bit        width and               a mantissa 1             RAC 52 bit
                    IFSCRII91NC1                                    IFIEPREFERRH                                                        widths

                                                  Bli3011h4ENTS
                                                                                                                                                                          First          Preferred Finhodintent
103291             Vterated                      ernithdimaits            tiestita4               ta         tMpiklutit

                              hereititilIer              described         with relaathe                                                100391         FIG 2 is a whetlade                                   exemplifying a spaitlcCM

to   10                                                                                                                                 ilekatk31       isrgxs first                 atithateiconit                    101mMthing                   to the        first


le3301             HG 1                is        a schematic           explaining               Ate outline of a                        ppefintat       effibiAiratett                        of the present invention

                  point arithmetic                                   100 aceardiikr to a iiiekried                                                     The                         aritinnetienni                     101    shown            in Fd0 2 IS a
flostinkt                                                Pircuit                                                                        1410401                       first




tarthoditnent                011hereMa                                                                                                  douhlopiwision floating priim adtkir thatco                                                        ET 1130eii   aninhthr

14Q31              The          liming point                     arithmetic       cimilt              100         shown            in   201       for iblaining                     die sum Of the mantissas F1 and                                                   3

                 entaprbuts                a lira        tumde                                   fbr ouVutting                     t    Albtract0           202         for obtaining                     a dillaathe                 between        the      expo
firStarithinetic
                                     reatith             serthad     arithinetienah                          102 for out                tons El andE2                         amwater 203 livainvertingthedifFeratee
putting a second                       arithmetic Jesuit and a comprison                                               circuit          bowfin         the exponents                           F1 and         El into an absoiate                                     A

103 for makit                        a comparison between                       the Eino and thetiecond                                 right shifter         204             the        shifting          the mantissa according                            to    the

arittnisoit           result by a timiletermined                                bit        width                                        absolute       value             Airsixx20S 01207                               I        s1Vilthing the              NAM
00321              The         first       arithmetic             unit   101 ataptitsthe                          fast   with           eeCerdifig          to          the         positivityinegativity                             of     the    diffmnice

mak le$0 When                                                            wih           i        reptMiiVed                in a          between        the exponentsE1                               mid i12  an exclusive OR unit 208

floating          pint                                               Tie     first         icithrrietic               molt is           tttobtainiag                  the          exclusiVe              OR M the sips S1 and S2 3
data             the floating                    point lbatiat and              its        mantissa               hash        Inv       etWerk 209 for ainavtingtheouiputValueoftheala                                                                            2111


                                                                                                                                                                                   w
          itt



data      width           iiiiiett     as a 52 bit                width         11mbtatter                        a iagri      ata      intr        abAtqifiv                                 birmitioridetc313219                              Mr letting

exponent             a$aaWhiC3eii1431101tho                                                                            hint             the position of a bit initially                                  having if      VAN            I    viewed      float      the

result          ere hereinafter ralered to as a                                                              a firm expo                most Signifweag                       bit        a          position aligner 211 for making a
                                                                                 first                                                                                                        bit


neat        and a first              maraisim Aisponively                        1113WeVet                   MAjine                     Mt shill       so    dun              the detected                 bit    position lavcimes the most

tumid off process                           is tat exemtedliir the                         5111549i               eXpOttettE            significam           a timid off pmeessor 212 fir                                             executing             a round

and      imintisva                                                                                                                      offmeessa tieceder 213 fix determining a signSPWhom
00331              dsti    IMistwad                          innefic     anit 102 the same operand                                      the sips 61 and 52 and the sips of the output wines attic

as      that      of the            rim arithmetic                  unit     101           is   input             Then        the       adder      201 and               the subtrather                     202 and              a    whimtor 214                  ler

seeoad            aridarmic                  unit        102      initputs
                                                                                the         Mead                  nrithwene             °Wining a di              l                 cehetweentheenpanenrEl                                     or E2 and the

restiliklso               the accord                   arithmetic resah is data                        itt   the                        bitposition dewtor                               210 and          Me bit positita aligner 211
poita format and                        its      tittgaiwa has a secoad                         data     width Here                     E00411         For an addition process the                                                         oldie
                                                                                                                                                                                                                            digits                  ottantatts

astatine          that     the second                   data width         is   a data           width            such        as        El and       2      must be aligned                               Accordingly                 the subtsthair 202

4 hit     width w Web is stnalier than                                   thelirst          data witilltAccotd                           obtains a difference between                                      the taquirthins El and                     E2 Then
Mgly the Circuit amount                                  oh         second        arithmetic                  and 102 is                the ri71114illet2113                                                  the matithiss Iwording                                 in


smallerIlan that                       of the           first    arithmetic       inth          101                                     the reMil313diflettvee

11341               Ihe         sign             the    exponent           and        the       ilawadna                 which          p0421          Here              if        the       difterenat           between              the    exponents            RI

conligare                 the        necand              arithmetic          313130              are          kereinaller               end    F2 becomes                     a negative                  valtki       the mantissa PI                  must be

referred to use seeirai sign a saaimi twinning and a                                                                  wand              right shifted             Therefore                        333   lapin     the       tnatiihiSa           Fl or Fr to

Idantiss3 respegthviy                                                                                                                   thenglthithiller 203 and the adder                                            201   is   swatted by switch

100351             The          etimparitaitt                circuit      103 makes a eoraparkaut                                       ingthe      oututs of the switchent 205 and 200 am Wing                                                               tr the

between             the       Ana and                  the sasind          arithinetieresulta                          by the           poSitivityrutgaticity
                                                                                                                                                                                     of the read3of                    the subthithor                202
second data                 width and outputa                        3 e333patisAn                                                       0044          Theadder 201 isettadderfor                                           adding data ola

WM                  Adultblevpret                      iaion
                                                                         ingpointarithanitic citsalit                                   width      alteriibtnting the                              taus     sigtitikult
                                                                                                                                                                                                                                      bit          in the     mati
is   described              below asa                               etamile oldie 11s31ing                               pnitil         iisszis   52         w 01x Pk tipenas add tiltptdputiinp of
                      diedit           100 actordingto                    the preferniti onbodiment                                       54 bit width                 The          adder 21H              Makes an addition of a aurae




                                                                                                                                                                                                                                                                    SINGULAR 00001256
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rion according to the                              inapt volueof                   the exchetive                 OR wit          the rightithilier302 ItysOlulting                                            ontputs         oftheswitehers

200          the adder 201                     makesan aialition                      if thosigns SI               anti t12      20S end 294                                         to the        pasitivityinegathity                            of the

are tin 533310                  3tUKsicsn a stalumetirrit if they clan                                                           ourpta value ofthe                     stihttactor            202

    00441              The mantissas F1 and I1 are positive aloes in                                                       all                    The adder 301 is for ettinuple                                       au adder throutpeo
                                                                                                                                 10054
33s31rhs<ufottlikotwelior                                           200 taUtt the abwritue                        Ohm of         ting data        eta 5hh width 31ur adder 301makes an additirm or
the output                  yake               ttitt    adder 201           0 MAX                1113
                                                                                                        ingp3t                   a sulnraction acontlieg                        to    the signal of the exclusive                                OR unit
positive The                                                               210                                    hmoi
                                                                           1
                                bit posit ifnriatViir                                 detects       the                          211       ctiitar     i3 the first           arithmetic           min Thecortsretter                        303 takes

a     hit    which            Min133y            bas          vaine               viewed            lime the most                the alisohne tmlue of the CEENM1                                value ofthe adder301                             to   mak
            licant bit           rfthe midi ion resat                       that      httiirs            positive        and     the output
signi                                                                                                                                                              positive

omptas the detecterl                            position to the                 hit
                                                                                       positiortalignet                 211                                                   213 ealcnknes
                                                                                                                                 10059            llurdecoder                                                the second4n                        from the

I0045                  The bit position                      sligter 211 lefothids the addition
                                                                                                                                 sips SI          end        52 and            the          gns    of the             outrun         values        of die
                                        433        333Nttlfg          209        to shill          the    IM position
33334inP3I                                                                                                                                                                                  201
                              11331
                                                                                                                                 subtractin          202 and            the adder
detected                                               ion detector 210                    tote position of the
                       by the hit          pacit
                                                                                                                                 100$61           Wait           the    above        described                                 the addition                   of
                                                                                                                                                                                                             process
most signihcant bit                            The irh position detected                           by the        bit    posi
                                                                                                                                 the    first     and       the       sea nut       operands                is    made        to     calculate               the
    ion derkmor 210                    is   input akar u$ the subt raver 214a arderat
                                                                                                                                 wood andmink rook
I




                                                                                                                                                                                     In     this    pridesed                adistilmeat                      the
rethxa              the                     of this          le hlhill      en the exponon                       EX3
                                                                                                                                                             gat decoder
                            arnotiet


                                                                                   execuks tiw round olf
                                                                                                                                 mum            valuer>                                       213 the                 swirener 207                and        the
    lft461             The rotted riff                 proorasor 212
                                                                                                                                 converter         303           are used mspectively                         as the         300W            sin             the
prmntss               fir    the valne Axil frotnebiposition aligner                                                     211
                                                                                                                                 second                                and the second               133116533
                                                                                                                                                otprineut
riceinise this                harmirdproCess                        is a   rotiii          VIYPWW35              b33d
                                                                                                                                                                                                                                          Mil 3 cum
WEE 7q its details are °raised                                                                                                   100$71           The       crimparison               circuit       103          S10kn         is




                                                                                                                                 prisesa tuvr match                      detector           304 thr determining whether or
                       The subtractra 214
                                                                                                                                                CM
    100471                                                         aligns the digits                by stibirecting
                                                                                                                                 not     On                 IS    within a predetermined                                teape         by ixiakiiig
the        output            valkwof             the      hit      position           detector          210       3nkt    the
                                                                                                                                 comparison between                           the     first      aral       the        UNVW fiNifiiin3
aztotiiiferAii                      33itttle     by the         mond otT pttmesser 212 from the
                                                                                                                                 mismatch detector                      34ibr Meeting a mismatch by makirl
exponent                   a1         Ti2
                                                                                                                                 comparison               between             the    lira        and the              second          exponents                a
1004111                Titedceoths                     213caleniams               a sign SKiN                    from the
                                                                                                                                 mismateh detector 306 foixtmeathig a mismatch by tnakinge
NikE3S          61 S2 die sign of the output Ntdue of the submtetor
                                                                                                                                 comparison             bowers the                  first     and the            mind signs
202 0N1 thelig31 of the                                                          of the                     201                                                                                                                              ti

                                                              put value
                                                        o1                                       adder
                                                                                                                                 OR unit 307 hirdtxtclinistift                            emir by oblairtingfthelepcal                                      OR
                       With tIN shove                                                                           ion rest th
10049                                                    31Ncriireil
                                                                            protxxs tar adr               lit

                                                                                                                                       the Armpit values                 Oft13cMia                 =kik dtttattit                         304 and the
sign SKIN iApi313iaXIs                                         mantissa          FRTnf the flea ept                              int43ffichdetwors                       305 altd 396
tnai and the secomi operand                                     is obraiin4                Additiona            Hy in thi
prefernxlemboditnera                                   the outran ertharSof kitleetrier                                  2U      RON              The        litst     and     the second               mantissas             are         lupe         to 04

                                                                                                                                 mar match              detector          394 from The                       utarnissa              iii    the    second
the imitcher207 and                               113e   tinkruner209                   are used respectively

                                                                            Mid tile fast mantissa
                                                                                                                                 arithmetic            result
                                                                                                                                                                               ablyincludes                      =error oft                  least          sig
as the              firs    sign the           first
                                                         exponent
                                                                                                                                                 bit    11S11            Least                                               fheridiste
       901                                                                                                                                                                                                                                                  only
                                                                                                                                 nificant
                                 3          a sclunatic                                                                                                                                  Sigeilicarn
                                                                                                   a                     cot
                                      is
                       1107                                          exermilititur                      speralic
                                                                                                                                 11513         may sometirnesiiillbr rftn if the ealculatirm is made
figibration                 ol the second withIndic nnit 102 and                                        Nioompari
son timid 1ea30iVrditIVOthe                                          Am pitifernW embodiment of                                  with     proper recision                       Ant error at                 tlilii     time          s    licreinaNa


the                          ittvention
                                                                                                                                 wigr red        1 as       tat    error of itlitr
           ritisoit

                       To                                                                                                                         For this               son note              perfect370t3kWIM                                    await
t99511                        the     second            arithnunic          rain       102        the    first    and the        1100591


second                                                        Shane         to the tint arithmetic                               bur the nearmatch detector                              304 Mr making a comparison that
                     Operands          areinpUt                                                                          with


101          liewevas               en1y            au
                                                iriktit414zsz         4 bits are used                    tor    the              allows the            enor Mamin               of          3S13        is   used in the comptaison


thee In     esplanatkrn               fustoperatal com  alum FKi 3 the                                                           circuit        103     mold                   to    this      preterrol embodiment                                    If    the

                                                                                                                                                                                                                       don error margin of
posed of the sip Si t1biI width the csporient El I
                                                                                                                                 coot margin              is     made     large          thr
                                                                                                                                                                                                 example
                                                                                                                                 2                                                                           also
                                                                                                           to setxtnd                                                                    allowed                         3 isleipkrit34
                                                                                                                                       least                            hits    is                                                                          that
width                  aid the        maraisSa                11    $isit       width             and                                           sigailicaia

                                                                                                                                 allows the error                               of Alit                           be made by IMI6rig                           3
operaed               coluposed             of the sign             52 1 frit                                   eaTranirm                                          genia                                can

                                                                                                                                                                               high order
E2         1 Ihn width and the mantim 12 4ltit                                                    width          aat used        comparison               hetwiarri                                     hits          excluding             the


as input data                                                                                                                    whiebaM           obtainol             by subuttennEr                  I   bit       from the Input              data of

                                                                                                                                 the near        match detemor 304                          Its details will                be described                    law
1002                   The      uecond           arithmetic unit 102                       shown in                     1 is 3
                                                                                                                                 with niferenez                  to   FIG S
kiwprecision                     rating pinet                      adder cornpriAng                     an adder 101

    thr obtaining               the    sum of the mintinras                           fl    end f2 ii           soirancter       poi              The        that and the second                        minims are input to the
202         hit obtaining a difiemnee                               betWiitli          the exporanits             Iil    turd    near match             detector         3041W OW match detector                                            304 deter

             otmetter 203 litroomerting the difibrmum between                                                             the    mints whether or not                          the       Mr el kali of the nusafutsas                                         is



expirnents El sod E2 into                                     an absolute               value       a rightAlifter               within        a praditatrialatOd              yaw her example the inamissas are
302         thr right shifting the f33Ati33a                                atcording              tt the absolute               determined to                   match    i   Nu error             is   within the predetermined


valve               switchen          205        to    207 te witiiltint                        the mitptitarmord                nwrge         the raw of                       error of           1IS11 or the matuiwo are

Mg         to       the positivityMenativity                         ate digermei between                                 the    determined             to       mismatch           if   the trakIr          is       not    iidiitt        thepule
cotprimints                 El and IC an intchisiwOR                                  unit       208 1hr olithining              wraithAi range the range of the error of                                                   31$11           A specific
                                OR of the sighs SI and 32 soda railNeter                                                                                                                    he

                                                                                                                                 MO 6A and O
                                                                                                                                                                                                  described                 with
the esehisive                                                                                                            303     conthmitaien                exampie            will                                                      reiinernuy          to

    tier
           t>33kerting               the       output          value        4    the adder               201      into     333


31W3W                  value                                                                                                                      rho first end                thestxwit                exponents are iiINt
                                                                                                                                 100611                                                                                                                to the

lI93            1      Similat         to      the fest            arldurirtic             unit    101          the right        ittitatiaCli        detector           305 The                mismatelt                detector 305 deter

shilier302 right shills the                                        alissa        12 italinglo                                    odnes          wailer            the   exponentseither                          match or mismatch by
ttrittleebeerveenthe                           exponents            El intd E2                  Nal iscalenlated                 calculating            a    bitsviseeXCIfkiitk`                    OR and                  by perfounirrg

by         the subtractiv                   202          Additionally                 the        righusinfliti           102     logkal         ORe               0300              the outputs                  Siteihrity the                  lira       and

Switches               an input fire                                       or 12           It    the adder 391           and     the second            signs are input              to the       mismatch detector 306                              Nen




                                                                                                                                                                                                                                                              SINGULAR 00001257
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the     ritisittanit           thtlecor 366            determines        whether            Ate 14ti                 rmactively               X6                                             and        0        is    Xr if dm com
                                 misniatch
              trolch                                  by pertiviningaaexclusive0g                                    poison                         103                  implemented as a conmatison oirmit
either                                                                                                                                circuit                   to


operation                                                                                                            that   allows the                                    21S13tui           shown in FIG                5
100621             The ontputs             of the     near inineli     teenir394 and Itie                            10071             FIG         6A and 61i Ira schemmic exemplifying                                                coa
mismatch rkiectors                     305 and         Ina arc Mina         M the logical OR                         ligaration
                                                                                                                                        of admitming                           nnit     of the coinparison cimuit193

mitt 307 For entity uif he mar match                                                   364 and the
                                                                       deteaor                                       wording to the first                                mxiknxid        ethlikuhmern                  of the        mann
mismateh deteaters305                         and      106 respeethely            output            1
                                                                                                        ulion        invention For simplicity                              of emplanatioa a comparison eircuit

detection of a                 mismach theJa                        ORt 307                 entplita             1   of an Milt           precision                m7            ir   described              I   linverer the         com
when            me in mom or the rear march detedor atu and
           at least                                                                                                  parison oircuit               is     not limited to thio contignration                                   as 3   mann
       miontatch delechtts30 ad 306 wet a nliSinalchAa                                                               of sairse

              a inialnateb bk3aMai                  die     tun mid the    seeotal arithmetic                                 ijie arithmetic results XO and XI 52 and X3 54
                                                                                                                     06721
                  nainete         a in3merically             skiMikan          error   in the                first   and X5 and Xfi and 57 an tvVeeliVeiy i0fan 1 lagiaal AN
atitinnetic             unit   101 can       txt   detected                                                          units 601 to 664 and kcal OR nuts Olin 614


011631             FIG 4A             and    43       am a schematic             explaining                   the    100731    Minna 010and 032 of the logical AND units 601
ceenparisint              that   allows the erior ol11511                  which           is   am by                and    662        are        intim         to       a kigieal       AND unit 60$ which                            then

the near           match         detector     304      atitssiing to the           first        preferwal            makes       intoutpto              030              similarly outputs 054 and                            0764i he
embodiment of diTxsem hissilk3a                                                                                      logical     AND wits 603 and 604 are input ma logical AND nail
100641             FIG 4A Anws                  a eine        where    A and                whieh             are    606 which then Makkaaa                                    etiT0t        074
                                                                                                                                                                                         Onm indicates that the mah
                                                                                                                                                                   I
                   ihe Mat        Mina delesn 304 areidetnieA                               athertimr                100741            Armirclingly an outgun

                        is for mintple a cue                  where    A and      It   ate               WI          dim the tt4h hit are
and     11111 tespeciivoly11                           the excinsive       312     of A alai B is
                                                                                                                     1667S             AdditimiallyoutpatsZ10                                    ail1732                 elogkai OK



                                                                                       1
ealcalawd               its   arithowtie      insult        C beeonma septianceoffr                                  tiaiE5     611 and 612 can input                            0 a ItigkalAND unit 61S which
other than              tint1513       and only the           10 beaumis                                             thim makes an                 allipaz0iimilarkoppaz$43psi176
1666S               II41       4B shows        a case         where    A and It lab are                              thciogical           OR units613mi                               614 am input io a logical AND

input      to the         matmatit iletectori04                     are difkleni            by                       unit 616          which the n makes                          an     011tut
                                                                                                                                                                                                        Z74
                                                                    matt                        OA and
                                                                                                                                                                   9
Thisisfixesamp1e3                          ease where         the                sir hies                                                                                                               inignaW Nttthem01
                                                                                                                     10761             Aosvgdingly                       tan OiltpinIran

                                           138 such ass case whemA and Bare
     aredifleent only                                                                                                bit to the toth bit are                                   With the above                    described       truce
                                       i




10000 and 011                          I ropelively lithe exchrdw                                        FA                                       orq and                         41                    XOio X7 atV 01gained
                                                                                           0
                                                                                                                     The    MineiN0                                       That                   In
                                                                                                f




                                                                                            0                                          AnthemOm outputs 430 and V4 are tripthlo
     cew31t ift arithmetic resnit becomes
       B                                      ina                                                                    100771



                                       en
      uthere A and B ttameli
position                      oucteence of       and
                                                                                                                     logical     AND unit 621132                                 Z74 and 51 are input                         to illogical




                           1
beeemin1 in a bit       whew A and p do ton match a                                                                  AND unit 622 010 Z74 arid 52 ate input tea logiimi AND
                                                                                                                     anit623030 710 and the hiveMina of XS ate hiput M
                    ttf
squence
twq                           prtmsd titnn the cases siansu                    M1103 4A and                          MOsat AND trail 62403o 954 and the Myunion or57
413    014 the             arithmetic        moult         C Oistaintti by calculating                         he    Minn ma logitad AND unit 625 and 030atad 074 am input
                              moms 3                                                                                                                                                                             higicai AND

                                                                                 I
ifmittsMe Oft                                 bit     pattern where                    eensectitive                  to a ingical         AND unit 626 The outputs                                           of the

anentiaiiyiimthemost significanI bit and                                                                                                                                                                     AND unit 635 43
                        I once 1 apptxim Nanady
                                                                                                                     nuns       621      to       626 are                Mon
                                                                                           is si
                                                                                                    nmeett                                                                        to a logieW

                                                                          if   A and B are the                       imutters          629        to 634

above        describedlt               paints          it   van be detertnirasi            thatA and                 1007b1            In the aNwe scribed                                                   ion for example if
                                                                                                                                                                                        xitipsttip

     am ditkurat by 115B or km                                                                                                                            it   can be determined                        that allof 50 to 57 are

10067j             f humidMimic                 resith      Cis a bitpanaal            where all of                  1 Or if 2 570 and 054030I c1 Z765544                                                                               and

bits   are                 norm of A and ti
                          tinsi a ease where                                                                         0391             4
                                                                                                                              2P740 and 5201V1 or 7741324i                                                                              and

   ILSBOt iFthendihmefte molt is a hit pattern wherc all                                                                                                  dm0Am
                        0
                                                                                                                     Xl          it    can he                                         that   0     as   maisocutive             front       the

of bits are  A and Wperiiictiy match Thatilitre       is                                             fitta           most       significant               hit        to    a predetermined                       bit   and     then     I    is


regarded            as 3 case         where A and            3 are diffoina by                  I   ISIS or          coaselitive              in X0            taXi Additionallyif                               6 Z7443644                   it



less                                                                                                                 can he deomitted that                                  of XI            X7 am 0 A and B perfectly
I                                                             exampii of ihv comparkso                               match
                                                                                       FIGS 5 and
                                                                                                                                                                     I
circuit           103     is described       below with refemnce                 to                                  10676             in the        above               described       eases           I       to    ft the logical
6B                                                                                                                   AND unit 635 maws                                                                                  AND unit CIS
                                                                                                                                      I
                                                                                                                                                                               Namely            the logical

00691              MO 5          is   3whematic             exemplifying        a autligunvion                       otaputs                 if    he emtrof A and B is Iner than                                         I    1S11

of an input unit of the conwisott                             eircui   t103 wording                     at    the     O000             Asa temill whether or no atvaror                                           rfthelmnnandthe

fast prelemd anhodirmit of the                                prem mention A6 to An                                  second       numtisms                     which are input to the comparison circuit

rep      rant the hits titbe                  first    =MBA when a hi width     is a
                                                                                                                     101 is      a near           =teal ot aw rnneafi                                 ISIS can he determined

whereas            BO to bin represent                 the   bits      the $motiEhneatim                             front      the output Oar                       I     of the comparison cirenh                           103
when a            hit   width   n In the case of lids preterted otthodi
meat                            M set n it 4

161prises
                   is suiliciet
                                                                                                                                                   Sixoral               PitiCtrol Enthodithent
             it




    m701           The input           an or the compariamn                    citeuiX


             exclusive           OR circuits 500              to   50u whirl ruktilate                        the    10O101            FIG 7 is a schematic exempliAing a specific
exclusive           Oka eaelLef AO                    tt    An        each of BO           to       Ba awl           fiwiration
                                                                                                                                         of the            first         arithmetic          unit        101      mitrdiag to the

Cs0ipatarithonsic            5n Asinuna that the 1tiliumitic
                                  oasuits     Xthio                                                                  secivid      praferred eoilmdirmiir of thiprestmtimilitioil

ms ts a I    mkt41k OR elA6 and119 Al and Ri              An                                                         106821            The        first        arhinnetie             unit    10 shown                 in Plq         I is

and 136 are respectively X6
                            51     15ii if the comparison                                                                                                 float             point multiplier coinpriSing6mal

einafit        163 is inipleaumted                 as a eoMparison circuit                 Omallows                  tiplier
                                                                                                                                101 ler obtaining                          the pitplud of the maritims Fl and


                                      or sunae dad the roithauttic rasnitsofthe
th     ert        rat     11S13                                                                                             a   unnid             oft proomsor                    212        kir      exmating           a     round olf

exeltasks Oft of limA 1 and                         131A2 and 112                 An                                           addzs 702                                                                                        ham the
                                                                                                                     proUss an
                                                                                                     tin are                                                             for
                                                                                                                                                                               calculating an                    exponon




                                                                                                                                                                                                                                             SINGULAR 00001258
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              fexponents El                                    maim exclusitvOR                            Nit7Eibr                Match dmector102                      and the ettiarnala104Xteili                                   $03     mid 804

caleadafing                    a sign       frinn    the tux insist            OR ot the sings                         1 and       Aida the                eitchtsive          OR unit 804 thax1 in the second arith
S2                                                                                                                                 metic Auntie hi                 01W aAuMismatch detector 804 used                                                    in


    loan              The suweviity701remortisIlte                                        most significant                   hit   the comparison                  eirenit          103 they may he timfigurtel stext
                the mantissas                     62 bitS flaw two operands and nun                                                nimly

                                                                                                                                   MO
        itt




tiplies
               data            ofii44i withh Additionally the adder 702 adds                                                                       The         that     and the            wand                maratiM5            am input E0 the
the exp<ittetti                 s of   the two         mends The exc leant OR                                          i7 03       nor match             them 802 The near match                                            etwo          802 deter

obtains the exeinsive                             OR of the signs oldie two operands                                               Mines whether or not an                                 emor of the                first     and      the    second


10841                 The          rturad off psitvss                  conforming                  43      IEEE            stan    mantissas            s Withi33        a predetermined                         mar the range of the
ads 1s iAItted by the ronad off processor 212 for the result                                                                       emir of 21S11

of the                                                                                            701 If 3 digil                                          the folk axingqualm is talculateti as a me
                multiplitatirm made hy the                                tutithplier                                              i43e911         Hero

carry occurs                    as         result the adder             704        Infixes a          eorrecliom                                       made he example in a vise where ernes                                                   e41
                      With          the idlest described                                                                           are included           relpookly in the                             first                   a and the stxxind
                                                                          process a multiplieation
j   00881                                                                                                                                                                                                      operand

               i311I3      Sign        SiGN          the expottent             1XP and the mantissa                                operand

FRM                     the        first   and the swami operands                          is obtained                In this                                          taaxecti
retortd crahr aliment the                                     outptt valuesof the exeinsiceOR

          701              the adder                         and      the multiplier                  701       are used           ittiiiS         Lim assuming 3ilatkile                                 lint and       therrectind           Ma16S
unit                                              3112
                                                                                                                                          are 4 bits            Aa and          b become a value                            smaller than            U32
rcspecdvektas                        the     fitst    sign the         first
                                                                                exponent and                      the      firm

                                                                                                                                   However              the     error     irSat11>Iterth                          of        the      multiplication
mantissa
                                                                                                                                   resith     want heemne                           YahleiaAer                        han 1132         like    the error
                      NCI                                                                                                  tem
                                                                                                                                                                                                                  3




100861                              8 is a whernatic                  exemplifying                a      iptxilic
                                                                                                                                   oftiv addition               test allitcaugh                   it   beternrcsa           value      smaller than
ligmatkin                  of the second              aridumitic         unit        102 and the notepad
                                                                                                                                   1116       Amedingly                  a near match                    desector        hrr taaltiag a corn
son eirenit                    it3     according to the                 stxxind preforted                       embodi
                                                                                                                                                  that allows           the error of 21i313isusedas                                  the near match
                               present invention

                                                                                1pkedi
                      tItc

                                                                                                                                   detector 802            arawliagt                       this     preihrred einraluticutSnice
OWIJ                    aa sindIamailatTal i$$th
                                                                                                                                   The                                                                                                           refer
                                                                                                                                          spoeifle oonfigutationexaniple                                       was desorihedwith
Ment the                lirstand           3133   SW 133d 333£33133i               are input tittliesecond
                                                                                                                                   twe to I3t$ Sand 6                                      whined
                                                                          WO order 4
                                                                                                                                                                                                                bete
ad that We unit 102
                                                                                                                                                                               it    irt

                                              hioweveronly                                               bits   are used
                                                                                                                                                   The                  and the second                     ektionents              are input to the
                                                                               EIG 8 assumes that the                              Ktelifil                    first
for the mantissa
                                                                                                                                                                         80 the mismatch detector 803 dew
                                           iIsplanatien
                                                                                                                                   33133133aid3         detector
first    tiperand composed                            ota       sign SI        I                width an expo
                                                                                                                                   Mines whether                  both of the expeuents                               either       trrateh     or rids
nent          hit     41       hit     width          and a        amid nit          fl    44sit width                      and
                                                                                                                                                                                                       Wand bypteltirm
                           I




                                                                                                                                   mMchiby calenlating                    a bitwiseexclusive
the     srand                                 composed             ofasir SZ 14th width an
                                                                                                                                                                                               themullsof the exclusive OR
                               operand

                        Kai 31 hit                              adz niantirsa 12 44th width                                        alga logical          OR operation for
exportent                                         WiddiL
                                                                                                                                   the    Iltst
                                                                                                                                                   sign          and the       signs SI and                      S2 of the             first   and the
31V     OVA 33033p3331338
                                                                                                                                                  Omahas                                               IN VXdfiliVe OR Mtn 804
IOW
                                                                                                                                   atxantri                            are itftt             to
                      RieMI3331                                       ERI33102                   vu itirRi             8 is a
                                                                                                                                                                                                          OR <rite sighs
                                                                                           t

                                                                                                                                   Which       then      obtains the exdosice
lowprecisitm                        iloctirq poleinuthiplier                         tanp 1itig                       Etaiiiis
                                                                                                                                           The logierti OR unit 808 mktgAzSte             OR of
                                                                                                                  3


                                                                                                                                   0097
3k3 Of for obtaining the pnxinet                                                         mantissas           11   and 12
                                                                                                                                   the war match detector $432 and the mismatch dinia10413 803
an adder               702          thr    calculating           the    $5104             exponent              front       the
                                                                                                                                   and    804 Aecralingly for maraple ink =Irritant                                                            detector
sum of the                                 waa       F1 and        E2 and an excitisicv OR unit
                                                                                                                                   802 and         the     mismatch                 detectors              803        and     804      respeetively
804     thr
                    Calculating              thetI3freeeIusiveORefthe
                                                                                                                                   output      1   won detection                     of a      11310331a3             11t          ktical      UR   unit

signs Si              and sz
                                                                                                                                   $emputs1 when at least one Orritom of the niptiy match
    room              The                             801 is for example                         a multiplier                kr
                                                                                                                                   lector 802 and the mismatch detectors 801 and 804 detect
                                   innitiplier


making a turthiplicatirm                               of 441         dm       hit    width           of the second
                                                                                                                                   a mismatch            As a resnR a mismatch between                                             thefint and the
                                                                        801                                  mom
                               i
mantis4+i bits                               he TrullWhirr                         restores the
                                                                                                                                   sraind milinnene                     restfitsnautelya                         namorically
                                                                      4 bits of the oso operands
                                                                                                                                                                                                                                          significant
nificant            hit              in    the mantissas
                                                                                                                                   error of the fhetaritletic                              unit         101     can be detected
and     a riWies data                        of a 5 bit         width
                                                                                                                                   001181          1   sr the litstand               the     sewn arithmetic units two sets
10111110              t he adder 702 adds the exponents                                         of the       MO qta
                                                                                                                                   of sign and exponent
                        102 Ihe
                                                                                                                                                                          calculation c if tat its oldie trite                                 scale are
31343                                                 333Chliin          OR unit 804                       obtains the
                                                                                                                                   revival the                             amount of the                         mantissa of the second
              33331
                                                                                                                                                                eirant
exclusive               OR of the signs of the two optaxatels and                                                     he   first
                                                                                                                                   arithmetic           end is         significantly
                                                                                                                                                                                                       reduced         as     will     he described
sign
                                                                                                                                   next
10011                 With           the alnwe described                     process             the       ntItipiica                                                                             amount of an bier or a shilbar
                                                                                                                                   100091          Nontaliy              thocirenit
lion of the                first     and the         mod operands                     is       made to caiculate
                                                                                                                                   is    approximately                  proportional                   as thiiows             if   a   bit     width    is

the sticoul                   M this preftwederithednarta the
                           aridaBilk remit
                                                                                                                                   Mifillitd       30    be     A
output values of die exclusive OR unit 804 fiteitilikr 702 and
the multiplier801                          WV 31i tivoci lye y
                                                         3

                                                                                   rts
                                                                                          the SetiOndsign the


                                                                                                                                                                                                               a tiro
SAV34               exponent               and its           secosvi    133331ti$M
                                                                                                                                   101041          Aecordiagiy                 Rir     example                                 amount niquired

100921                The etenpartsort eiretti                         101      sLowia           in      HO            cam         for the adderMI or the rigktshiiier 302 of 1 hits is approxi
prises a              near match              dociatir         8112    tor     determining                 whether            or   mately 3120 in couvrison with the adder NI or the right

not an error                   is within a           predeleratintal               range        the range of the                   shifter     204 of 62 hits

errortif21SE                         by making 3 comparison                          boween the                   first     and    101011          Therem                 in the            first
                                                                                                                                                                                                         preferred            embtxtimem               the

the     woad mantissas a mismatch detector                                                     803       fa detecting              saved       arithmetic               unit    102         and the comparison                           chratil    103

a mismatch by                                         ttortipirrison           between           the the and the                   can    be implemented                  with             a circuit           amount          of 10 ritircent          or

seettnd             exponents                a tiii3iI339idokvior                         804     ftir
                                                                                                           detecting a             less   of      Ike nine             ficufing            point arithmetic                   tireuit     100 if the
mismatch by making a <33341aiiin                                           MSAea                          ski ilia          the    Mantissa is           fi2    bits

atvend signs                       and a 4ieitli3R                 atliEta           for deteetiagan                       emir    14102           Additionally the entath                                amount oldie multiplier is

by obtaining                    the logical           OR of the output remits 4 the near                                           aprauximaudy                  propottional               to the square of                    N Amintik1y




                                                                                                                                                                                                                                                        SINGULAR 00001259
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the multiplier1101 of 5 hits can be inmletratmed                                           for example                     the    cakatiation              of foxcw         oe040 flurn tie electien                                       the


with a cirttit             otnontaiirtipprogianately                        11100      in comparison                   electron       is     one of several                  usands            or several             tau      of thou


with     theMultiplier 701                 if53bits                                                                    sands el electrons Thereltne                              its   inhume is reduced

0101           Therefralk              in the        second lindens           A emblidiment                  the
                                                                                                                        01 841         As scribal above                          with a         normal calculation                         the

wood        arithmetic            imit     102         and the       comparison                 circuit     103
                                                                                                                       allintWetitaa                MO          which       is      small as a value                   is   automati

eau he implemental                      with a cin oil          amain of 2 tc I percent                         et
                                                                                                                                 malified                          the cotaxe                 of a
                                                                                                                       cally                        during                                              iterative       emivergent
the   entire floating            point arithmetic                  cirenit     100
                                                                                                                       process        in most casea as farasaii                     arrarthaRli1313333Signiliont

101041           Nog that the matilism                             equal     to    Or linger than           10         difference of digits does not                            occur         in       an individual            ca hathi
aod smaller than                20 iftiraiited               1t1         complananal                    A com
                                        linthe Ars anti the secoidsigns
parison is made                                                                                         arai the
                              aiily

                                                                                                                       101161          AccordiNtly                rmeatikm is made by detectlag an
Ilea   and the             ix>cotal    exponents             by nettling the value                       of the

                                                                                                 be linter             emir which             num aoimximparribk                               large error by tuitbc
Mantissa         3$0sclaxlibymxrirsYlletrdware                                         3an
                                                                                                                                      point atithounic                   eirwit 100 acksuditig                          to             pte
               the thr maniple tiw adder 101 and the multiplier                                                        liming                                                                                                 this
reduced
                                                                                                                       limed embodiment                     whereby             an intermittent                  error cmisal              by
801    become              untsaiessary              Mthough         a    nrecisioil
                                                                                          tor detecting
                                                                                                                       a thilure Nxhich              is   not a         fixed failure           such as the             collision           of
      afar deteriorates
                                                                                                                       radiation       particles caused                  by atalpha             ray or anomie ray can
                       3 9              schanatte explaining                      an   monde              wbou
 0105            Flf            is a

                                                                                                                       he conxtcreit
the preferied              embodiment is appliai to a iterative ottnanyem
                                                                                                                       101161          FIG 10 isa blOck diagstmexemplitYing                                                 a configu
calatiation

                 The                                                 I    G9                               rd          ration minima for the niexec Elliot0f the Awing                                                  point arith

                                                     YPX42 A
                                                                                     is
101061                      graph       represented             in                        31    graph
                                                                                                                                                                            to the preferred embodiment
 ead cklite                                                                                                                                               taws ding                                                                         of
                              equation                                                    ease      whew          a
                                                                                                                       metic     circuit        100

                                                                                                                                                                                                              when a haidware
srligifat      to this second             degree            eimetion is       ibtairied         with      New          the present            invention           Por the remeention

                                                                                                                       tutor          detected                               are described                     in   the      foilming
       Lama tn method which
                                                                                                                                 is                       its   details
                                                      is an iterative                                calcula
ion                                                                           convergent
                                                                                                                       documents              Therefore            its   outhoc           is cleseribeti
tion     is tkurilaal



101   OilFor the second                         degrat emiation                                                        101171          L liAtuln                     ilittimura               M Sliebitsonv2s1                       Ruder

2 Y0 if X1 and Ve2 Oinainmeritof the aoItnion X1 is                                                                    1114      Par         No 65197i0Comptuer                                         and      ermr rontvery

consiiimai                             ftont                                                                           inethixi       for     the serail 1U Ant YN1>shida                                                     Inotte

                                                                                                                                              1 Aca1as f M r
                       starting


                 Sinai        diidX72X3 the grialieraMY                                        when               is   $tegiyama                                   MetaI                           I                        Mehtintrii
101061

r                                          If    the non        va          o f X is obtaitied bin                     madit51Okaila1111unathimYSukaseaA                                                              Kormono               R
                         0i X213 milady the gradient when                                                              Naraashita11                                      na               i                                     neration


                       2115i3 and W2349 nee Ibeamvalue                                                                                       telootatenmste                                              cimuits
                                                                                                                                                                                    lid        tare



of    X1415 1415117i15                                          mai                i5j              225     jei        nab     ihifirne        A                ft       2003          1836i90

            matitterThe                 farther        next value          of X MX254r255                       At     101181          me ileatifig               ninth arithmetic                     circuit      1000     shown

Ina tin10i       an error fronithe                    coma solution X1 is rialocatri                                   Fla 10 comprises at kast a processK state 1001                                                     fin holding

approximately                 04 potent                                                                                a statertViMit                for the       exactaMa            era program                    a hittkpiiint


0109I            As is evident fon the alswe calculation<                                           even   if     3n   away      1002 for storing a state wintt the processor                                           operm ion is

errorcaul                  kite next       X dueninae occurrence                          elan error in                properly perlitnned without                          error in arnMrtiotervals                                 attorm

the calculatioa               mann oflr
                              eta      cortectionXX                                                                    not                            pointing to an catty                      that        iaiMi            titit   where

      1010 with iterationsas titres X knights to he smaller                                                            the    cmmica of mtiostrumion is properly completed last a
sages
than     15                                                                                                            mem pointer 1004 pointing to an egaythattionts                                                        aitimsne

                      an error exam due                      to $ oceulfffirgiorrorandgme                              Batik preceding                    state a Ia        kup control                     105 for fratbraiing
101101           if


away      horn the            VKIW              tt   14116011i       the    number of neat ions                        a   txgritO1to         Mintie         the execution                    Im a gam by Aiming
increases        and an addit ional calmilicatinie                                  is required           Jim          the saepoinial                to by the cot tunitpointer                             front the
                                                                                                                                                                                                                            checkpoint

ever     since the            occurinittaf            fremianey of the abovedoseribed                                  array     1002 and            by restoring the                     gamin              the pistcesor             state



mot Owed by radiatiOri 133111003                                                                                                 when         3 miuiperafion etc timum a branchmit                                              1006
                                                                     etc     is    low         aa influence            1001                                                                                                                 for



exerted     on tiwrentirecalculteilm                          time ia on an ignorable outer                            handlthg              blend instiuction                   an eintudelection                    unit      3007        le



                 In the meantime                                                   3 caleulatit in error               moManing               a inimienuien of each                            itnit        a crawl          Unit      I   43$
101111

      lege ami X beef vies larger tibia                                                             of X   eon         for miitruiling each unit                          an arithmetic                                                1000
                                           15                                 the SalW                                                                                                                   4311013110a         tiiin
is


                                                                                                                                                                                                                      and
ffArges
            to    20 with sobsagierit itemMatt                                lhannise this                 Maki       conilpresi             with    the       first     arithmetic               unit                         an error


a    wheion           to   XX41`Xe20 this value                               is    correct         3S a solu          cikutk     unit       1010 for monitoring                    the cortroutoWincorrecinesi

tiont       this       second          ilegme          amnion             1103evet             ia   a    kanta         ate arithmetic                  resnif of          the arithuhlio execution                           unit 1009

                                                                                                                                                                with the second arithmetic                                       102 and
                                                           On if a calculation errorat                                 by being configitsed                                                                            unit
                                                       i




                             X tzonverges              to all   tin33tended            point or a con                  the comparinm                 circuit       MK
point     is
               Mtge

vergunt        point cannot              be lintud            in a high deinmaim and                              X     101191          if    the   awn ion              is speculatively                   made by predicting

divagei in some cases                                                                                                   a <liranion before a               Nana destitnition                             dekaMiniIL              the Aare

                                           the lint principle calculation                               which is
 101121          For ev2npic                                                                                            con      eats of the processor                    state     l001               i3mottately pmedraq

used in a                       et biAleict                ituthdy       utilized
                                                                                     by a stipercoiti                   the execution of the branch                        instructimi
                                                                                                                                                                                                       is   snood in        a                    t




peter etc                  made       to comtne the                          yo an entire system                        the checkpoint               array 1002            pointed to by the eihneat                                 pointer

to 3 Inialtaumw                itbhoratiotts               such that MopninonIf                         anittt133       1004 Then              gleaiNtition                Of the insinaniOn                     at   the predicted

is    nsdb                  eidettlating             repulsive       flaw     hevanten              eleetrous           branch        destination            is    started          Then               the branch            nnit      1006


and by hturfing the sepulsive                              threat taut force exerueteritaelt                            increments the               cit   nun pointer 1004 by                              I Additionally the
atom is calculate               a                                                                                       linowh        salit    11306       petalliN             a   COtIM               to 3314a        i130         Omani

 10113           The fome essirtal                    a      each    Minn is the sum of threes                          pOititer
                                                                                                                                      1303 always pond                     to   the completion                   tate of the               last


 front    eleettimsof             all    of other atoms 1Ven                       ale a1W and                         execution of in iaSitW1r3mlry naitiltoriag                                             ikain3plaikal                  of


 3S an           st LliKedby an intermittent                             met of hardwate                 mews           the    execution            of the        inMeinom                    and       by himemeating                      the




                                                                                                                                                                                                                                            SINGULAR 00001260
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certiniii       pointer         1003byl             opon        cotimletion            of thomtecntion                   What           is   claimed is

                                                                                                                         1 A flomingpoiat
im trian entry 4mi                             the Intirpoiracil                            liy
                                                                                                   the   commit                                                          thinet        icithettit        comprising

                                                                                                                                                                                            =
                                        tr>



                1003                                                                                                     a first        Mithanctie              mit in which                      operand           retaesented           a
pointer

                                                                                                                                                point format                   is                for                      a first
                                                                                                                                                                                    input              outputting

                                                                                                                              Mk
                                                                                                                              lloating
101201            Ira branch           prediction               mittsis      lima tbe emir of the
                                                                                                                                              retail          having      a    first   data width            hi a

branch          prediction            is   nieditied            byeximing                          checkmiint
                                                                                                                              floating              point       former
immediately preceding a conditional                                        143ACh                            from
                                                                                                                         a atond arithmetic
                                                                                       irAritrZtkal
                                                                                                                                                                                       which the operand
                                                                                                                                                                       unit                                                     input for
                                                                                                                                                                                 to                                       is


the     checkpoint              iiray      1102          arid       by     motoring the              pioceoseir                                                accord                               math
                                                                                                                                                          a                                                                     a second
                                                                                                                                                                              arifinnesie
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sane to restune                 the    eketrativit             from theinsarcathin                       bMEW1i               data       width            which         is    smaller than the that ii313                       width in

alaly iitieCPeding                      tiltekpOE£U                                                                           3 mantissa of the                                        point       thrmat and
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                  When                                                                                                       contrittriam                 circuit
D312I                          the error cietection                      mit 1007        detects an          emir

with                                   referred te                                                 thsectiml
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         the                                                     in the       lint      and
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                                                                                                                              the second                  data    width than each paxlettinnined                                  bit
preferred 03bixtifiettl the                                         detectimi          mut 1007          citifies
                                                                                                                         21 he floating point arithmetic eimith amirth to claim
                                                         tarttr


the     Nana corm 100 bribe misoperation                                                                               1 wherein
101221            Ilpon reolim of the misopttration                                     ntnitication             the     said comparison                        circuit        comprises

backup          cotarol         1015 extracts             the state         in   which        the sleetlion                   an     eultisitie               OR circuit for poltannag                           a bitWiNa

is
     properly Oinpleted                    arid     which is pointed by the cormult                                                 sire      OR opmat it                     of the mantissas of the                     thst    nun the
                                                                                                                                   second                arithmetic            results           by the       second       data      width
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                               made As a AWL an intertnittmderrorcattsed
                                                                                                                              a mantissa comparisom                                 circuit       for determining
                   e33 is

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by the collision                of radiation              panicles           ate       can be eirrecied
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                                                                                                                                                                                                 pattern
Thi             có1rt           s    sinailar to that tin                 correcting a             broachpre
                                                                                                                                   ti    oomparisou resat intheatinati                                       match        if   the   tnith

diction       errorond can                     feetiyely use the circuit existing fora                                             tactic result is                    the pluivcanitiidd                    hignnuniI           and

branch        prediction miss lanalling                                                                                  tholint             and d3t second                   arithmeticrestith                amdeatraiuto

D121              As desmibed above the                              secoudarithmetie                    Wu 10                     atch        if    said mantissa comparison                                 circuit
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 nid therximpativin                    ennui 103 era short precisiou                                 nateh   aw4              oomparisonresult                          irdieming the                  match

bitti    are aided             to   the last arithmetic                    unit    101      M order thr 333              3 The floating poiht arithnietiecitcah                                               atatinding to claim

maw check                 and       a comparison that 311ws apNdsai1111i114                                            2 wherein

emir inamin                tNiti11     at at illOt             of     itSR of the Arid and the                           theieterminedbipattern                                             is
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stintmil        arithmetic            results       is                    wIteMbratt              erritr

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                  imp numerical error can he efttinily
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tatms         a                                                                                      detected
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Adonally                   the detected             errorcan             becomeisI by ussang the
                                                                                                                              a   his    next to theathitrary                          b3tte a prellenniatidbii
above        tisurilsed         rtiexramtion mechanism
                                                                                                                         4 The floatirke point arifintmic circuit according                                                      to claim
                  Furthermore                 tMice
101241                                                    the second              1333334SSIE       ascosling          2 further comprising
to    this   prefened               enikodiment                has       a 4 bit     width the             seCond
                                                                                                                         a    sign           comparison                  cirOnit            for    making            a    tammarisbn
arithmetic             tuni102 and                        PO can F14
                                                   the cornparisoncircuit
                                                                                                                              iimweett signs of                          the        Ant and            the    second           arithmetic

implemented                with a coat anima of approxitnately Z to 3                                                                                                                       alai rtariag Malt indicating
                                                                                                                              resu hicand kir outputting                               it




poem of the Mao iloatirnt point a rithinetie citenit 100 htthe                                                                a   match             if   the signs        mach as a mutt of the comparison
SC of the tiling point multiplier or with ticinmit amount                                                                     wherein

                                    10 percent or less of the wire floating                                              the rust and the second                                                  mulls are deammiited to
olapproxiamiely                                                                                             pi                                                                ianithtactte


ndthmcne CiAMit100                         in the case of the                    min              point adder                 match if               said mantissa oanparison                            circuit         and    Aid sign

Namely            a zircon           intsonat       wriptiml h              win a                 ertor can      be           ctanioncireuitOi3ip33                                              aaparitoafM111                  iDdi131

recinced          in
                       comparison with conventional                                itdatives                                  ing the match

                                                                                                                         6 Tlw lb                    tag point arithmetic                        chain wccording
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cases        a sigtniiicartt          di   race of               digits     ofthe nunwrical                 whit       2 Wither comprising
of an arillunkic math and cannot                                     be    wiled with 3                                  anexponimi                      compaison                  circuit      thr reking           a NsAlptit0m


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a floating poirt               arithmetic unitwith a parittilieck                                  or a rmithie
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                                                                                                                              a    match            if   the exponents                 match as a midi of the
check        an at             larger than           the precision                if   the second           man
tissa    can be           oftitrely        Wed                 with the       method accenlingto
                                                                                                                              trarison              wherein

                                                                                                                         the thst and the second arithmetic remits are determined in
the present            invention
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01261                      limber          when      a iterativeconstrgenicaienlation                                                                                                                  th comparison result
                                                                                                                              man comparison
                  Still
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is   utak an arm that                         is   smiler titan             an allowed              mimical
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ear isearratited                    timing the ittnative crinvinent                                caitathitiom          6 The floating point arithmetic Math according                                                          Ei44123

whereby           an added            circuit       the wriouni             of which is Iciss than a                   1 farther comprising
cmwentional                ertor       detection           method           can        be    iinplememed                 3 Rentssliiini                                                                  lhstatithneticuaitto

and     the prObability                 aforcarWe                         of a pwiltion              such    as a             iiitilteente               an arithmetic                 according to the remit of the

failure      of colivetgence                  of the       calemlatimi               or an error           occur              compthison                      made by Said coMparkin                            circuit

MA        111   333 atitttMet              MARilt    Spite heint                   lama tined witimat                    7 Ant arithnuitic examinatioeax eimuit for extfinining a lint
dewed an abnormality can be signiticaatly                                                   reit   need                arithmetic resullwhkit                            iseowteatedtua                      thotarithruetin          wan




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ta which       an opermai Avetented                                      in a llataing                  ifindat               13       Art inntanation                processing deviceeomprisithr

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input for outputting                                                                                           a inn
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  a    wend arithmetic tath to which the operand                                                        inpit                      sating poia format

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       data        width Vi hid ia amailtr 11xm the                                       tint   data   wiab                       martiana wixurd aritianixic                                      result
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               antins of the                      floating         faiint         format and                                       iiita    width             which     is   smaller than the first                data        width ia
                                                                                                                                         3rseraissa       of the      Romiltt point                 format and
  a comp riu                            ci road             anakii43 ertinparisonbetwom                               the

                                    o        fag and thescreend                          arithmetic mulls by                  a emnparisan circuit ter making                                      eixeparn             between           the

                                                                                                                                                        oft                  and the smersci arithmetic
       the     seems data width                                   mrant predeternaimA bit
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  8 The inithmet                           examinatim                   circnit      amading to claim 7
                                                                                                                              14 The kaiilrillatitin                    preeeing              device        atm rrding to claiM
wittavitt
                                                                                                                            13 wherein
  said coutpatison eirmitcrimprises
                                                                                                                              said compazison                   circuit       compriats
       an    ad at c ORtimtii for performing a                                                   laitwise     exclu
                                                                                                                                   an exclusive               OR circuit for mforming a bitwise exclu
             sive tR                                    of the manthisas                   of the            and tile
                                                                                                                                                 OR Operation
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             saaaJ                  arithmetic              results
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             fulfil        a    me          significant                bit    and
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            mardirisa comparison circolt                                       for   determining            whether
                                                                                                                                   a mantissa comparistat cirend                                   for thelennining              wiwthea
             or rim an arithmeticresult                                  ofthe        eXcliblive      OR opera                                                                 math of the exclusive OR opera
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             tion is is predenamiruxi                              hil
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            a Coniparistm remit indicating                                           a    Maid ifarith                                   a comparison                 result      ittdietiting         a match           if    the arith

            metic              result is          the predeltarminai hit pattern                            and                           metic result           is   the pretletermitaxi                  hitpoem               and


  kilnland                      the second              aritinneticremits                  areiletenninedni                   the first andthe swami                         arilltannic           results intrileterraitaid


       match           if       said       tratritissa          comparison chunit                   outputs afar                   taitudt if           nadmantissa               ottliparison                    mtOutpkgs1k

       eomparison                        tesult
                                                   indicating                the    match                                          conparka                   result indicating               the


       The     arithmetic                  mann rradrateirettit                      according to claim 11                    IS The in Pmnation pateessingdravitae                                         atcoal ing toelaiat

wherein                                                                                                                     14 wherein

           predeteamitant                    fah
                                                      ottcra            is
                                                                             40 of a bit pattern                  IWO         the predetermined                       bitOWfa            is
                                                                                                                                                                                              any ofa bit pattern wherc

       a      tlfbiaa     bitNMal When a lift           are 0 and                                                                  all    dbits arc                abit       palm where all of WU are 0 and
       a hit pattern where 0 is OaSeisiniV3   fann the4r2ON£                                                                       a hit pattern where                   0 is emistacative                 horn       the      ratnn


       IlifiCan3 kitlq   arbitrary bit and 1 is eouSeetiliVe Awn                                                                   nificant bit           to an artilintry              hit   and     1    h conseemise                Avan

       a bit next                   to he arbitraty bit                      ma predeterminedbit                                   a lid next           tka   the athitinry          bit      to   a pmrhitermitits1 bit


  10 The atithructic examination canna according                                                            toclaint          10       the itifomna ion pri wessingdevieta                                 avecding              to claim

8 funherconipthfing                                                                                                         14 further cmwising

                      IVOlfariSOn                     nirettit          rkw       tnalZing       aenniparisaa                 a    sign      CoMparison                  circuit         for        making        a compaiisen

        Wawa                    signs       tif       the      tirat     mut the          iiaeact     arithmetic                   btetwom              signs     4 the         first      and       the    maxici            arithmetic

       resnits and for0040W a coraptriiam result iralkating                                                                        ivsnitsarai Jontputtintacnonrest4icaring

       a match if he signs math as a result of the comparison                                                                      a match         if    he signs match can                        result of     he comptrison
       witerei                                                                                                                     wherein


  the      first   and the sccond withM1k                                      results itaa detentrintad               to     the firm and              the second arithmetic resuftsatedeternthtedto

       meth           if       said mantissa compirka circuit                                     and vitt sign                    andeb if saW                ritatuisiat     enmparison eittlait                     and said sign

       eeMpariNaa                       eircoit          lpat the Nsanntrisen                    resnit inchcat
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       ing     tint    match                                                                                                       ing the match

           The     arithmeticelandnatIn                                      circuit
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g Aanan COmprng                                                                                                             14 further coniptisMg
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       resilia         and torotainnling                          3 cOaiTkIrivn              resultinificaling                     mulls and rtattaining                             canulparimn                 result
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       a    mach               if   the cxponents                 match as a te3131f the ceit                                      a     mach if the erem                                atuI        as a melt of the tam

       orison whertin                                                                                                              orison wherein

  the first        and the simind aritht                               Haiti   malts are denmaiatIto                          the first      and the second artluta14i                             results 3re     WryaimAi                to

       isslatch       if    said mat itissa                 comparison Limit and said expo                                         match if said mantissa coinpariSoncircuit and                                               aid   ex
       nem comparison circuit                                     outpin            the eiltaparison           osuit               kkesn    0033p3risaa                  33Xutt
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  1221 be arithmetic                         exstnination                    vire according to claim                          If ha infhaati                            proceittg             vim Wt91kii4g                      to elain

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       mammal an                          arithmetic              icrettlin              to the resat of the                       1WUttualan                  arilbnaetie         according               to   the    mph of the
       eoraperiksti Macitsby                                said conntatismi circuit                                               comparison anshrhy                         said      smpsnson circuit




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examitting a        lira    atittattuak           reiadt                                                                                      fitr




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                  unit     cettaptiaing
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  inputting        an operand             tepttsenteditt       a timing point       runt
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  making a compari csa between                           thartnatit4a ofthe        rtrat   and           from each predetenttimvi                     bit
       tiU titCond arithmetic                     mit14 by the       incutid     data width

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   T                                 7 5 L                                             141   3041E                                              OJT                Za   Z 2       tA                                               41   4 25 Zi




                                                                          iffi
                                         tROCoKt
                                                                                                                                                            it5



ti a T5            611                                                                                                    b                                 2N                                        tK    31                          fek   ati


4611c              t            IP   4                                                                          s          cr                               15j         t 43              a RI a            ti                                7     1

                           f1J1JtI                                                           t     t                                                                                                                   V6                     go
mAAlaa1rx70121MIITY0111V271hMaNanicARSOT
ttoBLUIXV711x74AFtis70712AI6kN5WZOLts464
7x A0k151cillNAIZGtote021x7biN                                                                                                                                              FrYm7t1fflirZftt
fac                                           0                          apt 7+ X                                   tz                <                                                   $11               41         C                5           1N




      0        0 0         3

     WOIEM0174NIRUsmsYNigEtlbcRaiGli2041V09717

JtS
4                  7° 13                                   l                                 10   T if X                                                g                      7 1                                                Y 7° tg
                                                                                                                             7 17                ri           1                  j



                                                           311           Of

AgEVI0NMVA41<DTUO6t00CcriLL470L7tv91Y7
hi 304i 40                           7        10                     k                       <            7t        ts               14 tr                s
                                                                                                                                                                                                                                                         2a

      0 0          0       4

                                                                 1
 r



                                                                                                                                                                   tvt
           S                    41 6          10 L                               TR ftA                                          WAT                      Ctk                    iq       1                 t                 t         0
           Ifi     A                                                     ff2     fL          2K   IVA X                   OJ                                VA                                  21          OSFET                   3
                            VirkZr110                            5   4s            gi111ki2VAisOTA14                                        tr   fi           Sitig4fr4it      6       A                                                    6
           70 7                                   t4           t a 11 Nt 7StIM X                                                            t           ilV1             ffAM 441 4 11 11                                           104 91
                                                                                                  it1           n V 4z                      V                      2     3 oD ICA X 0                                  fit    a     atit

     Itt                   E IT la P T                           51                                       T J5            tt                                       4    L 11     1        L           11    ft         6
                                                                                 b                                                   cL                   T 1                                        Ut       4fl0CPU4


     1
                                1012

           p
                                7 1 r 7 7t                                       RE it       0                 1   OE 0 It           ffil             h            b        P1            47                I 6 CO 0 a <                                 30

                                              ta    4 2              30 117E                              J         t kl             4             fi                   6                 itz    t                                      i0Li1
0
 IMV1011ft01
 DT                        foAA          <1   S                  6               OA
                    7`11




      0 0          0       5


                                                                                 Y                                                                                                                                                            110




                   aNintit1
                           11            R             t             141k XI

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                                                                                                               0 ft
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                                                                                                                                                4 A II
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                                                                                                                                                                        eV
                                                                                                                                                                              Gr




                                                                                                                                                                                     it      21g
                                                                                                                                                                                                                 4C          Ma I 6
                                                                                                                                                                                                                                        y
                                                                                                                C412Atraintlfft6e1431f1P141T4Z                                                                                                           40




                                                                                          0               0                                                        a          iO1y4                                                                 C
                                                                                                   frig




                                                                                                               75bkLtif
                                              i
                           hi        0        v                                        41 T               4
      7                                                          t                     0 7                     X          fik                             1M1           R i434                       0                                    0 10
           41                                                                                1 V V 0 ICH 32                                      v      t
                                                                                                                                                        1     rt         Lt   64     11                  is it               4 at LA
           5       4 ta                                        6 ft        e1                              tt      ftE3                                 v                     6                          CO      flt                      f A
T          JRtt14                             if4                                itk   4 11               7J 4Z     Aff   A 6 ct
 C    0    0       0 6

                                                                                                          tARVYAkt
                                                                                                                                                                            6IS
                                                                                                                                                                        10110103Y010010
     25FahtiffriiiC30Cti                                                  raSttij                                                                           <      L t
     lE    11MAL1161SAtgZ1+16                                                                                                                      t                             sr                                                           <          50




                                                                                                                                                                                                                                                  SINGULAR 00001266
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                                                                                                                              4                                      JP          2012530966                     A   2012126


if         41       T                          P FF              754                 1011A    AtIAWPIAR                           644k Mfg                               vf                  t          ticfUtt

                                                     FIA    le           Vr                  ▪      y3 77                          17        y                               4311                LA                                45
tciWattrizoDALT7bitttC                                                                                                   47j            SE   I 6 7                                          4f   ft   14i




                            456AVONz130Ciii                                                           00111NXict                                      tr                                      C 1 SZ
                                                                                                                                                                         ti                  4 Li    t 6
                                                                                                                                                                     1 4
                                                                                                                                                                                                                             2t1


     71                 L             3    I                             01411111                           r                3r    1 a 7                   L                                        1
                                                            11133



 r   0     0 0              7

     MI    1       It                                       o        A ft                     tb       S   MD     7 I1                                                   7        RIJ        t              o           t6                10


     0 0                0   8

         124                                   RR           0   LAM                           45    6 SIND


     0 0                0   9        3


     Ent        RIC175t4fiN                                                                                             11                        01                     7 1                 W 13           T
           e 0 t     c    7                                              trA             it      Y 1


 C   0     0            1   0        3


           41t                   4 31                                A Pk Wr                        6Z                        o ittgf S 0117T t                                   r 4
                                                 IVEJ




                                                                                                                                                                41


 0         0            1    1                                                                                                                                                                                                           20

     Lg4   5                             3`t   01        1
lb   6
     0 0                J   2

     E 6ts                                               1
     0     0            1   3

           7 It




                                                                                 IN
 C   0     0            1   4

                                 t             ffl       Cr                a                                    7                   t        7 1                         t a 5 it                                            4
                            a5


     0     0                5                                                                                                                                                                                                            30

     I21   9                                   VI                                011          775          kb IN                                            krtichards011



     0     0            1   6

     10                     4z                       o           Pt                   r 5 3 r                            I 4 X f ps 1 4 X 4                                                  LpHDRif                                A
                                                                                                                                                                          ik2f




                                     fis                                       011                                jin                                                                                                    fz

X                   14LftRichardson                                                   Lucy01                                            a V tr 4                                        41            Pi    at                      6D


           6
           0                7
                                                                    rJitLi4C0
                        1




R1114                       M4140                                        htfli                              LPHDRV                  AS Ins                     ft   Ai           3 kRichardson                           LtleY0

                    dz                                  5

                    re               14 1r                       ab                              PVC                                                                                                                                     40
            flEi




 C   0     0            1   8

                                                     tr


                                                     JO I 0 1                                         A 3          14             t 6a                40   CPU I y                      T                               Y
f          4X                              i7 I                          r     7e                sr                0 01 Al 4 1411                c3                  5                                o             jfji            t
                                                                                                                                                                                                      riP6It
                                                                                                            ig1




                                                                                                                                                                                        0                                      C


     gt             I                                c           Wij                                  tz    <      ft                                                                                 1 7       I   r          70
                                                                                                                  tSX9kitgRAVST66S

                                                                               °tELh Ut
sfilttcipsp6gctttt                                                                                                                                                                                                       T
                                                                                                                                                                                                      AT M          1r 11      321f

Y                                    I 6 4 12                       Is                                                                                                                  321 Y                L 64                   1    50




                                                                                                                                                                                                                                   SINGULAR 00001267
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                                                                                                                     5                                               JP         2012530966                            A        2012126


        ef        Ha P              let      4   itt               1               iE                    12    <       Wit                   41                 X                                                              C          4
             <            7 7 9                              5                                OD         OD    gti   at    It    4c     A0 t                    r                                     cnr                           tte


CHIT


        0    0

        L i1t4
                   1      9




                          17
                                    6            M           1z al


                                                                         tiN
                                                                                         e          e          <           <            15                                          II                                         7             9



I TA              7 7 I                                      V                 <                               I       C            1007TVOb522z02K3KfiR
                                                                                                                                                                lai5roif
                                    if                 3           tZ1                                   If


0            a X 11                                    13    0 VI                                        Mg    1           Alt       t  e            V0    CO                                                                       13



                               M                 e
                  z 3               73           tg                                e
             o     2      0

        Aztg                                                                                             tg                                                                         ej ic                             19
                   rfti




                                                                                                                                                                                                                                    ti1



                  Ert     4 tt            >t           fJA                     d                    03   PIM op                     V 1                              11        Yd         tt


                                                                                                                                                       1                        3     I   MO              Single                       Instr

uction                    StreamMultiple                                   Data           Stream0DAtitficP
        f    9    1MIMP                                1u1tipie                    Instruction                          StreamMuitipie                                         Data             Stream0                            Off
                  f       iv F                               y                                           F                              FPGAs                       Field                 Programmable                                    Gate

        Arrays 0                         5    4                                                                                          tUt                                                                                       Z
                                                                                              g
                                                                                                                                                                         fil                                            1z             111



                                                                         1     9                                   I                S                       Single                   Instruction                                    Stream         20


Multiple                           Threat10                                                   C          Z             k 131 r               6         7             f              7             7                                 31    1
                          GPtls                  Graphics                      Processing                      Ifni     ts0                                                                                  o




                                                                   a
    C   0    0 2          1



        31110v                                               3r   et Is a 1                                                             4 MX
                           bf       4Z             z   7     k trCOB                                           MD                                                    itsRttr540ta0PZ1
E 41 It                        3                 7                                 k 7                         17          C            V              Z

I       9         J            13            1 tt                                  PI         4c                                                                               r                                               <




        E                 46   J          02iii                                          <
        f 7                                                                              It        ft         LCRI I 6

                          2
                                                                                                                                    o


        0    0     2

        7 I 4                       11           1                                       EX0                       7 if         9



1       1Z        fg           41   6                        911   RWZP 104                                 X tA     1g                                                        1                                      ti            C
                                                                                                        i471 r 11                                      r        7f                                                         3

                               14                          7 Id
                                                                                                                                                                                    0J
                  P3i



                                                                                              7          1°            1                     +3                                                                  <                        7
4            Fi                                  37 ff             NI 11                      k                        17           0 0 it                                           5=                          1=



             W     L T                                                                                                                                                                                                                             40


    00 23
        7 1                    7°121                                                     1 kr                                       2 5 a 1                          8e                                                 a              411
                                                                                                                                                                                               4114




                                                                                                                                                                                                          7fat




          e                                      t                                            X                      Rd                                                             TAN               a                        A


rLLJ
                               41                            TB It       its   VITI tA                                                  hligiX                  f

e 7                            J                   tttut
                                                              5ic        tt                              f6                      X      47   fi                      g                            <

                                                                              Y                I<
                                                                                              >3         <                              it        f6            0 itim t                                                       It




R                                                                              7         v          k Goodyea                                                                  9 12                                            t          t


                                    3t
                  15t                                        3                                                                                             ri                                         5

             It   if            F   116                                                                                          AM                                  <                                t               k 6 ic
                                                                   A           t   Pro                         41          32       e y      1 if      gib                     Fg   ret   A     it    1               14                           sO




                                                                                                                                                                                                                                             SINGULAR 00001268
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                                                                                                                                        6                                                          JP   2012530966                                   A     2012126



41
                                             571
Pi       A PJ                                                         7             71    2        JP          Goodyear7                             101A                                          pi                                                             Ma s    a    r

               tzt                       1                                                                 MasPar2171±                            32e v                 F0                          0t10 hi                           kit4           Afr            tit   a
151MasPar0                          <I                                                                         11 ft


          0    0         2    4

                                                           Intv11 WV 7 1
                                    1


               t
    IC




                             714                                                                                                                                   IVP                                  Pfa                 fl            r4c            7 t                  y

                                                                                                                                        01
                                                                                                                                                                                          tfN                       4e


                                             4 re                                                              0                                     SCAMP                                          3                                 i
                                                                                                                                                                                 07 Tribin6
                     fst            ir                          ic                             t                                                                                                         t<i



          C41                0e7> Ya4Lk4C40iikAli   t                                                                                                                        C                                                                   a111i110S
         tc                  eci   1 I Ito zr     e
                                                                                                                                                                                                                                          41     6       6r         7
                                                                                                                                  ff1Z                     32                    L6 4e                          1                                              0




                                                                                                                       7r >>a J
f              3                                 1                                                                                               1  6 8t v         t                                        1      WI   1 45cA                                 at
                                                                                                                                                                                                                                                             fiff   1i




                                    t            Z                                                 tr$1                                 SCAMPa Mil 3                                                                    40                                      E
                                    RSj
                                                           o                                                                                                                                                                                    Id           t
               S             ffNi                                        5   1 W1                              =TM                At 7°11            tt                                                                          f1              L I                     31   7k


41                                                                                                                                                                                                                                                                            7
                                                                                                                                                                             Or a                       <               Jtd                      SCAMP              it

         6           ifl            Rt       5   17                   41     tk     11                         X            W010 6
    I     0    0         2    5

         198Offi                                 ki                          s                                              e                              t 0                            3              C
                                                                                                                                                                                                                            4             P
                     IA lit             OP   bc       itC L U                      6r                           V                                         r             ti   7       ti                                                              $1 I h
                                                                                                         MIND7                                                     I
               1             t                                               t                     g                                t 6                        MIMDq                          v
6              7         1   P2                                              ftl                   tzlia              Is    9                        51    1fil              15      it       13    a Li W IV ft
                                    JA                     V T                      0 3                               Ps


    002                       6

         e                                       rl             9            71     1                                       7                        PGAs                                                                     agi           CD 9c            A
                     0              A it                   tra                      t
6                    C 035                       3z        1          X14                 tc       L            rAMU                L        I   OR                                  0 ct 5                                           1              5                    1
                             T4              4                                            ficiz          ck    3 CS               011        d             6   7             I   I   Lit 0                                  nap 1z 1                         ti



                                                                NALL                               111                41 It                  z 0 7                                                                               FPGAM
                                                                                                                                             k                                                                                   t        1              c

               g+11                                                          cpuco                   n          fti                              sb            I13                   42                             PIZ fg                14+    2Ut
         43    tz            6J              5             t          t 0 1 6 6
LfL71
                                                                                                                      M11113
                                                           r4                       1                    flk          I                 Xi   X             Kt 11                 17       5        4i        Igt    PI           1L                                           1`




                                                                                                                                                                                                                                 i
                                                                                                                                                                                                                                                                              7




                                             v
               5     tt             111P         6                                  F P I As                           F P GAs                        1H10                       M                                                               X 15                     0a
V41110Sirly                                                           4      fit          6 ft 6 ic                         t            T 0 6                                                               0                                   A5               0 It a
    10 X7                                                                           hi    2              1f           15    rif   At    0t                                       1 0                                        0 It 4 1
                                                                                              11                            7                                             PAM                           181 v               1             6 ti                           41 IA




                     fLr5                                                                                                                                                                                                                                                          40


7 it                 0

          0    0 2

                                                                                                                                                 Y7
                              7

         Fei70       ®7                                               3                                  3I    7 t3                                                L             FPAAsa                                 FPGAstLZ

                                    X WIM
                     FP A A         so M                            Ne                         a          9 rs     $747                                   5    t                                    T 4 6               c                   11Z14                         0
t              tx    72                                                                                    1 t    6                                                                       f4            3    tif            5    it       5              t 0
6                    FPAAskt                          ACF      IV          NI            11    45          t               J±4          I1                51                                                            421 A                          t
                                                                                                                                    P AA s                                                    tf                                                     A Z
         jfj         s Ef 1                                YZ                       tt                                      RI               It      gf            tt            t                 Tx               1                                 d
                                                                                                                                  FPAAs                                 f                                          s                  0 7=
               e                             ±   75             fi1   Z5     41           o                           ft    4 ft             iA                           TA     1 re                        tg             a0y                                                    50




                                                                                                                                                                                                                                                                          SINGULAR 00001269
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                                                                                                                 7                                             JP    2012530966              A   2012126


                                                                             kUTUA641TCIhN1
    0028
                                                                                                                                             GPII$WUiV1AJytfa
                                                                                                                                         6iLP3aA1kIk4tN7fil
                                                    uusUto97tzzoTIE                                                                      6c7747yxtitit
MMI60MM04RAPAINMMUTo                                                                                                                               uusoffiVitiazoU
TOffM6garr5100fraxvitlAJoT                                                                                                               05MM                               fDirOc701
husintiWkiNfIrliXm>Vi014                                                                                                                                       4
                                                                                                                                         WtRotittFit
                                                                                                                                                                                                    31 Or DR

IIINz975iNNIZftMfft6tabic
         0MkJ4IMIJtbW                                                                                                                                                                            GPlis                  10

toiAllokabiz4<019>xtmuTo Z                                                                                                                                 uusEAUkk57gMr
        ta                      1             CPUs k          rdi   aW                         S 1 1 3 si 7 A




y
    C   0    0    2        9

        35        GP Us        It   161             l         tb    140M                                                       ts        L1        VI                LT
                   1                                            NVIDIA            AM D         A    T   i             5     41                     GPM               LK                      iJ32I

1011GBA77sylJzI9tAltr1VMAYEAv379YMOvL
                                                                                                                               Ist32evlORGBA74Ty1Ittl
44781fyloffitIARAz731tMUt0nA>1zfLiznevOWM+
RiatfUlltcLizatit                                                   C                          OANOUT06                                                    10511tA0M77Lcc
41171341                                                                                       7            r    7    L1LW                             3           0 Open E XR                   44311          IR      20

                                                                                                                                                                                  I          HDR
7747TY111
                                                                                                                                                                                                          Oki 411



                                                                         1>ta3TE719 hT05trnffll41kalAc
        4         3r                9    7 1             77   4 1            7VF 7 S 7                                                   LID      Fr           1 RR                               T
         1t
                                                                                                                                                                                                      ff6



                        t                     V 1kipedia200841                                                       16e                     tp   rpmst                fa                         F           clz




                                                              4
                        47
        kl                     10                   ir   4r


        C         7                                           OpenEXP             OpenG1                     D3DX7kft                ts            <                      v             57        93 7
t                                                                                                           Re            is    ik   Itlit        15e y              2S gs            r4         21411    kAt



EMT4fftsTo07Y3icts6cLTZ50                                                                                                                                                                                               30


    0030
        Y97ev7X7111flyffi16ev140JRAktieIIsTli6LtT09

414AtmiziteFT6t0DTZB                                                                                                 17tbt161fv14A+RA7rsy
PAftYkieWLAZ71aYeitW1tiftA0Y974yx77
  V 3IiMEGP117                                                                        7°   9

                        71r         k         $11        0                       y             t                                              11                                                 Gres V

             II   fig   4 9 V                            321        sy       X                     6 tc          G4       e              1                                                                          3

IUWWwITIiVX31coaRt07i7T106
    0031                                                                                                                                                                                                                40




11witTicAgzitm4i9Ab16111itkeAibtATItr41VTitsz                                                                                                                                                                 Lip




                                                                                                                               iV2U11
                                         it   FR    t               21751Z                                                                                 c        1 5       V
                                    ti                              y86                                 C2            tir                              4               if     >                          st



                                                                                                                                                                                                              fit




                                                         ttf4iTh
                                                            a It57
JaIT         db                          a <1
                                              fr                                                                                    42                         t            LAOR                 CNIAtI6
                      13                                            Is   t       It    cr                   41                       6 7 7 9               r           3              W5




                                                                                                                                                                                                              SINGULAR 00001270
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                                                                                                                                  8                                                               JP       2012530966                                  A      2012126


     7                            tt                 G                       6                                                                                                                                           64e 9
f A
11                     >t                                            t5                                                                  1       6                     I                32       El    V       F


               A 0 MA 0
                 IV        W                                                 0k        C                     Et tC 32        If                      i1   664                                                                      1 14 128 e




                                                         ftfi
      iN                                                                                                                                                                   Irf                         Xs


           031 0t 4 A390 M   6                                                                               J         T                             19                                           M                  1 7
                                                     El                                7 ra                                                               t                                  t1            6 444                                                     t
k                1144A            IL                            7 11                   X I 691115f                                 fT        5            5       lc             D                     ir                                          if         tr                   ffi



Alt                    171              g       sy              0 IV L                                                       74    t                      q                                       tt       6   414   01            kt              L
6
     0 0          3    2




                                                                                                kar 5411110144iNkti>L

                                                                                       y7
                                                                                                                                                                                                                                                                                   43    10

                                  0 VI 0                                                                                           D                              41       let               11            011

                                                                             3e                                                                      1PHDR 0 t                                        41                 CT 4 6                          4t        6 72 ft

 0         0     3     3

1PHDP       X 46                       IICV                           0       10 MaTt D                                                          100 If           I                     t1       c10075                                      ffi                             c


tLj              7 ft 6           0     fej                     t         41           4                       fkAAX 07                                                                                        t           6 4                                               h
                       1012                                                       I    4    tifi              110 2Ct                             flitk                                           <            t 51
                                                                         5             q                          h                                           J        5gi5t                                             tA                                    itt               t
                                                t                    t 6r k                                                                                                                                    0




                              C
IT   5           Vf4   It    1t                                                                                              5                    gq                                                                                                                 ft      AV    ft




                                                                                                                                                                                     1311J
                                                                                                                                                                                                                     Rij                           Ili



                                                                                                                                                                                                                                                   VZ                                    20

                                                                     I            it   151                       35    6                                    I X                                                Eik   Jik                     X                               Z5

     L           t                                              i    41                         bQ           X         0X                                 T FA 1351                                    <t            ic                                              fff     t
                                                                V011              AX                             0                 t ktAit                M     <

                                  3                                               A                                          0                            X1 6 E L                                                                                                   1
                                                                                                                                                                                                           <Ci11
     Zi                                         71                                                               ffi                                                                                           Mt          tr


                                                                                                   6 0 14 if111                              1

                                                                                                                           Q16
it                                                   tg1                               26                                                                 7t                                                                  1V



                                                                                                                 0fit                                                            I      MDR 0 7                                                          17                la
IATTIZ11X0RA4i74914t6L0                                                                                                c

 C   0 0         3     4


     Eki               hti        it            7 3                                                                                s                                                                                               t                       46


1PHDRAX07torAX0ffit                                                                                                               rvAX0fl                                                        titJ1Jc                                       t 6                     v5                30


                                                                                                                 7
     1                            Y77           fIJPlit              6 0               it          2 <                 1     9                                                   6 0 it                r             ti    0 it V 04 11
                                        0            7Pnit 4 11                                                                    ffl                                                       t         rz bl          6                      6
                                        tIN     4               tv                                               03                              J14t4                                       C1        L P 11D


X5         ieV37XtxiIN                                                            44               t                   t                     L            17      8                                                        9       3                                         rk

                             7 r I3 ir                               f                                                                               t            7 X t                                              T             T 0 74 0                                      C 41


                                                                                                                                                                                                                                                   A
                                                     re9



                       r7         tkl




                                                                                                                       1
                                  I3    7                                                                    141             it    hi fal iT1                                                     4141               if    77      tz                                      70
     011       L 0 5 Wit t                          15                                                        4                          9
06         tcr               o 19                                                 o                5                   7 1                                I       9                          A                       t                             tti               tc11                40

                                                                                                                                                                                             7
     C           6
     UrU
                       0


                                                P119                              7                                          rr    0                 C 6                                                       41

7 1 17                       1    7                                          77                                                    Pi                             gnV                                                                          FONJ                          lk

L                             FOFF                  652XX                              19                     V73                                                                z 346                                                 fii         5                       sc`




                                  i             1i              IN   0    tf4     3A                                                                 0            5        V                                         1                             III




     VA                      0                                               at




                 LPEIDEA               X   It               1 4 xi V 51                                rtj                 htt    pi             t            kt                                 v                   c                             c                       93            50




                                                                                                                                                                                                                                                                                 SINGULAR 00001271
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                                                                                                                            9                                                         JP       2012530966                        A        2012126


                                                                                                   1 7               Lpf                                         3 it 6 7 7                                                          01




      0 0       3      5

     ITHDR1                                                                   d                   Te                                              Ej 1Z                                              irt           0 ft
          4g 14t                         a11111110101                     11A                    IN     MI                  r                  11                               11        u    iz1kri                                              xt    L
                M                   k    Rei        ilk      YtI                                                                                                     aPfth                Y2                       4    ti4       t
e                                   C Ojz 5                  tr    7                                    Jr                                   71c 4                                                                        V                   6 Ai




                                                                                                                                9111
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a al                                A1 6 t                                        D C                   ffl          51     R1         2 4 ff               5 111                     1 4                                 ft                  41 PM

                                    1 It            L                             3          c                              It                         <                                                   t
                                                                                  fJK                                   G           V                                                                          414C1                       g




                                                                                                                                                                                                                                 4i11
                                                                                                                                                                                      4D                                                                      10
                                                                                                                                                                                                                                        921         ki   47

4D   116        iP                                  4D                            IP1IBR         RI                              t 2 a IPli DR                              At Id                      Art 6                    f1      R1 2        g4


                                                                                                                                                                  PHCtS                       YZ                    M           If

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          scotj
          1           iff           kt                       7                               C 98                       6 C
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                            7a604kM11t§110147kCA2001114115

75f
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          IgtLC                                     0                             11              f
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                      L t                                          v
                                               a   vg §1 td 7 1                                   X                         D                                    C                              it             i          MI                                  30

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     U c              4             04   co    35   6 44           fia   01e                            O j             5              7                   1     XL                                        1

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                1                                                                                 rfi                                  tz tr


                                    L          s                         1T            114   2
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              9119D   7                                                  7                   9                              7 L                            7                                    1              FPGAs                    FPAAs



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                                                                                                                                            10                                               JP       2012530966                                A    2012126


Pc    it Y
         It      IA0   f  AifCPP                      tt t                    fit                                                                                                 1                                                                              Ill        tz



  C 0 4 1 P11D R a    1  kf      57It 0 it 0 7i 1 ZIc     41                                                               sY                                                                                          LIR                      c           6 V
Z 0      tot4st0gfiTcMR1vE 10      Al          1
6 C
                                                                                                                                            5= A 4 7                                   a4 0                   7°   o                                 0
t                                    fflU             c 7                        1   4 6 if                                 41                        tott              <                    k                     c4                 It    7
                 AT         v                         co   ft   0                                                                     ill   R1PHDR iA                                  jk 6 6 t1                                                                       ft

gi1      0 A It                                                                      11                                                     V    IP       3                   t 6 J 5 kU ct                                           leN
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                                     4                     Y          Millar                                      Connection                                   Machine                   1        and                  2         Goodyear                        LIPP




         0 0          4     0

         L                           AsRigi0305111t                                                                                                                               ME1661fUtbrlt40
         011A         I              QM                    03   14    61131                                            FPAAs
RA               t    6




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AZMERU                               GPUSIMIs                              MIMDs                   T 041 0 ft 0 L 1C 1kgi4
                                     0iJt                                                                                                                                                             I       V          7                                                       20
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                            fff1if                                   C     111                       tz     6 lz                 LPHDRa                                   0 A 1 Mg
                                                                                                                                                                        Jig                                                  E                            07
                      17                                                      fis       T                                   TA                                 11       c A            01J                                       Ntt                    110310


                                              Ot1MtG
A                           IPHDRM                                                  t                z6       iJN      077       bN          FAL 1 t                                             iP                    M          M
UTJz                                                                                               g5


         0       0    4       1



         SIM0                          e                              v                       zi   X         IA        000                   4                          For
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                      Y                it                                                                                                            1044               f A7                                                          V 1f                                  r

         T                                            It                                                                                    1                                     cu                  106                                                        010

         108              a       5z        0 ta                     11    f X                 110               1 1 1                                         71             e                               1024i               A C 0
                                                                                         104it               2YR41234J                                              7                    y                         F              cD    ftilcO          4   it         0
         4 7                                                                            t                        C C 1                                                  014            R                           j         PEA                    104     k




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                      26    6 re 42                             it    s       Goodyear                       hippo                                                                 A T 1

                                              L            4 3 tr                       1101RItt                                ktc                       1    >k       2         c          F                                    P                       0j
711      311          ati                                                 I                                                                                                            ts                     it   4 <                               RR

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         00 A                               it    C 03 PEs                          LPHDRZ                                             it    6   0



         0       0    4     2                                                                                                                                                                                                                                                    4


         A i                                     Lf             57    102U                              e                                                     f             3 L1000                                                                  14   fl     t
         c   6                                        dc        I              3              e                    102            it                                        0 =1                          r             y

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                 E                     10211                         6 t                 tl    All     0               11101                                  T             4 4 if               it       1E                                   t 6 t
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A                                      0 8f Vt                  7C             L                   frit      6     C t                           4 R1113                0                                                                                        fi         75


                      Z
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t                1          3 V If                    7         3 102013                       reItzt          t it OA 7 14 PEA                                                        1044               s
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                                                                                                                                                                                                                                                                       SINGULAR 00001273
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                                                                                                                             11                                                     11            2012530966                           A      2012126



                                                                                                                                        P    s                                                                                              fT4 Fkl   El


0     tr              fet           Pi             trz       Aiff                ft


 r    0     0     4     4     1


                                             4 PEA                           1   04 r14     0 P Es It                                1           3             e                          I   0                  ffr    1 5 Ai                             53




A F                            1                   1 102R a fizlig                                           7          4 PEA 1010D 04 3t                                                             A                          L                    V IP
            4L                 A                   1                                               1         e                           IO2kNA                            A7 1                       PEA                    104                01 011

6     clz   3 I       FIX      19                  L              AE                                    C                      lit              5 t 0 t                  if3                        7 0                     3 4                       A5




                  4520
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                                        L          71              1                    1          J=               1        CU          i06                               5              4                  41       k          a 5 t
                                                                                        1          a a              I        CU                 106       0        3 A i                                              15         E              211       6 c0
                  1141119      I             fq                                             19          r           i        La et                             tr a 3    h                                                   a                        1    cu
     inottgliTto                                                                                        L                                                            1j PEA                              104CDTOPEstE0
                                                                                                                        n            Y      I    CU
                  s r              L        T            a    01   F11       IC       `11                               L            7 NMI                           J 5                          C          14


     41                                 0    P     ITO             L
                  ft11                       A FIR7                              L      PEA                        1ks                                     C   i1k             M    fii                                                       raj   Fq


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                                                      1731




                                                                                 tZ         ft1




 r    0     El



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                                    11                                   I                         1                         krr                                                          73



       cLtitRX171 PEA                                                                                        1                                                 19141>
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06t Lt                                  It                                          1U                  Z                      7                  PEA                      1041E              rlr



                                                                                 t3 Y 9                                                     4 r5PEsf141 43 04
                                                                                                       fl
     1476                               A                                                                           PES

                                             t2tY>
                                                                  or                                                                                                                                             3e     co   14wJs                              ftI



91101             VOUITI                                                                     F                                                    CU                 10614                r2          fOiftEvet414LtiN

ra   4 VA                     ktt            4rf   ry 5           1z to                            co   it                              0                                      1    tt114           A            a 713                        9 14
                                                                                                                               s             in                      a                              cu                  io6             4111                4
                                                                                                                                                                     7 1                      PEA                     1041E                   1 C
A           Aft   R Z4              a                        fg                  41     5   fig    71   28   t                 C11                                                                                                                                    30

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3           1   1       CU 106                                                                                                                   7             r     PEA 1040 r171
            L7116iNG3237tWlEti 1                                                                             tit    ae51                    01                       1 IOU 108fit

                  1   CU                     1   0 1 13            tf    0kR                           714 PEA                               104k              I x 1                              v     Le       a          31   102                47


                                        3          t                                                     it 44                              lc   Eta                                          1f             r                         It     5 f
                                                                                                        X114RIfigA644311412LNY
VI                                               s            iz                            0t                                                    51                     A 5                        Fa                       f 7  1100
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61z                                ft       Tv   41      6 VI                                                      11                a                         CU               106           t                      L C zte                  1            2
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            5711flfle                                                                 104iP        G         41

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                                                                                                                            12                                                              JP       2012530966                               A     2012126


      IIOtt                                                I    IOU                    108t                 Oa     1g               71                               1                  a                      Cu                     106t pit                          L
At         ga               t                                                                                                                 YUjiiP                                                               1        I   OM                1084              Pi

                                                                                                                                                  1            71             e                                1021t1                          v
35         T                                                    1                lif                                  F     CU                106ki CP114                                   t                       14                     t              UN


A60g AI7417a                                                                                            102icDT15TtZJAludITIsZlitititUt

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                                                    riLttTj
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                                                                                                                 11P11          I    is      II      a R Ph                       tit
                                                                                                                                                                                                      f1ftttGoodyear                                                        M

PP    0                                                                      JJ           Gr ct             tt


                   A                                      5          7 E                  a                                         7 1                      PEA                  1040tgiNPEs                                                                  t
            151i




                                                    Jz


      iE           fff   Ot 1111                    111         7          Jct            1 4 k 6k                              3DAti                    t14   Xi 4 ft FE                        tt        P HD R                              lc   40                          10




  C   0     0       4        8

                                      7             PEA                104                                                                                               1    CU                 1064               027                    IOU      I

      108               t                                   010        Tit                                       X              L    0                                                         0                                       igqV7L
4U EA
    A                            10411                    41               7                     Pi 72      77=                 1i14                           1fr                                             r
                                      7             PEA                10413

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4                           16                            171   1 it             5        ix     7 2                                          FT4                                                                           7              xstt
A<                                            5dM                    PHs                              465 R1140tt 911S                                                        PROT t
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                                                                                       kit                                                                                                                                                              itg                     20

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f PEA                            104iF 13                 6 Z II                 FA       PE s                 iJN a                                                                     202           PE           204                PE               206             PE

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                                                    id                                                                                                                        E


      208               t3                 PE        210                                                                                                                                                                                          1060
                                                                                          or411j41                          PEs
      A 3 4 it 0 01                                 0A              P Es               E 0                            ic        7                    7 13 6 tr                                 6 1114           IVA        4 03        011                              PE

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     A41      95     E
            f4lj




                 Ti                                                                          P


i775t11f4142MsoRpfiEEMRX4DrPuntf                                                                                                                                                                               7+
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      34I                                 =         I     IOU                108L                                               ti                             1                            A PE                    302                                        t 0
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154



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6                                                                      308 ffiglITS4W1PE                                                                                                                                                                 L h

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                                      MI it               03                                           MI5                          I 7 73                                                                          6                 L    1 6
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                                          pEs1 Lola=                             sy          1   IOU                  10801110RM                                         it             ZA10 i4                                       PEA                      1040


A               04      P                                                                                C j1               11       X                                   P EA               104s                                                        tF11

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                                 ff                                                                                   fit



                                                                                          1 PEA                       1040                               p
                                                                                                                                                         43    6              frae3                                                    c                      If    11


      41                              CtIORO7                                 PEA 1040411r                                               i6   6 4010A PEs                                                  1414M                                  1 f PEA


                            U
      1040                                 ti   t           515fl              PEsL               §IgY   6 6                                                                                     it            ic                     2 f
                    T                           1060                         A c ft 6      e  1 5   rt14                                                         7g                                             PAM 4
                                           sy             E0    1              z 8    g    Li PEA 1040 N
                                                                                                      51115E                                                                                         411                   4    ieN    12 41 71                098
                   pE                     Ai 41                            37    tt                    41   r               <       cr   5    lc         for             r              6 ti           ifoa                                       1011                  10      50




                                                                                                                                                                                                                                                                   SINGULAR 00001275
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                                                                                                                                               13                                                   JP        2012530966                            A       2012126

81           Js             T         35L                               7`                    76                           PIE                 7 I               PEA                      1040041c                                                              PEsic
                                     <           ft      e5 ic                          v          1                                                                 CI                   106ri                 Ali     1
t              3lc                  T t
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C12
  11           V       I                   I             a=                       CU                       106L01111I071                                                          PEA               104         c0 RI        co     40    e                         fitiV

                                           a                                                    35         6 FRPdIS
                                                                             ic   L             t                            ht            91             7 1        t1               C
                     Mriki                 3             JN         A             Y             tr         S                                        Lic     3 6               LC                VN                    7 1 f P EA                                    l04   4
                                    Tfr4                 PEs                  a        11                        <         3 3 fc                     T                                                               9   N L T
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h    t                              M                                                                                       9t1git07                                          PEA               1040fgtfWDPE00H610
IOUS                                      ANDMOU                              e                                  P                                    7 V                 C11              100                              T        1g    Ig 1                           M
0441TR751N6CLMTt6j3icDT066gAMgT106




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        0      0       5        1



              0 C L              4 < ef 57 11 11 ft it 0              re rf                                                                                                                                            0 5 t3                               <         isP   z
              C a           DA 0                         11 T    6       N              rti                           11                                             o                                   8          AY 0                           1
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                    I OD cr          3     =1  7 I VC114      f        t      6
                7                  >    1Z

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                      A          7 Li W 4 0      3L 6 t            Yf    T 0 6                             lit                                        7bv                                                                       N          44 03        T
              I or us                     twisted     torus 03 ct 3 r l     13                                                                                                        t                                             U         1t1



               t                                                                                                                           I          ttC                                                     jil                                  v                              20

              ic                                 I f                     41                     1                                                                                                                                                                v
               7            k 0           fli                       L t                                                           1z                                              91 Al       0                     1           PEA                     04                    1

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                                    lc    fef                                                                    C                                   14          4 6                  L              tv       6                    P EA s                       V 74
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                                           ylU0DMMZotitoftlioDEM60tLcktiTt6
    0          0      5         2

             I4 it                    ft        a IA 1q                       400 7 ft                           It             g                                f        P   E A              104

SF      It           lk             0 I hi if V it                                t     0 74                      6                            rt7        N                       L       t                   Z                               ft                     PE
        400a0tkfESII60                                                                                                                 L00t15=90tcb0EMgatiff
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v              Constants it                                       31R                                            41                                                  €7               J         t             If             Pfi                        <       T


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                            T                    6 IN 7                    C                                                                     3          t                           v                                                               Z                   k



                      is tC6
o                                         lb                                                                                                                         g5       <                                             F        IttA                             3

        C                   o             i3uL                           v 7 31 v                                                                                                     2 V 7                                                                               7
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altt                                                                                                                                   I       77     V       A 3T SRAMlz                                ja                                        1`IIE1



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                                    41S                                                                                                                                                                   I                                                                       40




                                Ie                                       ges tit        41                 izt              I                    tr   a It 100 c                          37 fe               41                                            7Rate
41kttst                                                                  E              t 6 t                               Ct                          N                                     6 rat e2
        g            Li     14      A T v                                                                                                                                                                                                          35   6           1 II+   T
    t                lilt   fit                      P   E               12                                       fit                                       6 1N a                          J  J                        ft           fl            L             6 o
c                                                                                                                           ROPOFCgligiltzW                                                         tcr0
    r   0      0      5      3

A 01                 Si               P E       Mt                  0141                               P   E                                     If         9                     A Zff I                           60               it5   6                     C    0
        111                                     PP            4 00      0 41 1r                                                                           402a1                                                       f`i                     1X L
        t 1                 4 MU          X          4 0 4 03       3 3 tt t                                           4i1          t$               ft VI                L               98    4 a VI A                                            6 tz 5                        50




                                                                                                                                                                                                                                                                        SINGULAR 00001276
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                                                                                                                            14                                                               JP        2012530966                                  A        2012126

71                                       F                                              F     406N              P       R                  sa                              40810             <I    5

          LPHDEM                  rt                           1 40814                   N1h11              T It J1174 6                                                       6             LPIEDM                                                 17          3




                                                                                                                                                1114
                                                                                                                                                        ii   T4



Z1311gAk                      PE                4    001 4                         C                                              W PE                                400PJ                        T flit                 Z 41                     ZRfiAP
E               400k                     T                     it   Z 41               k           Hii                                                                                                                                     kiVidtt
                     43       0          S                       z
      r   0     0    5         4

                              Ill                   PE                   400t                  4 lc                 v A 9 4101f                                       T                                                        tt                               10
3               9             E                 4                A 6                     c         T        j                               7 Y 4                      o   0    El       rS


PEsPJjr                                                                                  II        a                t    CU                     106V                            T        1+1      El   41        tc            fl                                               t
161C                                                                PE    sT                               Te        9            E                    1751                         I    Z 41 6                                            r 5                  ic                    10


                                    T         911                        A 7 I                 PEA              10403         41                        r                      mg                  eEs 0 a 44 co

          F            a      II CC                       F                              10031             12   0140 APE hi                                                31fl                        PE0                            A 9 410
sfit      gi    A PE A a 44 It a                                                   74                              6   T      75`                                      75                                    1            sy        1                       1

                     t              Al                                                                 o            ff1J3UJ

                                                                                       NA PE s
                                                                                                                                                                                                   0 PE
9 410b1 9 42 7                                             41       it                                                                 02                         t                     49         41                                     t                      op        it   114




          Ni                                              4e                                           6 C              t4             t                               f 0111ge                                                                                  1
A                                                                                        t         T                0                                                          szasiw poiz                                                         0 T tf

                                                                         A         t                                     LT                             7 tt                   40       C 23                         1A                            tt                      <          20

197if           fr   a MN R751
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                                                                                                                 10               II                                                                   1064r S                                     L lt
4 412a                    d         <t          T                        Z 416                              e               7     JP1      op    a            v7 4j pl                                                    111    5                                         ej


itt       tot                                             C                                   FE            41      6 C                                446                              0 T                          1                    C 0 t                      72j        X
                                                                         LttVoiovigq412adtt                                                                                    5=            31          itAir146t                                                         9011

▪ gt PE                             40M              co        1                                   E 9 0                    fid                                       37                                         9    0 rao                                                  II


                                                          PE 4                     216                              L   T                                                                                                                 14064NA


                6U
Ot                            V1                                                                                                                                               PI                                                sY



                              408        ±                 t        co   II                        X       IN                                                                            0 V ft
Z 11                                                tfl             1f412adv                                             F                                   y    I    0                                                         A 9 410 ft                                  141



                                                                                                                                                                  S   MD 7
                              U
      C   0     0    5        6

          ZIEWA PE                                        400f ZIERA                            7 Li            PEA                    1040                  ra            t7 AA               B                 9                             5        v
                                                                                                                                                                                                                                                                 1         60


Dif       5          PEsT                                                                                       7                                fel                  ff Mt t                                e                                                  ct     3     tct




          <     6 f 17   7                                               A               aA            Z            7511      t                                   7                     9          Z                 2Uik



3
                                                          27                                                                                                                   11                                                     P    s


                    a Si                                         7 4 1Y                            117                  1            7

          dgIns4K711 PEA
             co    y ti
                            104Uit`
                              4 t LI
                              ANNA      24
                                                                                                                                                                  0 01
                                                                                                                                                                                7PEs               PP$1znUTa01                                                                        40
                                             ttfa




                                                                                                                                                                           s



1 CSt1MAI    t              6        a                                                                                                                        6                                                       t 0 7 1 ri
                                       7
                       74              it


  e   $4          3       t                                                                                             rtk                                                                                               ti              61       1c                      Zs   41

          to    6 o
      r   0     0    5        7

                A                   NJ   X                ft     Xa                            r1V          a        P HDR
                                                                                                                                    3711




                              s
                                                                             fit   a n


                1RWL MIRO                                                                                                                                                                                    17131

itijfc
                                                           X                                                                                                                             fla           jin                                                      It     rip   NI

          111A r                                                                                       1 P 1iDR      MIR 01                                                                                           V117                 171          6 3111W a
                                                                                                                                                                                                                     0                             LPIEDR                    X
MLR t i4X1 6 P ab




                                                                                                                                                                                                                                                                             SINGULAR 00001277
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                                                                                                                                                  15                                                             JP        2012530966                                        A   2012126

      0        0       5       8




      0 0              5       9
                                                                                    I
                                                                                                         iZo C                                                fRI                       Cr                                                      46

      LNIDRA                       Xr
41            O fa          hi         01 AI                                                                                                 AI St                  7                                                          a
                                                                                                                                                                                                                       fA                                                             416
                                                                    F>+
                                                                                                                                                                                                                                       lit      5ht




      0       0        6       0
                                                                                             tiff        It

S             It                                1c          16                     M    nig      It   fa               TT                                                                                                                                       Ic

                                                                                                                                                  4A                          Oa                    209                                         L
                                                                                                                                                                                                                 boiflu
                                                                                                                                                                  htg    RI                                                                                                      11

0 6                         giAInv                                                 B         V1                  fit    2   a          31t                                                           it

                                                                   16DA3                         re   PP                    t 6 tz                   fiff    C
N        09 g IL k fN                                               6 I                          fLI                                   t     41      Z                    4U                                           6                     14 4 q1UC
                                                            0 IN fra3                                                   M         it       6 L L                                      IR Biz         2061M                                 4           Wif      1         0 11     0 IV


rt   aAr                                     4 Nt           Rit    09 1                          6   1                                            lct             6 41 Z 0 6
      0 0          6
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299T zb                                                                                                                           c1                                              OhN               310 n ff6                              tt    I it V                            5 es




          Yos



     0        0    6        2


                                                                                             0011 a                         0                                       tr    6                     C a erl                        114                    IF Ritz                    X        t
it   6                                      fs                                     46                                                                        L                                                                                                                        6
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                                                                    1LLV 233E100
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           0       6       3

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     giXtAfitz                                                                                                                                                                                                                                                                        MA
                                   A
                                                                                   AS3ff      hi 151                               1                                                                73             tx                  tk iR                              1




              ft
                                                        gP

      te               Ef                  iz     sh         fc         fra                                4E7    fi                                                                                                   t               t                        PLPc r

                                                                                   i
     7                                                            fit        t                                                                              tt                         ib                                      as      t
                                            03          7 1                                           iC                                     41   It                                                                                       Not                  A         Number NA
                                                                                                      U
                                                                                                                                                            ftl                             fiE


                   11                                                                   5     rec                                                 t                 C Z4 it 41 tz                                                       r NAN                       tE1 k
g 5                                6 t It                 hO                            t             h hi             I NAN                     V            tk        tiNhN      L       1N       3 E           `f                            06                  jz                          40

     6    0                        A
                                   f
                                            tit         e It                                  Ir           Pf                                               7 7                       ff                                       c
 E   0 0           6       4

     al 5 It                                           04    e 01 ft                         c                                                        1 6 it Vi                                             It         7                                             1`   500ThL
                                                              0 7                       It            7 4               v                    I    500                             1                 N AN                   V       I    502a



T1                 L                   t                                If              10                    63502d                                  61f                     0D                    S502eti                                           47D       41            0 6
                                                                                                                                                                                                                   tz                        5E4 Wit            cf       M



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502chi                     015                          1=3                        Z    th            20                     1r                  c                                C                                                                             502a a R1


6 pi is                                            JO                                         t          1t       7 6 41 0 C a 4 I                                            0                     M
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                                                                                                                                        16                                                           JP     2012530966                                A   2012126


                                         r2         6 FN                 k 13                                         C         t4                             1          t                                6                                          3   `    tal   4
ir


         o 0         6    5
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                     o
         114   614            111157           Wz                                     FA                                                                       k         ff5               IPH0R4M1=                                                   4080          tiiJ




                                                         IP110161k                          a                     j        4O8                             Do                  V           `               A602a                clz     U1160214                     V 0
i7i                                      7                1y                       fl2cjB13t                                                                                          602abL 7 5                                                          602ca
IA       X IS             Egg                   t                            TZ    tic      it   0
                                                    f            77                   6112a                           7 P              F                           602c        k           LPHDR                  ra                              1    4080


                                                                                                                                                                                                                                                          V
                                                                                  F                     b


                                                               LPHDRA                            a                               408 CD 43

sY             602a           b e        7 t        1                s        602c OD                  4                                               0                        if    NAN                                                         t                           L   10




                                                                                                                                               liti
p    NORM                a                     F    4084                     0 V 1 11                         k                                            I    CU                   106                          B 11                                    OP                41

2a                                       rig             42                           f                                         g            411                                                                        `       I 602a 1714

               MAI fidifil               41         Pi                        tP                                      6 t             01                                                             Oil                                     7t                602a           b

         tt          bagNE604                                                                          t              rata                   Fi 608                                  r                   zoJ
                                                                                                                                 LFIID                 113 J                                                LXR606a                                                           L


PIIDR3An                                       L         ItX446081t                                     LPIIDRItX4iAi1it                                                  6
     00              6    6

                     t          ei       AV                          X A 604                                          ti    606
                                                              itle




         170                                        1111


sti      MD              s610a                          Z561             b                              II                       ti       6                    ti    Mc                                                         MIX610bit                                   7
                                                                                                                                      gtti   G             1                                         MUN610ald                                                   5 k1             20

                                                                             0                          OR 24                       6i2                Z            e          7      a OM                                               4v419p                69


1               I    tizNANT                    614                  1b            563                  idt4t                                   X5VPIA tr                  13        11TNANbilti

                                                                                                                                                                         0                 4                                taA              12       k tht tE
                                                           Tx        1 32 ts C                                T±           32           =`
                                                                                                                                                   <           I                                                  flt       1 6 11 c
     r   0     0 6        7

                         74                    OAS r                         ittY1               t      s                  X ROL                                         Itt          D V  I T                                                t4 Jo


         PP    113   4                              4 A                       tt                 U           V                                                                     T 9 7   140              tJI                                           5          tt     195



                     4 fi                      26                        atX                           o`                                    4X                    gt          rF s 0 IR Oil                                55T   fit        k        4                     7
               V          I     6`             6                              51k                MOO a                                                         X     t4                t       itt                aLI                                           AT        COI

         0 kat                                                 Cr 14          t                                             tj        5                                  040 t3                                                                           7 n               L     30

                                                                                                                                                                                                           Ø±1t
                                         K441g1                                       fir                                                                          tet



         NANO                              c                                                                                     2N       LNSe                      cr   JCR
               13LS2iTlzt                                                                              21c                                                                                                 c kAztk                           L

                     141                   y         tE    04n1411c                              M            4            F3                   ifrAT


     C   0     0 6        8

                     tigiwtorotaa606                                                                   3attfrOXiii6081d                                                    24iftIRT56ktf01ziniXL
               134   T       L  14 4                                                                   C     fo             4 6                 2ifti              IRA         id                                                  L
                                 fitil




                                                           Oit fig           44                                            0              141                        NAN        1L T                 1      1+1             t           ct        3

0 6
     r   0           6    9

111f6       LNS00310XVttficAPofi      fDt Egi6k13051migitARI1604kt                                                                                                                                                                                                                40

          1 INS 0 k         r 1 6 11  4 7 7 n       D        41 6




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                                                                                                 Ifi                                                   3       C4                                           ic


 gt P 3 o     X I   t a DU    ce             IE 0     t$Ck
                                                         5c      7 5 X                                                     ZY                                                                                  1313


6k BLC0tit Iogii+ceAZ416            0MAEiitX1677
    T   <           1      3 4         <




               g3+C1ogB 1+C131ogB+Iogi+CBb+Fcb
         L               Fxog1+2x

                 C                                                                                                                                                         c                                                                                                      60




                                                                                                                                                                                                                                                                      SINGULAR 00001279
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                                                                                                                                                          17                                                               JP         2012530966                              A       2012126

      r   0 0               7    0
                                                                                                                                                                                           s
                                                                                                                                                                                                     F        x                       X ADD0                                  ab            t4

                                      tig    X S 1B                         Yt     ab                 5ZR          111    0141V                                        hqzff               X 1 6                                L             5        f                        ig          1 T It
6                               11     6                         Ei4                           tAit                  LAX tO3 ig                                                                                                                             C O                                             6
                                                                                                                                                                                                                                                  s


                  t                   Fl     W Ai                C              ksg                       gliA                                      41        it    ha             X   f44     604e it                         F111        41         T Id               tt     Fli     T la 6
c                  C41S04411Vrifi11X16                                                                    IFJZOgi0XIfe4
          <                                  T       N
                                                                                                                                    M         Lit                          tm                                                    g                          5   lc     try    D     ist               1
              N             t                   G        T
16 C L                          751
                                                         e                                     L                    T                               I bliP11DIZifi X                                                           R                            t                                    iS

t 7 1                                 71     tzt                 IA                            7 V                                                                                                                ij       ic             R
                                                         T to 6                                                                                                                                                            4 41 6


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          43                                 Ec                                                kk                                                                                                                                                               lijg




          fit                               1D             t                                                                                                                                                                     0                                                  IT Et
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                         t1
                                                                                                                              $75V                                                                                                                                                                         ft

                                                                                                                              41    Fit              U     M   T                                                                       3p4     gi                      7            Ai           N
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ffl                                                      tt     It4Rir BIN                                                    U     T         frq    5 C L   T
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                            IPEs0
    r     0 o               7

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                        V
          TA                                                                                                                                                   tig                               25                            74450111                                                 tic


          g                                 A                   7 9 9 Y4101 9
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ts                                                              414   4 6 > it                                                                                                                                             a                                CU               10W                           7
                        rt      7 402f 4                               T                                410k                              3     T         <                                                                    As     P tr                               7117           5        ft

00
1 A 0 4 6 111141ds                                                           7                                                                Is    1 6                         tt     X L               It   01 0                     Pi               g                           3
40214                                                                        Y         1 4101c                            A                                            g             hr    9      5 6 11 Id NAN 9
                                                                                                                                                                                                     1

6 It it                 e                           T                                          7                     L              T                                                          A 402f 1 0       0 12 Er                                                                              0 fk
                                                                                        i4sr




                                                                       c                                                                                                                                                                                                                     1

                                            7        r31r                   L      OM                 11f                      re                                  e           f   410e                           1
o


                  t             40114                    ftr           ti                                            j
          0 0            72
                        1                                      rA                     P ft                                    12    E                     0 2d M                                                       6              L                     te                  t               if


                        KUL                          X DIV                                             t                      X                     LNS0                           X                      fit                  6 4 0                        X fa
QfEI
                                                                                                                                                                            tO             4e                                                         te4



                                                                       41   0                                       ig    X                   6 it                         g                                      L 751 e                     6                                             0 st
                                                                                                                                                                                                                                          LF1IDE                             XA
                                                                       4
                                                                                                                                                                                                                                                                                                           Itt



                        fit                              1N S                    It      ff           U
                                            11401        2    1 IAA                      xi       14 fi                  I                            tvr
    00                   7      3

                  Tcd   0A                  6            ft                                    79                   171                             Cr                                                                                        17 it        4 A                      Z                k
                                            tIN          A                   Tg                        PIR                                          14T                                                                                                 IV A 414                    17j4
                                f       k r e                                                                                      tzt 0                                                                                                                                                                   0

                                                                       lr
Itt                     I I         47                                                         a5                   to                                                          71                                                                                                          03


                                                                            75t 7
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                                T TIM 00 te                                                                                                           z                4
                                                                                                                                                                                                                                                                       79uf
IV                                           I                                                                                 10                                                                                                                                                                                40

                                      44Z           375 a                                                                                                 <                            k                 1                 t                  r
t                                           F                                71r                       tzt                          Z                              C                           fRj   A it                              L t              T              511110               t        5

                        I                           0 7                45 >
6
          0       0      7      4


          711                         SIM117                   2F                                                                                         11 DudekoscAgprag+                                                              t3           z                                               a1

hi 35             6                                                                                                                       3f                        1                                                                  1                        al                          0 I ft
                                                                                               fixt




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k 1g 1 T I                                  o                  fiff                   4 1                           1 t                   1                                     3 7 4D                                   41            J                                            v 6
                                                                                      JI4                                 g               9                        7 3t                0                                 6                                      =a     Zig E ik PE
                                                                                                            ftli




                                                                                                                                                                                                                  is            €15


                                                                                 r              Mt                       tt    tk IN           0               =e      9                L1                         iff      X T I                                       ha    X




                                                                                                                                                                                                                                                                                                     SINGULAR 00001280
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                                                                                                            18                                                      JP         2012530966                         A   2012126


014XNAt60                                                                                                                                                                                t                                    C 41 6
      20
                                                                                                                                                                                                              41




                                                                                                                                                        I
                     irekl      j`fStlit                                   ft MI    4 7               11


fi3R1                                 T                   tt                                                                        3      CP                       6 ft                       Rif5           ffp     v     7 wz
                      X514            t         t Ni              hi   X             41                   z           6                    Dud el4                 <1                  Phi 71                                   ra      A




                                                           fill
                                                                                                                          0                                                                                            1411




                                                  U                                  fiff            4t   111



                                                7                      A 57
                                t 7Co
                               36     9                   r1                                                                                       Vf5t

fi    I               3        Jr                                 0


       0 0      7      5


      SUMPRa75Afam3Ti>MINAtch177N0941Wk5114t6
WkfW4soTigMAo3frtZyLv77OYIAff6kZicftifflttT
CO 6                                      SCAMPR            I 7                                      it i                                      3 9                                                                            X
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                                          tLLi6
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               c               It                                             2 X 37                      T11                              0 5f40501itkie
       t 1 6 t 0                                                                                                               if         7      5      r                                              7
      s                                   A0              4 C                 ki                     cd               rT                           t                         6
      7                    01         r             T             LPIIIRN                                     6 7 3 13                         t             9 Si MD                      > a le
      T SUN 7460
  C    0   0    7     6    1


                                                                                                                                           i            if    it    4A1114 t                                  14                 A
                                                                                                                                                   E VAL                         161f          2   8 t 6               Rd
      ttLtUfti                                            rf      la   7 3 13 >141                   Li1Uc                                 21fhtt                                      A fit           L T             6
                                                                                                                                                                   C             t                     dt


MWti09XtIAMWVVAA006                                                                                                                        NfiValt                        6Ey
 A66040Zh4N4Y433vL                                                                                                                        M             4Y                         z




           0

       0   0    7     7

 thAtfsr61c5  210Z fi                                                                                           ati   th tit        4a z                            6 7 3
1156  et   1                                                                                                                                                                                   2a           i$1                 <1      6
UXRRYMffltTaP4160                                                                    71tIYMT                                              ft   03 11 Ws                          41            0        c     I             t
                                                                                                                      G             fit                 ej140                  1
      h 6             OiUi                       2h                   10 git                                                                                                                                                                 31

                      5 Ai            r   fig   Ba1t14                             i±
               <1          r           t 4t          t                               7 3 ri                     CP 6 CR                                       I2k              9       F 0 10                                 Iti    a
      tt   20             tt          5° V 37 14ff 74                          6             A13                                    6                         L                                iA                                   ts
                                                                                                                                           0


           71 44                          r it 6                                     Ye                   6           Vi1113t 2fa                      Fr    O6 C                                                      tt     7 1
                                                                                                                                    2D op                                                              4 z It 6 1z
J11                                             41 afFri               t             11          2              I                                            i3c4i Jr                    g 6            L

      fk AP 2fif                14    0 6 it I tr St                    ffl    t 6 C 8                                                PJ               g                1                          r                          Ar

XMLUTAAZA1T06Meitza111Ma3oftoW0ttzA14CtLT
                                                                  7t IjIJUS                                                                                                                             9




                                                                                                     Jzt
k              tk2                                                                                                                                                                                                                           40

       0 0     7      8

       11407117YlefT3561NAgAf6TIgkasiltVikAtalicWT46
                      IX              7t                  S                        fat AP                 SCAMPz


           t                                                                                     AI rot                   t                                         IR                                  6 c
orMWINIctA46cLasMB1116MA004ALUTPAllt6cLMTte6
                                          t13       ftl                                                         IN        9                z 43 v c
                                                                                                                                               7 5            El         fit            45     6 a            AP ti1             ifft




u                                     r             ts                 6                    tk                  11                  tz     ft4Lc1                                                                           Gilber

to a 41                         ffl                                            Xt            15    t 6              L1                    t 6                  Gilbert g                            $2 fg                                A   50




                                                                                                                                                                                                                                     SINGULAR 00001281
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                                                                                                          19                                                            JP       2012530966                                    A     2012126


4                                                  t 1 I6


E 0 Jz 5                           T                                    tt         6 ft      751              t                           Y ci
          4  L        c1      5                               tz        fc              S tt       C           3                     a    co       7                                 5fg                    i                                 L             T
fe4N1L41ct16
      0     0    7    9

      2 ft            bu      A          T it                           5t              1                0               142              AS                   1c    ts              C                   T tt ct


                                                                                                                                                                                                      Aht511rtt
ft    NIS        itLPO                                  M1                   27         iN IR      1               L c                    riE1L                                751            17           41                             4v
                                                                                                              T                           76                   vi                                                          rt

O                                        14             te                   ft    0                               1     2 1Z            1                          L
                                                                        U
                                                                                                                                                                                 Pis       rEji




                                                                   t




                                                                                                              0
                                                                                                                                                                                 7 1                       Y35+401ZR35
                                              9`   6          L                                                          tk A5            fiF                  if    4V                                                    011 0                         fk



                                                             IPHDR      Ai         C11             k          4r   G          g                 fL                                                4                            tti


      IK         AiNz              ht    4 6                            A                        01                                                                  4 6                               C                                                 T




                                                                                                                                                    $`13
                                                              7z   ft                                                           GD


                 it   0 tk                    e tzon k             tr   z6U13cc4141k043biltt1jcS   41
                                                                                                                                                                                                                                                                20

t     U                                       JR        gi3 tfi         2    4                            g2               t                                         X                 j          5        yig        6
Yif                   It           tfr        2fatizzAVV466V75tZ6                                                                             f1ihtitt64tiRROtt
                                              tE        itA                                                   4 it       41   as          G 4                                          tUt                                           j    5        11




                 231ffl                             j5              4N           fg   4 4 V 9 9   V                                                        5                     A                              it        0

AP               tt                      JL        C 7 1                     3c5   vc        6 0 Si gi                                        ft           1 it                            112                                            11       I     4



      A                                                                                                                                                                                                    J0tt
      0     0    8    0



                                                                                                         ttP 1
                 ME 01                                  Mkt                        11 36           0 24E                   L                            tt          C
                      iz      7                    A    If    1                         k                                                                                                                                                                       30




                                   tiT c           Lta                                       AT                               P6 rt                            t                                       6             ft

                      0 it                                                                                                                                                                                                0
                                                                                                                                                                                                                               I
                                              27                                  7 7                                                         L                     4 6




                                                                                                    J
41    It    Al                                                                                                                                                                                         at A1                                           te

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                                                                                                                                                                                              73kI1
                      tvi                                     Pi                                                                                                                     011A                             i6

                 1            5Ff 4t 1                                  e                                OP              cc                                                    r15   0
                                                        to
                                                                                                                                                                     A
                                                                         1   0 Mitt fta                                                                                                                                                   5i
                                                                        6t <                             15   6                 c         j        3           4                                                 C      4 3e
            3 7                                                         at                                                           I                         fic   2   0       rei                            X 1a 4 <
                                                                                                                                              0                                  IF        0      ft                      tt                      1i   ret



                                                                                                                                                                                                                                                                40

                              ht   Mg                                        17    <I        tz    isr



      o     o    8        1




e                t                                 gJ   1 tt            si              gi   4 6                   111                          LPHDR                            X         41     3             C              ff                       c
      htifrt                                                                                                                                                                                  f
      5t
                                         L                                                               T                           g <        046                  69 je                                           tO    6                       r
j                                             k         1                        MDR                      A            t                                0            J   ffi                                    tft   A L                PT   a        lc


                                                                                        fp+                                X             4V                L             si      7          1              x 7                 7               9

                                                                                                         ce   5          M    Ff4               4 Kt                            14                                   11    1         01 la         7

9                                                                                                                               Cc                 tt                          e                      It   St         <              E            111           50




                                                                                                                                                                                                                                                   SINGULAR 00001282
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                                                                                                                           20                                                          JP            2012530966                          A    2012126



  C   0       0 8       2

      IPHDRA               X              o <           h        0 17                 tt    1F                  7                                             0 5t                  IC


                                                                                                                                                                                         I                    n 1                        TV    t         a6




                                                                                                                                                                         0 904
  C   0       0 8       3      3


            P HD R if         IX    0                                             Fl at             k                          PHDR                                 0                                               tcriVi



1tAVIAPM4101kPrfti                                                                    2X4
                                                            141<LtiATOJ3444rstOPAr4k6t0CZ6
                                                                                                                                3    141P1tit                0136LPHDRtAX4if11AUt                                                                     3a
         1  0M                                                                             9         Le             C                         4a                                                                  fA                          7 11                     10

7                       71                                         tt                                ti                        X                                                                                               rz                   ocrvt
141   rit    cqi1      ttf           1 6 Nal 4E14                                                    I    2 la                                              51               zs                ts             I            74s                a          k


      fs     $3                      E            A                                01                               z                                                                  0                                                            te   6
180M74746t0T30511Mt46k6OtOTa4tockwWtITA56
                                     I                                                                                                                                             4           a                                It                       t
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      A           24                 ffst              GPUO                 <t    3                             et   6 0 a E                                ft g  I                          11      It           If           e     0                       kri



      7                                                                C           E                 o                         411$                           e V                                     0 fc                               41              7             20


4       s  LPHORAX4 If  31 t             c                                                                           ti                                      L    c                                                                                LPHDRitii


XaMORMoNthLitLC14ACi56cL4iirU006VM04100RgOOSIAM
4            i1jJJOic                                                                                                                         U
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1010M03YRMTrTNIAtRukRIA4Arttz131c4co6                                                                                                                                                                                                                                  40


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                               6 Z                41   1                              C 0 A                         Lt


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              R11J1                  7i           A a Pi 0 P                               it   k        ite        1 6                  at                                  aii                          A            Oilz                   t                        50




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        Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 112 of 436

                                                                                                                              21                                            JP        2012530966                   A   2012126

 ggeti9nntc77112017t75tqftei3710611v5r7wpoi
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 4110WMNIkZ4tzcLwmAtzotoet6
                    0                         tj   7 2° 9 7                                   a     V ic            tN                               0    lit    75


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        nMaAMMIzIAVAWi1kNfVP4C42fit4CLeTt6771d9XL
4DOTWTWO211t6                                                                        fLC7kj974LCfiff46k6004ftWAfiv7
Ft9z7gC711XLUICTa116                                                                                                                        C0711J9X407t4171
o ExamplesL Test                                                    1   11           t                              L                       ti   7 1 Lf 9 X 1414                           Test

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                                                                                                                                         22                                                  JP            2012530966                          A   2012126

       0     0 9                4

            t                                                                                   0 7                            X     24                       Exampl cso ft                         4 tt3g                             PEs0111

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amp              esZA                                                                                        P4    lc                tt                6 0         Test                                 6 et                 k         TestUI                7
01                             PEs                      gig   IC                                     ck     5                 D C                  4           Test           4 kt        3IE                                                      46        <1


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ini     e 1$                                         Ex amp               I   CO 5                           751         ir          k                        Test       isP       13           t              ti     Example
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riE                                  gf                        FV                                     PE           r11               c1<     ti     tz


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I      C    E 61 Example 11 Tes                                               t                 11    itt                      UN    5 tk                                               11          c


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                                 A
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      1
                                                                                                                   t1


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      0     0         9        6     3


      c6074111XONMiktiA±ZUrcJz5fibtt6biMC3Ottc11117AJVX
                                                                                  t ft          <                              et Lt                                               <    0Example031fitiAiirS04
        Utfft
                                                                                                             EXallipt                                         Li



IFWLS                                                                                                        0           fa                                   PEsa 7                            HP 6                             C
  A PE 7 r II 46                                                                                      7 37 1                                 t           4               Test                                                                      1f kct
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iTd  6 k CJIzs   I  5  Kahan
                           ib   5                                                                           41                                    cz               17          iA            KT                <1            C

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                                                                                                               23                                                 JP     2012530966                              A    2012126


          tt    6                t                      r XT                  cD                    kr                        tz


                                 a111   M               jc                L            I r          X 46 bn                                        e                                                    ti           fp+1
                       op                         6                rdef ine                        fp1                                s1                1
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     4114 H                atiAlt                            fp+1         71                  it    IL   3111       6 t               r 15                             10R1la11110                      I FS         VIJ   r2


It   X    4f   A            L                          lt     X     A     r1                                                  CO             1JExaJp1e12                                                     1              t
                       50 Ex am p1e                                                                                           T                  I 1    2                                                                        1




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N0             1                                              b                                                                       N0                    1L                          74z5TIED
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crS                1C                              A              5gTest                                 4R
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     A ttiiU                tc   t                pi    12    M     L                                    f          M                      T                r




          aout                   6    10               1000000            100             1



     gi        2C           rA ati   4  It     A Tr 0 74 It
Run            1           100       lestN                          1j             1001000Alift                                            081                    si          17749t
Run            2           100       TestILn1Ari                                   1001000iiiA143                                          0844iirAzl7ffix
Run            3           100       Testlr514                                     i001OOUjj                                               0981 X1   7 A                      71


Run            4           100       Testic11                 LAE                  10010003g                                               081312f4717Ni                                                                                  30


Run            5           100       Test         ic   14     I ArT                1001000ila4                                                           g
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Run            6           100       TestI514                 L     15             100i000                                                                                                    IR

Run            7           100       Testli                                        100i000gtt                                                  78iz Xi
Run            8           100       Testic11                                      10010001Pr                                              0867   n 7 A
Run            9           100       Tesu                                          100100                0 ii   i                          085711X1741g
Run            10           100       Test94                       A               9999030811
                       LPHDRik               if              t 5110 EY amp et R     1                                    U                         cr             fe3111                            1   ROM                 Ir   DP

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              aout                        5        10             1000000                  100               0

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 Run                  1             100        Test          iC           1 A                                                                             0    1537                                  7 4A




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Run               3                 100        Test                ft     I                        100100 0i111                                               7 1An`f
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Run               4                 100        Test          lc    At                              100 100             OS                                 0 097  A n 7 M            te=3                                                           10

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Run               7                 100        Test                                                                                                      007     I  Sq     11
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Run               8                 100                                                            1001000AiTit                                          013ItjX1 77Vi1
RUE               9                 100        TeStkl5r4                I All                      99990Afill                                       01717                                            gi

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                              TETRA 14 iStE t                                       0 Examplet                                                        0   tj
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1PHDRMXt                                 DP L                               4 1              Vaz    A
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              FIDR        igt            02                                                                            ft    t4          c0        fd                                 71                                              C

      1               F                   NE                      t           71+   X gi                           t   rii   s1          ke                                                              0 Withl                      4€1


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                                                                                                                                   LPHDRitli                                        kig        a5

a 1g                  t             0 A IN 1 t                                A                                              h                                 VI      4 Z JN 33 ig                            tj   4 71 9 ly
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Run                             100            Test          lc   It    1                      98980ttt
Run                             100            Test          a 54 I                            99    990d
Run                             100            Test$i1                                         99990fi Ott
Run                             100            Testa                                           999903tlt
Run                             100            Test                                            99990aittf
Run            10                   100         Tesi                      Uf±S                      99   99032                        ti

7                           LPHDRiti                    13    M                1     itx
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71°   v                          sr   6 ht tIMA601400DA5Y7f077P                                                                                 7411
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1707amwTAmtcrtoL46     1htIhUWJ
     c  2 I v b 5 w7 5 1     <
                              A       Tes t                     1                                         0                                         id                    <    0 Tes
  41q1ttij464<46LE416aOrtlicAltA6t
AT6A4141MATiCLic4410 0UX1iyOTest41MM46                                                                                                                                   rr4              i A5
7072Z03Testli0LTOOkAUTZ50                                                                                                                                                 C
040t                     0M01AvI0EllitPXfiThLictroT0MA

     0112
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                                    C045761T4<A11F779
160                      C01547779723LutExampleso1topi                                                                                                                   Exasiplecgtid
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      RiagiaOMMic4InT6IALLTMUOlg50A1TV7Y0t6                                                                                                                                                       CO
3z    7          Z       i       4Exemple                        r                              ti 7                              C 0 6                   C CO A 3 7 14                     E x am p 1 e


                                                    JzfA                       Lt   6                                             A as          Examplesal                           zh              4
ONAP8AitilktOTZ411An7U1PaVit57NT251f3hoP
                                                                                                                       ZC C
i20             tfiz                  ip    t              41       I               T es t                                                      L             7                 iE   T          Exa epi



                                                                                                                           iW17t
es    0                  7 0`         73            0           k ft                416         C                 4                                                     rest                    4 0 Ex
                                                                                                                                                                                           Testi 4
ragbieillkttoPi0fOgilioa6016LUTIrgi9B1b41t1Altco                                                                                                                                                M01

b41T104k=jtOAA11gte1Lg114cLM06g541460tti                                                                                                                                                                    50




                                                                                                                                                                                                   SINGULAR 00001288
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Yr   9T 07                         is                                3        s1              C                          7cs                        L     1 6                                          I
 r     a           1    1    4




                       a   X                                     C Ex amp esic VI                                        tG                    tr   A 77                                   Li      0                         P              UiCtt
tc                     9 L 4 Et fa 74                        iti                              a   tif        Mk          fiz                    r   ExampleICN                                                                             0 Ex amp e
s IC     514                      1P   LEJ1              tt              it    W                        Ii    Jz                                      4111111<amp                    1   eic           4 6 1g iE                        it       It a
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13                          k it

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                            41xampleic5114                                                    gi                                                                                                                                             120
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                                           U                        at                            T                            Examples TestsaMi                                                              U                  1 77                rfp+
XJ                          at             1             I         ns J                                 AI              C RI X                                                                 a                         AA




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           t 6 0 Tz go 41                                                      GT Jis         J                         6 11    4                     if      At it                 IP         071 d                             X     JA        MY41

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  01                        1    9

7 i                         9   xJ
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               tg                     rit               tit            Will             4i7   4      RI       1                           At 01011                                                    tt


1014                                                              6                         It X                                 L T                            V 0                                                                                                        t                    t
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                                Mi          Oil                        IC          4 Z               X    dr      7                       4i>                       X                                         C fig                                                   10

t 6 r                           75517             tt                                    dr                0 MI 72 4                                    P HD R tri                         t                         L                  614101                       22   a e
                                1c                      T              71               i            I                                    <                                    Pc       45                                         di                    tt                fS                         A     71


uN             e                                  ft                                          S                                                                                a        At                                    14         11              4 IS V 0                               ig          da


                                                                                                              1f   21        r            ±L                        it   1I lc                                                T                                                           Ili   0
egad titt                                         0 ek 5 ttsid                                tz     Ti            T                  t RiO            X4                fit              1z          I   f                    7 1                            9     X                 IE                I           50




                                                                                                                                                                                                                                                                                                      SINGULAR 00001290
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 L131 z                JsP                                                           IAA 7CtA                      g5               0
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rxr              III    Part                         1                 fi                                                  r 1 5 ti X V11040 it                                                             tYe             rp     MO 7                      30

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        RMWUslitzzoVvATAXWat6LetoMMor1772MICicti
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                 if                                                                                                                         tt


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        Is              Oft                          t                                      t 6 9 I X   t 6   7 ff FA 0 A it     4k                                        60                                                    Oil



                                                           71                               kt                         O                             4        44111


C4               Jz          31z                                o 6            c


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        51V4o72°v1off28UTtittcRtitto0356
             1                                  CVI             lig    fit     t            t          t                   71t                                         T 3                     S                           o           ri


                 z                  it               1          44        ic   4            <16 C L 0 V t                                                              i1D0         7                       4    51                    14    iff



02 4 6                  0                       C C C                     L                      Oil




                                                                                                                                                                                                                                                    SINGULAR 00001291
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                                                                                                           29                                             JP       2012530966                       A    2012126

     0        1     2    9



                                                                                   a JO
icSIMD0
     LPIDPA                  Af                             C                tr                                1s   7                           47       Al        h5    6 L 0                             it




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                   Is                           3V3    11        41                        Y1                                                  LPIIDRIX                              LIPGAs              FPAAs
     S11117                                          az     tf


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     it      6 L                          L     73                <                                                                                                                                                      te


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             g4          7                                   4   2Z   Y                    6 11 it                   F                                          e               kt         rimoorei
e 7                if4               4          A                4                L e                                           cr


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              0
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             T                                  9 1 11                                     7
                                                fe    fif                                  k     3                   0                               C                               4A    X0 4                ft        32




RUA                XI         ikti                                             frg         11        ic   9a         1     it


L i                                                                                                       9I         IX              9                    1 9       2°   I                                               VO



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t▪           6                       41                      6 IA                                                          C             PR          V         t         r It tt                               ff4



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                                                                                                                                                                                                                               4S
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                                                                                                                                                                                                                     SINGULAR 00001292
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                                                                                                                                30                                                                 JP       2012530966                     A       2012126

           L                                    6 C                                                                            7                               1        7     Tz                                                          1                         L
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           C                              3k    OtifiliDiA                        LP PDIM X                                                                    r P                                                        4 Zo                                      6




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           oIPIIDMEi                                             75U42        t                             C kN                                          0                       0                                        iUv14IMD>2



                 Ott                            fffl                          ti                       4                                             V
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  A                                       c5                                                           fOgi ti                            fitfll          U         t             a OM tt 1                                              t 6           tz    5
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           0           3         1


                 c                              V 7                                                                                                                                                        Vs PI                7         CM

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                                It                           Is                                                                              ic      75    tiN                           ffili                             lc                                                20

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Rig        a                                                       T          514                             4                0            M              L PHD                  CR                             91         t 1                       ez
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           17    ç          j                                                     x 7                                                                      v et                                        1        z                    rt         fit



                                          tr    ft     €P         r           VT                       L      751                                                       011                                          514   0 MI           011                            C
17         Off                  it        h 0 5r                  t    aM   H  At A   0                                                                        t                  Y                                                  r         t             4 0

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                      r                   01    A      If         3VIE                      4                                  G A AP                fit           6                               1            7          LtcD
                                ft                                       It                 C          III           6 F L                                 6                  E L                                          FPGAs               f
                                                                                                                                                                                                                                                             ft11




                                L
                      iff                                                     ifi                                                    751             ft




 0                                                                            16 m                                   rl                      IA                         it               0 i                                    ie   I 7 1 17
           0 7                                              jr                 10 4                  at     141                 1                  utto                                          1111DR              rf         fi        rc


ft                                        41i   L   MIR                               r     1   7                   4I    UI        t 0 At>                                  tO                  Pi              t              t    0 4 E


▪
           rg    A                          pHDR pt                  ef                                     iki     a V 7            1    T 37 7 Ts 77                             Y                             41       T
                      IN                        ht                                          0471              It     Mg O17 1 P                                         7                                  ZL


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2 <              tr                                                      3D

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           a           i                   11               30    a           41131         fief       klfig              4 Z 0 `C                                      ic    21 RI                        4f                                                   o 3D
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           t 9 74 2                                 ffig           GU             st        t 0                                                                                                                                                                              50




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                                                                                                                                        31                                               JP             2012530966                            A   2012126


 r     0     1     3       7




                                                                                                                     R
       Mliti045                                                                          s 9                s                                         113i                                                                                                  rFii
                                 tt                         4 6 Wd                                                                  HA       4        t t                 rt       73    it        ja         tiN



45           EN    0 44          Big   A                                      ft   0 MN                     Vt                                        1 16            ▪ 7 1                                   e             01                e


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       n           y                   A5             1 0                                      7                     J14      t 6 a                                                Fs                                       tf                    0


r      3                         6     011            0                  ft   4 0 1                         t                 t                   5 5
       I     13    z7s                 oNA                      xi   0 4 3                                                    7 0                 7   I n
                           L                                                                                i                 t PV                                             u                   t
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                    Ftil




                           orr25                                  011



                           Wrrii                                         Mg Oil    73    a                                                            35        v                  114 17 co                                N
                                 21KR0367it
                                                                         OLpHDRi                                                    J9414                                                     D                              1            <                 7e




d                                      31                   7° r     I                         5F           a                 y              S6   6 1 it              0 ft 0                                          x           41 CI     fre   j11        Z
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       0     1     3                                                                                                                                                                                                                                                     20

                   pfi           J5    6              54    Mil   NJ     e
ittN         Z4                  RUtt                                         SA         0 fi                                       15       0
a                                                     6 7 WI                       N 6                      t                 gi 1+1              t           Cs id 7t         0   0               f7d        A11


                                       t
       lc    tUts                      tk                   01           a           0               X      fill     ItZ            trLT                      3UR
14     a 71 0
 r     0     1     4       0

                                                      f                  f
                                                      6fit
         r                             iN                         3r


I 1                1 Olt t                                                                     ti      6             a        011   V 4               LPHDR                                   it        14k                      4        1 8 0 <I
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                                                                                                                                                                                                                                                                 t
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       t141rLT                         lb 6 ottgirIEL
  b    P       al                    L   I 0V                                                                                                                                                           tit     6                trAt
                                                   till




                                       11




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i040fmttliiitia1c120501VMAt0t00356
    op 311              41 ft 4 lc L C 35 6 0 a X
                           Rig                                                                                                                                                                                          IF       t                          N L

             5                          LT                                                                                                            r a5            o 4141
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5311




                           011                                                                                                     iz                                                                                                                 111



                     Aif     41 it                                             wit
                   i11041t SRI                              LUt                    LPI1DRMWR                                                          k        UtZ 6 0                             it                       iEUMf
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c fc                                                              9o               114         43      UN                           fiA           Zf4CQ                                                                                                                  60




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011   V               IPDRKA                      XR M                                  650003 0 10                              all         5 25 14 At CO                       Jo                 65000k              1

                      1Ek                                                                 LiV6D4ifiliz311T                                                                Yr   01W1                            3141k          1   0 Pi k
      T                           rk          P1 0 5 6 11311DR Vi XRX4    11 0                                                                           T r 1 Pc WE                                      o             ILK   0    fig   2




                                                                                                                                                  fill
r          k4t                    41          gi   t       Y           1 V                                                                                A a             4 1i104                       0197`           10001

                       1111
                                        fit                                                                                                        fOj



T                                                         rfi       it                          t         C                               rtfT

riiL                                    L                                          C 41 13                     T                                   k                  C                      050 5A




                                                                                                                                          ifr1j
                                                                            It                                                                                                                                                                  ft

                                                                                                     LCI
                                                          01J



fit                   q 0 ft                  to At       t                                                                     Ai   0             att          Ilk   1   t 5 ft it                     M      id     0 KO it                   NU

lg    6 t             T                       c



  01 42
                 o                P11z                              i101                  77                   111                    L            0                  IP01R      i X



                                                                                                                      PHDR                                                   V          M41




                                                                                                                                                                                                                                             ff3Z
                                                                                                                                                                                                  V 070
                                                                                                               I                                                                                              CD


           L          k jJ                    rt           1                aA            t1                   ffi                   t                                              LPHD

           t                                                        1       Jk                  NI A                        2k   h           1                      V 45                      it          7 0 Ai                   171114



k          X4                                                                        3        fig   01147L                        y          tz            L      C                           41                              A Z 14

                                                                                                                                                                                                   UCSJz
tqg




      C                                                                        t              Ai         41   6 M                Lt        ft              CI             FL OMALMA                                                t
                                        511   FA    0 5 6 A LIA131 r 4                                         LPIIDR            4X                         04                   t o C                    LP110    PM X
                                                                L              to 01741 Mt                                        t                      J6  c
6 A 014 Alio                                              <     L t                Fk N 1 T                                      01                                                                                <          t
O                                              t




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     Inventors


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     Also published                     US2010325186         Al         US8150902         B2 US2014095571 Al
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     A processor or other device                      such as a                                                                AsSr


     programmable andor massively parallel

     processor or other device                    includes

     processing elements designed                       to perform

     arithmetic operations possibly but not
                                                                         Fitil
     necessarily including                 for   example one or               I
     more of addition
                                                                                                        +
                                      multiplication

     subtraction        and division on numerical                                                     retZ   `Asir



     values   of low        precision but high           dynamic

     range    LPHDR               arithmetic          Such a processor or other device               may for example be
     implemented on a single chip Whether                           or not implemented on a single chip                         the

     number of LPHDR                   arithmetic elements         in   the   processor or other device                   in certain

     embodiments            of the       present invention        significantly    exceeds      eg by                at   least 20    more
     than three times the number of arithmetic elements                              if
                                                                                          any   in   the     processor or other
     device   which         are designed to perform high                 dynamic range arithmetic of traditional
     precision     such as 32 bit or 64 bit floating point arithmetic




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Espacenet       Description                                                                                                                                    Page   1   of 31
            Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 138 of 436



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     Description                                      JP2012530966                A            20121206



     Processing with Compact Arithmetic Processing Element


     Description not available                                    for J132012530966              A
     Description of corresponding                                         document         M2010325186                   Al


     A high quality text as facsimile in your desired language may be available
     amongst the following family members


     CA2768731                       Alt             KR20120040197        A US2010325186 Al W02010148054                            A2
     US2013031153                                  Al      US2014095571     Al


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     guarantee                     that they are complete                    uptodate          or fit   for   specific    purposes




     CROSSREFERENCE                                           TO RELATED           APPLiCATIONS


     0001 This application                                    claims the benefit of commonly owned and co pending                                   US
     Provisional Patent                                 Application      Ser No 61218691 filed on Jun 19 2009 entitled
     Massively                           Parallel          Processing    with   Compact Arithmetic Element which                         is   hereby
     incorporated                                 by reference    herein


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     BACKGROUND

     0003 The ability                                 to   compute      rapidly has    become           enormously important to humanity
     Weather         and climate prediction                               medical     applications            such as drug design and non
     invasive     imaging national defense                                        geological      exploration        financial     modeling         Internet

     search      network                             communications         scientific   research in varied fields and even the

     design     of        new computing                          hardware have each become                      dependent       on the ability       to

     rapidly perform massive amounts of calculation                                                 Future progress such as the

     computer aided design of complex nano scale systems or development of consumer




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Espacenet      Description                                                                                                                                     Page 2 of 31
            Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 139 of 436


     products       that can            see hear and understand                       will     demand economical                       delivery of even

     greater computing                  power


     0004 Gordon Moores                       prediction            that     computing             performance per dollar would double

     every two years has proved                       valid        for over       30 years and looks                  likely     to    continue          in   some
     form But despite this rapid                    exponential improvement                               the reality      is   that    the inherent

     computing           power available            from silicon has grown                         far   more quickly           than     it   has been
     made      available           to   software     In   other words although                           the theoretical         computing              power
     of computing hardware has grown                                exponentially             the interfaces through                    which software
     is   required to access               the hardware limits                   the ability        of software to use hardware to

     perform computations                   at   anything approaching                    the        hardwares theoretical maximum

     computing           power


     0005      Consider a modern silicon microprocessor chip containing                                                     about one           billion

     transistors clocked                  at roughly      1    GHL On each cycle the chip delivers approximately
     one useful arithmetic operation                          to   the software          it   is    running         For instance              a value         might
     be transferred between                   registers another value                         might be incremented                      perhaps a

     multiply is accomplished                     This    is   not terribly different from what                           chips did 30 years                   ago
     though     the clock           rates are perhaps a thousand                          times faster today



     00061     Real computers are                   built      as physical          devices          and the underlying physics from
     which     the machines are built often                         exhibits complex and                        interesting behavior                 For

     example        a silicon           MOSFET transistor                  is   a device       capable            of performing interesting

     nonlinear operations                   such as exponentiation                       The junction               of two wires can add

     currents       If
                          configured        properly a             billion      transistors and wires should be able to perform

     some significant fraction                   of a billion        interesting computational operations within a few

     propagation           delays of the          basic       components             a cycle               if   the overall design             is   a
     traditional         digital    design Yet todays CPU                          chips       use       their billion     transistors to enable

     software to perform merely a few such                                   operations per cycle                   not the significant fraction

     of the billion        that     might be possible


     SUMMARY

     00071     Embodiments of the present invention                                   are directed                to a processor or other

     device     such as a programmable andor massively parallel processor or other device
     which     includes processing elements designed                                     to   perform arithmetic operations

     possibly but not necessarily including                                  for example one or more of addition

     multiplication           subtraction          and division on numerical values                                 of low precision                but high

     dynamic range               CLPHDR          arithmetic Such a processor                                    or other device         may for
     example be implemented on a single chip Whether or not implemented on a single
     chip the number of LPHDR arithmetic elements in the processor or other device in
     certain    embodiments of the present invention                                  significantly               exceeds       eg by           at      least 20

     more than three times the number of arithmetic elements in the processor or other
     device    which         are designed to perform high                          dynamic range arithmetic of traditional
     precision      such as 32 bit or 64 bit                       floating      point    arithmetic


     00081     in   some embodiments                      low precision processing elements perform arithmetic
     operations which produce                      results that frequently differ from exact                                results by at least

     01 one              tenth     of one    percent            This       is   far worse          precision than the widely used                             IEEE
     754 single precision floating point standard                                   Programmable embodiments of the
     present invention                  may be programmed with algorithms that function                                          adequately despite
     these     unusually large              relative      errors In             some embodiments                    the    processing elements




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Espacenet      Description                                                                                                               Page   3   of 31
            Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 140 of 436


     have high dynamic range                 in the   sense that they are capable                   of operating on inputs

     andor producing            outputs    spanning       a range       at   least as large as from one millionth to

     one million


     BRIEF DESCRIPTION                OF THE DRAWINGS


     0009 FIG 1 is an example overall                     design       of a SIMD        processor according                to   one
     embodiment of the present invention


     0010 FIG 2 is an example of the Processing                              Element Array of a SIMD                 processor
     according        to one   embodiment of the present invention


     0011 FIG 3 is an example of how a Processing Element in a Processing                                                  Element

     Array communicates data with other parts of the processor according                                        to   one
     embodiment of the present invention


     0012 FIG 4 is an example design                      for       a Processing Element according                   to    one
     embodiment of the present invention


     0013 FIG 5 is an example LPHDR                           data word       format according           to   one embodiment of
     the    present invention



     0014 FIG 6 is an example design                      for       an LPHDR     arithmetic unit according                  to one

     embodiment of the present invention


     0015 FIG 7 is an original image


     0016 FIG 8 is an image blurred by a blur kernel                             according     to   one embodiment of the
     present invention



     0017 FIG 9 is an image produced                          by Richardson           Lucy deconvolution           using        floating

     point arithmetic according             to   one embodiment of the present invention


     0018 FIG 10 is an image produced                          by Richardson           Lucy deconvolution            using       LPHDR
     floating   point arithmetic with            added    noise       fp+noise according            to   one embodiment of
     the    present invention



     0019 FIG 11 is an image produced                          by Richardson           Lucy deconvolution            using       LPHDR
     logarithmic arithmetic Ins according                      to   one embodiment of the present invention


     DETAILED          DESCRIPTION


     0020 As described above                 todays   CPU chips make inefficient use of their transistors
     For example a conventional                  CPU chip containing a billion transistors might enable
     software to perform merely a few operations per clock                               cycle Although         this       is   highly

     inefficient      those having        ordinary    skill    in   the art design      CPUs in this way for what                     are

     widely accepted           to be valid   reasons          For example such designs                   satisfy     the    often

     essential requirement for software compatibility with earlier designs                                     Furthermore               they
     deliver great precision          performing exact               arithmetic with      integers typically 32 or 64 bits

     long and performing rather accurate                      and widely standardized arithmetic with 32 and 64

     bit   floating   point    numbers Many           applications need this kind of precision                        As a result
     conventional       CPUs typically are designed                    to   provide    such precision          using       on the order




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     of a million transistors to implement the arithmetic operations



     00211 There are many economically important applications                                                 however which            are not

     especially sensitive to precision                      and that would             greatly benefit           in   the form of

     application        performance per transistor from the                             ability   to   draw upon a far greater
     fraction    of the computing                 power inherent in those                million       transistors Current

     architectures for general purpose computing                              fail      to deliver this power



     0022 Because              of the       weaknesses             of conventional          computers            such as typical

     microprocessors                other kinds of computers have been                            developed           to attain     higher

     performance          These machines include                      single instruction streammultiple data stream

     SIMD designs multiple instruction streammultipie data stream MAID designs
     reconfigurable architectures such as field programmable gate arrays FPGAs and

     graphics processing unit designs                           CPUs which when applied to general purpose
     computing          may be viewed as single instruction                             streammultiple thread                 81MT designs

     0023 SIMD machines follow a sequential program with each                                                    instruction performing

     operations on a collection                       of data     They come        in   two main varieties               vector      processors
     and array processors Vector processors stream data through a processing element or
     small collection of such elements Each component of the data stream is processed

     similarly Vector machines gain                        speed by eliminating many instruction fetchdecode
     operations and by pipelining the processor so that the clock                                             speed of the operations is
     increased


     0024 Array processors distribute data across a grid of processing elements PEs
     Each element has            own memory Instructions are broadcast to the PEs from a central
                                     its


     control    until    sequentially Each PE performs the broadcast instruction on its local data

     often with the option                 to   sit   idle that    cycle Array processors gain speed by using                                     silicon


     efficientlyusing               just   one instruction fetchdecode                     unit to       drive   many small simple
     execution      units in parallel



     0025 Array processors have been built using fixed point arithmetic at a wide variety of
     bit widths such as 1 4 8 and wider and using floating point arithmetic Small bit
     widths allow the processing elements to be small which                                            allows    more of them to            fit    in

     the    computer      but       many operations must be carried out                             in   sequence        to   perform
     conventional        arithmetic calculations                    Wider widths allow conventional                          arithmetic

     operations to be completed in a single cycle                                 In   practice        wider widths are desirable
     Machines      that were originally designed                       with small         bit   widths such as the Connection
     Machine 1 and the Goodyear Massively                               Parallel        Processor             which each used           1   bit    wide

     processing elements evolved                          toward wider data paths to better support fast arithmetic

     producing      machines such as the Connection                               Machine         2 which included 32 bit floating
     point    hardware and the MasPar machines which                                 succeeded the Goodyear machine
     and provided         4   bit    processing elements               in   the    MasPar1 and 32 bit processing
     elements      in   the   MasPar2


     0026 Array processors also have                              been designed to use analog representations of
     numbers and analog                    circuits     to perform computations                   The        SCAMP      is   such a machine
     These machines provide                       low precision       arithmetic          in    which        each operation might
     introduce     perhaps an error of a few percentage                                points in       its   results    They        also introduce

     noise     into their     computations               so the computations are not repeatable                               Further they

     represent only a small range                       of values      corresponding              for instance         to 8   bit   fixed point

     values     rather than          providing          the large dynamic range of typical                       32 or 64 bit floating




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     point      representations              Given these limitations the                   SCAMP was not intended                   as a

     general          purpose computer               but instead           was designed and used                for image      processing
     and       for   modeling biological             early vision processes                    Such    applications    do not require a
     full     range of arithmetic operations                      in   hardware         and the     SCAMP for example omits
     general          division and multiplication from its                      design


     00271 While             SIMD      machines were               popular in the          1980s as priceperformance                    for

     microprocessors improved designers began                                         building machines from large collections                      of

     communicating microprocessors                               These MIMD machines are fast and can have
     priceperformance                 comparable to their component microprocessors                                    but they exhibit the

     same inefficiency               as those components                   in that      they deliver to their software              relatively

               computation           per transistor
     little




     00281           Field Programmable Gate                     Arrays FPGAs are integrated                     circuits   containing          a
     large arid of general purpose digital                             elements with reconflgurable wiring between                           those
     elements              The elements originally were single digital gates such as AND and OR
     gates           but evolved      to   larger elements that could                     for    instance   be programmed               to   map 6
     inputs      to    1   output    according        to   any Boolean             function       This architecture      allows the          FPGA
     to     be configured           from external sources to perform a wide variety of digital

     computations                 which    allows the           device    to   be used as a co processor to a                CPU to
     accelerate            computation         However             arithmetic operations such as multiplication and

     division on integers                 and especially on               floating      point    numbers require many gates and
     can absorb a large fraction                     of an       FPGAs         general purpose resources                For this reason
     modern FPGAs often devote a significant portion                                      of their area to providing           dozens or
     hundreds of multiplier blocks which                               can be used instead             of general     purpose resources
     for      computations requiring multiplication                            These     multiplier    blocks    typically     perform 18           bit

     or wider integer multiplies and use                               many transistors as similar multiplier circuits                       do
     when        they are part of a general purpose                            CPU

     00291           Existing Field Programmable Analog                              Arrays FPAAs are analogous to FPGAs
     but their configurable elements perform analog                                     processing       These devices          generally

     are intended            to do signal processing                     such as helping          model neural circuitry            They are
     relatively        low precision          have     relatively         low dynamic range and introduce                      noise     into

     computation              They have not been designed as or intended                                 for   use   as general purpose
     computers              For instance        they are not seen                by those        having ordinary skill       in   the art as

     machines that can run the variety of complex algorithms with                                           floating   point    arithmetic

     that typically run on high                performance               digital      computers


     00301           Finally Graphics Processing Units                         GPUs are a variety of parallel processor
     that evolved            to   provide     high speed           graphics capabilities to personal computers                           They
     offer     standard           floating   point   computing            abilities     with    very   high performance           for   certain

     tasks       Their computing model                          sometimes based on having                   thousands of nearly
                                                                                                                                    MD
                                                           is


     identical         threads of computing                SIMT which are executed                       by a collection       of             like

     internal         computing engines               each of which             is    directed    and redirected       to perform work

     for      which a slow external             DRAM memory has provided                            data Like other machines that

     implement standard                   floating    point arithmetic                they use     many transistors for that
     arithmetic            They     are as wasteful             of those transistors in the sense discussed above                                 as
     are general purpose                   CPUs

     00311           Some GPUs include               support for 16             bit   floating    point values       sometimes called
     the      Half format The                GPU manufacturers                       currently such      as NVIDIA      or AMDIATI

     describe this capability as being                          useful for rendering images with                 higher dynamic range




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     than the usual 32 bit                RGBA format which                          uses 8               bits of fixed                point      data      per color while
     also saving          space      over using 32 bit floating point                                     for color          components                     The special
     effects      movie firm Industrial Light and Magic                                   ILM independently defined an identical
     representation in their                    OpenEXR standard                         which they describe as a high dynamic

     range       HDR image               file   format developed                     by       industrial              Light             Magic         for    use in

     computer imaging applications Wikipedia                                             late 2008                   describes the                    16    bit   floating        point

     representation thusly                  This format is used                          in   several computer graphics environments

     including      OpenEXR OpenGL                           and        D3DX The advantage                                   over 8 bit or 16 bit binary

     integers      is    that    the increased            dynamic range                       allows for more detail                              to be preserved                 in


     highlights and             shadows The advantage over 32 bit single precision binary formats is
     that   it
                 requires half the storage and    bandwidth


     0032 When              a graphics           processor includes                       support for 16                         bit   floating        point that

     support       is   alongside support for 32 bit floating point and                                                    increasingly                 64 bit         floating

     point       That is the        16    bit    floating         point format                is    supported for those applications that
     want it      but the higher precision                        formats also are supported because                                                  they    are believed

     to be       needed     for traditional             graphics applications and also for so called                                                       general
     purpose GPI                applications            Thus        existing             GPUs devote                       substantial resources to 32

     and increasingly 64 bit arithmetic and are wasteful of transistors in the sense
     discussed          above


     0033 The variety of architectures mentioned above                                                              are    all    attempts to get more
     performance from silicon than                           is   available          in       a traditional processor design                                       But

     designers of traditional processors also have been struggling                                                                     to   use the enormous
     increase       in   available        transistors to improve performance of their machines                                                                    These
     machines often are required                          because             of history and                        economics                to   support large
     existing instruction sets such                          as the      Intel       x86 instruction set This                                    is   difficult        because
     of the law of diminishing returns which                                       does not enable                        twice        the performance to be

     delivered          by twice the transistor count                          One facet                  of these designers                          struggle has been

     to   increase       the precision of arithmetic operations                                               since transistors are abundant                                and
     some applications               could       be sped up significantly                                if   the processor natively                          supported
     long    eg 64          bit    numbers With                   the increase                 of native              fixed point precision from 8 to

     16 to 32 to 64 bits and of floating point from 32 to 64 and sometimes 128 bits

     programmers have come                         to   think      in   terms of high precision and                                         to   develop          algorithms
     based on the assumption that computer processors provide                                                                      such precision                  since     it



     comes as an integral part of each new                                    generation of silicon chips                                    and thus             is    free


     0034 Embodiments of the present invention                                                 efficiently                provide           computing             power using
     a fundamentally              different       approach              than those described                               above            In    particular
     embodiments                of the   present invention                    are directed                     to   computer processors or other
     devices       which        use low precision high dynamic range                                                LPHDR               processing elements                        to

     perform computations such as arithmetic operations


     0035 One variety of LPHDR                               arithmetic represents values                                        from one                               up to one
                                                                  01
                                                                                                                                                      millionth

     million with        a precision of about                                 If   these values                      were represented and
     manipulated using the methods of floating point arithmetic                                                                  they would have binary
     mantissas of no more than                          10   bits   plus a sign                    bit   and binary exponents of at least 5                                        bits


     plus a sign bit However                      the circuits           to    multiply and divide these                                    floating         point values
     would be relatively large                    One example of an alternative embodiment is to use a
     logarithmic representation of the values                                       In   such an approach                               the values            require the

     same number of bits to represent                               but multiplication and division are implemented as

     addition      and subtraction                respectively                of the logarithmic representations                                              Addition and




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     subtraction      may be implemented efficiently as described                                                below As a result the area                                     of

     the arithmetic circuits            remains relatively small and a greater number of computing
     elements can be fit              into    a liven area of silicon This means the machine                                                           can perform a

     greater number of operations                              per unit of time or per unit                     power which                     gives         it   an
     advantage     for those computations able                                to be expressed                   in   the       LPHDR             framework



     0036 Another embodiment is to use analog representations and processing
     mechanisms Analog implementation of LPHDR arithmetic has the potential to be
     superior to digital         implementation                       because          it    tends      to   use the natural                    analog physics of
     transistors or other physical                        devices          instead          of using       only the digital                 subset of the
     devices     behavior This                fuller          use    of   the devices             natural       abilities
                                                                                                                                    may permit smaller
     mechanisms for doing LPHDR                                    arithmetic      in       recent      years        in    the field of silicon circuitry

     analog    methods have been supplanted                                   by digital methods                      In       part    this       is   because             of

     the ease    of doing        digital       design compared to analog design                                           Also in part                 it    is    because
     of the continued           rapid scaling                  of digital    technology                Ifloores             Law compared                           to   analog

     technology       In   particular               at   deep submicron dimensions                               analog              transistors no longer

     work as they had            in   prior         generations of larderscile technology                                            This       change             of

     famar behavior             has     made analog                       design     still    harder in recent                  years However                           digital

     transistors are       in   fact    analog                transistors used               in   a   digital   way meaning digital                                circuits

     are really analog          circuits        designed              to    attempt to switch                 the transistors between

     completely on and completely                              off states       As scaling continues                            even        this       use of
     transistors   is   starting        to    come             face    to   face     with     the realities of analog                           behavior             Scaling
     of transistors for digital              use         is    expected       either to           stall    or to require digital                       designers

     increasingly to acknowledge                          and work with analog                         issues For these reasons                                    digital

     embodiments may no longer be easy reliable and scalable and analog embodiments
     of LPHDR arithmetic may come to dominate commercial architectures



     0037 Because LPHDR                         processing elements are                               relatively      small a single processor or
     other device       may include                 a very          large   number of LPHDR                      processing elements adapted
     to   operate in parallel with each other and therefore                                               may constitute                a massively parallel
     LPHDR       processor or other device                             Such     a processor or other device                                  has not been
     described     or practiced              as a means of doing general                                  purpose computing                        by those
     having ordinary skill             in   the      art for at           least two reasons                  First        it   is   commonly believed                           by
     those    having ordinary               skill    in   the       art that       LPHDR              computation               and        in   particular

     massive amounts of LPHDR                                 computation            whether performed in a massively parallel

     way or not is not practical as a substrate for moderately general computing Second                                                                                           it



     is commonly believed   by those having ordinary skill in the art that massive amounts of
     even    high precision computation                              on a single chip or in a single machine                                           as is enabled

     by a compact          arithmetic processing unit                           is    not     useful         without a corresponding increase

     in   bandwidth     between             processing elements within the machine                                              and        into    and out of the

     machine     because         computing                    is   wire limited and arithmetic can be considered                                                   to be

     available    at no cost



     0038 Despite           these views that massive amounts of arithmetic on a chip or in a

     massiveiy parallel machine                          are not useful and                   that      massive amounts of LPHDR
     arithmetic are even              worseembodiments                               of the present invention                          disclosed herein

     demonstrate that massively                           parallel         LPHDR            designs are in            fact          useful      and provide

     significant   practical          benefits            in   at    least several            significant        applications



     0039 To conclude modern digital                                      computing systems provide                                 high    precision

     arithmetic    but that           precision           is       costly    A modern double                    precision floating                          point

     multiplier may require on the order of a million transistors even                                                              though only a handful




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     of transistors        is    required to perform a low precision                      multiplication            Despite           the   common
     belief    among those having                  ordinary    skill    in   the art that    modern applications require high
     precision       processing           in   fact a variety of useful            algorithms function               adequately              at    much
     lower precision              As a result such        algorithms           may be performed by processors or other
     devices     implemented according                   to   embodiments of the present invention which come
     closer to achieving               the goal     of using    a few transistors to multiply and a wire junction                                        to

     add thus enabling                 massively parallel arithmetic computation                             to   be performed with

     relatively    small         amounts of physical resources such as a single silicon chip Although
     certain    specialized tasks can function                       at low precision         it   is   not obvious                 and   in fact       has
     been viewed as clearly false by those having                               ordinary     skill      in the     art that relatively

     general purpose computing such as                          is     typically   performed today on general purpose
     computers can be done at low precision                              However          in fact    a variety of useful and

     important algorithms can be made to function                               adequately at much lower than 32 bit
     precision       in   a massively parallel computing                      framework        and certain               embodiments of the

     present invention             support such        algorithms thereby offering much more efficient                                         use of
     transistors and thereby provide                     improved speed              power andor cost compared to
     conventional          computers


     0040 Various computing devices                           implemented according                     to   embodiments                  of the

     present invention             will   now be described               Some of these embodiments may be an
     instance     of a SIMD             computer architecture                Other architectures                  may be used               such as
     MiMD      architectures              programmable array architectures such as FPGAs and                                                FPAAs
     or   GPUISiMT architectures                    The techniques             disclosed herein              may         for   example be
     implemented using                 any processor or other device                  having such an existing architecture
     and replacing          or augmenting            some or ail         existing arithmetic units                  in   the processor or

     other device          if
                                 any    with     LPHDR                                 ways disclosed herein
                                                          arithmetic units in any of the

     Devices     implemented according                   to   embodiments of the present invention however
     need not      start        with   an existing processor design                  but instead             may be designed                 from

     scratch    to    include          LPHDR      arithmetic units within any of the architectures just described

     or any other architecture



     0041 Embodiments of the present invention may for example be implemented using
     the architecture             of a particular kind of SIMD                computer        the array processor                         There are

     many variations and specific                    instances         of array processors described                           in   the scientific

                                             the Iliac 4 the Connection
     and commercial literature Examples include                                                                                     Machine         1   and

     2 the Goodyear MPP and the MasPar line of computers

     0042 Embodiments of the present invention need not however be implemented as
     SAID computers For example embodiments of the present invention may be
     implemented as FPGAs FPAAs or related                                    architectures that provide                       for flexible


     connectivity         of a set of processing elements For example                                   embodiments of the present
             may be implemented as GPUISIMTs and as MIIVIDs among others For
     invention

     example embodiments of the present invention may be implemented as any kind of
     machine      which          uses LPHDR          arithmetic processing elements to provide                                      computing
     using     a small     amount of resources                eg         transistors or volume                    compared with
     traditional      architectures              Furthermore         references herein to processing                                elements
     within    embodiments of the present invention                            should      be understood                 more generally as
     any kind of execution                unit whether for performing                 LPHDR             operations or otherwise



     0043 An example SIMD computing                             system 100           is   illustrated        in    FIG 1 The computing

     system 100 includes a collection                    of many processing elements                              PEs 104 Sometimes
     present are a control                unit   CU 106 an             110 unit    10t3 108             various Peripheral devices




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     110 and a Host computer 102 The                                   collection            of        PEs   is   referred to herein as                      the

     Processing         Element Array                 PEA even though                             it   need not be twodimensional                                or an

     array or grid or other particular layout                               Some machines include                              additional            components
     such as an additional memory system called the                                                    Staging      Memory in the Goodyear
     MPP but these additional elements are neither essential in the computer nor needed to
     understand embodiments of the present invention                                                    and therefore are omitted here                                 for


     clarity               One embodiment of the present invention is a SIMD computing
               of explanation

     system of the kind shown in FIG 1 in which one or more        all of the PEs in the                            eg
     PEA 104 are LPHDR elements as that term is used herein


     0044 The           Host 102      is       responsible for overall                       control         of the computing               system 100                   It




     performs the serial or mostly serial computation typical                                                      of a traditional uniprocessor

     The Host 102          could     have        more complicated                       structure             of course              including         parallelism

     of various sorts Indeed                    a heterogeneous computing system combining multiple
     computing architectures                    in    a single machine                  is   a good use for embodiments                                     of   the

     present invention



     0045 A goal of the Host                     102 is to have the                 PEA                104 perform massive amounts of

     computation         in   a useful         way         It   does this by causing                      the     PEs to perform computations
     typically on data stored locally                           in   each   PE     in    parallel with              one another             If       there are

     many PEs much work                        gets    done          during each             unit of         time


     0046 The PEs in the PEA 104 may be able to perform their individual computations
     roughly as fast as the Host                      102 performs its computations                              This means    may be           it



     inefficient     to have the          Host 102 attempt to controi the                                    PEA 104 on a time scale as fine
     as the Hosts or PEAs minimal time step This minimal time in a traditional                                                                              digital

     design      would be the clock period For this reason                                                the specialized control                      unit      CU
     106    may be included               in   the architecture               The CU 106 has                        the primary task of retrieving

     and decoding          instructions from an instruction                              memory which                     conceptually                 is    part of the
     CU 106 and          issuing the partially decoded                             instructions to                 all   the    PEs in the PEA 104
     This    may be viewed by the CU software as happening roughly simultaneously for all
     the    PEs though   need not literally be synchronous and in fact
                               it
                                                                       may be effective to                                      it



     use an asynchronous design                            in    which      multiple instructions at different stages of

     completion simultaneously propagate                                    gradually across the                      PEA for instance                       as a
     series of wave           fronts


     0047 In a design which                      includes            the    CU 106 the Host 102 typically                                will        load the

     instructions       the program                  for    the      PEA     104   into       the CU instruction                      memory not shown
     in   FIG   1 then        instruct         the    CU         106 to interpret the program and cause the                                            PEA 104 to
     compute         according       to    the instructions                 The program may for example look                                            generally

     similar to a typical           machine            language             program with                  instructions to cause                      data

     movement           logical     operations                  arithmetic operations                        etc    in   and between                  the     PEs and
     other instructions to do similar operations together with                                                    control      flow operations within

     the    CU 106 Thus             the    CU 106 may run a typical sort of program but with the ability                                                                 to

     issue massively parallel instructions to the             PEA 104


     0048 In order to get data into and out of the CU 106 and PEA 104 the IO Unit 108
     may interface the CU 106 and PEA 104 with the Host 102 the Hosts memory not
     shown      in   FIG      1 and the systems Peripherals 110 such as external storage eg disk
     drives display devices                    for    visualization of the computational                                  results and                 sometimes

     special     high   bandwidth              input       devices          eg     vision               sensors The PEAs ability to process
     data far faster than the                  Host 102 makes it useful                                for the IOU 108 to be able to




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     completely bypass the Host 102                         for   some of its           data transfers Also the                            Host 102         may
     have    its   own ways o communicating with                              the Peripherals                   110


     0049 The particular embodiment illustrated in FIG 1 is shown                                                        merely for purposes of
     example and does not constitute                        a   limitation         of the present invention                             For example

     alternatively             performed by the CU 106 could instead be performed by the
                          the functions

     Host 102 with the  CU 106 omitted The CU 106 could be implemented as hardware
     distant from the PEA 104                   eg
                                     off chip or the CU 106 could be near to the PEA 104


     eg    on chip   WO could be routed through the CU 106 with the IOU 108 omitted or

     through the separate I0 controller 108 as shown Furthermore the Host 102 is
     optional       the   CU 106 may include                    for   example a CPU or otherwise                                        include

     components           sufficient      to replace        the functions performed by the Host                                          102 The
     Peripherals 110             shown     in   FIG    1    are optional            The design shown                          in    FIG     1   could     have a

     special       memory such            as the Goodyear                   MPPs staging memory which                                       provides       an
     intermediate level               of local storage          Such memory could                          for   example be bonded                        to the

     LPHDR             3D fabrication technology
                   chip using                                                      to   provide            relatively fast               parallel   access        to

     the memory from the PEs in the PEA 104



     0050 The PEA 104 itself                     besides communicating with the                                  CU      106 and IOU 108 and

     possibly other             mechanisms           has ways for data                  to   move         within the           array For example
     the    PEA 104 may be implemented such                                 that data        may move                 from PEs only to their
     nearest neighbors                 that is there are no long                  distance          transfers            FIGS 2 and 3 show
     embodiments of the present invention                              which use             this   approach             where            the nearest

     neighbors are the four adjacent                        PEs toward            the    North           East         West         and South called               a
     NEWS       design          For example FIG 2 shows                          a subset of the                 PEs     in    PEA 104            namely PE
     202 PE 204 PE 206 PE 208 and PE 210 When                                                 the        CU 106 issues data movement
     instructions         all   the    PEs access          data from or send                  data        to their      respective              specified

     nearest neighbor                 For instance         every       PE might access                    a specified              data value        in   its


     neighbor       to the West          and copy      it   into      its   own    local      storage            In    some embodiments                         such
     as some analog embodiments                        these kinds of transfers                           may         result       in   some degradation
     of the value         copied


     0051 FIG 3 shows a PE 302 that includes data connections to the IOU 108 PE 302 is
     connected  at the North to PE 304 at the East to PE 306 at the South to PE 308 and

     at the West to PE 310 However    driving signals from inside the PEA 104 out to the IOU
     108 usually requires a physically                       relatively          large driving             circuit      or analogous

     mechanism Having those                     at   every PE may absorb much of the available                                                  resources of
     the    hardware implementation technology                                          area
                                                                             such as VLSI      addition having          In

     independent           connections          from every            PE to the IOU 108 means many such
     connections           and long connections                   which          also may absorb                 much          of the available

     hardware resources                  For these reasons the connections                                     between         the       PEs and the IOU
     108 may be limited to those PEs at the edges of the                                        PE array 104                       In this      case    to get

     data    out of and perhaps into the                     PEA 104 the data                       is    read and written at the edges of
     the array and          CU instructions are performed to shift data between                                                the edges and

     interior of     the    PEA 104 The design may permit data to be pushed                                                    from the IOU 108
     inward to any PE in the array using direct connections                                               but    may require readout to
     occur     by using the           CU 106 to shift data                  to the edges where                    can be read by the IOU
                                                                                                                 it



     108


     0052 Connections between                        the    CU 106 and PEA 104 have                                   analogous variations                      One
     design     may       include      the ability    to drive         instructions into                 all   the    PEs      roughly

     simultaneously              but another approach                  is   to   have the instructions flow gradually for




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     instanna      shift      in   discrete    time steps across the                  PEA         104   to   reach the       PEs Some
     SIMD designs              which    may be implemented in embodiments of the present invention
     have a facility          by which   a wired or or wired and of the state of every PE in the PEA
     104 can be read by the               CU 106         in   approximately one instruction delay time


     00531 There are many well studied variations on these matters in the literature any of
     which    may be incorporated                into   embodiments                 of the    present invention              For example an

     interconnect             such as an 8 way          local    interconnect             may be used            The     local       connections

     may include             a mixture of various distance               hops such as distance                      4 or 16 as well as

     distance      1 The outside edges may be connected                                  using      any topology            such as a torus

     or twisted     torus Instead             of or in addition         to a local        interconnect           a more complex global

     interconnect             such as the hypercube              design        may be used Furthermore                          the physical

     implementation of the               PEA 104        eg a chip              could       be replicated         eg          tiled      on a        circuit


     board to produce a larger PEA The replication may form a simple grid or other
     arrangement just as the component PEAs may but need not be grids


     0054 FIG 4 shows an example design for a PE 400 which may be used to implement
                                  PEA 104 The PE 400 stores local data The
     any one or more of the PEs in the
     amount of memory for the local                     data varies significantly from design                           to   design            It
                                                                                                                                                    may
     depend      on the        implementation technologies                     available          for fabricating      the     PE 400
     Sometimes                  values Constants take less room than frequently
                         rarely changing

     changing        Registers and a design may provide more Constants than
                    values

     Registers For instance this may be the case with digital embodiments that use single
     transistor cells for the Constants                  eg        floating         gate Flash memory cells and multiple
     transistor cells for           the Registers        eg 6          transistor        SRAM           cells Sometimes the
     situation     is   reversed        as may be the case               in   analog embodiments                      where substantial

     area for capacitance               may be needed to ensure stable long term storage of Constants
     and such embodiments                     may have more Registers than                         Constants          Typical        storage

     capacities         might be tens or hundreds of arithmetic values                                  stored   in   the Registers and

     Constants          in   each    PE but these capacities                  are adjustable by the designer                            Some
     designs   for instance may have Register storage but no Constant storage Some

     designs  may have thousands or even many more values stored in each PE All of these
     variations may be reflected in embodiments of the present invention



     0055     Each           PE needs     to operate on          its   local       data For this reason within the                       PE 400
     there   are data          paths 402ai        routing       mechanisms such as the multiplexor                                  MUX 404
     and components to perform some collection                                 of logical         and arithmetic operations such

     as the logic unit             406 and the LPHDR             arithmetic unit             408 The LPHDR                   arithmetic unit

     408 performs LPHDR                  arithmetic operations                 as that term is used herein The input

     output     and intermediate values received                          by output by and operated                          on by the               PE
     400     may    for      example take        the form of electrical                  signals representing numerical values



     00561 The           PE 400 also may have one or more flag bits shown                                        as Mask 410              in        FIG 4
     The purpose of the Mask 410 is to enable some PEs the ones in which a specified
     Mask bit is set to ignore some instructions issued by the CU 106 This allows some
     variation in the usual             lock step       behaviors of all PEs                 in   the   PEA 104        For instance                  the

     CU     106 may issue an instruction that causes                               each PE to reset or set its Mask 410

     depending          on whether a specified                Register        in   the   PE is positive          or negative             A
     subsequent instruction               for   instance        an arithmetic instruction                     may     include       a   bit


     meaning that the instruction should                        be performed only by those PEs whose                                    Mask 410
     is   reset This combination has the                      effect    of conditionally performing the arithmetic

     instruction in each             PE depending             on whether the specified                   Register      in    that    PE was




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     positive     As with the Compare instructions of traditional computers                                               there    are       many
     possible design choices                    for    mechanisms to set and clear Masks


     0057 The operation of the PEs is controlled by control signals 412a d received from
       CU 106 four of which are shown in FIG 4 merely for purposes of example and not
     the

     limitation    We have not shown                        details of this          mechanism             but the control        signals 412a             d
     specify which        Register or Constant                        memory values            in    the   PE 400 or one of its
     neighbors to send to the data paths                                which    operations should              be performed by the

     Logic    406 or Arithmetic 408 or other processing mechanisms                                               where the results should
     be stored in the Registers                       how to set reset and use                      the    Mask 410 and so on These
     matters are well described                       in   the    literature    on SIMD         processors


     005$       Many variations of this PE 400 and PEA design are possible and fall within the
     scope    of the present invention   Digital PEs can have shifters lookup tables and many
     other    mechanisms such as described                               in   the literature         Analog PEs can have
     based operators             filters        comparators with global broadcast                            signals and        many other
     mechanisms such as described                                in   the literature The            PEA     104 can include         global
     mechanisms such as wired                         OR or wired AND                 for digital      PEAs or wired SUM for analog
     PEAs Again there are many variations well described in the literature on digital and
     analog     computing architectures


     0059 For example LPHDR                                operations other than               andor in addition              to addition          and

     multiplication may be supported                              For example a machine                     which   can only perform

     multiplication and          the function               1X may be used                 to       approximate addition            and other
     arithmetic operations                 Other collections                  of LPHDR     operations            may be used            to

     approximate         LPHDR        arithmetic operations                      such as addition               multiplication          subtraction

     and division        using     techniques               that      are wellknown            to   those having ordinary               skill      in   the

     art



     0060 One aspect of embodiments of the present invention that is unique is the
     inclusion of LPHDR arithmetic mechanisms in the PEs Embodiments of such

     mechanisms will now be described


     0061 One digital embodiment of the LPHDR                                                      408 operates on digital
                                                                                      arithmetic unit

     binary representations                     of    numbers In one digital               embodiment these numbers are
     represented by their logarithms Such a representation                                            is   called   a Logarithmic Number
     System      LNS          which    is       well understood               by those having              ordinary   skill    in the    art



     0062 In an LNS numbers are represented as a sign and an exponent                                                             There       is    an

     implicit   base     for   the logarithms typically 2                       when working               with digital    hardware             In the


     present embodiment                a base of 2 is used                     for   purposes of example As a result a value
     say B is represented by its sign and a base 2 logarithm say b of its absolute value
     For numbers to have representation errors of at most say                                                 1 one percent                  the

                   part of this logarithm should be represented with
                                                                                                               1
     fractional                                                                                              enough       precision that the

     least possible change                 in   the fraction            corresponds to about a                      change        in the     value        B
     If   fractions are represented using                         6 bits increasing or decreasing                     the fraction           by 1
     corresponds         to    multiplying or dividing                   B by the 64th          root of      2 which      is   approximately


                                                                       1 So
     1011       This   means that numbers may be represented in the                                           present      embodiment with a
     multiplicative error of approximately                                           in this   example embodiment the fraction
     part of the       representation has 6 bits



     0063 Furthermore                 the space              of values        processed         in the      present   embodiment have




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     high dynamic         range To represent numbers whose absolute value is from say one
     billionth      to one           bon
                                 the integer part of the logarithm must be long enough to

     represent plus or minus the                            base 2 logarithm of one                  billion         That logarithm       is   about
     299      In    the      present embodiment the                       integer part of the logarithm representation                              is   5
     bits   long        to   represent values                from 0 to 31 which               is   sufficient         There also is a sign             bit    in

     the exponent               Negative                logarithms are represented using                        twos complement
     representation



     0064 In an LAS the value                               zero corresponds             to   the    logarithm negative              infinity       One
     can choose              a representation                 to explicitly      represent this special                 value     However           to

     minimize resources for instance                                area used by arithmetic circuits                         the present

     embodiment represents zero by the most negative                                               possible logarithm which                    is   32
     corresponding                  to    the     twos complement               bit   representation             100000 000000 and
     denoting           a value of approximately                     233E10

     0065 When                computing                  situations can arise in which                   operations cannot               produce
     reasonable valuesAn example is when a number is too large to be represented in the
     chosen word format such as when multiplying or adding two large numbers or upon
     divide      by zero or nearly zero One                              common approach                      to this problem       is   to allow a

     value to be marked                      as Not A Number               NAN         and to make sure that each                        operation

     produces            NAN         if   a problem arises or if either of its inputs                           is   NAN The present
     embodiment uses this approach                                 as will       be described            in   the following



     0066 FIG 5 shows the word format 500 for these numbers in the present
     embodiment   has one NAN bit 502a one bit 502b for the sign of the value
                               It                                                                                                              and 12
     bits   502c        e representing the logarithm The logarithm bits include a 5 bit integer part
     502d and a 6              bit        fraction       part 502e    To permit the            logarithms to be negative                       there     is   a

     sign    bit   502c       for         the logarithm which            is     represented         in   twos complement form The
     NAN bit is set          some problem has arisen in computing the value The word format 500
                                if



     shown         in   FIG 5 is merely an example and does not constitute a limitation of the
     present invention                      Other variations         may be used so long as they have                               low precision
     and high dynamic range


     0067 FIG 6 shows                             an example digital            implementation of the                  LPHDR       arithmetic unit

     408 for the representation                            illustrated   in     FIG    5 The unit 408 receives                    two inputs         A
     602a and B 602b and produces                                  an output 6020 The inputs 602a                         b and output 602c
     may for example take the form of electrical                                       signals representing numerical values

     according           to the           representation          illustrated in       FIG 5 as is also true of signals
     transmitted within the unit 408                             by components of the                unit 408 The inputs 602a b and


     output        602c each are composed of a Value and a                                         NAN Not A Number bit The unit
     408    is   controlled               by control signals 412a                d coming from                 the    CU 106 that determine
     which       available            arithmetic operation               will    be performed on the inputs 602a                         b     In this

     embodiment                all        the available       arithmetic operations are performed                           in    parallel     on the

     inputs 602a             b by adderisubtractor 604 multiplier 606 and divider 608
     Adderisubtractor                     604 performs LPHDR                    addition      and subtraction             multiplier      606

     performs LPHDR                        multiplication         and divider 608 performs LPHDR                           division



     00681 The desired                       result       from among the outputs                   of adderisubtractor              604 multiplier
     606     and divider 608                       is   chosen    by the multiplexers               MUXes             610a and 610b             The      right

     hand     MUX 610b sends the desired value to the output                                              602c The         left   hand     MUX 610a
     sends the corresponding                              NAN bit from the desired operation to the OR gate 612 which
     outputs        a set NAN               bit    if                 NAN or the specified arithmetic operation yields
                                                        either input is                 if




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     NAN The computing architecture                               literature         discusses many variations which                                         may be
     incorporated              into   the   embodiment illustrated in FIG 6


     0069 LNS arithmetic has the great advantage                                                that multiplication                 MUL and division
     DIV         are very easy to compute                       and take few physical                         resources            eg          little       area    in   a
     silicon     implementation The sign of the                              result            is   the exclusive            or of the signs of the
     operands            The      logarithm part of the output                      is        the    sum      in   the case of            MUL or the
     difference           in the      case of DIV of the logarithm parts of the operands                                                  The sum or
     difference          of the logarithms can overflow                            producing               a NAN result Certain other

     operations also are easy in                        LNS arithmetic               For instance                  square root corresponds                               to

     dividing       the logarithm in half which                       in   our representation means simply shifting it one
     bit   position to the right



     0070 Thus                 the multiplier           606 and divider 608 in FIG 6 are implemented as circuits
     that   simply add or subtract                      their   inputs       which            are        twos complement binary numbers
     which         in   turn   happen            to be logarithms             If   there            is   overflow       they output              a      1   for   NAN

     0071 Implementing addition and subtraction in LNS that is the adderisubtractor 604
     in FIG 6 follows a common approach     used in the literature on LNS Consider addition
     Ifwe have two  positive numbers  B and C represented by their logarithms b and c the
     representation of the sum of B and C is logB+C An approach       to computing this result

     that   is   well     known        to those         skilled in the        art is          based on noticing                 that      logB+C=IogB
     1+C8elogB+Iog1+CB=b+Fcb                                                 where             Fx=Iogl+Zx Thus                            the present

     embodiment computes c                         b feeds        that through                 F and adds the result to b using
     standard           digital    techniques           known      to      those     skilled in             the art



     0072 Much of the published literature about LNS is concerned                                                              with       how to compute                       F

     x      the special           function        for   ADD along with a similarfunction                                     for   SUB         Often these two
     functions share circuitry                     and    this   is   why a single combined                             addersubtractor                      604    is


     used     in   the       embodiment of FIG 6 There                             are        many published ways     compute            to                        these
     functions          or approximations                to   them including                   discussions of how to do this when                                        the

     values       are of low precision               Any such method or other method may be used
     Generally speaking                     the    more appropriate variations for massively parallel LPHDR
     arithmetic are those                   that require the minimal use of resources                                         such as circuit area

     taking      advantage            of the fact that           the representation used                           in   the    embodiment of FIG 6 is
     low precision and that the arithmetic operations need not be deterministic nor return the
     most accurate                possible answer within the                       low precision representation                                 Thus
     embodiments                of the present invention                    may      use circuitry that                  does not compute                         the best

     possible answer                  even among the              limited          choices               available      in   a low precision

     representation



     0073 In order to enable                        conditional         operation of selected                        PEs the present
     embodiment is able                     to MASK flag 410 based on results of
                                                 reset and set the

     computations The mechanism for doing this        that the CU 106 includes instructions
                                                                                          is


     that cause the MASK 410 in each PE to unconditionally reset or set      flag along with                                             its


     other instructions to perform basic tests on values  entering the MASK 410 on data path
     4021 and to set the flag accordingiy                               Examples of these                      latter        instructions include

     copying        the sign bit or              NAN bit of the word on data                              path 402f into the               MASK             bit   410
     Another example                  is   to set the MASK              bit 410          if    the 12 bit value              part of the             word on data

     path 402f          is   equal     to   binary zero There                are     many additional and alternative ways for
     doing       this    that are directly analogous to comparison instructions                                                    in   traditional


     processors and which                        are well understood by those                              skilled in the           art




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     0074       It   is   worth noting that while the obvious                         method      of using    the above         LNS
     operations           is   to   do LPHDR  programmer also may consider selected
                                                      arithmetic           the

     values to be 12 bit twos complement binary numbers       and DIV may be used to              MM
     add and subtract such values                          since that         is   precisely     their   behavior in     LNS
     implementations                  The Mask         setting instructions can                compare these simple binary
     values          So besides doing LPHDR computations                                this digital embodiment using LNS can
     perform simple binary arithmetic on short signed integers


     0075 Some embodiments of the present invention may include                                                 analog         representations
     and processing methods                        Such embodiments                   may   for    example represent LPHDR
     values     as charges currents                      voltages          frequencies      pulse        widths pulse densities
     various forms of spikes                    or in other forms not characteristic                      of traditional digital

     implementations                  There     are    many such            representations discussed in the literature

     along    with        mechanisms for processing values so represented                                     Such methods                often

     called   Analog            methods         can be used to perform                  LPHDR          arithmetic   in   the   broad range
     of architectures               we have      discussed               of which    SIMD   is    one example


     0076 An example of an analog SIMD                                     architecture     is   the     SCAMP design and related

                                      1
     designs of Dudek                    In   that design       values        have low dynamic range                being accurate

     roughly to within                        Values are represented by charges                              Those
                                                                                                         on capacitors

     capacitors           typically      are the gates         of transistors          Each PE has several memory cells
     analogous to the Registers shown                               in   FIG 4 Addition is performed by turning on pass
     transistors from the two                   operands            which transfer their charge              onto an analog               bus
     where     it    is   summed by the natural                 physics of charge                and wires upon which                it   is   gated
     onto another              Register to charge              up    its   capacitor     which then represents the sum of the

     operands             The       detailed    mechanism disclosed by Dudek                           actually produces         the       negative
     of the   sum but the basic concept                         is   as described and             is   a simple way to perform
     addition        and subtraction             using     analog representations and simple processing
     mechanisms


     0077 Variations of the SCAMP design                                    have been fabricated             and used to perform a

     range    of low precision                 low dynamic range computations related to image processing
     These designs do not perform high dynamic range arithmetic                                              nor do they include
     mechanisms for performing multiplication or division of values                                          stored in Registers

     However the Dudek designs suggest the general feasibility of constructing analog
     SIMD machines The following describes how to build an analog SilVID machine that
     performs LPHDR                   arithmetic         and   is    thus    an embodiment of the present invention


     0078 One embodiment of the present invention                                        represents values           as a mixture of

     analog      and       digital     forms This embodiment                       represents values         as low precision


                                                                                                                                                 1
     normalized            base 2        floating     point    numbers where the mantissa is an analog                                 value     and
     the exponent              is   a binary     digital   value           The analog     value        may be accurate          to   about

     following the approach                    of Dudek        which         is   well within the range        of reasonable analog

     processing techniques                      The exponent may be 6 bits long or whatever                               is   needed          to


     provide         the desired high dynamic                   range


     0079 To multiply values                       the     embodiment proceeds                   by analogy to traditional floating
     point    methods The                digital   exponents are summed using a binary arithmetic adder a
     standard         digital       technique       The analog mantissas are multiplied Since they represent
     normalized values                  between      approximately 12 and 1 their product may be as small as
     approximately              14 Such          a product          value     needs to be normalized back                 to   the range            12




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     to    1 This is done                 in the          present       embodiment              by comparing the analog                        mantissa to an

     analog           representation of                   12 using a threshold circuit                      If   the mantissa          is     below          12 then
     it   is   doubled          and one         is    subtracted             from the exponent              where such subtraction                           is    simple
     digital      subtraction             Doubling               the   mantissa is implemented                     in   a way that corresponds to
     the chosen              analog       representation                     For example whatever                   means are being used                               to

     add two analog                 values           can be used              to    double the mantissa by adding                       it        to   a copy of
     itself     For example if the mantissa                                  is   represented as a current such as copy                                  may be
     produced              by a current mirror or other suitable mechanism                                              and addition              may be
     performed by a current summing junction


     0080 The means of multiplying the original analog                                                mantissas depends                        on the

     representation chosen                            For example if mantissas are represented using charge

     following             SCAMP          then any            known method from the literature may be used                                             to convert

     charge           to   current        For instance                 since the         charge     on a capacitor            determines the voltage

     on the capacitor                 this      may be implemented as a conversion                                      from voltage to current
     which        is   a basic technique                    in    analog          electronics      known         to those     skilled in the             art In any

     case        if    the mantissas are represented as currents                                      or once           the mantissas are

     converted             to   currents         they        may be multiplied using for instance                               the techniques                     of

     Gilbert           The      Gilbert multiplier produces                            a current    representing the product                           which            may
     if
          necessary              then be converted                     back       to   charge    or whatever             representation                 is   used
     These            are merely examples of                           how    the      needed    operations might be performed                                    The
     literature            discusses these matters extensively and these kinds of analog                                                          circuits        are

     known            to   those    skilled in            the art



     0081 Adding                   and subtracting                 values          requires pre normalization of the values                                  to        the

     same exponent as is done in traditional digital floating point arithmetic The present
     embodiment does this by comparing the exponents and choosing the smaller one
     Then              one is subtracted from the larger using digital means The difference
                the smaller

     specifieshow many times the mantissa which corresponds to the smaller exponent
     needs to be divided in half    that mantissa is represented by or converted
                                                             If
                                                                                 to a
     current           then an analog                 R 2R style ladder may be used to divide                                  the current              in   half the

     requirednumber of times with the stage of the ladder specified by the difference of
     exponents calculated as above The resulting scaled down current is added to or
     subtracted             from     if   this       is   an LPHDR                subtraction      operation the current corresponding to
     the       mantissa associated                        with    the larger exponent               to yield       the output        mantissa The

     output           exponent       associated                  with the output           mantissa     is       the larger exponent                    Post
     normalization               may be needed                     at this point          If   the output        mantissa       is   greater than                      1 then
     it   needs to be divided                   in        half and      the output         exponent needs                to   be incremented                      If    it    is


     less than             12 then        it   needs to be doubled                       enough times to exceed                  12 and the                  output

     exponent must be decremented correspondingly                                                   which        may be performed by a series
     of threshold circuits                     doubler circuits                   and associated        decrementer circuits These
     increments and decrements of the binary digital exponent                                                       and corresponding

     doubiings and                 haivings of the analog                         mantissa current               are straightforward operations

     well      known         to those          skilled      in    the art



     0082 The present embodiment represents the exponent as a digital binary number
            embodiments may represent the exponent as an analog value However
     Alternate                                                                                                                                                               it    is


     important that                the exponent be represented in storage and computation                                                      in      such a
     manner that neither noise nor other errors cause a change in the value represents                                                       it



     Such changes in the exponent could introduce factors of two or in some embodiments
     larger changes                 in    the values              of the stored           numbers To maintain accuracy                                 of the

     exponents               an embodiment                   may        quantize the exponent to relatively few                                levels        for




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     instance      16 values plus a sign                    bit      During       processing           slight      variations        in   the analog

     representation of the exponent                          may then be removed by circuitry that                                   restores values to

     the 16 standard quantization levels                               To net sufficient dynamic range                              in such      an

     embodiment            the      floating    point       numbers may be processed                               as base 4 numbers rather
     than the      usual      base 2 numbers                  This      means for instance                     that normalized mantissas

     are in the range            14   to    1 The methods discussed above                                    for   addition         subtraction         and

     multiplication apply as described                             with slight and straightforward variations



     0083 The analog                 and mixed signal embodiments discussed above are merely

     examples and do not constitute                           a limitation of the               present invention                   The   published
     literature    on neuromorphic                   analog and mixed signal techniques                                        provides        a wealth      of

     methods that enable                LPHDR          storage and processing to be implemented                                            Such        storage

     and processing may introduce                           noise      as well as fabrication                  errors into the             behavior          of

     machines performing LPHDR                             arithmetic         The       results       we present below                    on software
     applications running               using       fp+noise arithmetic                     show        that despite these                 very      un
     digital qualities a machine                     built    in     this   way    is   surprisingly useful



     0084       Evidence         that   LPHDR          arithmetic            is   useful    in   several important practical

     computing          applications         will    now be provided The evidence                                  is   presented         for   a broad

     variety    of embodiments of the present invention                                     thereby showing                     that the       usefulness

     does    not depend             much on the detailed implementation


     00851      For the goal          of showing             usefulness            we choose            a very general embodiment of

     an    LPHDR machine Our model of the machine                                          is   that         provides          at least the following

                         1                                              2
                                                                                                        it



     capabilities              is   massively parallel                        provides          LPHDR          arithmetic possibly with

     noise     3    provides a small                 amount of memory local                       to   each arithmetic unit                     4     provides

     the    arithmeticmemory                units     in    a twodimensional                    physical       layout with           only      local

     connections         between           units rather than                 some more powerful                         flexible or sophisticated

     connection         mechanism               and    5        provides only limited bandwidth                                between         the machine

     and the host machine                   Note that          this    model is merely an example which                                   is   used    for   the

     purpose       of   demonstrating the                  utility    of various        embodiments                 of the present invention

     and does not constitute                   a limitation of the                present invention                 This       model includes

     among      others implementations that are digital or analog or mixed have zero or more

     noise have architectures which are FPGAlike or SIMDlike                                                            or   INDlike            or

     otherwise      meet the assumptions of the model More                                            general architectures                     such as
     shared   memory designs GPLidike designs or other sophisticated designs subsume
     this   models capabilities and so LPHDR arithmetic in those architectures also is useful
     While     we are thus showing                   that     LPHDR          arithmetic          is   useful       for   a broad       range of
     designs       of which         SlIVID     is   only an instance                for
                                                                                          purpose of discussion below                             we call
     each    unit which          pairs memory with                    arithmetic          a Processing Element or                         PE
     00861 Several            applications are discussed           below For each the discussion shows                                                    1
     that the    results are useful                 when computation is performed in possibly noisy LPHDR
     arithmetic         and   2      that    the computation                 can be physically                laid       out   in   two dimensions
     with   only   local      flow of data between                    units only          limited      memory            within each           unit and

     only limited data           flow tofrom the host                       machine        in   such a way that the computation
     makes efficient           use of the machines resources area time power The first

     requirement         is   referred to as           Accuracy and the second requirement Efficiency
     Applications that              meet both requirements                        running       in this      model will function                well on

     many kinds          of   LPHDR machines                       and thus those machines are a broadly useful
     invention




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     0087 Applications are tested using two embodiments for the machines arithmetic
     One uses accurate floating point arithmetic but multiplies the result of each arithmetic
     operation by a uniformly chosen random number between 099 and 101 In the

     following discussion                  this        embodiment is denoted fp+noise                                 It
                                                                                                                           may represent the
     results produced               by an analog embodiment of the machine


     0088 A second embodiment uses logarithmic arithmetic with a value representation as
     shown       in       FIG 5 The         arithmetic           is   repeatable        that   is not noisy but because                        of the

     short fraction size             it
                                          produces             errors of up to approximately                      12         in   each operation              In

     the following discussion                          this   embodiment is denoted                  Ins         It
                                                                                                                      may represent the results
     produced             by a particular digital embodiment of the machine


     00891 To demonstrate usefulness of embodiments of the invention                                                              we shall discuss
     three computational tasks                          that are enabled              by embodiments of the invention                         and which
     in   turn enable            a variety of practical               applications         Two of the tasks                  are related       to finding

     nearest neighbors and the other is related                                      to processing visual information                    We shall
     describe         the tasks note their practical                          application      and then demonstrate that each task
     is   solvable using            the general model described above                               and thus solvable                using

     embodiments                 of the    present invention



     Application            1




     Finding Nearest Neighbors



     0090 Given                 a large set of vectors                 called        Examples and a given vector                       called      Test
     the nearest neighbor problem                              CNN       is   to find   the    Example which                 is   closest to Test

     where      the distance              metric        is    the square of the          Euclidean         distance          sum of squares of
     distances            between         respective           components


     0091 NN is a widely useful                              computation             One use is for data compression                       where         it   is


     called vector quantization In this application we have                                            a set of relatively long vectors
     in   code book these are the Examples and associated short code words for
          a
     instance the index of the vector in the code book We move through a sequence                                                                    of

     vectors         to   be compressed                  and    for   each such vector              Test          find      the nearest vector           in

     the code         book and output                   the corresponding              code word This reduces                       the sequence              of

     vectors         to the shorter sequence                     of code       words Because                the code          words do not

     completely specify the                      original       sequence           of vectors       this   is   a lossy form of data

     compression                 Among        other applications                it
                                                                                     may be used           in   speech compression and                        in

     the      MPEG standards

     0092       Another application                      of NN       would     be in determining whether snippets of video

     occur      in   a large video               database         Here        we might abstract frames of video from the
     snippet into feature vectors                            using known methods such as color histograms scale
     invariant feature extraction                            etc The Examples would be analogous feature vectors
     extracted            from the video               database        We would         like   to   know whether any vector from the
     snippet         was        close to any vector from the database                           which           NN can help us decide


     00931       In   many applications of nearest neighbor                                   we would          prefer to find the true

     nearest neighbor but                   it   is    acceptable        if   we     sometimes find another neighbor that                           is   only

     slightly    farther          away     or     if   we almost always find the true nearest neighbor Thus an
     approximate solution to the nearest neighbor problem                                             is   useful especially if              it   can be

     computed             especially quickly                  or at low       power     or with     some other advantage                     compared




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     to an exact        solution



     00941     We shall now show that approximate nearest neighbor                                                is     computable using
     embodiments              of the present invention                 in a   way   that meets the criteria                     of Accuracy          and

     Efficiency



     0095      Algorithm The following describes an algorithm which                                              may be performed by
     machines implemented according                        embodiments of the present invention such as by
                                                             to


     executing         software including         instructions for performing the algorithm The inputs to the

     algorithm are a set of Examples and a Test vector                                        The    algorithm seeks                  to find the

     nearest     or almost nearest Example to the Test


     0096      In   the simplest version of the                   algorithm the number of Examples may be no

     larger than        the number of PEs and                 each vector           must be short enough                         to   fit   within a

     single    PEs memory The Examples are placed                                   into      the   memories associated                       with   the

     PEs     so that one Example is placed                        in   each    PE Given a Test the Test                           is    passed

     through     all    the   PEs in turn Accompanying the Test as                                  it
                                                                                                         passes through                the    PEs is the
     distance       from the Test to the nearest Example found so far along with information that
     indicates   what PE and thus what Example yielded that nearest Example found so far
     Each     PE computes the distance between the Test and the Example stored in that PEs
     memory and then passes along the Test together with either the distance and indicator
        was passed into this PE Of the distance computed by this PE exceeded the
     that

     distance       passed      into   the    PEE or the distance              this      PE computed                along with information

     indicating      this     PEs Example is the nearest so far if the distance                                          computed           by this PE
     is   less than the        distance      passed        into    the   PE Thus the algorithm                            is   doing a simple
     minimization operation as the Test                      is    passed through the set of PEs                               When         the Test

     and associated            information leave            the last          PE   the   output          is   a representation of which
     PE and Example was                   closest to the Test                 along with the distance                      between           that

     Example and the Test


     0097 In a more efficient                 variant of this algorithm the Test                              is first    passed along for
     example the top row then every column passes the Test and associated information
     downward effectively doing a search in parallel with other columns and once the
     information reaches               the bottom     it
                                                            passes across the bottom                           row computing a minimum
     distance       Example of all           the columns processed                   so far as it passes across the row This
     means that the time required to process                             the Test        is   proportional to              the    greater of the
     number of PEs in a row or column


     0098 An enhancement                     of this algorithm proceeds                       as above           but computes and passes

     along    information indicating             both the          nearest and the second                        nearest        Example found so
     far When this information exits the array of PEs the digital processor that is hosting
     the PE array computes in high precision the distance between the Test and the two

     Examples indicated by the PE array and the nearer of the two is output as the likely
     nearest neighbor to the Test



     0099 Accuracy We expressed the arithmetic performed by the enhanced algorithm
             above as code in the C programming language That code computes both
     described

     nearest neighbors             which are discussed here along with weighted                                            scores           which are
     discussed         below


     0100 The C code               performs the same set of arithmetic operations in the same order
     using the      same methods of performing arithmetic as an actual implementation of the




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     present invention              such as one implemented                        in   hardware     it   thus yields the        same
     results as the enhanced                  algorithm would             yield      when       running    on an implementation of
     the present invention                  How the algorithm                is   organized to run efficiently on such an
     implementation            is   discussed below               in   the section        on Efficiency


     0101 In particular when computing the distance                                       between         the Test and        each Example
     the code    uses Kahans method                            discussed below             to   perform the possibly long
     summation required                to form      the        sum of the squares of the distances                      between    vector

     components of the Test                  and Example


     0102 The C code contains several implementations for arithmetic as discussed
     above   When compiled with deflne fp the arithmetic is done using IEEE standard
     floating point a command line argument is passed in to enable noisy arithmetic then
                         if



     random noise         is   added         to the     result of      every      calculation       This    is   the fp+noise form of

     arithmetic    When             compiled without define fp the arithmetic                               is   done using low
     precision    logarithmic arithmetic with                      a 6   bit   base 2 fraction            This   is   the   Ins form of
     arithmetic



     0103 When         the code       was run   produced traces showing the results of the
                                                          it




     computations        it
                               performed  These  traces shown below show that with certain
     command line arguments the enhanced                                 algorithm yielded certain                results for LPHDR

     nearest neighbor calculations                      These          resuits provide          details showing         the usefulness of

     this   approach          We shall discuss the results briefly here

     0104 The first            results are for fp+noise                      Ten     distinct    runs were performed              Each     run

     generated     one million random Example vectors                                           where each component
                                                                                        of length five

     of each    vector        was drawn from              N01 the                 Gaussian normal distribution with mean

     zero and standard deviation                       1 Each run then               generated      one hundred             Test vectors      of

     length                 component of each vector also was drawn from
               five where each                                                   For                                          N01
     each Test the nearest neighbor was computed both according  to the enhanced


     algorithm above            and according             to the standard nearest neighbor                        method       using   high

     precision    floating          point   arithmetic           A count was kept of the number of times the
     enhanced     algorithm yielded the                        same result as the standard floating point method The
     results were as follows



     1aout 5 10 1000000                      100   1


     Representation            is   Floating       Point with          noise
     Run 1 On 100 tests 1001000             081 mean score error  matches and
     Run 2 On 100 tests 1001000 matches and 084 mean score error
     Run 3 On 100 tests 1001000 matches and 098 mean score error
     Run 4 On 100 tests 1001000 matches and 081 mean score error
     Run 5 On 100 tests 1001000 matches and 094 mean score error
     Run 6 On 100 tests 1001000 matches and 082 mean score error
     Run 7 On 100 tests 1001000 matches and 078 mean score error
     Run 8 On 100 tests 1001000 matches and 086 mean score error
     Run 9 On 100 tests 1001000 matches and 085 mean score error
     Run 10 On 100 tests 99990 matches and 086 mean score error
     Average     percentage            of time      LPHDR          with      final      DP correction          finds nearest

     example=9990o
     Average     score error between                    LPHDR          and     DP=085

     0119 The mean score                      error values are considered                        below    in   the discussion of




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     weighted       scores      The matches            information       is   relevant   here


     0120 Of the ten runs only one had any test of the 100 tests performed                                          which yielded

     a nearest neighbor          different   from what the usual               high precision        method yielded Thus
     the average       percentage      of matches between                 the enhanced       algorithm running          with

     fp+noise arithmetic and the                  usual   method was           999

     0121 A similar computation               was then performed using ins arithmetic                           In this    case
     the    results were



     aout 5 10 1000000 100 0
     Representation        is   LNS without noise
     Run 1 On           1001000
                      100 tests             015 mean score error
                                                          matches and
     Run 2 On 100       1001000
                           tests            007 mean score error
                                                          matches and
     Run 3 On 100 tests 1001000 matches and 008 mean score error
     Run 4 On 100 tests 1001000 matches and 009 mean score error
     Run 5 On 100 tests 1001000 matches and 011 mean score error
     Run 6 On 100 tests 1001000 matches and 016 mean score error
     Run 7 On 100 tests 1001000 matches and 007 mean score error
     Run 8 On 100 tests 1001000 matches and 013 mean score error

     Run 9 On 100 tests 99990 matches and 017 mean score error
     Run 10 On 100 tests 98980 matches and 016 mean score error
     Average       percentage      of time    LPHDR            with   final   DP correction      finds nearest

     example=9970
     Average       score error between            LPHDR         and   DP=012

     0136 The average             percentage           of matches       was    997       slightly     worse than     for


     fp+noise


     0137 The accuracy shown by the enhanced nearest neighbor algorithm using two
     forms of LPHDR arithmetic is surprising To perform many calculations
             1                                                                              1
                                                                          sequentially

     with         error and yet produce            a   final   result   with   less than         error may      seem counter
     intuitive     Nonetheless        the   LPHDR         arithmetic proves        effective         and the accuracy       shown
     is   high   enough    to be useful      in   applications        for which    approximate nearest neighbor
     calculations      are useful



     0138 As an extreme case
     uniformly from

     was between
                           +10 to      5 5
                          10 too large and
                                             a variant of fp+noise was tested
                                                  Thus     each arithmetic operation produced

                                                               too small The enhanced
                                                                                                in   which the noise varied

                                                                                                                a   result that

                                                                                                     nearest neighbor

     algorithm as described above                   was performed where each                 run generated          100000
     Example vectors            The   surprising results below show                  that even        with   this extreme      level

     of imprecise       noisy and non zero mean                   LPHDR        arithmetic    useful     results can be

     achieved


     0000 Run 1 On 100 tests 97970 matches
     Run 2 On 100 tests 1001000 matches
     Run 3 On 100 tests 1001000 matches
     Run 4 On 100 tests 98980 matches
     Run 5 On 100 tests 98980 matches
     Run 6 On 100 tests 99990 matches
     Run     7 On 100 tests 99990                      matches
     Run 8 On 100 tests            99990 matches



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     Run 9 On 100 tests 99990 matches
     Run 10 On 100 tests 99990 matches
     Average              percentage         of time           1PHDR         with         final       DP correction                    finds nearest

     example=9880

     0139 Efficiency                   In    contrast              to the surprising Accuracy                                   results    it   is   clear to those

     having ordinary                skill    in   the    art that          the calculations                         of the enhanced                  nearest neighbor

     algorithm can be performed efficiently in the                                                  computing                   model presented                   where          the

     arithmeticmemory                       units are connected                     in    a twodimensional                            physical             layout      using         only
     local      communication between                               PEs However                      this           does        not address the matter of

     keeping              the machine         busy doing useful work using only low bandwidth                                                               to the host

     machine


     01401       When            computing the nearest neighbor to a single Test the Test flows across all
               PEs                            As discussed                                                                                                                                 0
     M
     the                  in   the array                                    above             if   the array              is    an MxIVI grid it takes                      at   least

               steps for the Test                 to   pass through            the        machine                    and return results to the host

     During          this       time the machine                   performs        0MxM nearest neighbor distance
     computations                  but since           the     machine        is    capable                    of performing           0fV1xM calculations at
     each step a factor of                    0M              is    lost



     0141 This speedup compared to a serial machine                                                                      of a factor of          0M          is   significant

     and useful                 However       the efficiency                can be even                        higher If                                  many Test
                                 0M
                                                                                                                                  sufficiently

     vectors          say                   or more are to be processed                                        then they can be streamed                             into        the

     machine              and    made       to flow through in a pipelined fashion                                                The time to process                        0M
     Tests remains                0M          the      same as for a single Test                                     but       now   the machine              performs 0

     Mx0111xM distance                            computations                and thus within a constant                                    factor the full

     computing                 capacity     of the       machine is used



     0142 Thus                   the machine             is    especially efficient                       if   it   is    processing at least as many Test
     vectors         as the square root of the number of PEs There are applications that                                                                              fit     well into

     this      form such as pattern                      recognition           or compression of many independent                                                   Tests           eg
     blocks          of an       image parts of a file                     price    histories of independent                                    stocks       as well as the

     problem of finding the nearest neighbor to every Example in the set of Examples                                                                                                This

     is   in   contrast to the general                        view     among those having                                 ordinary     skill         in   the art as

     discussed above                   that machines with                     very            many arithmetic processing elements on a
     single chip                or similar are not very useful



     Application 2



     Distance             Weighted          Scoring


     0143 A task related                      to       Nearest        Neighbor is Distance                                Weighted          Scoring               In this        task
     each       Example has an associated                                  Score     This            is        a number that              in    some way
     characterizes the                 Example For instance                              if        the Examples are abstractions of the history

     of prices of a given                   stock        the Scores           might be historical probabilities of whether the
     price      is   about to increase                  or decrease                Given a Test vector                               the task         is   to form a

     weighted              sum of the Scores                   of all the      Examples where                                   the weights are a diminishing

     function         of the distance              from the Test               to    the respective                         Examples             For example this

     weighted              score might be taken as a prediction                                       of the future price of the stock                                 whose
     history         is    represented by the Test This use of embodiments of the invention                                                                           might help
     support              for   instance      high       speed trading               of stocks                       as    is   performed by certain
     quantitative                 hedge funds despite the general view by those having ordinary                                                                             skill   in




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     the art that low precision computation                          is   not of use     in   financial   applications



     0144 The C code                described     above computes weighted                            scores along with nearest

     neighbors The scores assigned                        to   Examples in this computation                    are random           numbers
     drawn      uniformly from the range              01             The weight for each Example in this computation
     is   defined     to be the unnormalized                   weight for the Example divided                  by the          sum of the un
     normalized weights for all Examples where the unnormalized                                            weight for each
     Example is defined             to be the    reciprocal        of the sum of one plus the squared distance

     from the Example to the Test vector                         As discussed above the code performs a number
     of runs each           producing       many Examples and Tests and compares                                results of traditional

     floating       point computations with           results calculated                using    fp+noise and ins arithmetic



     0145       Looking again          at   the trace      results of running             the simulation above                  we see that
                                  LPHDR                                                                        085 of the correct
                                                               1
     for fp+noise        the                weighted       scores on average                   were within
     value     and never were as much as                             different        For ins arithmetic the errors were even

     smaller averaging              just    012 error

     0146 These             results are surprising given                   that computing an overall            weighted            score
     involves  summing             the individual weighted                 Example Since
                                                                            scores associated           with   each
     each run was processing 1000000 Examples       this means that the sums were over
     one million small positive values The naive method of summing one million small
     values     with    errors of about        1     in   each addition               should    yield results   that approximate

     noise However                the code    performs         its   sums using a long known method                            invented   by
     Kahan          Kahan January 1965 Further remarks on reducing
                               William                                                                                      truncation

     errors Communications of the ACM 8  40 The method makes           1                                          it    feasible to

     perform long           sums such as are done for Distance                           Weighted        Scores        or as might be
     used      in   computational finance            when computing prices of derivative                        securities using

     Monte Carlo methods                   or for performing deconvolution                      in   image processing algorithms
     as will    be discussed next


     0147 The           Efficiency     of this algorithm             is   similar to that of         NN as discussed earlier                 If




     many Test         vectors      are processed          at once          the machine          performs especially efficiently


     Application        3



     Removing          Motion      Blur in Images



     0148 In order to gather sufficient light to form an image camera shutters are often                                                          left


     open      for   long enough that camera motion can cause blurring This can happen as a
     result of       camera shake in inexpensive consumer cameras as well as with very
     expensive         but fast moving        cameras mounted on satellites or aircraft                                If   the motion path

     of the    camera is known or can be computed                               then the blur can be substantially
     removed                   various deblurring algorithms One                         such algorithm is the Richardson

                            RL
                     using

     Lucy method                      and    we show           here that embodiments of the present invention                               can
     run that algorithm and                produce   useful          results Following the              discussion format above

     we discuss criteria            of Accuracy      and Efficiency


     01491 Algorithm The Richardson                        Lucy algorithm is well known and widely available
     Assume          that an image has been blurred using               a known kernel in particular assume

     that   the kernel       is   a straight line and           that      the image has been            oriented so that            the blur

     has occurred           purely in a horizontal direction                  Consider the particular kernel                     for which

     the Jcth       pixel in each     row of the blurred image                   is   the uniformly weighted                 mean    of pixels




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     J through         J+31    in     the original unblurred                   image


     0150 Accuracy We implemented in the C programming language a straightforward
                 RI method that uses LPHDR arithmetic The program reads a test
     version of the

     image blurs         it    using        the kernel            discussed above          then deblurs it              using     either fp+noise

     or Ins arithmetic              The Rt         algorithm computes                  sums such               as when convolving           the

     kernel with        the current approximation of the deblurred                  image Our implementation
     computes these sums using                               the Kahan method discussed earlier FIG 7 shows the

     test   image in      original              form    It   is   a satellite picture      of a building used                  during   Barack
     Obamas          inauguration                FIG 8 shows the image extremely blurred by the kernel                                         It   is


     difficult    to see any particular objects                          in      image FIG 9 shows the result of deblurring
                                                                              this


     using    standard floating point arithmetic                               FIG 10 shows the result of deblurring using
     fp+noise arithmetic                    and FIG 11 shows the                     result of   debiurring using                Ins arithmetic          In

     all   these cases the image is sufficiently restored that                                     it    is   possible to recognize

     buildings         streets parking                 lots and cars



     0151 In addition to displaying the images herein for judgement using the human eye
     we computed a numerical measure of deblurring performance We computed the mean
     difference         over    all        pixels in the          image between           each          original      pixel value       a gray scale
     value from 0 to           255          and the corresponding value                     in   the image reconstructed                   by the RL
     method Those               numerical measures are                          shown below             in    Table    1


     0000

       TABLE       1




       Image type             Mean         pixel   error




       Blurred         320

       Rt    using     standard floating point                       130

       RI    using fp + noise                   138

       RL    using     Ins     148




     0152 These               results together with the subjective                         but important judgements                       made by
     the human eye show that LPHDR arithmetic provides a substantial and useful degree
     of deblurring compared to standard floating point arithmetic Further in this example we
     chose       an extreme degree                     of blurring to better convey                     the concept           and visual    impact of
     the deblurring using                   LPHDR            arithmetic        On more gentle                 and   typical    blur kernels      the

     resulting debiurred images are                               much    closer to the originals than                   in this   case as can be
     seen    by shrinking the kernel length and running                                   the    RL algorithm with LPHDR
     arithmetic on those                   more typical cases


     0153 Efficiency                  It   is   clear to those with             ordinary   skill        in    the   art that   Richardson     Luc




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     using    a   local   kernel    performs only local computational operations                                         An image to be
     deblurred can be loaded                into    the    PE array storing one or more pixels per PE the
     deconvolution          operation of RI can then                   be iterated              dozens or hundreds of times and
     the deblurred image can be read back to the host processor                                                  As long as sufficient
     iterations     are performed           this    makes efficient               use of the machine



     0154 An extreme form of image deblurring is the Iterative Reconstruction method
     used in computational tomography Reconstructing   3D volumes from 2D projections is
     an extremely computational task The method                                     discussed above generalizes naturally to
     Iterative    Reconstruction            and makes efficient               use of the machine


     0155 Among the advantages                        of embodiments of the                           invention    are one or               more of the
     following



     0156 PEs implemented according                            to   certain       embodiments                  of the     present invention

     may be relatively small for PEs that can do arithmetic                                            This means that                there    are   many
     PEs     per unit of resource           eg        transistor area                volume which                  in   turn    means that           there

     is   a large amount of arithmetic computational power per unit of resource                                                            This enables

     larger problems to be solved                   with    a given        amount of resource than does traditional
     computer designs              For instance            a digital       embodiment of the present invention built as a
     large silicon chip fabricated                 with current state              of the art technology                      might perform tens
     of thousand          of arithmetic operations per cycle                         as opposed                to hundreds in a

     conventional         GPU or a handful            in    a conventional                multicore           CPU These ratios reflect an
     architectural        advantage        of embodiments of the                     present invention                  that should persist as

     fabrication     technology        continues           to improve         even as we reach nanotechnoiogy                                      or other

     implementations for digital and analog computing


     0157      Doing arithmetic with few resources generally                                          means and in the embodiments
     shown     specifically        means that the arithmetic is done                                  using    low power              As a result a
     machine       implemented         in   accordance              with   embodiments                      of the present invention                 can
     have extremely high performance with reasonable power for instance                                                               in   the tens of

     watts or low power for instance                       a   fraction     of a watt with                   reasonably high
     performance           This    means that such embodiments may be suitable for the full range                                                         of

     computing        from supercomputers        through desktops down to mobile computing
     Similarly and since            cost    is   generally associated                     with        the   amount of available
     resourees       embodiments of the present invention                                  may provide            a     relatively          high   amount
     of computing          power per        unit   of cost     compared             to    conventional            computing                devices



     0158 The SIMD                architecture       is   rather old and             is   frequently discarded as an approach

     to computer design by those having                         ordinary          skill    in    the art       However           if    the processing

     elements of a         SIMD      machine        can be made particularly small while retaining important
     functionality        such as general arithmetic ability                         the architecture              can be useful The
     embodiments presented                  herein have             precisely those                   dualities



     0159 The discovery               that massive             amounts of LPHDR                         arithmetic       is   useful        as a fairly

     general computing             framework          as opposed             to    the     common belief that                   it    is   not useful

     can be an advantage              in   any massively or non massively parallel machine                                                   design or
     non parallel design            not just in SavID            embodiments                     It   could    be used         in     FPGAs FPAAs
     GPUISIMT         machines IVIND machines and in any kind                                               of machine        that uses compact

     arithmetic processing elements to perform large amounts of computation using                                                                  a small

     amount of resources like transistors or volume




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     0160      Another advantage                      of embodiments of the present invention                          is   that they   are not

     merely useful for performing computations                                efficiently      in   general        but that they can be

     used to tackle a variety of real world problems which                                     are typically         assumed to require
     high precision computing elements even though                                          such embodiments include                  only or

     predominantly                low precision         computing elements                   Although        several    examples of such
     real world         problems have been presented                         herein and although                   we have     also had

     success      implementing non bonded                        force    field      computations            for   molecular dynamics
     simulation and other tasks                       these are merely examples and do not constitute                                 an
     exhaustive         set of the real world problems that                          embodiments             of the present invention

     may be used             to   solve



     01611 The embodiments disclosed above are merely examples and do not constitute
     limitations        of the present invention                 Rather embodiments of the present invention                                 may
     be implemented                in   a variety of other         ways such as the following

     0162 For example embodiments of the present invention may represent values in any
     of a variety of ways such as by using digital or analog representations such as fixed

     point logarithmic                  or floating point representations                    voltages        currents       charges        pulse

     width     pulse         density frequency                probability         spikes timing or combinations thereof
     These     underlying representations                   may be used individually or in combination to
     represent the            LPHDR         values       LPHDR arithmetic circuits may be implemented in any of
     a variety of ways such as by using Various                                   digital   methods which             may be parallel or
     serial pipelined or not or analog                          methods or combinations thereof Arithmetic
     elements      may be connected                     using    various connection                 architectures       such as nearest 4
     nearest     8 hops of varying
                                degree and architectures which may or may not be
     rectangular or grid like Any method may be used for communication among arithmetic
     elements       such as parallel or serial                     digital   or analog         or mixed       mode communication
     Arithmetic elements                  may operate           synchronously or asynchronously                         and    may operate
     globally simultaneously                    or not Arithmetic elements                    may be implemented                for   example
     on a single physical                 device       such as a silicon chip or spread across multiple devices

     and an embodiment                    built   from multiple devices                may have        its   arithmetic elements

     connected          in   a variety of ways including                 for       example being connected                   as a grid torus

     hypercube           tree or other method                   Arithmetic elements                 may be connected            to    a host

     machine       if
                         any      in    a variety of ways depending                     on the cost and bandwidth                and other

     requirements of a particular embodiment                                 For example there               may be many host
     machines connected                    to   the   collection     of arithmetic elements



     0163 Although                certain       embodiments of the present invention                           are described          as being
     implemented as a SIMD architecture                              this    is    merely an example and does not constitute
     a    limitation    of the present invention                   For example embodiments of the                           present
     invention     may be implemented as reconfigurable architectures                                              such as but not         limited

     to   programmable              logic    devices       field   programmable analog arrays or field
     programmable gate array architectures                               such as a design in which existing multiplier
     blocks    of an         FPGA are replaced                with or supplemented by                  LPHDR arithmetic elements
     of any of the kinds                disclosed herein           or for    example          in   which LPHDR elements are
     included     in    a new or existing reconfigurable device                              design      As another example
     embodiments              of the      present invention           may be implemented as a GPU                           or SIMIstyle

     architecture        which incorporates      LPHDR arithmetic elements of any of the kinds
     disclosed herein               For example LPHDR elements could supplement or replace
     traditional    arithmetic elements                  in   current or new graphics processing unit designs                                As
     yet another example                   embodiments of the present invention may be implemented as a
     MIMDstyle           architecture             which incorporates              LPHDR       arithmetic elements of any of the




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     kinds disclosed herein        For example LPHDR                      arithmetic elements could                  supplement or
     replace    traditional   arithmetic elements in current                  or    new MAID computing                 system
     designs     As yet another example embodiments                          of the present invention                may be
     implemented as any kind of machine                         including   a massively parallel machine                     which
     uses compact      arithmetic processing elements to provide                            large amounts of arithmetic

     computing     capability using         a small amount of resources for example transistors or
     area or volume compared with                    traditional       architectures



     01541 Although      certain       embodiments of the present invention                         are described           herein    as

     executing    software      this is merely an example and does not constitute                                a   limitation   of the

     present invention        Alternatively          for   example embodiments of the present invention
     may be implemented using microcode or a hardware sequencer or state                                             machine      or

     other controller to control           LPHDR       arithmetic elements of any of the                       kinds disclosed

     herein Alternatively        for   example embodiments of the present invention                                  may be
     implemented using hardwired                   burned        or otherwise       preprogrammed                controllers to

     control   LPHDR    arithmetic elements of any of the kinds                           disclosed herein



     01651 Although      certain       embodiments of the present invention                         are described           herein    as

     being implemented using custom                    silicon    as the hardware            this   is   merely an example
     and does not constitute           a   limitation      of the present invention            Alternatively          for   example
     embodiments       of the present invention   may be implemented using FPGA or other
     reconfigurable chips       as the underlying hardware in which the FPGAs or other
     reconfigurable chips       are configured             to perform the          IPHDR      operations disclosed herein

     As another example embodiments                        of   the   present invention        may be implemented using
     any programmable conventional                    digital    or analog     computing       architecture          including
     those which     use high precision            computing elements including                      those which use other
     kinds of nonLPHDR           hardware to perform                   LPHDR    arithmetic          and inAiding those which

     are massively parallel which              has been programmed with software to perform the
     LP14DR      operations disclosed herein For example                           embodiments of the present
     invention    may be implemented using a software emulator of the functions disclosed
     herein


     0166 As yet another example embodiments of the present invention may be
     implemented using 3D fabrication technologies whether based on silicon chips or
     otherwise Some example embodiments are those in which a memory chip has been
     bonded onto a processor or other device                          chip or in which      several       memory andor
     processor or other device             chips     have been bonded               to   each other in a stack           3D
     embodiments       of the present invention                 are very    useful       as they may be denser than                  2D
     embodiments and may enable 3D communication                                of information between                the

     processing units which enables more algorithms                            to   run efficiently on those

     embodiments compared to 2D embodiments


     0167 Although       certain       embodiments of the present invention                         are described           herein    as

     being implemented using               silicon   chip fabrication technology                this      is   merely an example
     and does not constitute           a   limitation      of the present invention            Alternatively          for   example
     embodiments       of the   present invention               may be implemented using technologies that
     may enable      other sorts of traditional digital and                 analog computing processors or other
     devices     Examples of such technologies include                       various nanomechanical                   and
     nanoelectronic     technologies           chemistry based technologies such as for DNA
     computing      nanowire     and nanotube              based technologies              optical       technologies
     mechanical     technologies           biological      technologies        and other technologies                 whether
     based     on transistors or not that are capable                    of implementing        LPHDR           architectures of




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     the    kinds disclosed herein



     0168 Certain embodiments of the present invention                                          have been described              as

     massively parallel embodiments                         Although            certain     embodiments            of the     present

     invention         may inciude        thousands        millions or           more arithmetic units embodiments                             of

     the    present invention            may include any number of arithmetic units as few as one                                              For

     example            even an embodiment which                   includes        only a single          LPHDR     may be used
                                                                                                                       unit

     within       a serial processing unit or other device                        to   provide     a significant amount of LPHDR

     processing power              in   a small inexpensive processor or other device


     0169 For certain              embodiments of the present invention even                                if
                                                                                                                 implemented using
     only digital        techniques        the arithmetic operations                   may       not yield deterministic

     repeatable           or the most accurate            possible results within the                   chosen         low precision
     representation             For instance          on certain     specific          input     values    an arithmetic operation

     may produce            a result which        is   not the nearest value                in   the chosen         representation to the

     true arithmetic result



     0170 The degree                of precision        of a low precision                high    dynamic range arithmetic
     element may vary from implementation to implementation                                             For example in certain
     embodiments a LPHDR                    arithmetic element produces                          results which         include    fractions

     that   is values       greater than zero and less than                       one For example                 in   certain

     embodiments             a   LPHDR       arithmetic element produces                         results which         are sometimes            or
     all   of the time no closer than                  005 to the correct                 result    that is the         absolute       value      of

     the difference         between        the produced            result   and the correct             result    is   no more than            one
     twentieth         of one percent       of the absolute           value       of the correct          result As another
     example a LPHDR                    arithmetic element           may produce               results which are sometimes or

     all   of the      time no closer than             01    to the correct             result     As another example a LPHDR
     arithmetic element             may produce           results which    are sometimes or al of the time no

     closer than         02       to the correct        result     As yet another example a LPHDR arithmetic
     element may produce                  results which       are sometimes                or all    of the time no closer than

     05
                                                                                                                            1 2
              to    the correct     result As yet further            examples a LPHDR arithmetic element may


     5
     produce           results which      are sometimes            or all of the time no closer than or   or

            or    10       or   20 to the correct result
     0171         Besides having various possible degrees of precision                                     implementations              may
     vary    in   the dynamic range             of the space         of values          they process         For example               in   certain

     embodiments             a   LPHDR      arithmetic element processes values                             in   a space      which         may
     range approximately from one                      millionth to      one million As another example                           in    certain

     embodiments             a   LPHDR      arithmetic element proesesses values                            in   a space      which         may
     range approximately from one                      billionth    to   one      billion      As yet another example in certain
     embodiments             a   LPHDR       arithmetic element processes values                            in   a space      which         may
     range approximately from one                      sixty five    thousandth             to sixty five        thousand        As yet
     further      examples in certain embodiments                           a   LPHDR          arithmetic element processes

     values       in   a space     which    may range from any specific                         value   between         zero and one            sixty

     five   thousandth           up to any specific        value     greater than sixty five thousand                         As yet further
     examples other embodiments may process values                                         in    spaces    with     dynamic ranges that
     may combine and may fail                   between       the prior examples for example ranging                               from

     approximately one              billionth    to    ten million In       all    of these       example embodiments                       of the

     present invention             as well as in other embodiments                          the values       that      we are discussing
     may be signed so that the above                       descriptions characterize the                     absolute         values        of the

     numbers being discussed




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     0172 The frequency with which LPHDR                                        arithmetic elements                  may yield only
     approximations             to       correct        results may vary            from implementation to implementation                                           For

     example consider an embodiment in which LPHDR                                                  arithmetic elements can perform

     one or more operations perhaps including                                       for    example trigonometric functions and
     for    each operation the                   LPHDR          elements each accept                 a set of inputs drawn from a

     range of valid values                     and      for    each specific        set of input         values          the    LPHDR            elements
     each     produce one or more output                             values    for example simultaneously computing                                            both

     sin    and cos of an input and the output                                values       produced           for   a specific           set of inputs may

     be deterministic or non deterministic                              In    such an example embodiment                                      consider further

     a    fraction   F of the            valid    inputs and a relative error amount                           E by which                the    result

     calculated          by an LPHDR                   element may differ from the mathematically correct                                          result In

     certain    embodiments of the present invention                                      for   each      LPHDR           arithmetic element for

     at    least one operation that                      the    LPHDR        unit   is   capable     of performing for at least fraction

     F of the possible valid                     inputs to that operation                  for at   least one output                     signal produced
     by that operation                the      statistical    mean over repeated execution of the numerical values
     represented by that output                          signal of the LPHDR unit when executing that operation on

     each of those respective                                                by at least E from the                                  of an exact

                                                                                                                                                               1
                                                       inputs    differs                                             result

     mathematical calculation                          of the operation on those                  same input values where F is
                     006                                                                                                   1
           2 5
     and E     is                   In   several         other example          embodiments                   F is not                but instead                   one
                                                                     50 For each
                                                                                                                                                          is


     of         or          or      10           or    20       or                              of these       example embodiments                             each


                                                                                               1 2 5
     with    some specific               value         for   F there are other example embodiments                                             which     E is not
                                              01               02            05                                                                        20
                                                                                                                                         in


     005 but instead                     is              or            or                 or        or              or              or   10       or

     These      varied      embodiments                      are merely examples and do not constitute                                     limitations         of the

     present invention



     01731      For certain              devices        such as computers or processors or other devices
     embodied according                       the present invention   the number of LPHDR arithmetic elements

     in   the device        eg computer                       or processor or other device                      exceeds              the      number
     possibly zero of arithmetic elements in the device                                          which are designed                        to   perform high
     dynamic range             arithmetic of traditional precision that is floating point arithmetic with a

     word     length of 32 or                 more bits If NL           is   the total         number of LPHDR                       elements in such a
     device      and      NH     is      the total       number of elements in the device which                                      are designed          to

     perform high dynamic range arithmetic of traditional precision                                                      then NL exceeds                  TNH
     where      TO is some function Any of a variety of functions may be used                                                            as the function
     TO For example in certain                               embodiments            TNH may be twenty plus three times NH
     and the number of LPHDR                                device may exceed twenty more
                                                         arithmetic elements in the

     than               number of arithmetic elements in the device
             three times the                                            any designed to                                        if




     perform high dynamic range arithmetic of traditional precision As another example in
     certain    embodiments                    the      number of LPHDR                  arithmetic elements                   in    the device          may
     exceed      fifty    more than five times the number of arithmetic elements in the device                                                                 if




     any     designed to perform high dynamic range                                       arithmetic of traditional precision                             As yet
     another example in certain embodiments                                         the    number of LPHDR                     arithmetic elements

     in   the device        may exceed one                      hundred      more than five times the number of arithmetic
     elements        in   the device              any designed to perform high dynamic range arithmetic of
                                                  if



     traditional         precision            As yet another example in certain embodiments the number of
     LPHDR          arithmetic elements in the device                           may exceed one thousand more than five
     times the       number of arithmetic elements in the device                                       any designed to perform high
                                                                                                         if




     dynamic range             arithmetic of traditional precision                              As yet another example in certain
     embodiments               the number of LPHDR                      arithmetic elements in the device                                     may exceed
     five   thousand        more than five times the number of arithmetic elements in the device                                                                     if




     any designed              to   perform high dynamic range arithmetic of traditional precision                                                        Certain

     embodiments            of the            present invention             may be implemented within                               a single physical




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     device      such as but not             limited to      a silicon chip or a chip stack or a chip package                     or a

          board and the number NL of LPHDR elements in the physical device and the
     circuit

     number NH of elements designed to perform high dynamic range arithmetic of
     traditional      precision        in   the    physical    device       may be the total counts         of the respective

     elements within that physical                       device     Certain    embodiments of the present invention
     may be implemented in a computing system including                                    more than one        physical     device
     such as but not            limited     to a collealon          of silicon chips      or chip stacks     or chip packages            or

     circuit    boards coupled              to and communicating               with each     other using     any means such
     as a bus switch              any kind of network               connection         or other means of communication

     and    in this case        the    number NL of LPHDR                   elements in the computing system and the
     number NH            of elements designed to perform high dynamic range                                arithmetic of

     traditional      precision        in   the    computing        system may be the         total     counts of the respective
     elements within all those                    physical    devices       jointly



     0174 Certain embodiments of the present invention may constitute                                          or   may be part of
     processors           which    are devices            capable        of executing    software to perform computations

     Such processors may include                          mechanisms for storing software                 for using   the software

     to determine what             operations to perform for performing those                           operations    for   storing

     numerical data for modifying data according                               to the software specified          operations       and
     for communicating with                  devices       connected         to the    processor      Processors may be
     reconfigurable          devices         such        as without       limitation field programmable
                                                                                  arrays
     Processors           may be co processors to assist host machines or may be capable of

     operating independently of an external host                              Processors      may be formed as a collection
     of component host processors and co processors of various types such as                                             CPUs
     GPUs FPGAs or other processors or other devices which                                         in   the art may be referred

     to as a heterogeneous processor design                               or heterogeneous computing              system some or
     all   of which       components might incorporate the                       same or     distinct    varieties of

     embodiments            of the     present invention



     01751      Embodiments of the                  present invention          may however            be implemented        in


     devices     in   addition        to or other than processors                 For example a computer including                   a

     processor and other components such as memory coupled                                         to the    processor by a data
     path      wherein the processor includes components for performing                                     LPHDR       operations in

     any of the ways disclosed herein                         is   an example of an        embodiment of the present
     invention        More generally any                  device        or combination of devices          whether or not        falling

     within the meaning of a      processor which performs the functions disclosed herein may
     constitute       an example of an embodiment of the present invention


     0176 More generally any of the techniques                                 described     above      may be implemented               for

     example in hardware                    software tangibly stored on a computer readable                      medium
     firmware or any combination thereof The techniques                                    described      above     may be
     implemented           in   one or more computer programs executing                            on a programmable
     computer including               a processor            a storage medium readable by the processor

     including        for example volatile and nonvolatile                            memory andor storage elements                  at

     least     one input device             and     at   least one output        device     Program code        may be applied to
     input entered         using      the    input device          to perform the functions described and to generate

     output     The       output   may be provided                 to   one or more output devices


     01771      Each computer program within the scope                                of the claims below      may be
     implemented           in
                                any programming language                      such as assembly language               machine

     language         a   1143h level       procedural        programming language or an object oriented
     programming language                     The programming language                    may for example be a compiled




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     or interpreted programming              language


     01781     Each such computer program may be implemented                      in   a computer program

     product   tangibly embodied            in   a machinereadable        storage device   for   execution    by a
     computer processor             Method       steps of the invention    may be performed by a computer
     processor executing          a program tangibly embodied on a computer readable                      medium to
     perform functions       of the invention         by operating on input and generating output             Suitable

     processors include         by way       of example both general and special           purpose
     microprocessors         Generally the processor receives               instructions and data from a        read
     only    memory andor a random access memory Storage devices                           suitable for tangibly

     embodying computer program instructions include for example all forms of non
     volatile
              memory such as semiconductor memory devices including EPROM
     EEPROM and flash memory devices                        magnetic disks such as internal hard disks and
     removable disks magneto optical                  disks and CDROtvls Any of the foregoing
                                                                                        may be
     supplemented         by or incorporated in specially designed AS ICs application specific
     integrated       circuits or FPGAs Field Programmable Gate Arrays A computer can

     generally also receive          programs and data from a storage medium such as an internal
     disk   not shown or a removable disk These elements will                     also be found      in   a
     conventional       desktop     or workstation         computer as well as other computers suitable for
     executing        computer programs implementing the methods described                       herein which    may
     be used     in   conjunction    with    any digital    print   engine or marking engine display monitor
     or other raster output         device       capable   of producing   color or gray scale     pixels on   paper
     film display screen          or other output      medium




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     Claims SP2012530966                                 A               2012                Aa




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     Claims not available for J132012530966                          A
     Claims of corresponding                document               US2010325186         Al


     A high quality text as facsimile                          in
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     amongst the following family members


     0A2768731          Al KR20120040197 A US2010325186 Al                                                 W02010148054              A2
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     originating        from other authorities than                   the   EPO in particular                     the    EPO does not
     guarantee          that they   are complete                   uptodate        or fit    for      specific      purposes


     1 1 A device
     comprising a plurality of low precision high dynamic range                                                 LPHDR             execution       units

     adapted       to   execute      in   parallel a first           plurality      of operations on a first                      plurality of input

     signals representing a               first   plurality        of numerical values                     to   produce       a   first   plurality   of

     output    signals representing a second                         plurality      of numerical values

     wherein       for   each of the        plurality         of   LPHDR      execution               units for at least one operation

     that   the   LPHDR         execution         unit   is   adapted       to   execute the dynamic range of the
                                                                                                                                              165000
                                                          5
     possible valid inputs           to    the at least one operation                       is   at   least as wide               as from

     through      65000 and for at least                           of the possible valid                   inputs     to that operation             for at

     least one output                                                                                                        mean over
                                                                                     5
                                 signal produced              by that operation                  the statistical                               repeated
     execution        on the same inputs from the                      at   least                of the possible valid                inputs      to that

     operation          of the numerical values                    represented by the                 at    least one output              signal of the

     LPHDR        unit       executing    that    operation on those inputs                        differs       by   at     least   005 from the
     result of     an exact mathematical calculation                          of    the operation on the numerical values                                   of

     those    same inputs and
     consisting         of at least one high precision execution                             unit      adapted          to   execute        at least one

     second       operation on at least one second                          input    signal representing at least one third

     numerical value            to produce         at    least one       second output                 signal representing at least one
     fourth numerical value

     wherein      the at least one           high precision execution                       unit      is   adapted         to execute        at   least

     one arithmetic operation on floating point numbers that are 32 or more bits wide
     wherein      the    number of LPHDR                  execution         units in the device                   exceeds           by at least 20
     more than          three times the           number of the at least one high precision execution                                              unit




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     2 2 A device
     comprising a first             low precision high dynamic range                   LPHDR            execution      unit   adapted            to

     execute        a   first    operation on a first      input   signal representing a first                  numerical value             to

     produce        a first      output   signal representing a second                numerical value
     wherein
                                                                                               5
                    the dynamic range            of the possible valid         inputs to the            first   operation     is   at    least

     as wide as from               165000       through    65000 and for at least                       of the possible valid



                                                                                   5
     inputs    to   the first      operation      the statistical    mean over repeated                    execution    of the          first


     operation on each specific                  input from the      at   least            of the possible valid         inputs to the
     first   operation           of the numerical values           represented by the           first     output    signal of the
     LPHDR       unit      executing      the   first   operation on that input             differs   by at least      005 from the
     result of      an exact mathematical calculation                     of the   first   operation on the numerical
     values    of that          same input and
     not including              any high precision       execution    units adapted            to   execute       at least one

     arithmetic operation on floating                   point   numbers that are 32 or more bits wide




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     2         4 XI 4 ft                            A                        9    L I        3     A3 1Y                    di it                            X OF                                        4 9               7     r             7 id

9    7 7 7 F                   7                                                                                            RI         E                0    P13                    e 5              4
                                                                                                                                                                                                         s                 ft                      z
                                                                                                                                                                         10
                                              1                                                                                                                                                                                                        Rif




                                                                                                                                            43               u           el   t     II     6     q                    t                  czlifIl       A

     3         ff          1 ft          Ft                                            1 6         111                        <        AE         raZ              rz




9 7 y 7                                       3                     UAt                33          0         X 1t                                                  W

at                                                                                                                                               EX 1              ill   A          C            t       31      tz              9 Lt           RI     X

     4               0 1 01 At                      AI                                 r 6 A

9    7 1                       7 u            1                                                                             listkgftiz                  VIA                   klit4144xmita

                                                          1                                                        209                                                                   2




                                                                                                                                                                                                                                SINGULAR 00001343
 Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 172 of 436

                                                                                                                                                                                                                                                                ORILT              3141282

                         141                 MI it               1                4                t                            01          It          A      to    ie            A111        M         ktf         f      611          01 Pi                  C 6       4        14   Ft 03      IS   1I   Irg




                                                                                                            V 4                                                          t         A                I          A             t                              a   T 6 4              A
                                                                                                                                                                                                    ®it
                                                                                                                                                                                                          1             0                      ft                                             1         11




      ri                     <               IX                  03          A    clz          E            X             <                it                  rk                         2


                  21                   2                         11                       V                         i1 01       11 IR       NIX It 1 rt                                        aded142dmf11ZIn                                                                                          2

                                                       11                                                   1 a           to    Ws                1  115Vbf                                              d                   f                 4111111               0 6       4                   Pk   Ar


                  <                          1st                 tr                       Oti          ti   a            A           a      6                                      r           id   0               r a            4                            If        Ft IA 74      St   it    tr   8

                                        fliE                                      ib      t            PI 21        IX Ms                  31     Et                 Ai            c     a                                   rci   ri          161      1K                st Of St      0 10 X
      Of IC             A P                  71        0 Of              TiE              E            5r ft             git   ft    fa    lilt                                         ial         T 6        4            it     >                    gfxmalt                         <                    tz




      Logarithmic                                            arithmetic                                     L       to    5     MA 1X0                                                                   Do    1                   111         6                          0        a k aY               XIX

      0 of                                             NI        6           tt   C to 4                                 i           X

      Kingsbury                                        and               Rayner                        Digital                      filtering                                      ts               7          4
      using                            logarithmic                                        arithmetic                                Electron                                            az=atav=a1+a                                                                                                    3


      Lett                              vol                              pp5658                             Feb                1971                   toad                               6 4        tni1             a                         14 4r                           L 5                 A          3


      iW      111       a IF                 111             13F                               1
                        Pk             21    Of              kei         gf                                                                                                             zx+log14aim1                                                        x>Y0                                        4

              5Y4       ft             ON                        ff0              xc                   Xi           CU               It     id    1 A                    1              ilit             i0g1ialoxid iy0tinT
      03                 3             iz    ft                                                                                                                                                lyxl                 7                                           6 17           777 7                         7 1

              sdadidadfi                                                                                                                                    ii                     Le    A 0             At    tr   14                                          VE        C        inn                  Riff


                                             sdfitl                                   0   2                                                                          d             0 St it          LI   43    0 a          it     f     Li   it        A                               x      y0

      af1                f                             Ill       tz ti            1 Ft 4               bl   65 t                            It                       d




                                                                                                   3                                                                                                                                                    4

            tz         itt       l4         1                          Os              a      fP       6 a V             PA    Li   a     is     it                                                            ft                             PS it it                    14                 ral        ri   St




            3==1a1yr                                                                                                                                                                    4           jJ                             t      l   t                 314 IN 10               to




                                                                         x>y0                                                                               5                      6    ft          V a         09k                                                  Kurokawa                Payne


                       0                                               k                                                                                                           and         Lee        Error                    analysis                      of       recursive                digi

            z=x+ius11101                                                                                                                                    6                      tai         filters              implemented                                 with          logarithmic


                                            vtr

            x
t           4 a                                                                                                                                            7    1        7         number            systems                           IEEE                                                        Speech
                                                                                                                                                                                                                                                        Transacoust
                       7 1                  71     1 0                                        r        3                       z    UFs                     4 It                       and         Signal           Processing                                  vol           ASSP28               pp706

                                                                                  UxLYA
                                                                       fil                                  3   1




                                                   <                                                                                             t                  1              715              Dec             1980




                                                                                                                                          m7
                                                                                                   ErA
1121FAI                                                                           6           x= yOLUX01tIllid                                                                          a Is             NIA        24 01          IA                           gi        j        9A 01     V X             2

            17         6 4                  id                                    2                                                                    to   O       tf             11 IN       2    Pi                      113i              tt                T    to   4         4        112   7 1 a

6 t1 lz                                     t      it        to        10         V           k 4                                   7 7          7                  7              7 7              7          4                         71                                        7 t             70
                                                                                                                                                       z            flk                 7                M4                 4                       I   o   gx                     C    6    a AD


                                                                                                                Ii             a                                                                                                   4     V              148 41 a                   10   74              14



u           3t                   x           u                                                it1111                 3g             lei                T            6                   51     01        4111t11                   M 03       fig                              2                   ft   If 12



      4                          m ft                        I                    MR                   u             tt        V A to                  Ei                          RC          Et              tZ           5      44                                              D    A 2



                                                                                                                                                                                   J7m1zlt3
                                                                                                                                                 St IC



                                 e                 t                                      11 a I 0                       Er    6    6L1g0                                                                                                                                          M OM 7 1 a

tit         lir        GI        fti                         1                    7                         7   I                         to`    1 6        C                           7           7          7            id     7 1071143                                   710702
                                                                                                  5                                                                          210                                                                        6




                                                                                                                                                                                                                                                                                   SINGULAR 00001344
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                                                                                                                                                                                                                                       OrtiPlz               3141283

                                           x        ax                                                                                                                                                 bEnnoEg                                                   0 1

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rifkM1R1                                                                                                                                                     lft         T          A                                                                 ft    it                   tg       A7

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PA             0 M                            Xr                    0 ft                             A3 A                          tz       A 4
                                                                                                                                                             A     9           P    tt                 IR    L a         to       TAANA                          ft         0                   th



               9    U                                         T                   ft          81     ft      if               X M f1             113
                                                                                                                                                                   P 4                       tz                                            X if       iT         AT   v ft       3



0 A                      ffit         2                       in    A 7 5                     9      t       tt          PA                 to
                                                                                                                                                             51    I A         5
        51     6         A ft                       It        if    A X it                           0 PO X Wa                                   2
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                                              Ili                                             AEI




1                                     7                       9                   M           P                               tr
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                                               i    it                                                                                           tts




t                   Ls   tA     Ls

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AX                                                                                                                                                                                                                                    2    5    5           tt
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                                                              1 3z                                               t            4                                    m           n                       Pti                            2    tt   4                A    U          tn             n



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                                      114                     S it $                          Et
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        X      1    M                 A       Elm   CO        Iff                                                        4         A35
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77
                                11



                                       1                      111114     10                   itrn                       EHvff              Ez


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    102ATTAIITIATZ6                                                                                                      24   3    na       T                      7                T E                      ig          5                                                       Fir




                                      SA                                          m                              1       iP         i            r                 re    Ea



0                        2                    CO                                                                 0                 4        bl   6                             4 0           t    X    tt    51    ft    SI                Pt         if    X Pin oA X
                                       if`g




        111    tz   tt                              EC        tS                                                         E2   45                                         191




                                                                                                    IP       6       2             T             ren




        ti     2         A0 A                 to               5                  41t   Ott   0                          1 IN                                      g                gt                 MX 1A                               ft   X     At    11        fit                 111




5 I                 25          5     751      N                    PI   0 tf                            2       5       4 2 2              5    5                       tZ         1             th         P 4 flit                           lit   7 0             BE    re        s
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0 MI                            Itt                           T                               MI                         r    6    fil      0                            C          <        t

bs      6      5          9     9     to       e5        1     0    0    0        174   tzflJI                           5         0             JO                                                                                                                              aiS            e

                                2      0       e 01LiZrfJI                                                                                        n                f                         <               tf    A to                    C tt                                           7 7


    =    1     4                                                                        ft     2         5       4 t          2    5        5    0            7 5              7                  3                111                     17                    ck   0          a

1F1            tt         9      2    ff             Int                          1     4            ft                  c                                   g            ti                 Z                3


                                th
                                                                                                                                                                               A             0 X
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                                       7
                                                                                                                                                                                     1
               gz




               7 7        7                                                       t      6                       N 1Z T                     4                      M It 0 Ai                           fr3         1Ft                      4          5         tr                             t

t              11   S            Z     Pt            tf        1    El       0 A 77 1 7                                  7 7 1                                et   efi                       AT   4    10     41             it       cr   a                in         It   t                   ag



    7 1                                                                                                                                                       Er   15     5          I            t                17                            4      1




               s                ga     a                 Iv    Et   IA             T 6 6 f8                                             <                                                                      413                               4 2


         511   0           4     41                                          Vs    4           ti        efitt           IN   Ft                  T                                  7                        t                       11        1S f7 4                           11 gs



                                                                    9                                                                                  211                                                                        1   0




                                                                                                                                                                                                                                                                  SINGULAR 00001345
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                                                                                                                                                                                                                                                                                                  3141284

     At PT                 11            1ff             1 4 la Y                       IM        MI it         it       A                 7 7                4                                   ft                  Ic                  il0EttONW                                     Mgt                                      it    LE     tt




                                                                                                                                                                                   t              f 4 4                                   0 1H                      U                  iaigiotte057

           X1    =ailie+ai                               i14 al         3                                                                                                                                                 c 0             6          t 0 75 it 7                       CA    ir                         Xti            Ye
           V1    =a 2          I   X4+822                YO    fa23                                                                                           7                    5         1                                            11               g                  2 0NO13fut
                      7            27                        YOU                       Ei                   4        1              Digit                                          210AMOISsittX1Y1014111L                                                                        V311LtIttfill
 J0ffittoMgML                                                                    XY                                          It     ft01ffigt                                      Xs Yo                             12    I                  Adz               T    ft           HE                  t        t        6 r                tz




     4 2                   OffiftVE±T                                            Ks Y0>trFlig                                          1 4E140                                            T fl            5
                  T                4              A            7                                  8             G k 5                      cr    IfF                                                    2             01        17        V 1 5                              01    0 M                             tz            41    17     lit




     21                            IA77                                                                                                                                            SA    1 6                   Ye     T                              8


          Xitbe                IX +111 01+113                                                                                                                                                                                                                                                              I




           Yabst Xl+bgeYiibz1                                                                                                                                 8                    1I6
                  8                      It                    0 ti                     4 2                                       it       V X                                                                 td         o               Oz   tr   Ft                        ti                    x              Yi    ift
     iii1v01slitttrItIit                                                                         4 1 0                                                             VILE                                                                        7                                       1                                               T
     O 2                           M              +11    411   g            T            4        75                                       it                           x
                                                                                                                                                                                   Z1    ft                               kff                                                 7                                          tp            ft 1




                                                                        C XsYsVT                                                           041                ft       mg                                 8                                                                                                        0

                                                                                                                                                                                                                                          6
                                                                                                                                                                                                                                                                                       irA                ff1




 Utz                       4 C                    Lifftett<                                                     t6 it                            It           +II                            2                  It               I                         it       X it                                                                        tz




     83F11
                  tt                                                                         I
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                                                                    9            iff    di        ft             4       1                                                         11             t 6 Ms                         bs       51   X                              T                4 0 T                             41             7

     Tittla                              4CLIittto                                      ti5MILII011fT                                                                               Ir       I    7 L 1 4                       th             1 9          9       7 9 7                                 7                       3


     I ii                  63                                      tz            4      di        <4                 Xs      Y         s               5           I
                                                                                                                                                                                             9           IVA              A               ts         tt             ifftzPlP6

                                       52 taniffAc                                                                                                            L                           ti      751                     b S a A                          i1       0                  7          r                              Vi             4


                                                                            11                                                                                                                                                                            12
 6 NEM 410E10413i                                                                                                                                                                 I6z                                           tz                        4             WI




          tik   a 0                                      4 2                0           it       41    X                 0 Si                        x             Y              11             km            iff                                  imnit                                    9        c                 <



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                a3                                                                                              4In
 7                        TA            4 1                                 J                    7 7                                            g
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                                   9                               tz            9                                                         4




          a                                                                                                                                                                                      Xi     A                             J             191   T     If           0 T

                                   2                                                                                                                                              A      rz             4             Pd        tt    I
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                          04       1    Ti                                  3   tt     7         F          7 0               11                T                                 7 A                   3                                      1S7S
                                                                                                                                                                                                               11I                                  1$          d            41    ft        k        12           tt


V 0                                Z                                                                                                       5                                      0fttrt                       OBTW1715




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                ffl       it                     Ift                    ft                                               <



 <              t                  Nail                            0 A 11 1                                              4    7         7 L tt                                           X       Alf    IN     3


                          th 17         It                                                                                                                                               1       IX     YE     0 5=                                 1WZSFIX71
          JU                                     g bs                                            Lt         V                              2    5        5         GD                             F                   T         Lt             <          t                                           It                 1       2              I




ft        ft    T 6                4           a                                At               I     T                      k                 It                 IR             4 e 9                  F            Ft        5     C                                 1k
tik       tz              1 0           zik    IC       It     X it X                  X         tz    I5                                       7        it        6              jai    A              lif           l         A                         6             11   N                                     a e 7                      Ek



                                                                                                                                                                                  R                                                                                                                                                    Ck

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                                                                                                                                                                                                              f11
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re        Pi    td                 111eXPj2                             iNV2=expj27t                                                   iNa                                        ta              1            Wrexpi217                                 NIT CI                                     St     0                 T 6           4
ft        T               11N11              E                 tiAas01n413                                                        acDESitti                                       zr     tt      tr     7             T                        St         fi4   2       t                    ft       t 7               N5             X


                                                                        13                                                                                                  212                                                                               14




                                                                                                                                                                                                                                                                                                         SINGULAR 00001346
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                                                                                                                                                                                                     4N PV                                  141285

rif          gl         T      g    6                                                                                                                  2 X                   iz   R2        X2 CD    312      If                   th             Li       4k       it        41 if



       X ht gq 4                                                                                                                      r     0>         0         2           C
                                                                                                                                      1                t                                                           rc               X T

                                                                                                                       P
                                                                                                                                                            tp   ti                                                                                    11




1321   P3 IP            17     43   1 T                    X I ot               crve        6         a                               ZPe         II




 I         1                                       v 6     17             M 41 R 0               P3       0 X T                       P

                                                                                                                                                       8    33   Fff   ft          7                1                               tin                t    tt           77    to




                                                                                                                                                  71
       x2    +y2=R2                                                                                       I        1                              11        0                                                      1111       tt            7          41   6
             1      1         tI    it         1   2       0                     g          k         6       if       L 44                X                                            311   1     3                         hlf           Ill        T        <



                                                                                                                                                                                                                                                            7



       yr±         v           x                                                                          1        2


             1      2         T y        751       r ra    to   BO   51   le                t                 27
                                                                                                                                            R          d    t    3 2R t                 6                  7 2                              7I4                 e 5 7

 32
                                                                                                                                                                       1
                   it   it           1   3

                                                                                                                                      a                    114                     4 4              5 T 6                 6                  7         4                 ti

       yrv                                                                                                1        3

                                                                                                                                      07c                        AttsVatittV13401F0eS6T
             1      3                          T       x0 Obl        6    Rr7                    x        = y

       0 gi ft 2 7 24                          c                     X                      riAUT PA
                                                                                                                                                                                              0 POW T
                                         I>            y        NV         1>


                                                                                                                                      a            h        40   3 IP 0 2                                                                    k                  v              B11




                                                                                                                                                                                                                                        7     6                          1X    0
       113         31                    6     1       T        6                it         y=x06
                                                                                                                                      7     rl     7             71    ti    41         T           41             0 Pi 01                             f4142ft

                                                                                                                                      d     t f        6k 361RP111                                  y                                   1
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                   it   tic    Pi        tt

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                  5T6 14071332                                                                   g6                                   5 T 6            4               8     6


       7     8                x          y r 6 6                e                     01 it      1 6                                       411h                  rg          $P         44               2                T 11      5       4

                                                                                                                                                            T    Li    R2    ti   tit   tz               g                T         T                  x    0            TR    13



r2     7     h    1 5 k                  5 T 6         6                                                                                          541lie               R2x20417444301tXtn                                                         5                 x            TF




                                                                                                                                      77   re          1         11          x          1 01 2           41                                                     IU

                                                                                                                                                                                                                                                       6                 011

       2          T 6         6                                                                                                                   1+             7           r                7                    103              if      3               R2           x2 0

                                                                                            ylt2                           se                     Pi   0                          P           iggcomx                          ogretnm e



             0    Iff   X 0 2 Pk                       1        R                     T X        rft      T 6 4                                   A 2            T           6          If7   Xt yi 4 1                                                8    7


X 8 RI            tz          1 C                  8   1                  PP                ri    5           1            5          24   PXkiie                      b          2                                Pt               tz5T6 5
                                                                           RDRIIR                                  Mit                     41               9    9     7          1                      U                                  1                            7 7

                                                                                                                                      7f7                              3                                 B                H A               T               5
x                             ri           cgsR2t               4               ri    tit                              T   Lk         11   43     2 2 T                                 8     8


                                                                                                                                                                                                                          8   9                        x    = y




                                                                          8     4           CI    x                                                         k                     M o             4                       ZAU27007
                                                                     8    5                                   x


                                                                                                                                                                                                                                                       2
                                                                                            II



Y            7 7        7 5              7                 A                    9     7 9 7 5                              7               i<t    43                   ffi   e                111                                       T it                             ft    IA




                                                           7                                                                    213                                                               18




                                                                                                                                                                                                                                    SINGULAR 00001347
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                                                                                                                                                                                                     MN 3141286

          ZJøU
i                        IIt              V AR itEERC6660it
                                                    flb4kZ5                                                                                                                                                                                   ill   tf      0



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                         31                                                                         it             72               if         d           A 00 7                                                   4 7 a t 7

                                          1YiWøU1ft
                                                                                                                                         Nil




6        43   011   0                                                                                                               0    JO    4                m           ge        iff   tz                                          AP
                    4 e        c    5     at   it         Jr    E if       11   4 01      191   0 It Ye 10 Vi                            111   yj                    t           ft   fit   0 111              12       0 21      flt         flt   Wc



         77   6     4          t                          441   ti   A          r               7 e

A At          17    ti                         G A fR                Ytc   c 0 A re m                                               tt   6

e 6 6                                                                                                                                4         l11         0    NI    411        Bt   Nil




                         oil   0 0                                                                                                       It          ig1   11   fit              0 II                          tA   2   121       n           5E    fif




                    sE         t               IA   40                              741         f        ft   0 =r                       P X a LZ                           ft0Z12                                            0   lie   biZ




                                                                                                                                     31NityllikGpriftiel0401ffa011
▪                   12 01      0 I             14   111                                                                             VE         V 4              it               0 tf                    Oty   re       a               121         tC          5


                    1 6 It                tz              T                                                   Z                     0 4              it    CD                    83   g             0 gi                       Xs       Yu                          T




                                                                                                                                                                                             ifft
                                    iff                                             lit                                                        it                     PI                                                111                               11i




4        0 r             1$         0 SI            11    7                     7         7         4                               A 0        PA3i                                         s                  8              0                             Pk


                                                                                                                                                                                                               J
                               II                                                                                  tWr                                                                              im   Li             Fq        161




Ft 11         7 t              Y 7             7          7          b1                   <                   0                                74               fftelfhh4                                               8     3   P3    0           E 7

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y e
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    fl   C

                               2          3         4                                                                                                                                       VF                 A                              Z

              gt    P 0             LI    4t ofi                     rt                   c         ki   it   RA




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                                                                       DA =                                                              181M r                                  r


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                                                              44IMPF     3141287




                                         41       mg                42    pwtog


                                                         5J

                                              5
                                                         52
                                                  2Thl




                                                                5   1



                                                                52       tliFA




                                           52            52




                                 215


                                                                         SINGULAR 00001349
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                                                                                          441$4   3141288


                                                       6    M




                            61   611 61

                                                       16




                                 I




                                     61             gi LC




                                     V 7 ig



                                                            171
                                     y       R


                                     d4 3 2R
                                                            NO
                                             X cY



                                     YES




                                     1
                                                                                   X =Y




                            L Axy7                     ci71
                                                                    r
                                                            YES
                                             d <0     =>                       7

                   dd+4xy+10                     74
                                                                  +d +4 x +6
                   y y1
                                                              d
                                         I




                                             7
                      x4   x+1




                                                 216


                                                                                                   SINGULAR00001350
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                                                        WM 3141289




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                                                                SINGULAR 00001351
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            Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 180 of 436



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                1111111111111
                     WISE=
                                        space net

     Bibliographic                       data             J13110314128                               A         19910122



     ARITHMETIC                 MT UT ILI2iNG LOGARITHMIC EXPRESSION                                                         NUMERICAL VALUE



     Inventors                                        KUROKAWA                             TOM10 ± KUROKAWA TOM                  0
     Applicants                                       KUROKAWA                             TOM10 ± KUROKAWA TOM                  0
     Classification                                       international                             G06F700 G06F776           1PC17 G06F700
                                                          cooperative

     Application            number                    JP19890151108                                 19890613


     Priority    numbers                              Pi 9890151108                                 19890613




     Abstract of JPH0314128                                A

     PURPOSETo                   increase           arithmetic                   speed
     and also to decrease                      an arithmetic error
     by converting              input    data to a logarithmic

     expression numerical value                             by using an
     input    look   up table            inputting               it        to   an
     arithmetic unit converting                           the          result of           its


     operation       to    the        number of fixed points by
     using    an output               look   up table                 if
                                                                            necessary
     and outputting              it    CONSTITUTIONInput
     data    fixed point              data etc              is        converted                to

     a loaarithmic expression numerical value                                                                     1


     hv isrc          n ihrmt          lkr                thli              I   ind

     inputted    to    an arithmetic unit 2 utilizing                                      a

     logarithmic expression numerical value

     arithmetic       method Subsequently                                        an

     operation       is    executed            by the arithmetic
     unit   2 and the result of                     its   operation                   is


     converted        to    the       number of fixed points or
     the    number of floating points by using an
     output    look    up table 3              if
                                                    necessary                        In

     such a manner a special                              logarithmic

     analog     amplifier and an exponential

     analog     amplifier are not required                                      and by

     adding     this      arithmetic unit to the digital                                   device      of an existing     computer   etc the
     processing           at    high speed and with high accuracy                                         is   realized




 ttpAvorldwideespacenetcompublicationDetailsibiblieDBworldwideespacenetcoml                                                                        622015
                                                                                                                                               SINGULAR 00001352
              Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 181 of 436
                                           Electronic        Acknowledgement                 Receipt


                         EFS ID                                 22738522




                 Application     Number                          13849606




        International    Application       Number


                Confirmation      Number                        6059




                   Title of   Invention                         Processing    with   Compact Arithmetic          Processing          Element




      First   Named InventorApplicant           Name            Joseph     Bates




                  Customer Number                               24208




                          Filer                                 Robert PlotkinKaren      Del Greco




                  Filer Authorized     By                       Robert Plotkin




               Attorney Docket      Number                      A0006 1001C2



                     Receipt Date                               25 JUN 2015




                       Filing Date                              25   MAR 2013


                      Time Stamp                                 130756



                   Application Type                             Utility   under 35 USC   111a



Payment information

Submitted with Payment                                          no



File Listing


 Document                                                                                            File Size Bytes                       Multi       Pages
                      Document      Description                        File   Name
  Number                                                                                             Message Digest                      Part   zip   if   appl

                                                                                                                 62596
                Information   Disclosure   Statement   IDS            rplotkincom
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                               Form 5608                      A00061001C2IDS1449pdf
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Warnings

Information




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                       Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 182 of 436
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characterized            by the applicant and including page counts where applicable                                              It   serves as evidence                                        of receipt     similarto a

Post Card as described                   in   MPEP 503


New Applications Under 35 USC 111
                                                               and the application                                                                                                                 date see 37 CFR

               d
If   a   new application           is   being       filed                                      includes     the   necessary components                           for a filing

153b                   and MPEP         506 a Filing Receipt 37 CFR 154 will be issued in due course and the date shown on this
Acknowledgement                    Receipt      will    establish           the filing      date of the application



National          Stage of an International Application under 35                                  USC 371
If   a timely submission to enter the national                                stage of an international application                       is   compliant with the conditions of 35
USC 371 and other applicable                             requirements a Form PCTDOE0903                               indicating          acceptance of the application as a
national         stage submission under 35                          USC 371          will   be issued     in   addition to the Filing Receipt                                in      due course


New International                Application            Filed with          the USPTO as a Receiving Office

If   a   new international              application            is   being    filed   and the international application includes the necessary components                                                                   for

an international               filing   date see PCT Article 11 and MPEP                           1810 a Notification of the International                                                      Application     Number
and of the International Filing Date Form PCTRO105                                               will    be issued   in   due course subject                           to prescriptions concerning

national security               and the date shown on this Acknowledgement                                       Receipt   will   establish              the international                             filing    date of

the application




                                                                                                                                                                                                     SINGULAR 00001354
                  Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 183 of 436
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   APPLICATION     NO             FILING   DATE                   FIRST NAMED    INVENTOR             ATTORNEY         DOCKET NO                 CONFIRMATION       NO

      13849606                     03252013                             Joseph   Bates                      A0006100IC2                                   6059



      24208                7590               01262015
         Robert Plotkin     PC
         15   New England    Executive     Park                                                                                 YAARY MICHAEL D

         Burlington     MA 01803

                                                                                                                     2193




                                                                                                         NOTIFICATION            DATE              DELIVERY      MODE

                                                                                                               01262015                                ELECTRONIC



Please find below           andor attached          an Office communication                 concerning   this      application               or proceeding



The time period          for reply if      any is set in the attached communication


Notice        of the    Office    communication          was   sent   electronically        on above indicated             Notification                 Date       to   the

following       email addresses

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PTOL90A Rev 0407




                                                                                                                                               SINGULAR 00001355
                             Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 184 of 436
                                                                                                                                           Application                      No                                     Applicants
                                                                                                                                            13849606                                                               BATES JOSEPH

                           Office Action                             Summary                                                               Examiner                                                                Art Unit                AIA First    Inventor to File


                                                                                                                                           MICHAEL                     D YAARY                                     2193
                                                                                                                                                                                                                                           Status

                                                                                                                                                                                                                                           No

                       The MAILING                      DATE         of        this    communication                          appears on the cover sheet with the correspondence                                                             address
 Period for Reply


         A SHORTENED                         STATUTORY                           PERIOD FOR REPLY                                          IS    SET TO EXPIRE                               3   MONTHS FROM THE MAILING DATE OF
 THIS COMMUNICATION
             Extensions      of   time may        be available            under the      provisions         of   37     CFR       1136a              In   no event           however       may   a reply be timely filed
            after   SIX    6 MONTHS from the                      mailing
                                                                               date    of this     communication

            If   NO period       for reply   is   specified        above        the   maximum statutory                  period     will   apply          and   will    expire     SIX   6 MONTHS from the mailing date                of this   communication

            Failure   to reply      within    the      set or   extended         period
                                                                                             for
                                                                                                   reply    will    by statute cause the application to become ABANDONED                                           35 USC § 133
            Any reply received by the Office                              than three         months                the mailing date of this communication even                                                            reduce
                                                                  later                                    after
                                                                                                                                                                 timely filed
                                                                                                                                                                                                  if

                                                                                                                                                                                                                   may             any
            earned patent term adjustment                         See     37 CFR        1704b




          1
 Status

                      Responsive                  to    communications                                filed        on      07302013
                  LI A declarationsaffidavits                                            under 37 CFR                         1130b                       waswere                  filed    on

        2an         This action               is       FINAL                                               2bZI              This action                   is    non final

         30         An      election          was made by the applicant                                             in     response                  to    a     restriction               requirement           set   forth     during      the interview            on

                                     the      restriction                 requirement                     and election have                               been incorporated                            into this   action

         40         Since          this      application                  is   in     condition             for       allowance                 except                 for       formal     matters prosecution                    as to the merits is

                    closed          in     accordance                     with the practice                        under Ex parte Quayle 1935                                                CD 11453 0G 213
 Disposition               of     Claims

         5i4        Claims 142 isare pending                                                in    the      application

                    5a Of the              above claims                                             isare withdrawn                         from consideration

         61E1       Claims 915 and 2632 isare allowed



         8
         7121       Claims 11618 and 33 isare rejected

                    Claims 281925 and 3542 isare objected to

         90         Claims                                are subject                  to    restriction                andor              election              requirement

   If
         any claims         have been determined                               allowable you                     may         be   eligible           to    benefit               from    the Patent        Prosecution           Highway program            at    a


 participating         intellectual           property             office        for    the corresponding                         application For                           more information please see

 httpmwusptoqovipatentslnit                                          eventsipphlindexjsp                              or     send an            inquiry          to     PPHfeedbackOusptogov


 Application               Papers

        100 The specification
                                                                                                                             a
                                                             is    objected             to       by the Examiner

        11E1 The drawings                               filed       on      03252013                      isare                            accepted                    or     b1=1 objected               to   by the Examiner

                    Applicant            may not             request           that     any objection                   to    the    drawings be held in abeyance                                              See 37 CFR        185a
                      Replacement                 drawing           sheets              including               the correction                  is   required               if   the    drawings          is   objected    to    See 37 CFR          1121d

 Priority         under 35               USC § 119
        120 Acknowledgment                                   is    made of a claim                          for     foreign            priority             under 35                   USC § 119a                  d      or   f
         Certified          copies

                 a0        All        bn Some c0 None                                                 of    the

                      10            Certified             copies            of   the        priority            documents                   have           been received

                    20              Certified             copies            of   the        priority            documents                   have           been received                     in        Application       No
                    30              Copies              of   the certified                  copies           of    the        priority          documents                         have      been received              in this     National        Stage

                                   application               from the International                                   Bureau               PCT             Rule          172a
        See the attached              detailed           Office           action       for       a list    of    the     certified          copies              not received




 Attach     ments
 1 El Notice          of   References             Cited      PTO 892                                                                                                   3 11 Interview                  Summary PTO 413

                                                                                                                                                                                    Paper    NosMail Date
 2 iLJ Information               Disclosure            Statements                PTOSB08a andor PTOSB08b
                                                    08242013                                                                                                           4            Other
            Paper     NosMail              Date

US Patent    and Trademark        Office

PTOL326          Rev 1113                                                                                   Office Action            Summary                                                                       Part   of   Paper   NoMail     Date 20150120




                                                                                                                                                                                                                                            SINGULAR 00001356
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                                                  DETAILED    ACTION




        Claims 142 are pending               in   the application




                                                  Double Patenting


2       The nonstatutory          double patenting rejection           is   based on a judicially created


doctrine    grounded      in   public policy      a policy reflected        in   the statute so as to prevent the



unjustified   or improper tinnewise extension of the right to exclude granted                              by a patent


and to prevent possible harassment                  by multiple    assignees            A nonstatutory     double



patenting     rejection   is   appropriate     where the claims        at issue are not identical           but at least



one examined       application      claim    is   not patentably    distinct from the reference             claims


because the examined             application      claim is either anticipated            by or would have been

obvious over the reference            claims See          eg      In   re   Berg 140 F3d 1428 46 USPQ2d


1226   Fed Cir 1998 In re Goodman 11 F3d 1046 29 USPQ2d 2010 Fed Cir

1993 In re Longi 759 F2d 887 225 USPQ 645 Fed Cir 1985 In re Van Omum

686 F2d 937 214           USPQ 761 CCPA 1982 In re Vogel 422 F2d 438 164 USPQ 619

CCPA 1970 and In re Thorington                      418 F2d 528 163               USPQ 644 CCPA 1969

        A timely filed terminal disclaimer in compliance                         with   37 CFR 1321c        or   1321d

may be used to overcome an actual or provisional                       rejection        based on a nonstatutory


double patenting      ground provided the reference                application          or patent either   is   shown   to




                                                                                                                 SINGULAR 00001357
        Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 186 of 436


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Art Unit     2193


be commonly owned             with this application           or claims an invention             made as a result of


activities   undertaken       within the      scope    of a joint     research agreement             A terminal


disclaimer must be signed              in   compliance       with   37 CFR 1321b


          The    USPTO      internet    Web site contains terminal disclaimer forms which may be

used      Please    visit   httpwwwusptogovforms                        The filing date of the application               will




determine what form should be used                      A web based           eTerminal      Disclaimer         may be filled

out completely       online    using web screens              An eTerminal           Disclaimer     that   meets all


requirements is auto processed and approved                           immediately upon submission                   For more



information      about eTerminal            Disclaimers refer to



httpwwwusptogovpatentsprocessfileefsguidanceeTDinfoljsp


          Claims 1      1618      and 33 are rejected on the ground                     of nonstatutory         double



patenting     as being unpatentable             over claims         1 36 and 33 of US Patent No

8407273          Although the claims at issue are not identical they are not patentably                                  distinct



from each       other because         the claims are directed              to the   same limitations The only


differences      between      the claims are minor wording                  differences




              Application      13849606                                              US Patent 8407273


Claim           A device    comprising                              Claim 1         A device


at least   one first low precision           high                   comprising        at least   one first low precision


dynamic      range     LPHDR execution unit                         high    dynamic range          LPHDR execution

adapted      to execute     a first   operation       on a          unit adapted        to execute    a first    operation


first   input signal   representing         a first                 on a first      input signal   representing      a first




                                                                                                                     SINGULAR 00001358
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numerical     value to produce a first output                  numerical    value to produce       a first output


signal    representing       a second numerical                signal   representing     a second numerical


value                                                          value


wherein     the dynamic        range of the possible           wherein the dynamic        range of the


valid   inputs to the first     operation      is   at least   possible valid inputs to the first operation


as wide as from            165000 through 65000                is   at least as wide as from     165000

and for at least      X=5 of the possible valid                through    65000 and for at least X=5 of


inputs to the first        operation the statistical           the possible valid inputs to the first



mean over repeated             execution of the first          operation the statistical       mean over

operation     on each       specific   input from the          repeated    execution     of the first   operation


at least   X      of the possible      valid   inputs to       on each     specific   input from the at least



the first operation of the numerical                values     X     of the possible    valid inputs to the first



represented       by the first output signal of the            operation of the numerical         values


LPHDR unit executing             the first operation           represented     by the first   output signal of


on that    input differs by at least        Y=05               the   LPHDR unit executing the           first




from the result of an exact mathematical                       operation    on that   input differs by at least



calculation    of the first     operation      on the          Y=05 from the result of an exact

numerical     values of that      same input and               mathematical      calculation    of the    first




at least    one    first    computing     device               operation    on the numerical values               of that




adapted     to control        the operation         of the     same input


at least    one    first    LPHDR execution            unit



Claims1618            A device comprising                      Claim 36      A device




                                                                                                                SINGULAR 00001359
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a plurality of      components comprising                     comprising      at least   one first low precision


at least    one first low precision      high                 high   dynamic range         LPHDR execution

dynamic      range     LPHDR execution unit                   unit adapted      to execute     a first operation


adapted      to execute    a first   operation      on a      on a first    input signal   representing           a first


first   input signal   representing     a first               numerical      value to produce      a first      output


numerical      value to produce a first output                signal   representing      a second numerical


signal    representing     a second numerical                 value


value                                                         wherein the dynamic          range of the


wherein     the dynamic        range of the possible          possible valid inputs to the first operation


valid    inputs to the first    operation     is   at least   is   at least as wide as from 165000



as wide as from        165000 through 65000                   through      65000 and for at least X=5 of

and for at least       X=5 of the possible valid              the possible valid inputs to the first



inputs to the first     operation the statistical             operation the statistical        mean over

mean over repeated             execution of the first         repeated      execution    of the first   operation



operation     on each     specific   input from the           on each      specific   input from the at least



at least    X    of the possible      valid   inputs to       X      of the possible     valid inputs to the first



the first operation of the numerical               values     operation of the numerical          values



represented      by the first output signal of the            represented      by the first output signal of


LPHDR unit executing            the first operation           the    LPHDR unit executing the           first




on that    input differs by at least       Y=05               operation     on that   input differs by at least



from the result of an exact mathematical                      Y=05 from the result of an exact

calculation     of the first   operation      on the          mathematical       calculation    of the    first




                                                                                                                SINGULAR 00001360
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    Art Unit    2193


    numerical     values of that           same input                    operation       on the numerical values           of that



    the plurality of        components              are                  same input


    arranged      in   a stack                                           wherein the number of LPHDR execution


1


     he number of LPHDR execution                        units in        units in the device         exceeds the     non

    the device     exceeds by at least one                               negative       integer   number   of execution



    hundred the non negative                integer       number         units in the device         adapted to execute at


    of execution       units in the device           adapted        to   least the operation         of multiplication     on


    execute at least the operation                  of                   floating   point   numbers      that are at least      32


    multiplication     on   floating       point    numbers              bits    wide


    that are at least       32   bits   wide


    Claim 33       A device comprising a                                 Claim 33        A device comprising a


    computer processor and a computer                                    computer        processor and a computer


    readable     memory storing computer                                 readable       memory storing computer


    program      instructions       wherein the                          program        instructions   wherein      the



    computer program             instructions        are                 computer        program     instructions   are


    executable     by the processor            to emulate       a        executable       by the processor to emulate a


    second device comprising                                             second device comprising


    a plurality of components                  comprising                at least   one first low precision high


    at least   one first low precision high                              dynamic range            LPHDR execution unit

    dynamic      range     LPHDR execution unit                          adapted        to execute    a first operation     on a


    adapted     to execute       a first    operation        on a        first   input signal     representing   a first


    first   input signal    representing           a first               numerical       value to produce      a first    output




                                                                                                                          SINGULAR 00001361
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numerical     value to produce a first output               signal   representing     a second numerical


signal    representing    a second numerical                value


value                                                       wherein the dynamic        range of the


wherein     the dynamic       range of the possible         possible valid inputs to the first operation


valid   inputs to the first    operation    is   at least   is   at least as wide as from     165000


as wide as from       165000 through 65000                  through    65000 and for at least X=5 of

and for at least    X=5 of the possible valid               the possible valid inputs to the first



inputs to the first   operation the statistical             operation the statistical       mean over

mean over repeated            execution of the first        repeated    execution     of the first   operation



operation     on each    specific   input from the          on each     specific   input from the at least



at least   X    of the possible     valid   inputs to       X     of the possible    valid inputs to the first



the first operation of the numerical             values     operation of the numerical         values



represented     by the first output signal of the           represented     by the first   output signal of


LPH DR unit executing          the first operation          the   LPH DR unit executing       the first


on that    input differs by at least      Y=05              operation    on that   input differs by at least



from the result of an exact mathematical                    Y=05 from the result of an exact

calculation    of the first   operation     on the          mathematical      calculation    of the   first




numerical     values of that     same input                 operation    on the numerical values              of that



                                                            same input




                                                                                                          SINGULAR 00001362
    Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 191 of 436


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                                                Conclusion


       Any inquiry concerning         this communication             or earlier communications                from the


examiner should be directed         to   MICHAEL        D YAARY whose telephone                       number       is




5712701249            The examiner can normally be reached on Mon Fri 9 am530                                       pm
       If   attempts to reach the examiner by telephone                        are unsuccessful        the examiners



supervisor Chat       Do can be reached on 5712723721                            The fax phone number              for the



organization    where   this application     or proceeding           is   assigned     is   5712738300

       Information      regarding   the status       of an application           may be obtained         from the



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MICHAEL D YAARY
Primary Examiner Art Unit 2193




                                                                                                                   SINGULAR 00001363
         Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 192 of 436


                                                                       Application        Number            13849606

                                                                                     Filing      Date       3252013
    INFORMATION DISCLOSURE                                            First   Named       Inventor          Bates
     STATEMENT BY APPLICANT
                                                                                          Art Unit          2193

                                                                               Client     Number A0006

                                                                              Matter Number                 100102



                                       FOREIGN PATENT DOCUMENTS

      ia IS   Cite    No     Document Number                          Publication     Date                           Country

   MY             1              H06075986                                03181994                                          p




  Examiner Signature          Michael Yea                                 Date Considered                       01202015
Examiner Please initial if citation considered whether           or not   citation   is   in   conformance          with   MPEP Section
609 Please draw a line through the citation   if is not
                                                   it            in   conformance     and       it   is   not   considered      Please include
a copy of this form with the next communication         to the   applicant



SyncIDScom




                                                                                                                                  SINGULAR 00001364
                 Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 193 of 436


                                                                                               Application               Number 13849606

                                                                                                                   Filing Date               3252013
         INFORMATION DISCLOSURE                                                             First        Named           Inventor            Bates
         STATEMENT BY APPLICANT
                                                                                                                         Art Unit            2193

                                                                                                           Client        Number A0006

                                     Page 2 of 2                                                           Matter        Number 1001C2



                                                                                 GENERAL
 Pursuant        to   37   CFR 197 and 198 and                to   the duty of disclosure       set forth         in   37   CFR 156 the Examiner                      in   charge   of

the     above identified application             is   requested     to   consider   and make        of   record        the references          listed    herewith     A copy of each
 listed    reference other than            US patentsapplications              and references            cited   in a    parent       application        is   enclosed


Although         the information         submitted     herewith     may be material       to    the      Examiners consideration                    of   the subject       application
 this   submission is not intended               to   constitute   an admission that such information                       is   prior art as       to   the claimed       invention



 In   accordance           with 37   CFR 197g the               filing
                                                                         of this Information    Disclosure             Statement           shall   not be construed         to   mean
that     a search      has been made




                                                                                    TIMING

In    accordance            with   37   CFR 197b this Information                    Disclosure           Statement              is   being filed within three months of
the     filing   of a national          application     other      than a continued       prosecution              application            under 37 CFR               153d
                                                                                                                                                                  within

three months of the date of entry of the national stage as set forth in 37 CFR 1491 in an international
application before the mailing of a first Office Action on the merits or before the mailing of a first Office Action
after the filing           of a    request for continued            examination       under 37           CFR 1114



                                                                   CERTIFICATION            STATEMENT
No certification             statement      is   required       This Information        Disclosure               Statement            is   being    filed     in   accordance       with

37     CFR 197b



                                                                                      FEE
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                                                                                SIGNATURE

          Signature         Robert Plotkin            Reg43861                                                           Date         8232013
                 Name        Robert Plotkin           Esq                               Registration              Number              43861

SyncIDScom




                                                                                                                                                                           SINGULAR 00001365
EAST Search History
                           Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 194 of 436




                      EAST      Search        History


                      EAST      Search        History Prior Art



                      Ref       iHits        iSearch   Query                                                DBs          Default   Plurals       Time
                                                                                                            Operator                    Stamp
                      Li        892           low near5 precision         and   high   near5                     PGPUB   OR        ON            20150120
                                        dynamic                                                     j
                                                                                                            USPAT                                1212

                                79           low near5    precision       near10 high near5             1USPGPUB         OR        ON            20150120
                                             dynamic                                                             AT                              1212
                                                                                                        i




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                      L4        79           low near5    precision       near10 high near5             1USPGFUB         OR        ON            20150120
                                             dynamic
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                                                                                                            USPAT                            i   1213

                      L5        18           3O6F7$cpc         and    low near5 precision                   USFGFUB      OR        ON            20I50120
                                             near10 high near5 dynamic                                      USPAT                                1224
                                                                                                            USOCR
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                                                                                                            IBM TDB
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                      L6            3        036F7$cpc         and range and wide and                   i
                                                                                                            USPGFUB      OR        ON            20150120
                            i                mean and    blur                                               USPAT                                1302
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                      Si        1            lphdr
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                                                                                                            USPGFUB      ADJ
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                                                                                                            USPAT
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                             120             15887160 or 5867683 or                                         USPGFUB      OR        OFF           20120124
                                             5809320 or 5293500 or                                          USPAT                                1348
                                             5226166 or 4380046 or                                          USOCR
                                             5170484 or 5801715 or
                                             5966528 or 6173388 or
                                             6405185 or 6728871 or
                                             6859869 or 7243333 or
                                             20050076187             or   20060031659          or

                                             20070124565             or   20070150698          or

                                             20070247189             or

                                    20080059764PN
                      IS        20           5887160           5867683 or
                                                               or                                           USFGPUB      OR        OFF           20120124
                                             5809320       or 5293500 or                                    USPAT                                1527
                                             5226166       or 4380046  or                                   USOCR
                                             5170484       or 5801715  or

                                             5966528       or 6173388  or

                                             6405185       or 6728871  or

                                             6859869       or 7243333  or

                                             20050076187             or   20060031659          or

                                             20070124565                  20070150698




                                             USPAT
                                                                     or                        or

                                             20070247189
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                                         I   20080059764PN
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                                             S3 and    width    or   wide                               i   USPGPUB      OR        ON            20120124
                                                                                                                                             1527
                      S5        20       i
                                             5887160           5867683 or
                                                               or                                           US   PUB OR            OFF           20120206
                                             5809320       or 5293500 or                                    USPAT                                1038
                                             5226166       or 4380046  or                                   USJR
                                             5170484       or 5801715  or

                                             5966528       or 6173388  or

                                             6405185       or 6728871  or

                                             6859869       or 7243333  or

                                             20050076187             or   20060031659          or

                                             20070124565             or   20070150698          or




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                                                                                                                                                   SINGULAR 00001366
                      USPAT
EAST Search History
                            Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 195 of 436
                                                                  or

                                      11200702471892            PN



                      USOcR
                                        20080059764                                                                        1



                                      i
                                          S5 and precision                                        USPGPUB       OR   ON        20120206
                                                                                                                           11042

                      S7       H1         20100325186PN                                           USPGPUB
                                                                                                  USPAT
                                                                                                                OR   OFF   120120206
                                                                                                                           11046




                      USPAT
                                                                                                  USPGPUB       OR   ON        20120206




                      USPAT
                      S8        13    1S5 and width or wide
                                                                                                  USPAT                    11102

                      S9        6i        S8 and precision                                        US        B OR     ON    120120206
                                                                                                                           11102

                       10 122628      1   low near5   precision                                   US        B OR     ON        20120206
                                                                                                                           11410

                      Si 1     1632   1   low near5   precision          and   high near5         US        B OR     ON    120120206
                                      i

                                          dynamic                                                 USPAT                    11411

                           2 r59      ilow near5      precision          near10 high near5        US        B OR     ON        20120206
                                      i
                                          dynamic                                                 USPAT                    11411

                           3 146      1
                                          low near5   precision          near10 high near5        US        B OR     ON    120120206
                                Idynamic            and       signal$1                            USPAT                    11411

                       14 14323       1   708das         or   712clas          or   382clas       US        B OR     ON        20120206
                                      1and    parallel    near5 execution                         USPAT                    11504

                       15 1611        1   708das         or   712clas          or   382clas       US        B OR     ON        20120206
                                            d parallel near5 execution               and   mean   USPAT                    11505

                       16 1140        1   708das         or   712clas          or   382clas       US        B OR     ON    120120206
                                      1and    parallel    near5 execution            and   mean   USPAT                    11505
                                      1and    precision

                       17 128         1
                                          708das         or   712clas          or   382clas       US        B OR     ON        20120206
                                       and parallel near5 execution and                    mean   USPAT                    11505
                                      1and high or low near5 precision

                       18       1
                                      1   20080276232FN                                           US        B OR     OFF       20120206
                                                                                                  USPAT                    11531
                                                                                                  USOcR

                      S19       1
                                          7549145FN                                               US                       120120206
                                                                                                  USPAT                    11534
                                                                                                  USOR
                           0    682       382255ccls                                              US             R   ON        20120207
                                                                                                       AT                  11034




                                          USPAT
                      S21       494       382255ccls      and     range                           US        B OR     ON    120120207
                                                                                                  USPAT                    11035

                      2         208       382255ccls      and     range and         wide          USPGPUB       OR   ON    120120207
                                                                                                                           11035

                           3 186      1382255ccls         and     range and         wide and      USPGPUB       OR   ON        20120207
                                      1Tmean                                                      USPAT                    11035

                           4 142      1382255ccls         and     range and         wide and      USPGPUB       OR   ON        20120207
                                pearl and




                                          USOCR
                                                      blur                                        USPAT                    11035

                           5 192      1708clas           or   712das           or   382das        USPGPUB       OR   ON        20120207
                                      1and    parallel    near5 executionclm               and    USPAT                        1037
                                      1mean

                           6   11     120080276232PN                                              USFGPUB       OR   OFF       20120207
                                                                                                  USPAT                    11050




                      1
                      5351            18150902PN                                                  USPAT         OR   OFF       20121114




                                                                                                                     I
                                                                                                                           10941




                                                                                                  II
                                696   1low near5      precision          and   high near5         US        B   OR   ON    120121115
                                                                                                                           11038
                               1dynamic                                                           USPAT



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                                                                                                                                  SINGULAR 00001367
EAST Search History
                            Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 196 of 436
                      S37        63             low near5     precision          near10 high near5      1USPGFUB       OR         ON        20121115
                                                dynamic                                                 I   USPAT                           1039

                      1$8        2              low near5     precision          near10 high near5          USPGFUB    OR         ON        20121115
                                 dynamic and fpga                                                           USPAT                           1039

                      1$9        2              low near5 precision near10 high near5 1USPGFUB                         OR         ON        20121115
                                                dynamic and 708clas                   1USPAT                                                1039

                      S40        20             5887160            or  5867683 or                           USPGPUB    OR         OFF       20121115
                                                5809320            or 5293500 or                            USPAT                           1040
                                                5226166            or 4380046  or                           USOCR
                                                5170484            or 5801715  or

                                                5966528            or 6173388  or

                                                6405185            or 6728871  or

                                                6859869            or 7243333  or

                                                20050076187             or       20060031659       or

                                                20070124565             or       20070150698       or

                                                20070247189             or

                                                20080059764PN
                                                                                                                                  OF
                                                                                                                                  1040
                      S431                      8407273FN                                                      AT      OR                   20150120
                                                                                                            USOR

                      EAST       Search          History Interference


                      Ref iHi s ilSearch                  Query                                                DBs     Default    Plurals   Time

                      LLJI             I                                                                               Operator             Stamp
                      S27        60    1708clas              or 712clas             or 382clas     and         USPAT   OR                   20120207
                                       z
                                               parallel   near5 execution          clm and mean                UP                           1037

                      S28        8     i
                                               708 clas or 712clas or 382clas                      and         USPAT   OR         ON        20120207
                                                                                               meanclm         UPAD                         1037
                                       z

                                       z       parallel   near5 executionclm             and

                      S28        0             708clas       or    712das          or   382das     and         USPAT   OR                   20120207
                                               parallel   near5 executionclm             and   meanclm         UPAD                         1038
                                               and   precisiondm

                      S30        6     1708clas or 712clas or 382clas                              and         USPAT   OR         ON        20120207
                                        meanclm and precisionclm                                               UPAD                         1038
                                       $
                                       I




                      S31        1     1708clas              or    712das          or   382d as and            USPAT   OR         ON        20120207
                                      1                                                                        UPAD                         1039
                                       z


                                               low near3 precisionclm

                                                                   712das
                                                                                                                                  1039
                      532        0     1708clas              or                    or   382das     and         USPAT   OR         ON        20120207
                                               low near3     precisionclm           and deblurclm              UPAD

                      533        12    1708clas              or    712clas         or   382clas    and         USPAT   OR         ON        20120207
                                               low near3     precisionclm           and high    near3         IUPAD                         1040
                                               precision

                      S34        8     1708clas              or    712das          or   382das     and         USPAT   OR         ON        20120207
                                           ilow near3        precisionclm and            high near3            UPAD                         1040
                                           i




                                           precisionclm

                      S41        528   1708clas              or    712das          or   382d                   USPAT   OR         ON        20121115
                                       1parallel          near5 executionclm                                   UPAD                         1043

                      S42        528   1708clas              or    712clas         or   382clas    and         USPAT   OR         ON        20121115
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                                       z
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                                                     ll   near 5   execution i
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                                                                                    l                          UPAD                         1043


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                 Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 197 of 436Page                                                                                        1   of   1




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      BIB        DATA SHEET
                                                                                                                                      CONFIRMATION                      NO 6059

  SERIAL              NUMBER                        FILING           or   371c                      CLASS            GROUP ART UNIT                        ATTORNEY          DOCKET
                                                              DATE                                                                                                      NO
           13849606                                         03252013                                  708                     2193                            A0006 1001C2

                                                              RULE

      APPLICANTS
            Singular        Computing                  LLC Newton                MA Assignee with 37 CFR 1172 Interest
      INVENTORS
            Joseph Bates Newton                              MA
      CONTINUING                DATA
           This application                 is     a CON of 13399884         02172012 PAT 8407273
                       which         is    a CON of 12816201              06152010 PAT 8150902
                       which claims benefit                      of 61218691  06192009

      FOREIGN APPLICATIONS

      IF   REQUIRED              FOREIGN                    FILING        LICENSE            GRANTED             SMALL ENTITY

 Foreign   Priority   claimed                   11 Yes      lirNio
                                                                                                     STATE OR         SHEETS                TOTAL                     INDEPENDENT
35    USC 119a    d     conditions        met   0 Yes El No                      Mel after
                                                                                 Allowance
                                                                                                     COUNTRY         DRAWINGS               CLAIMS                       CLAIMS
                            MICHAEL D YAARY
                                                                                                            MA
Verified   and
                                                                            it                                           11                          42                      5
Acknowledged                 Examiners          Signature




      ADDRESS

            Robert Plotkin                  PC
            15   New England                    Executive            Park

            Burlington          MA 01803
            UNITED STATES

      TITLE


            Processing          with        Compact             Arithmetic         Processing        Element


                                                                                                                         C3   All   Fees


                                                                                                                         0116 Fees Filing
                             FEES Authority                     has been given               in   Paper
  FILING         FEE
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           2100              No                                      for following                                       0118 Fees Issue
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BIB   Rev 0507




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              Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 198 of 436

                                              ApplicationControl   No              ApplicantsPatent           Under
                                                                                   Reexamination

            Search Notes                      13849606                             BATES JOSEPH

                                              Examiner                             Art   Unit


                                              MICHAEL D YAARY                      2193




                                                       CPC SEARCHED

                                       Symbol                                              Date                 Examiner




                                     CPC COMBINATION            SETS      SEARCHED

                                       Symbol                                              Date                 Examiner




                                         US CLASSIFICATION              SEARCHED

      Class                                     Subclass                                   Date                Examiner




                                                       SEARCH NOTES

                                     Search    Notes                                       Date                 Examiner
 EAST search       with   keywords                                                       01202014        MY
 NPL search                                                                              01202014        MY
 CPC search                                                                              01202014        MY
 Inventor   name search                                                                  01202014        MY



                                                INTERFERENCE         SEARCH

   US Class                           US Subclass        CPC Group                         Date                Examiner
  CPC Symbol




US Patent and Trademark   Office                                                                    Part of   Paper   No 20150120


                                                                                                               SINGULAR 00001370
              Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 199 of 436

                                                                 ApplicationControl       No              ApplicantsPatent          Under
                                                                                                          Reexamination

             Index of Claims                                     13849606                                 BATES JOSEPH

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                                                                 MICHAEL D YAARY
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               Allowed                                        Restricted                       Interference                         Objected



      Claims renumbered                 in   the   same order as presented by applicant               U   CPA        U   TD           U     R147


         CLAIM                                                                                 DATE
     Final              Original         01202015




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US Patent and Trademark            Office                                                                                 Part of   Paper   No 20150120




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              Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 200 of 436

                                                                 ApplicationControl       No              ApplicantsPatent          Under
                                                                                                          Reexamination

             Index of Claims                                     13849606                                 BATES JOSEPH

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               Allowed                                        Restricted                       Interference                         Objected



      Claims renumbered                 in   the   same order as presented by applicant               U   CPA        U   TD           U     R147


         CLAIM                                                                                 DATE
     Final              Original         01202015

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US Patent and Trademark            Office                                                                                 Part of   Paper   No 20150120




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              Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 201 of 436



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      AppiRA     f   IC   N NI NIB R                    PILING      OR    371C DATE                             FIRS   I   NAMED APPLICANT                                        ATTY DOCKET NOTITLE

            13849606                                            03252013                                                   Joseph   Rates                                            A0006 1001C2

                                                                                                                                                                       CONFIRMATION                      NO 6059
24208                                                                                                                                      PUBLICATION                            NOTICE
Robert Plotkin               PC
 15 New     England            Executive      Park
                                                                                                                                                           D111101141111Igplqi
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Burlington           MA 01803




Title Processing              with     Compact      Arithmetic                Processing      Element


Publication               NoUS20140095571A1
Publication               Date04032014



                                              NOTICE OF PUBLICATION                                               OF APPLICATION

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CFR 1211 et seq The patent application                                        publication     number and publication                                  date are set                forth   above

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                                                                                            page   1   of   1




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               Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 202 of 436
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                                       Courtesy Reminder for
                                       Application Serial                           No 13849606
                                       Attorney         Docket          No A0006 1001C2
                                       Customer Number 24208
                                       Date      of Electronic                  Notification             12272013

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                Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 203 of 436



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       APPLICATION    NUMBER                 FILING   OR 370C DATE                              FIRST   NAMED   APPLICANT                             ATTY DOCKET NOTITLE

           13849606                                  03252013                                       Joseph      Bates                                     AXXXXXXXX 2
                                                                                                                                            CONFIRMATION                NO 6059
 24208                                                                                                            NEW OR REVISED PPD NOTICE
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 15 New England Executive              Office    Park
                                                                                                                   111111311110110M11111111111
 Burlington      MA 01803


           NOTICE OF NEW OR REVISED PROJECTED PUBLICATION                                                                                                         DATE

The above identified             application            has a new or revised projected publication                                                    date The
current        projected publication             date for this application                        is    04032014               If    this is           a new projected

publication          date there was no previous                      projected              publication          date          the application                     has been
cleared by Licensing                   Review         or a secrecy          order has been rescinded                                      and the application                is


now in the publication queue



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application The application                     is   anticipated       to   be published on a date that is more than six
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                                                     PART   1    ATTORNEYAPPLICANT                              COPY
                                                                            page   1   of   1




                                                                                                                                                                   SINGULAR 00001375
            Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 204 of 436


                                                                       Application        Number            13849606

                                                                                     Filing      Date       3252013
    INFORMATION DISCLOSURE                                            First   Named       Inventor          Bates
     STATEMENT BY APPLICANT
                                                                                          Art Unit          2193

                                                                               Client     Number A0006

                                                                              Matter Number                 100102



                                       FOREIGN PATENT DOCUMENTS

     Ii   a IS   Cite   No   Document Number                          Publication     Date                           Country

                    1            H06075986                                03181994                                          p




  Examiner Signature                                                      Date Considered

Examiner Please initial if citation considered whether           or not   citation   is   in   conformance          with   MPEP Section
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                                                                                                                                  SINGULAR 00001376
                 Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 205 of 436


                                                                                               Application               Number 13849606

                                                                                                                   Filing Date               3252013
         INFORMATION DISCLOSURE                                                             First        Named           Inventor            Bates
         STATEMENT BY APPLICANT
                                                                                                                         Art Unit            2193

                                                                                                           Client        Number A0006

                                     Page 2 of 2                                                           Matter        Number 1001C2



                                                                                 GENERAL
 Pursuant        to   37   CFR 197 and 198 and                to   the duty of disclosure       set forth         in   37   CFR 156 the Examiner                      in   charge   of

the     above identified application             is   requested     to   consider   and make        of   record        the references          listed    herewith     A copy of each
 listed    reference other than            US patentsapplications              and references            cited   in a    parent       application        is   enclosed


Although         the information         submitted     herewith     may be material       to    the      Examiners consideration                    of   the subject       application
 this   submission is not intended               to   constitute   an admission that such information                       is   prior art as       to   the claimed       invention



 In   accordance           with 37   CFR 197g the               filing
                                                                         of this Information    Disclosure             Statement           shall   not be construed         to   mean
that     a search      has been made




                                                                                    TIMING

In    accordance            with   37   CFR 197b this Information                    Disclosure           Statement              is   being filed within three months of
the     filing   of a national          application     other      than a continued       prosecution              application            under 37 CFR               153d
                                                                                                                                                                  within

three months of the date of entry of the national stage as set forth in 37 CFR 1491 in an international
application before the mailing of a first Office Action on the merits or before the mailing of a first Office Action
after the filing           of a    request for continued            examination       under 37           CFR 1114



                                                                   CERTIFICATION            STATEMENT
No certification             statement      is   required       This Information        Disclosure               Statement            is   being    filed     in   accordance       with

37     CFR 197b



                                                                                      FEE
No fee is required                   This Information        Disclosure        Statement       is   being        filed      in   accordance          with     37    CFR 197b

If
      necessary the Director is hereby authorized to charge or credit Deposit Account No 501797 for any
additional   fees or any underpayment    or credit for overpayment in connection herewith Please reference
attorney         docket      number A0006 1001C2                   for any     such charge or credit




                                                                                SIGNATURE

          Signature         Robert Plotkin            Reg43861                                                           Date         8232013
                 Name        Robert Plotkin           Esq                               Registration              Number              43861

SyncIDScom




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     Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 211 of 436



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   Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 212 of 436



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    Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 213 of 436



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    Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 214 of 436



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    PET           4WN711r P                                                                          COOL                 R 6




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                     LIP E             41R                                               Dttfil             C       P45 W1          P361WI2P35+
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      L NW94ilt R 8 Leitt6                                                               W13P34+W23P4                             4+W33P541W32P
9 itilfilW tic P E R 9= R 8 +W Ptant                                                     55+W3                  I   P56+W2        I   P4 ti+W22P4               5


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C 0     0    7   I                                                                        p9
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    CO 0 7       3                                                                        R     1       1
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                       or




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          a x h y 84u                                                                                                                                  X y
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    Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 217 of 436



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      fraolAitfl4
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x 80V                 V3014ffire40                                                     rtki       Viliton166
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                    X poN461T1640                                                      rtk1                             a
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ten L1z7                   u         P OlVitiT05                                       rtiki          ty4111Nifect      6
1g4                   f1143001zLAIM1Vttf6 8 x 80T                                      M3 83 fiffigOnt+ig i46RE1010fri1                                           E


       sy       i         L tc7 9 7 7 PcAMT                                            rj             VictiAleC456

       2 23           tiai2OP        i   14101fflikjIN74                               M3 93 SRIVidAfilit qii07f 7                              1   hltf 3 Cik


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Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 218 of 436




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         PE
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Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 220 of 436
    Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 221 of 436



                                                                                                                  NW               6       7 5    9 8




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Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 222 of 436



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                                         PE 72                           PE 73                       PE 74            22
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                                         PE 28                            PE                        tPL45
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Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 223 of 436



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       R4 83                               R4            R3
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      W2341111                           W23411J1                      4=40W1W2341+1111

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wiN   W22434
                       IS
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      W22P43                                                                       GPij

              NAY                N91
      89    4428+
                       WN    89 =428+
      W22435                 W22445                           89=88+
      89 428+                89                               W22455
      W22453                 W22454

      =SIE                   =7SE
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      89    428+       WN    129    48+                       89   =88+
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            Ra+
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                                                 Efs
                                                              W22456                     89   =R8+
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      89                     89     atR8+                     89 =RS+                    W224188
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   W23014+1                        W23001                           V23P1+11+1           WIR5
                                                                                           W33441401




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       R7         Re               RI                                  R7        R6           RR     at   R7
                       R7                                R7

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       R7 R6           R7     1         7
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Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 226 of 436




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                                                                      Re         R5            RS        R5           R
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Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 227 of 436



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                  R3 441                              R24
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                  R3        =R2+                R3WI3ofR462+           WI3P564
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Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 228 of 436



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               R2       =R1+                    R2 =RI+               W124155

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               WI 24338                         WI       2P4 6        WI2PS6          iNtIrTfW1
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                   W23iP36                       1423P 45                W23P56
                    4    =R                      R4=R3+                R4    =R3          W23P86
                W231363I                         W23064               I3P65
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Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 229 of 436



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               W33P35                   W33P45           N R5 444+
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               R5     =R44              R5    0844           85mR4+
               W33P36                   1433P46              W33P56          R5 ttit44
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                  7                      87 R6i                   85+
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                Vf314433                 W31P64              W31P65
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Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 230 of 436



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     Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 231 of 436




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Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 232 of 436



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Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 233 of 436



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Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 234 of 436

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73   Assignee          International          Business         Mattiines
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21    Appl No 09$51144                                                                        57                                     ABSTRACT

22    Filed            Mar 23          199$
                                                                                              Image      processing         for   mu                    i3    workstations               is    a tvortint

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                Related       USAppikation                   Data
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52    US CL                                                                                   network        are   replicated          in    a   maihine The nearest neighbor
                                                                             71219            mesh computer            consists of an              NxN Neare                  army of Processor
56    Field of Search                                            706141      14 42            ElensansPE where each PE                                   is    connected             to       the    North
                                                                             71239            South      East and          West PEs only The                         diagonal            folded       mesh

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Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 235 of 436



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Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 236 of 436



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Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 237 of 436



US Patent                    Jun ii       2002           Sheet   2 of 22                   US 6405185    Ill




       BROADCAST                                 ill
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 IMAGE INITIALIZATION       PAM

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                   FIG 6A                                         8   8    8       8   8   8   8




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     Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 238 of 436




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                                                                    FIG38
Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 240 of 436



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   BROADCAST


      IMAGE

  INITIALIZATION

       PATH




                                                                    TOPPRIBOTTOMPET




                       I
          TRANS    N                     TRANS    S

           RCVS                           RCV


          FIGAB                          FIGAC




                                                                                      SINGULAR 00001412
Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 241 of 436



US Patent               1 2002      Sheet        6 of 22     US 6405185      81




         IMAGE
     INMALIZATION
         PATH




                                 TRANS       N             TRANS       S
                                 RCV     S                  RCV N


                                 FIQ4g




                                 TRANS       E             TRANS       W
                                 RCV     W                  RCV    E


                                 FIG41                      1G41




                                                                           SINGULAR 00001413
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                                              NESW                  NESW
                                            TOPPEID           a0TTOMPEj
                                            DIRECTION              DIRECTION



                                                              NW
                                                                           S


                                                        F1G5A




                                                                                           no
                                                                                           5BA 5800
           WN
    Us           I   PE   5
                                                                                                5

                                        w
    ES
                     PE 756     I
                                    E              PE 66
                     PE 65      I                       rSE


           WIN                                          1NW          wiN
     Eis
                     PE 57
                          ta
                                I   r isWNI        PE 67
                                                   DCiC       Es4              PE   7
                                                                                    iS
                                              j




                                        WiN                                               WIN
                                                        68                     PE 78
     Eis
                          85        Eis
                                                   PE
                                                   PE 86
                                                               c is
                                                                           1111
                                                                            PE 87
                                                                                  Esi           PE   88
                                                                                                     15E
                                              TSE
                     PE
                          SE




                                                   FIGBB




                                                                                                      SINGULAR 00001414
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        WIN
                   PE 11



        W               NIW
                   PE 12
                                         EiS
                   PE 21
                        SIE

                        NMI                                                               w
                   PE 13         I       rj        I
                                                           PE 23             I        r               PE 33
                   PE 31
                                                   i
                                                           r   Q 04
                                                           r5ett
                                                                                                      TSYE
                                                                     SIE1




                                 1
        WINE            N                      YN1771VW1                                  WiNf                         WIN
                   PE 14                                   r1LTA                                      CJI
                                                                                                                               PE
                                                                                                                      ES
                                                                      el     I

                                                                                      t
                                                                                                  e




                                                                                              1
                                             to+   I                          i




                   PE 41                                   PE 42                                      PE 43
                                                                                          I


                                                   1                         I                    I




                            E1                                                                              SA


                                             be
                                                                     ISEJ
                                             WNrINWi                                      WNrINW1
                   M
                        NWi                                                                                                         N
                   Me       e                     CD
                                                   I



                                                           rtLa
                                                           131                                13
                                                                                                      rcoo   Tn
                                                                                                                               PE   45
                   757174ES                                                   1ES                                 IEs
                   rr1                                     ULJ                                                                 PE 54
                                                   1                                              I


                                 I                                            1                   1




                                                                                                                                    SE
                                                   I




                   TSE1                            LTSIEJ
                   INwi                      wiNI                    INwi                     wiNrINwi                              NW
                                                                                                                               PE 48

                   rcal
                                     IES
                                     I                     rLu4
                                                                              EA
                                                                              I
                                                                                                  I


                                                                                                  I
                                                                                                      272t
                                                                                                      rivwf
                                                                                                                  lEiS
                                                                                                                               PE 64
                                                                                                                                    SE
                                                       I




                                                                                                            ISE

                        NW                   WN1                     INW1                     viNi= 4011                  WN        NM
                   FE17                  r                     PhZi           Ieie
                                                                                      r           LLicft
                                                                                                  3

                                                                                                                               PE 47

                   PE 71
                                         P2
                                         r             I       rsri6          I
                                                                              1
                                                                                                  Icorrx                       PE   74
                        VE
                                                                                                  1




                                                                      SEI                                                           SIE


                        NW                                                                                                wN         NW

                                                                ir
                                                                                              wNr771Ywi
               1



                   PE 18
                      rk                                       rr1                                    rc                       PE 48
                   rrosi
                                                                                                                  LFJS
                                                                                                                      €
                         rQ
                        tI
                                                   i                                  r
               I




                                                                                                                               PE 84
                                                                              1

                   mt
                                                                                                                               TS
                                                       I       rse     on         1                   Etritrt     I




                   rSEJ                                    L1SE1   1rSE



                                                                 FIG         56A




                                                                                                                                          SINGULAR 00001415
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                                                         22
                                                         1




                                                         3   3   3
    2     2    2     2   2     2   2   2
                                                         1   2

    3     3    3     3   3     3   3   3
                                                         4   4   4    4
                                                         1   2   3
    4     4    4     4   4     4   4   4

                                                         5   5   5    5   5
    5     5    5     5   5     5   5   5
                                                         1   2   3    4

    6     6    6     6   6     6   6   6
                                                         6   6   6    6   6    6
                                                         1   2   3    4   5
    7     7    7     7   7     7   7   7

                                                         7   7   7    7   7    7   7
    8     8    8     8   8     8   8   8
                                                         1   2   3    4   5    6



                                                         8   8    8   8   8    8   8   8

                     G7A                                 1   2   3    4   5    6   7




                                                                 FIG713




                                           BOUNDARY      S
    W13        W23       W33



    W12        W22       W32                  GION   R



    WIl        W2I       W31




              Kfisa                        FIG1 3A                        FIG1 313




                                                                                           SINGULAR 00001416
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                                                            j                             j+I

                                                                                          I                                        85           R4




                                                            2P11
                                                                                     RI                       84




                                                                                                                                                          W33Pi1
           RI                              R2          RI              82                                               1F1

                                                                                                                                   I
                            Y01110141410




                                                                                                     Nt
                W124011




           =                                    N      =                             =                        =




                                                                                                                        W3301
                                                2                             2                                                         5 RS
                                                                                          2Pi


   2                                                   R2                            R2                       85


                                                                                                              1
           82




                                                                                                     STEPS
                                                             WI
                                                                                          W1




                                                                                                                                        STEP
                                                                              STEP
                                                STEP
   STEP




                                                                                                                                                           j1
           0                               81          0
                                                               gJ
                                                                       RI            0    1i                  83         If                     R3
                                                             WIIPi+1




                                                                                                                                        N




                                                                                                                                                           W23Pi+
                                                N
                 W1140i+1




            =                                           =                             =                                                          =
                                                                                                               =




                                                                                                                         W23P1+
                                                                                          W11Pi4
    I      RI                                   1      RI                      I     R1               4       84                         4      84
                                                                              STEP
                                                STEP
   STEP




                                                                                                                                        STEP
                                                                                                      STEP
                                                                                                                                                            W
                                                                                                                                                 84



                                                                                                                                                            IF
                                                                                           1
           0      j                                    0                             0                        R3                                83




                                                                                                                                                            W23Pij
                                                                                           W11P11+




   N
                                                             P1j
                                                                                                      N
                  IsPi




                                                                                                                                        111
            =                                           =
                                                              1                       =                                                          =



   1       RI                                    I     R1    WI
                                                                               I     RI
                                                                                                      4       84                         4      84
                  WI
    STEP




                                                STEP




                                                                              STEP




                                                                                                      STEP




                                                                                                                   84                                84




                                                       0                             0
                                                                                           j+1
                                                                                                                                                R3
                                                                                                                                                             I
                                           RI                 1I                                               R3

                                                                                                                                        N
                                                                        111                                               14I
                                                                                           149I1




                                                                                                                                                           W23Pi




                                                        =                             =                        =                                 =
                                                              P1
                                                               1
                                                                                                                          W23401




    1                                            1     RI                            RI
                                                                                                       4      R4                         4      R4
                                                              WI
                                                                                            WI
                                                                              STEP
                                                STEP
    STEP




                                                                                                                                         STEP
                                                                                                       STEP
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                                                                              FIG9B
       STEP    2   N        STEP    2     N            SEP 3        N                 S1E2   3                    STEP

               82      81           82 =      Ri               R3 = R2                       83 = 82
                                                                                 R3
       W1
              W124141              W12Pi+1j                W130111                           WI   3Pi11      120WIW




                                                       STEP    3    N                  TEP 3       II



                                                              R3 = 82                        83 = R2
                                                                                 R3                          R3
                                                       W      W13sPi1                         W13Pil




                                                       STEP    3   N                  STEP                        STEP

              R2 = RI               82 =      R1              R3 = R2                        R3   = 82
         I                    I
                                                                                 R3                          R3
        f1    W12411+1      W1 W12Pi+1141                      3Pi1141                       W134Pi141            W   V




              5W            STEP    5                  STEP    6                      STEP   6     N              STEP

              85 = R4               85 = R4

                                                                                W1
                                                              86         85                  86 = 85
                                                                   =c


              W3341171            w33sP1+1                 W32Pi1                            W324411


                       85                     85                         R6                             86

       STEP                 STEPS       Ill
                                                       STEP    6   1`1                STEP   6     N              STEP

              85 = 84                   = 84                  86         85                  R6 =       85
                                                                 7
               W33Pit              W3341+1 j       I          W32Pi11                         W324311
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                                     R4

                    STEP    4    N             STEP   4    N                STEP   4    N                 STEPSN
                            R4 = R3                   R4 =     R3                  R4=      R3                   R5
                       I                  R4                           R4
                           W23Pi1 j+1          WJ     W23PL 1+1                W23Pi+1 i+        1   HE         W33



                    STEP 7                     STEP   7    N                STEP    7                     STEP   8

                            R7       R6                        R6                  R7 = R6                       R8
                                 7        R7          R77              R7
                           W31A1                      W31Pi                    W3141+141                  Wi W21




                    STEP    7    N             STEP   7    N                                              STEP 8
                                                           I
                            R7 = R6                   R7       R6                  R7 = R6                       R8
                                          R7                           R7                                   I




                           W31Pi1                      W31Pij                      W31Pi+1j               WI     W21



                                 I
                                     R7

                    STEP    7                  STEP   7                                                    ItP 8

                            R7   = R6                 R7 = R6                      R7 = R6                       R8
            F1G98                         R7                           R7
                                                                                                          W W214
   FIC69A

                           W31PI1 1+1                 W31Pi4 j+1               W31P1+1j+         1




  FIG9C     FIG9D



       F1G9                                                    FIG9C
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                                                                                                                                   Cto   lot
                                                                                                                                               00




                                                                                                                      j+1

          R                                                                                                    R8

               Nt                                                                                       N       =
                                                                                                                      1+1




                                                                                                                     W224P
               6
               STEP                                                                                     9      R9




                                                                                                        STEP
          R6          R5    j+1                   R8                           R8                              R8     j+1




                                                                                        W224Pii
               N                           N                            N
                                                        W22Pi




                                                                                                                     W22Pi
                       =    Pi                                                  =


               6      R6    W32            9      R9T                   9      R9
                                                                                                        9J1
                                                                                                               R9
               STEP




                                           STEP




                                                                        STEP




                                                                                                        STEP
                                                                                                                      VI


                            HE                           FE




                                                                                                                                                    FIG9D
                                                                                                                      Vi22Pi1J+1
                                                        W22Pi111




         R                                        R8                           R8                              R8

                                                                                                                7
                                                                                     W22Pi1

               N                                                        N      =                        N
               6                           9      R9                    9      R9                       9      R9
               STEP




                                           STEP




                                                                        STEP




                                                                                                        STEP


         II




                            j+1                                                                                      3+1
                                                                                       V214P1+1j




         R5           R4                                           R8          R7                  R8          R7
                           W33431+1




                                           t4                           N
                                                                                                                     W21Pi+1




                      =                                                        =                                =


               5      R5                   a                            8      R8                       8      Rt3
                                                                                                        STEP
               STEP




                                           STEP




                                                                        STEP




                                                         j
                                  1011=1




                            j+1
                      R4                          R7               R8          R7

               N1
                                                                                     W21Pi
                           W33Pi




                                                         W21aPi




                                                  =


               5      R5                   8      R8                           RB7
               STEP




                                           STEP




                           W4
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                              N
                 RI       = 0+
                                                  = 0+
                 WI I P34            NiR1
                                                                                       STEP     I

                          = 0+          W11P44
                 111

                                             Si
                 WI I P43
                                                                                       TRANS    N



                          = 0+
                              N        RI         = 0+
                                                                                        RCV     S

                 Ri
                                                                               = 0+
                 WI I P35               WI I P45
                                                                jl


                                                                          WI I P55
                 R1       = 0+         RI         = 0+
                 WI 1P53                WI 1054

                              Sk                      Si
                                                  T
                                                      N
                 RI  = 0+               F11       = 0+                    RI      0+
                                                  P46                     WI I P56              =       0+




                                                                                         11R1
                 WI lP36                WI    I



                 R   = 0+
                      1                 RI        = 0+                    RI   = 0+        WI 14066
                                                                                                        Si
                 WI1P63                 WI    I   P64                     WI I P65

                                                  I
                                                      S1




                              1vv

                                     W R3 =R24
                  =R2+
                 R3
            WI W13P34
                                        W134344                                         STEP    3
               R3 =R2+
               WI3P43
                                                                                       TRANS        E
                          e                                                             RCV     W
                          1
                              1w
                 R3  =R2+               R3        =R2+
                 WI 3P35                WI 3045                 WI R3 =R2+
                                                                    WI 3P55
                 R3 =R2                 R3 =R2+
                 WI3P53                 W13P54
                              E                   t
                          1




                                                                                       w R3 =R2+
                          =R2+              =R2+                             =R2+
            W W13P38
                 1R3
                                        E3                                13

                                        WI3P46                             W13P56
                                                                                            WI 3P66
                          =R2+          R3 =R2+                           R3 =R2+
                 1W13P63
                                        rE
                                        W1 3P64                           W134P65




           FIG

     10A   10B                                          FIG1 OA


      FIG10




                                                                                                             SINGULAR 00001421
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                 t

                         N
            R2   =R1+
                                               =R1+




                                      ViR2
      tiN
            W12P34
                                          W12P44                                 STEP    2
            R2
                                                   Si
            W12P43
               =R1+1                                                             TRANS N
                         sit
                                                                                  RCV S
                 4

            R2 =R1+                       R2   =R1+
                                                                       =R1+
            W12P35                        W12P45
            R2   =R1+                     R2   =R1+           irW12P55
                                          W12P54                          St
            W1 2P53

                 ASId
                         N                     T

            R2   =R1+                     R2   =R1+              R2    =R1+
                                                                      2P56          R2   =R1+
                                          W12P46

                                                                                    TS
            W120P36                                              WI

            R2                            R2 =R1+                R2    =R1+         W12P66
                 =R1+1
            W12P63                        W12P64                 W12P65
                                               rsj




                     I
                            W

                                      W
            R4 =R3+
                                          R4
                                                   =R3+1




            W23P34
                                          W23P44                                  STEP   4

            W23P43
            R4=R31
                         A                                                       TRANS
                                                                                  RCV W
                                                                                             E


                     Y
                         =R31 =R3+1




                                                             W
            R4                            R4   =R3+
                                          W23P45                 R4    =R3+
            W23P35
            R4                            R4 =R3+                W23P55
            W23P53                        1W23P54
                         A
                                               1


                                          R4 =R3+                R4     =R3+
       w W23P36
            R4 =R3+
                                                                 W23P56             R4 =R3+
                                           W23P46
                     =R3+                 R4 =R3+                R4 =R3+             W23P66
            R4
            W23P63                        W23P64                 W23P65
                                                   jFL
                                                                 TA
                                                           FIG1 Op




                                                                                                  SINGULAR 00001422
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                     R5   =R4+
                     1833P34
                                        N R5 =R++
                                          W33P44                           STEP    5
                     R  =R4+
                     W33P43
                              3                                            TRANS   S


                              NIW              N                           RCV N

                     R5 =R4+               5 =R4+
                N W33P35                  W33P45            OR 5 =R4+
                                          R5 =R4+             W33P55
                     R5 =R4+
                     W33P53               W33P54
                              s
                              N                NI                      N
                     R5 =R4+                 =R4+             R5 =R4+
                     W33P36               W33P46              W33P56       11 R5=R4+
                     R5   R4+
                          z               R5 =R4+             R5 =R4+         W33P66
                     W33P63               W33P64              W33P65
                                                                       S




                     R7=R6+
                     W31P34 f WI R7 =R6+
                                                                           STEP    7
                     R7 =R6+1     W314344

                     W31P43
                                                                                   W
                                    I

                                                                           TRANS



                     R7
                              I
                          116+1           R7
                                               141
                                                                            RCV    E



                     W31P351              W31P45            WI R7 =R6+
                     R7                   R7 =R6+              W31P55
                          =R6+I
                     W31P53               W31P54
                                               SA
                          iwi                  W
                     R7 =R6+              R7 =R6+                =R6+
                                                                           W R7 =R6+
                                                              R7
                WI   W31P36               W31P46              W31P56
                     R7 =R6+
                     W31P63
                                          R7 =R6+
                                          W314764
                                                              R7 =R6+
                                                              W31485          rE
                                                                              W314P66



   FIG    no                                   A
    11A   118




    FIG11
                                                     FIG11A




                                                                                        SINGULAR 00001423
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               N
         Re   =R5+
         W32P34             N1R6
                                W32P44                               STEP    6
         R6   =R5+
         W32P43
                                                                     TRANS       S
                                                                      RCV
               N
                                                                             N


         Re   =R5+             Re    =R5+
                                                  R6       =R5+
         W32P35                 W32P45
         R6   iR5+              R6   =R5+         W32P55
                                                           TSI
         W32P53                W324P54
                SI

                Nt




                                                             =R541
         R6   =R5+              R6   =R5+         Re




                                                                        r
                                W32 P46           W32P56                R2 =RI +
         W32P36
         Re   =R5+              Re   R5+                   =R5+         W12P66
         W32P63                 W32P64                32P65                          SA
                                                 rW6
                                                             Si




                   I
         R8   =R7+
         W2 P34              14R8 tR7+
                                W21P44                                STEP   8
         R8 =R7+1
         W214143
                                                                     TRANS       N
                                                                      RCV S
                N1                     14
         R8 =R7+1               R8   =R7+
                                                           =R7+
                                                 ZiR8




         W21P351                W21P45
         R8                     R8   =R7              W21P55
              nR7+1
         W21 P53       I        W21P54


                                       N                     Nt
         R8   =R7+1             R8   =R7           R8      =R7
          W21P36       I        W21P 46               W2   P56



                                                   r
         R8                     R8   =R7              R8                  W21P66
                                                                     IstiR8
                                                             =R71




              =R7+1
         W21P63        1        W21P64             W21P65
                S1




                                            FIG11B




                                                                                          SINGULAR 00001424
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                         NW
      WN
               Rg       =R8+
                                      WN
                                     ES
               W22P34                         R9       =R8+
                                              W220P44                                STEP     9
               R9
               W22P43
                 ==R8+I
                                                                                      GPID
               To W
                         S ift
                                                                                NO TRANSMiSSIONS

               R9 =RN8+
                        1


      WN                              WAIN
                                              R9       =R8+
                                                              WN   R9 =R8+
               W22P35            I            W2241345
                                              R9=                  W22P55
            W22P53                            W22P54
                                                  R81
                                              TSE
           1R9 stR8+1
                         SE
                                                   I




      I        Rg
               W22P36
               R9
                        =R8+
                         NWi          WN
                                     ES
                                              R9 =R8+
                                              W22P46
                                              R9
                                                        NWi
                                                       =R8+
                                                              WN   89 =R8+
                                                                   W22P56
                                                                   R9    =R8+
                                                                                         R9
                                                                                         W22P66
                                                                                                  =88+

           I




                        =R8+                  W22P64               W22P65
                  sE
           Ltsv121p63




                                                            FIG 12




                                                                                                                 w




      TRANS         N
                                     1       TRANS
                                                                   7 Li IRANS                       TRANS    W
                                                        S                        E
       RCV S                                  RCV N                      RCV w                       RCV E


     FIG I4Ei                            FIG t4C                        FIGI4D                      FIGI4E




                                                                                                                 SINGULAR 00001425
 BROADCAST                       COMMAND CONTROL

                                                    RCVTRANS




                                                                  40




                                               0S




              Wob
                                                    RCWIRANS
                                                    RCVIRANS




                                               04
                                                     RCWIRANS




                                                                       TOPPEIDABOTTOMPE
                         ACCUMULATESHAFT
                                                                                 N




                                 COMPARE


IMALIZATION
                                                    X
                                                                                 E




                    Fj
   PATH                                             P1
                                                                                            11




                                                         SWITCH
                                                                             N
                                                                                 W




                                 COMPARE
                                                                                 S

                                                                             E
                                                                                          111
                                                                                           c0e




                                   FIGI4A
                                                                                                 Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 254 of 436
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                  N
         R34      =
             + P35              N     R44=
                           is 444 0      + P45                                   STEP
         R43
                                                                                        1

                  =
         0 +     P44                               S
                                                                                TRANS N

                  N                       a
                                                  Ni
                                                                                 RCV S

         R35      =                   R45         =
      id 0                                                      R55
             + P36         I    11   0 + P46                           =
         R53=                        R54 =                      0   + P56
         0 + P54 11                  0 + P55
                   s                               s
             f                            f
                  Ni                              Ni                iT
                                      R46=                      R    56   =
         0 +                                                                           R66 =


                                                                1
                 P37            i    0   +       P47            0 +      P57
                            S   4
                                     R64                                              0 + P67


         rs
         R    =
             63                                   =             R65       =
         0 + P64                     0 + P65                    o +      P66
                                                                                                Si


                                           Sii
                                                                           Si




          R134 =
      N R34+P33                          R44       =

          R43     =                  R 44+P43                                    STEP   3

        R143+P42                                  SI
                                                                                TRANS       S

                  Ni                              N                              RCV N

          R35     =                   R145         =
         R 35+P34                    R 45+P44                    R55      =

          R53     =    I
                                         R54       =           R155+P541

        R153+P52i                    fe54+P53
                  sJ                              Si
                                                  Ni
          R36     =                      R46                     R56 Nfl
         R135+P35                    R46+P45                   1156+P551               R66      r
                                                                                411
          R 163   =                      R64                     R65 =                R66+P65
        R163+P62                                               R65+P64                      St
                                     R164+P63
                  SP



                                                       F1G1 5A




                                                                                                     SINGULAR 00001427
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             W34
         R   34+P24              R44      =
                                                                          STEP   3
             R43     =          R 44FP34

         R 43+P33
                                          A
                                                                         TRANS E
                 YLE                                                      RCV W
                     VW
             R35     =           R 45 =
                                R 454P35


                                                       TE
         R 35+P25                                           R155    =
             R153    =           W54      =            R55045
         R 53+P43               R 54+P44
                     oiE                  E
                 t
                                     3
                                          1w                  1w
             R136    =           R   46   =                 R56
                                                             =
                                                  w
         R36+P26                R 46+P36               R156+P46                 R66 =
             R       =           R64      =                                    R66+P56
                                                            re65


         17E
         R 63+P53               R 64+P54               R165+P55




                 pi
                 1




             R34 =
             34+P44               R44     =
                                                                          STEP   4
             R43                R 444154
         R143+P53
                                                                         TRANS W
                 4                                                        RCV E
                     AV
             R35     =            R45     =
         R 35+P 45              R 45+P55                    R55     =
             W53     =            R54     =             R55+P65
         RI53+P63               R154+P64
                 a   E               A    WE
                 T                   T




                                                                              r
             R136    =            W46     =                 R56     =
         R   36+146             R `46+P56               R56+P66         VWN    166   =
             R63     =                    =                                   R 66+P 76
                                                                    =
                                                                                     E
                                  R164                      fe65


                                                       1rE
             63+P73               64+P74               R165+P75




                                               FIG1 5B




                                                                                           SINGULAR 00001428
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                 NW
       R34 =           WN
           344
       R
                       ES    R44 =                                     STEP   5

       R43       =           R444
       R434                      1SE                     DIVIDE      BY 4 AND     COMPARE


       ISE                                                      NO   TRANSMISSIONS

             I

                 NW
       R135 =                R45 =
                                          3
                       WN                 WN
           354                   454
       R

       R53 =
                       ES    R
                             R54
                                                  R56 =
                                                  R564
       R   534                   544              rsA
             VE             TSE
             I


                 VW              I


                                     NW
       R36       =
                       WN    R46 =        WN      R    56   =
           364               R464
       R

       R63       =
                       ES
                             R64 =
                                          ES      R

                                                  R 65
                                                       564
                                                            =
                                                                  WN      11 66

                                                                          R66 4
                                                                                  =


       R634                 R644                  R654                            3E
       7SE                  TSt

                                       FIG1 5Q




       FIG       FIG
       15A       158




       FIG
       15C




       FIG15




                                                                                       SINGULAR 00001429
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                                                                                                    US 6405185                        131

                                                                                                                                                                                         2

                   MASSIVELY PARALLEL ARRAY                                                                                funtairmal              elements which                            are        generally         idantical       in   a

                           PROCESSOR                                                                                       nototivaly         parallel              architecture               Array elements                   in   data pit

                                                                                                                           anal       computing                    are           elements              which        can      he      assigned

                                                                                                                                                             when parallel can each                                                     and
                                                                                                     Sat No                migrations and                                                                                                      in
                                                                                                                                                                                                                  imicarandently
      Thia application                 is   a toritiattatiOn            of application

07864112               filed      Apr i           1992        no abandoned                                                 parallel      execute                  the       operations             taquitad           Genatally         arrays

                                                                                                                           may be        thought of as grits cd processing                                          elements          SrNairna>


                            11131 OF THE                      INVENTION                                                    i11   the array         may he assigned sectional data so that sectional
                                                                                                                           data       can     he         nrovad                  around       in        a    regular        grid       mum
      The    invention             Mates          to     compacts and                   particularly            tO         However            data           can        ha       indexed       or asaaanecl               to an       arbitrary

                                                                                                                           loeaticio         in    an array
parallel      array         procassors
                                                                                                                           Functional             unit
                   CROSS REIERENtla TO REIAFED                                                                                   A furretional                unit          is   an    entity of            hardware         software          of
                                        APPLICMIONS                                                                        both       capable            of accomplishing                          a   purpose

      the                     US patent application                          claims                         as a
                                                                                                                           MiMD
             present                                                                      priority

                                                               and     is   telakat      to the       follow
                                                                                                                             A processor array architacture                                        wherein           each    processor         mn
tontinuationieltart                    applicalion                                                                    is
                                                                                                                           the       array        has        its       own         instruction              stream          thug      Multiple
ing applications
                                                                                                                                                                                                                  Data streams located
      US Ser No                       May 22 1990 of S
                                                                                                                                                  stream to execute                          Multiple
                                                                                                                           trattruction

                                   07526666                   tiled
                                                                                                                           one       per pr000ating                     ekratot
Vaisiliadia et at entitled Orthogonal  Row Column Neural
                                                                                                                           Module
Pmcaasor now US Pat No 51365X9 issued Nov            12
                                                                                                                                 A module                    is    a        program            unit          that   is toile and
1991 and                                                                                                                                                                                                          Arno designed for
                                                                                                                           idarnifiable or a                       functional               unit       of ha
      US      Set           No 07140355                       filed    Aug 5 1991 of S                                     use       with other              ixonponents
Vaasiliadis et              at omitted             Sealable           Noma Array Prowoof
issucol      as    US Pat No 514650 and                                                                                          PE is used             for processing                  clamant We                  use the term         PE to
      US      Sur           No 074056                         filed
                                                                        Aug         5      1991           of    S          refer      to a    single              processor             which           has interconnected

Vassiliadis                  at    entitled            Addar         Tree           a     Neural                           cared       memory and 10 capable                                   system element                   or unit that
                                                                             for
                       et                                                                                 Array

Proewoor            issued as           US Pat No 5146420 sod                                                              forms one of our                        parallel           array    processing             elernatsLa        As the
      US      Set           No 0740568                        flied      Aug 5 1991 of S                                   result       of    wiring                in       our       system symmetric                         replicatabk

                            al emitted Apparatus                        and Whist for Neural                               elements               arc        wirer           Nadler                                       interconnection
                                                                                                                                                                                              ftYt
Vasailiadis at                                                                                                                                                                                              sharing

Proawasor           abandoned               in favor          of     US Set No 084X4913                                    paths

tiled      Jan     6 1993 issued as US Pat No 3231287 and                                                                  SIMI

      US      Sea     No 0740266 filed Aug 3 1991 of S                                                                           A processor array architecture                                        wherein        all
                                                                                                                                                                                                                             proorsams         in

                                                                                                                           the                are COMMarecierl                         hum a                        Iroamation         straam
Vassiliadis            et   al entitled            Scalable           Neural       Array            Processor                        array                                                             Single

and        Method           iasued      as    US Pat No 5148513 and                                                        to    mettle Multiple Data streams hosted                                                one     per pima lasing


      US Set No 071682786                                                     8 1991 of G 0
                                                                                                                           element
                                                             Iliad    Apr
Puahanak           at       al   whiled           Triatsgular           Sealable          Natnal          Array                      REFERENCES                         USED IN ME DISCUSSION                                          OF
Proecasor           abandoned                in    favor       of     wainration               application                                                              11115         INVEN11014
VS          Sac        NO OS                 I$3              filed     Apr 22                1994 now                           During       the datailad                   tkaaarription             which        follows the        follow
catpandiog                                                                                                                 ins       works        will       be     referenced as                  an aid         for the reader         These
      These       applications               and       the     present       cootinuationitopart                           additional             references                 aro
  ppikasion             are        owned          hy     one         and     the    SAttle          asaignet                     t    la 3    love                W me Y Kim and T Ahotander Image
milady            International              Business              Machtrata            Corporation             of                                                                                                 t990s        loan Multi
                                                                                                                                      Computing                   Raquiratnenta                liar         the
Armonk             NY                                                                                                                 media Medicine Promuiings of site SPIE
                                                                                                                                                    to

                                                                        above                                                      1444Image Capitols IOrmaning and Diligay
      Thedesinipions                   set    forth      in lbese                   applications               are                                                                                                                            pp
hereby incorporated                     into       the    present application                                                      318413 1991
                                                                                                                                 2 R Cypher and 1 1 C Suns S1MD Anthitcotonaa                                                                 and
                                   ILOSSARY OF TERMS
                                                                                                                                      Algorithms                    for          Image        Processing                  and        COmputio
                                                                                                                                      Vision latE                       Thsnsactions arrAcoustica                             Speech        and
      ALU is the arithmatic
                                                                                                                                                                                                                   U pp 21582174
                                                                                        of a iftwatalliOt
                                                               unit    pinion
                                                                                                                                                                                              37 No
                                                   logic
                                                                                                                                                    Praverting                        Vol
Array
                                                                                                                                      Deoother                    1989
      Array odors to an attaf Itteftw at Or elements                                          one
                                                                                                                                       K E
                                                                                         in           or snore
                                                                                                                                 3                 Design of a Massively
                                                                                                                                                        Batcber              Parallel
dimentions
                                                                                                                                              IEEE Traristutiotts
                                                                                                                                      Processor                   on Computers  WI
                  prommorS              are       computers            which       have        many funo
                                                                                                                                      C29 No 9 pp 836840 Samfordaa 1980
      Array

Mout units or PES arranged and interconnac tad                                                to process in
                                                                                                                                 4 L         Ubr illithitComputer                              Architectures                 for Artificial
                                        parallel machines                                        proeassom
                                                                                                                                                                                               NY John Wiley
 an array Massively                                                          use    array                             aa
                                                                                                                                      Intelligence      New York                                                                         Sons
 for parallel           praxeasing            of       data     arrays       by    array        processing

cktnealts         of 41711         elements             An array can            includt an ordered                                    chap         8 p97 1987
set     of data        item array element which                                    in    langtoracs like
                                                                                                                                 3 13Y            Lae and               I        K Aaatairwal Parallel 24 Convolu
                                                                                                                                      tion    on         a        Mash Conacclad                                      Maaxissarr          IEEE
 Fitritan        are    ideelifiCil          by    a     single       name         and     in       other      tars                                                                                     Array

              such      a    mum of an ordered sat of data                               items refers to                              raiinaaatiotia                    on         Pattern              Analysis            and       Machine

 an ordered            COneCtiOa             Of set of data             elements              all   of    which                       Intelligence                  NitA          PAM19 No 4 pp 590594                                     July

                                                  An program                                                                           1947

                                                                                                                                                                                                        W Williams A
 have       identical         attributas                                                has doncostoos
                                                                            array

 sPecirred SeoatallY                   itY   a nutithcr            or dimension           attribute            The               6 E D               Eiahelbarger                      and     T                                         Logic
                                                                                                                                                        Structure                 for Trstability                   Prot        14th
 dectantor          of       the    array         may        also     specify       the       size    of each                         Design                                                                                            Design
 dimaosion              of       the                          some                                          some                      Armanorion                   Coofrreoce                 IEEE 1977
                                                                                                                                                                                                                  A
                                        array           in
                                                                            languages                In               at

 languages an array is an arrangement                                       of alarmMs in a table                                7 D M Young and 1 R Kincaid                                                          Tutorial        on Finite
 In    a    hardware             same        an    array       is     a 4011ekliOn            of structures                           Difference                  Methods              aid Ordering or Mesh                            faliats




                                                                                                                                                                                                                                     SINGULAR 00001430
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                                                                                               US 6405185                      III


                                                      3                                                                                                                           4
         Pmedins                 of the Fall Joint                  Qmoputer              Confereme                   WSW      is
                                                                                                                                      iransputer chip Woos Transputer 1MS
                                                                                                                                     cat13      the


         pp 556559                    Dallas          ikan       IFE1i        Nests           November                1800 is an example The bungs Transputer T800 is a 32 bit

         1986                                                                                                         device with an integral                          high speed              floating           point      primmer
     8 E KreystigAdennennangineetingiVothenutrics New                                                                   As an example of the kind of system that are
       York NY John Wiley Sows chap 97 pp 510a512                                                                     several hums Transputer moo chips each would have 32
           1968                                                                                                       communication                  link     inputs          and        32      link     outputs            Lint           chip

     9 US See No                     071799402             Nov 27 1991 by H
                                                            tiled
                                                                                                                      would have             a single         processor                 a small amount                      of    memory
         Olurawich            entitled          Multi Media Serial Line Switch                                        and     communicatioo                   links          to       the     local      memory and                        to   an


         ing     Adapter         for Parallel             Networks            and        Ileternintous                external         inlet   Noe          In     addition                 in order              so    build   up the
                                                                                                                                                                                                                   IMS       C011 and
         and                                                     Systems systems which                                               communication                     link                             111cc
                 Homoktgons                 Computer                                                                  system                                                          scientists


         allow dynamic                switehing           between            M1MD SIMD                      and       C012 would be connected                                In       addition          switches             like      a    IMS
         SISD                                                                                                         C004 would be provided                             m provide say a comber switch
      10    US Set No 07798788                                Alert      Nov        27 190 by P                       between         the      12    link      inputs         and 32 link                 outputs            to       pmvide

           M Xagge                                 Dynamie               Multi      mode Parallel                     point     to     point         connection                between                additional             ittwister

                                                                                                                      chips     In     addition there                   will          be special                                 and       inter
           Panmean Array Arehitecsure                                                                                                                                                                     circuitry

                                                                                                                      face                  for toinstrutets                                      them            to   be    used          for a
     These       additional         refereneeS          are incorpOrated                 by    refefellk                      chips                                          adapting

                                                                                                                      special        impost           taiknoti           to the             requirements                of a          specific

                 BACKGROUND                                lIlL     INVENTION                                         donee          a graphics   or disk controller The Means NS M212


     As background               for     ow inveranm the processing of visual                                         is a    10 bit    pr   mesa within chip memory and ciuminsitication
                                                                                                                      links     It   contains          hardware and logic                             to control            disk drives
information can                be eonWenxi                  to consist          of three         differeot
                                                                                                                      and can        be      used     as a        programmable                    disk          controller            or as a
processing           domains image                   procvssing              pattern       recognition
                                                                                                                                                      interface              In       order      to     use       the
and computer                graphics            The     merger of intagn                   processing                 general purpose                                                                                    contativeney

                                                                                                                                       operations                 Tomes           developed              a      special          tannage
pattern        reennitints            and computer               graphics           is   referred       to as         parallel

                                                                                                                      levant         for the trarispoter                 Programmers                     have to describe the
image nonvoting and                       retire
                                                 seats       a capability           required          by the
                                                                                                                      netwotk         of transpuntrs                dionnly              in   an Oceans                program
multimedia            workstations              of the future           Multimedia               refers to

                                                information in mote than one                                             Some          of these                                                    machines
a technique            that
                              presents                                                                  way                                               massively               parallel                                  use       parallel

such       as via     images graphics vdeo                          MAO and text in order                             processor arrays of processor chips                                      which         are intennonnenaxt

to    enhance         the     comprebensibility                  of the       information and                 to      with different            topologies The                        transputer          provides               a crossbar

improve          humanotriputer                    interaction           See Additional Ra                            network         with the         addition              of ISIS             0004 chips                 Some other
erence         1                                                                                                      systems         use      a hypercutto               COMOMOW                       Others           use      a    bus       or

      In the                                                                                                          mesh      to     connect         the                                              and        there     associenxl
                 never ending quest for faster computers engineers                                                                                                microprocessora
                                                                                                                                       Some have been                         interconnected                      by    circuit        switch
are      linking        hundreds               and     even       thousands               of    low         cam       circuitry

tniereprocessors                together         in
                                                       parallel         to   create       super       super           promisors that WIC switchea at processor addressable net
                                                                                                                      works Generally as with the 14 RISC16000s which were
computers           that      divide      in   order to conquer               complex           problems
                                         machines           Such         machines                     called          interconetned             hat    fall       at   Limantux Livermore                               by wiring the
that       stump       todays                                                                  are
                                                                                                                      machines          together           the processor addressable networks                                               have
massively           parallel         Multiple         computers              operatingIn             parallel

have       existed      for    canes                                                                                  been      considered            as coarse grained                          muhiprocessers

                               machines            inciwkd          the      ILLIAC which was                            Some very              large         machines                 are     being         built       by       Intel         and
      Early    parallel

started in the 1960 Other multiple nettnensots inchnk One                                                             Cube           and     others         its    attack             what       are     called          grand              amt
a partial sunatuary in US Pat Na 4975834 issued Dee 4                                                                 knee           in data         processing                   However               thew           computers                are

 1990 to Xu at al the Cedar Sigma                                  1      the                        and     the      very      expensive             Recent            projected             coats          are       in the      miler of

                                                                                                                      $3000000000                             $7500000000                          Tern                omputer
                                         ire The Connection                                                                                                                                                                                     ter
Monarch              the      Intel                                                   Machines               the

Catlett          COSMIC               the  N Cube HIMS                       RP IBMs                  tif             computets whose development has been                                                   funded by the                      US
        NYI3                                                                    sod ibuchstrate                       Government               to attack           the   grand               challettges                Thew           gtanti
the                 Ultra     Computer the                 Intel    Delta

                                                                              with ILLIAC               have          challenges               would              include         such             problems                 as        climate
      Large    multiple processors                      beginning
been        considered                                               with                                             modeling            Thad tarbulence                     pollution dispersion mapping                                       of
                                    supercomputers   Supercomputers
                                                                                                                      the      human           vitoinc                 and        ocean           circulation                     quantum
greatest       commercial             staems have been 113sed von multiple
vector        processors            repretectlet1          by     the    Cray       Research           YMP            chromodynamics                          semiconductor                            and         nupercompuier
                                                                                                                      madding combatoion                               systems vision                    and
systems          the    lliM     3090 and other inanufacturers tnachine$                                                                                                                                           cognition

                    those      of Amdahl Hitachi Fujitsu and NEC
including
                                                                                                                                     Probkins Addressed                           by our Oracle Machine
      Maseively         Parallel          Procemus           NiPPS            are now thought of
as capable             of     becoming           supercomputers                  Thew computer                           ii    is
                                                                                                                                     ambient              for massively                     parallel array               processors to

systems          aggregate           a   large     number          of mieroprocessors                       with       attack        adequately             the        image            comprising                problems                 which

 an itnerCOMSeelion                  network          and   program them so operate in                                 exist    One panic Mar                     algorithm used                   in     image processing                        is


 parallel There               have       neva two          modes of operation of these                                 ConvOlutiOn             which          replaces                each image              pixel value               with         a


                      Some of thew machines have                               been       mitoo mode                                    sum of the pixels in a defined sanounding                                                      arcs or

                     Mt
computers                                                                                                             weighted
machines                        of these         machinen           have        been       SIMI mode                  wiodow           of      pixels         A Mxtel                  square           convolution                   window

macinines             Perhaps            the    most       commercially                  acclaimed            of      consists al a            ien   oh   MaM weights each eorrespanding to the
these       meschimes         hsis       been    the   Connection               Machines             series       1    associated pixels located                         in the             window           Additional                    Refer
 anti      2 of Thinking              Machines Inc These                        have       been       men             ence      2       For     an     N by N                array          of    pixels           the      convolution

 natty       SIMD           machines             Many         of    the       massively              parallel          algorithm          requires         IVeN2         nuthiplination                   operations                  Assum
 machines have                used       microprocessors                interconnected                in par           ing     an    N      of 1024           and        a     M of 3 a single                           image             frame

 allel     to obtain        their     coneurrency            of parallel            operations          eapa           COnvialUdon           WOW take 9 million muniplicatMos                                                and       sum of
 bility       Intel
                        microprocessors                   like    i860       have        been    used by               mod= ealeulattioin                         per consohninn                   and       if    the processing                 is


 Intel     and    others        N Cube          has    made such             mactioes           with Intel             on     video      data       centring             at       a    rate    of MI frames                  per seeond
     386   microprocessors                  Other machines have been                            built       with       then 270 million multiplications aunt of product                                                     calculations




                                                                                                                                                                                                                                  SINGULAR 00001431
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                                                                                                                          US 6405185                              131


                                                                5                                                                                                                                                  6

per second                 would            be required For                          a uniprocesaor                    to process                          Prior to Inkling                     each      Ph has four ports                           and     there    ace    N
this    data               wheae           each        convolution                        window                weiltht          attic                proeessing                tatittS    C4411         posKsaing                   North            South        East      anti


must he fetched separately                                    with the multiply                            and       attd
                                                                                                                                treated               West        10 pods for nearest                          neighbor               with wrap around                     corn
as     separate                 otreratioms               and       followed                     by        a    saTite           of      the                                     placed         in     the     fort      of an            N by N matrix that                  has

weighted average                           pixel result             i   he convolution                         wituld consist                    $    been        folded along the                     diagonal          and         allows           the sharing          of the

of 27        separate               otierations            per pixel                  9 reads 9 multiplies 8                                          North        WA        South        PO ports with the ham and West 10 ports
adds        and             write                                       27       millionsill                                                                                                                             N by N
                                            resulting                                                          operations                                  For out                                                                                                    way      of
                                                               in
                                                                                                                                         per                                                           with      an                              matrix       the
                       1

                                                                                                                                                                                processor
seenrui            or      810        million operationa                              per        second              Additional                       connecting                prorassofs               is    with         3
                                                                                                                                                                                                                                process               providing        a    WM
Reference                   I Due            to     the    high computational                                    toad           special               conflicting               innaprocessor                  eommunica                  titans       mechanism             For

purpose processors have                                  been                                        off load                    image
                                                                    proposed                    to                        the                    to
                                                                                                                                                      example               a    mechanism                that        utilizes             a    unidirectional             corn
tnoevssing task                      from the sracea                        1115XXVOR0               and to pnwide                       the
                                                                                                                                                      rnumcation                                    between                                       can he       utilized       on
                                                                                                                                                                                strategy                              plooassors
adequate               through             put    required              for       image computing                               One of                the Oracle                                                 llte       non conflicting
                                                                                                                                                                                array processor                                                               interprotes
                                                                                               the
these                                                                                                  nearest             neighbor                   sor communications
                                                                                      is
             special                purpose            processors                                                                                                                                      natelianiato             can        be obtained             by requir
mesh connected                                  2 3
                                             mpurer           See Additonal                               References
                                                                                                                                                      ing    all   processors               utilize           a unidirectional                    and    same       direction

and 4pp 97 where multiple Processor Elements PEs are t                                                                                                corninumeation                      strategy
connected                  to   their             trthsouth                 east          west       tteighbor              Phut         and
                                                                                                                                                           With      our         nutathin             each      said        processing                unit    is   identified
allma areoptaateri in 3 synchronous Single Instruction
                                                                                                                                                      by     a    two       subscript           notation                                          in reference             to the
         Data SIMI fitshion                    PE can
                                                                                                                                                                         N by N
                                 aSsUated                                            is                         that       3
Multiple                                                                    It
                                                                                                                                                                                            matrix                                                                            the

                                                                                                                                                                                                                         KM
                                                                                                                                                      original                                                 prior to          folding              Accordingly
oammunicate                         with any           of its neagithoring                             Phs hut itply                     one
                                                                                                                                                      computing                 apparatus wilt                 have                         111cm001eA              tr43   wiles
                       PE at                time       Pot     exastmk each                               Ph     can        commu
neighbor                               a
                                                                                                                                                      where        K is the number of wires between processors which
nicate        to        their          east       tieightwa                 PE            in    one        <Of nrcusnicz
                                                                                                                                                      for    bit   serial interfaces K can he one Kai We support
cycle         It       is       also       assumed             that          a        broadcast                mechanism                   is
                                                                                                                                                                                           diagonal              uOits           the                            has        single
                                                                                                                                                      single        processor                                                                  3pflitt311O1

present such                    that       data    and instructions                            can   be communicated
                                                                                                                                                      processor             diagonal            units          identified                 as   Phi including                 data
simultaneously                        to    all     Phs       in one              broadcast                eommunicalitin
                                                                                                                                                      storage elements                     an execution                  unit         a broadcast             interface       for

period Bit                  serial         interfaces          are          typical             as they          were Present
                                                                                                                                                      the    communications                           of instructions                 and data                data
                                                              CM
                                                                                                                                                                                                                                                          a
                                                                                                                                                                                                                                                                      storage
in    are    Thinking                    Machines                           I     family                                                              interface             supporting                 initialization                 and         4   neatest      neighbor
      As is thus tectagnized what                                        is       needed             is   a     PE which can                          with   wrap around interfaie termed                                                        the     interprocessor
improve image computing improve                                                           spurt and              be adaptable
                                                                                                                                                      interface  and communications means

to     be    replicated                    as part        of    4       parallel                array          processor                 in a
                                                                                                                                                           We have also provided                               new     facilities              for computation               and
massively                  parallel          enviiontrent                        There          is a      need        to       improve
                                                                                                                                                      these        are described                 ill    the     detail          below
the     system               apparatus              for       use       in        solving              differential               equa
                                                                                                                                                             these          and     other                                             are              forth          the     fol
             We think                                         of PE                                                                                                                              improvements                                   set             in
tions                                3     new      kind                         is   needed              for    this problem
                                                                                                                                                                                                                                                                                  of
Creation               of       A    new          PE     and        inasKively                   parallel             compiling                       lowing         detailed             description                 Por        a    better          understanding

                                                                                                                                                      the        invention          with        advantages                  and       features           reference           may
System             apparatus                built      with         new           thought              will          improve              the

                                              which           need           to be             bandied                 the multi                      he     had     to the description                        and      to the            drawings
complex morasses                                                                                                 in                              ks


media image computer                                      held           and                     be
                                                                                       still               able        to       process
                                                                                                                                                                   BRIEF            DESCRIPTION                          OP 111E DRAWINGS
general purpose applications
                                                                                                                                                           110       1      shows         a Sadd        mesh for convolution                             image 1rofus4
                            SUMMARY OF 11E INVENTION
      The     improvernenas                         which           we have made result                                     in   a       new     c         Fin 2 ShOW                      3    mesh          PL      internal            StilICIUre
machine                                       We call the machine                                    which           implements
                       apparatus                                                                                                                           PIG          3       shows           an      8x8        mesh              in     accordance              with      our
our invention                       the      thaete        machine                     and       we        will       deacribe
                                                                                                                                                                            embodiment
                                                                                                                                            it

                                                                                                                                                      preferred
below Our                    present invention                      relates                to   the       apparatus              which
                                                                                                                                                           L1GS 4A 411 4C 413 4E 4P 40 411 41 and 43 show
enables            making                a massively                                       computing                                     We
                                                                                                                     system
                                                                                                                                                                                          car structure supporting transposition and
                                                                parallel
                                                                                                                                                      asymmetric PE
present            4    3       new        Pc and         related                organizariOns                   tA       computer
                                                                                                                                                      convolution
systems which can                            be employed                        in    a parallel               array enroptiter

                   or massively                                                                                                                            FIGS SA and SH show an 8a8 mash                                                            redrawn        with     our
sytaern                                           parallel          array              procesaatr
                                                                                                                                                                PE symbolism
      We      provide                  3    massively               parallel                   00113pilter            system              for
                                                                                                                                                      preferred

                                                                                                                                                             110S SA and 69 show an fixfs                                                             P on stmare mesh

                                                                                                                                                      A
                                                                                                                                                                                                                                     matrix
multi media                     and        general purpose                        applications                   including                the

use      of        a       finite          difference           method                     of    solving              differential               50
                                                                                                                                                                 and on          our preferred                  structure             01
                                                                                                                                                             FIGS IA and
                                                                                                                                                                                                A
                                                                                                                                                                                           711 show
equatioas                   Our          prOCeMig              is       a        triangular                prixessor                 may                                                                        an     batl          matrix transposed                     matrix

structure               Our         processor             array structure                        has          single           and       dnad         P on         square         mesh                   and on our preferred                            struenire

processing elements                               that    contain                mstatilikill              and data             storage                      FIG 8 shows                   at   oartvolution                wmdow
units receive                       instructions           and          data              and execute                instructions                            PIG 9          sttOwS         4 generalized                    mesh                  convolution
                                                                                                                                                                                                                                           for                             image
and      a    processor                    interconnection                       organizatMn                     and        3    way       to    55
                                                                                                                                                      processing
                                                                                                                 wraparound
                                                                                                                                                             no 0 shows a convolution
                   data          initialization                parallel                   functions
Support                                                                                                                                                                                                                               for       pixel     P45 Steps
                                                          comntunications
and     broadcast                   processor
                                                                                                                                                       through           4
      The                                  has preferably                        te                                  units       placed
               ciotoptriet                                                                processing                                                         FIG         11      shows                  convolution                   for       pixel     P45 Steps               5
                                            N by N matrix that has been
                                                                                                                                                                                                 at


              form of an                                                                                             folded
in the                                                                                                                               along
                                                                                                                                                       through           8
the diagonal                    and made up of single                                                                                 units
                                                                                                                                                                                                                                                              Step 9
                                                                                       processtir diagonal
                                                                                                                                                             FIG 12 shows a convolution                                         for pixel             1545
and dual psocestaar                           general           units             that         are     interconnected                     by
                                                                                                                                                             PIGS 13A and 130 show                                      a       mesh superimposed                          over     a
a nearest                                     woh wrap around interconnection                                                     struc
                                                                                                                                                                    R
                       neighbor

ture In the emnputer                              each        processing                       ekment           or    PE is          a   unit         region

of the        matrix Each                                                is       identified              with        4    reference                         FIGS 14A 1411 14C 141 and 14E show a our symmet
                                                  pnicessor

rotation               to the                            N by N                  matrix prior                        folding             that          ric    PE rail structure supporting a finite difference inethoi
                                      original                                                                  to                               55


supports                the         transport            of     N           by        N        matrix           algorithms                 to                Fla         1 shows                a      our      finite          difference             method         Steps         1




triangular                 array         algorittuns                                                                                                   through




                                                                                                                                                                                                                                                                      SINGULAR 00001432
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                                                          7                                                                                                                                       8
                                                                                                                                                                                                                                                    are con
     Note For eoneenience of illustration FIGURES may be                                                                         output ports                whose        transmistionenesaptiott                               direction

separated in parts sod as 3 cremation                                        we place            the top of the                  trolled          by Comettand                    Control loge                        based            upon iC40674
FIGURE as the tiret sheet with eutesequent sheets pieced                                                                         broadcast          commends The Command Warr logic allows
                                                                                                                                                    pod to be transmitting and One port
                                                                                                                                                                                                       NW
                                                                                                                                                                                                                                       to he receiving
it down and Act04S when viewing the FIGURE in the                                                                                only one

                                                              WSW
                                                                                                                                 5
                                                                                                                                 at a       time        For example                if    port                  is    transmitting then port
                      multiple sheets are                                                                                    S
event     that




                                                                                                                                            E
                                                                                                                                            will be                           and                                               transmitting then
     Ow detailed description                                                                                                                                  receiving                      if
                                                                                                                                                                                                   port                    is

                                                          explains           the    preferred              enthodi
                                                                                                                                 port              will        be receiving                  This        follows front the                        restriction

mettle        of       eta         invention          together               with                                 and
                                                                                        advantages                               clf   unidirectional                transmission                      of information between                                PEs
                   by was                                                                                       above
                                                                                                                                                                                                                                                       MG
                                    of                        with                               It    the
features                                   example                          reference
                                                                                                                                       In    the    mesh connected                       computer                  organization                   of                I

drawings
                                                                                                                                 and the           PE internal             structure               of FIG 2                it   can     be        noted       that



                      DETAILED DESCRIPTION                                         OF THE                                        during           any transmission                  of information in the structure only

                                                                                                                                 504 of the PE connection                                    wires are              utilized                  is desirable
                               INVENTION                                                                                                                                                                                                Is




                                                                                                                                 so aehieve                  the    Tame     functionality                     and         performance                  as        the

                                         INTRODUCTION                                                                            mesh         connected              computer                  with          halt    the        connecting               wires

                                                                                                                                 strew this amounts to a esvings of le wires with entreeponce
       Referringnow to the Piguree an example mesh computer
                                                                                                                                 Mg savings                   in chip      real estate                  The        Oracle          computer                  seam
               in FIG 1 lb minimize witieg
is depicatel                                  complexity bit                                                                     aizatino          achieves                                               The
                                                                                                                                                                             capability                                         step in the process
                                                                                                                                                                      this                                         first

        interfaces between PEe are assumed In PIG 1 the
                                                                                                                                                                                                          of Ks
                                                                                                      i
serial
                                                                                                                                 of creating                 the Oracle       organization                         to fold a meshis

meetming               elements            are      labeled       as        PE where                       denotes
                                                                                                                                                                                                        PE diagonal elanems ie
                                                j
                                                                                                                                 teemectal                                                     the
                                                                                                                                                         computer            along
the     matrix column                and             rignotes the             matrix row                  Each    PE             ter For example folding the                                                       mesh                                in 1110



                                                                                        W
                                                                                                                                                                                                          fixfs                  depicted


             N eeke
                 E                                        5
                                                              foes          interface                        labeled
processing             clement             contains                                              ports                            I    results      in the           Oracle         mesh shown                       its        FIG 3 where                       the
                                           South                  and Went                            With      wrap                                                     PE                       Pb
North                  East
                                                                                                                                 symmetric                   PEs                  and                        are     placed             together              The
around        con                           ie a          toms         eorteguratioa                      each        row
                                                                                                                                 symmetric PEs share trenemismon and          ports sym                               reception
                                                                                        N row there are                                                                    PEs PE W 5
asomitte          N    tromeormection                 wires and              with
                                                                                                                                 bolically indicated                      in FIG             a where the                   top
isi2   horizontal            itaerconatction                  wires          Each column                   contains
                                                                                                                                 N gad ii pofIN are shared with the bottom PEs PE N 11
N      intereontemion                wires and

                                                 wires The
                                                           with        N column                   there are           NI
                                                                                                                                 W and S porm respectively This sharing of IO ports in the
vertical      interconnection                                           total      number             of wires in
                                                                                                                                                                          shown                                                         FIG 4 Oracle
                                                                                                                                 symmetric Pres                     is                  in greater detail                        its


        mesh connected
                                                                                                                                                                    In FIG 4A the internal
the
                                         annotate with wrapround                                  connections
                                                                                                                                               PE Cell Structure
                                                                                                                                 Symmetric
       leeK where K                                       to the camber                 of inttaproceeceor
                                                                                                                                 symmetric Pb cell consists Of A COrtiMon
is                                       is equal
                                                                                                                                                                                   register ior
interconnection                    wires which             for        bit serial        interlaces              K can            both internal  PEs two pixel registers labeled Pij and P0 a
be     equal to          I                                                                                                       Selector  which allows  selection   of the  nutria p or its

                                                                              we
       In accordance                with our           invention                       have       prefersat            to         transpose              pr two            result            registers             It           and     It         and            two
describe          our invention                 with      bit serial          interfaces              We should                                                                     and                       The        PEs           also       contain
                                                                                                                                 receiving              registers           It                     115                                                              a



                                                                                                                                                                                  4
here     met          that          will    be      possible           to    have       effective            parallel            hit serial             multiplier indicated                                   the                 and        a    hit aerial
                                                                                                                                                                                                        by
                              it



interfaces            through        other          expedients              For Metance                   the   leth              adder indicated     by the     Only four IO ports are utilized
alinn        of       Howard          Olnowich                discloses            a   way        for use         of a            in the      symmetric dual PE cell as controlled from a single
protneol          to    interface                             onemunication                      with parallel                    Command                     Contoat             logic            that       deoeda              henadavst                  com
communication                      in a multi system environmeet                                  as described                    mands The ommand Control logic controls                                                                    not only the

in     US Set No 077996412                                      Mod Nev                 27 1991 in his                            direction         of the          1$ ports but also the setting of this switches
application              emitted           Multilsetelia Serial                             Line       Wending                    linking          the                   ports      to         the       tranemining                    and        receiving

 Adapter           for             Network
                             Parallel                                   and        eleterogettous                     and         registers             Me          shared        110          ports         am      indicated                as    top PE
liontorlotamee            Computer Systems                             tins application                    is   ino or            direetion         port           labelbonote                     PE direction                  pore label              where
notated        by      reference
                                                                                                                                            represents the top               Pb and PE represents the bottom PE
       With    appropriate               network           connections                 our       machine          may             The       choice            of top       and bottom Pb notation is for ease of

be     employed              with    systems which allow dynamic switching                                                        dieansift and representation                                         only
between            MID              SIMD and SISD modes as described in                                                                PIGS         413        slimed 4E                                     she                       of the          Internal

                                                                                                                       M
                                                                                                                                                                                         depict                     setting
 US See No 07119878h                     27 1991 by P     tiled       Nov                                                        switches           in support             of the            four transmission                         modes           In     PIG
Krum in his application entitled Dynamic Multi mode
                                                                                                                                                                                                                                                   N
                                                                                                                                  413       the    Contrnarsd                Control                   has     eel
                                                                                                                                                                                                                         up      the     switches                 arid

Parallel Proccessor Amy Architecture       Our PE cars loon

                                                                                                                                                                                         S
                                                                                                                                  tranernitterraeceivers                          his         a    transmission                   North                       with

part of A parallel array procieeeor composed of many twee                                                                         reception             front       the    South                       Rob         the             and bottom pps




                                                                                                                                                                           N
                                                                                                                                                                                                                           top
each      node         having        its   Pb and Memory and ports                                    to   comma                  transmit          North           while        both             are    Reviving                information                 from
oicate       externally             with other             nodes                                                                  the       South        This       is    indicated               by    fiallowing              the    armee in               FIG
       FIG 2 depicts a typical mesh Pb for use                                              in   implemeoting                     413   and        the notation                                for the top            PE tranelniseion and


                                                                                                                                                    S
 the    image prcxxssing                   convolution                algorithm as adapted                        from                             for       the    bottom         Pb              transmission                   The         thformatien

 Lee     Additional                Reference          5 with a more explicit depiction                                            received              is    indicated           by         the        atyowe           in      FIG 40 and the
             N S E and W
                                                                      WP                                                                                                                     PE receiving
 of the                                         transmittingreceiving ports                                     The    Pb         notation                          fen the       top                                           peso and eS for
 consists of four internal                          regietme                                It    and      R` The                 the       bottom            PE receiving                   port Using                    this notation                for       the

                       holds the irs pixel value as                                                    deough          an         lour       lea                     in the       symmenic                     PU ersite a                        simplified
 Po register                                                                     initialized                                                            ports

 image        initialization               path        which           could           be    through            ISSD              synexemey                   can    be     constructed                      fin    the         symmetric Pile                      as

                                                                                                                                                        NG SA where PE
              W
 See Additional Reference                                 0 scan paths                                                            ehownin                                                               is   the     top        PE and            PE         is   the


       lee               inieter           is    loaded with                an     element            of the      con             bottom           PE          Utilization              of        dtes       symbology                  in     the      Oracle

                      window                                                                mechanism                 and         teganization                 MOS           in    a simplified                     diagram             MG             ft3    indi

                                                                                                  R
 volution                             through             the     broadcast

               of      calcelations                 are    loaded            into       the                                       cating          the    regularity of the                        wiring           between             the    cells
 results                                                                                                     register

                                           between                                                                                      The        dual        mavenom                  internal              switch             consists           of

                                                                                                                                                                          A 0 C D and W X S and 2 where
 Results transmitted                                        Piis        are      received             into      the    115                                                                                                                                   eight



                                                                                                                      4
                                                                                                                                  connection
 register The                Ples     also contain                a    hit serial                                 inch                                        points
                             4 and A
                                                                                            multiplier

 cenal       by    the                          hit serial adder                 indicated            by the                            point      A is connected                       to        processor                        regieter                       that


 Pot     communication                     purpesles each                   PE contains eer input                                            receives data                from          the interproceesor                         interface




                                                                                                                                                                                                                                                   SINGULAR 00001433
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                                                                                                                                                                                               10
     point        11 is         connected         to processor                Puss       register            itij      that         Nerth through                  point         X     and transmission                  Eau through point
           supplies              data to       the imsaynecceste                    itinirfacc                                      V reception West linen point X In a second                                                       switch           state


                                                                                                                                                                                                              A and V and
     point        C is connected to processor                                 Pi   s     register                      that
                                                                                                                                    a    connection               path       between            points                                      between
                                                                                                                                    points           14   and     X    is    provided           for    two       Intnantieeionneceptioe

                                                                                                                                                                                                                                           X reeep
           supplies              data to       the interpmeeaseir                   ioterfacat

                                                                                                                               A    eauzs namely                   transatieseion              North         through          point
     point                 is   centavo41            to protaaskor            P              Kgistar          Ft       that
                                                                                                                                    twa South through                         point         Y and transmission West through
           twelves               data       from the        inereprotabisor                  interface
                                                                                                                                    point        X reception East through point Y                                             should        be noted
                  W                                                                                           mei
                                                                                                                                                                                                                         It



     feirnt                 is   connected             to    receivingtransmitting                                                  that the              receivingAranemitiing                       inechanisme consists                       of    two
           nisms            for       the     transmission                 and         reception              of       data         bidireetional                 thiVeriitceiver                mechanisms                   each    tesponsive
           Sow een               the    Pt s Viest                and       111s             North           neighbor         Ss
                                                                                                                                    in    one        state  to chive signals from the PE to an attached

                                                                                                                                    twerving            PE and responsive in another stele to twelve
                  X is cetruteeted                                                                                                                    to the PE from an atacheil     transmitting PE and
     paint                                             to    receivingtransmitting                            webs                  signals

                                                                                                                                    controls                                      to ensure that the bidirectional                               driver
           nisms            ror       the     transmission                 and         reception              or       dins                               ate provided

           between               the     PE    s       South          and     PE s             East          neighbor
                                                                                                                                    receiver

                                                                                                                                    both
                                                                                                                                                          mechanisms

                                                                                                                                                simultaneously
                                                                                                                                                                                  ere    not both

                                                                                                                                                                                 receiving            data
                                                                                                                                                                                                           simultaneously              driving or

           Pres
                                                                                                                              15          The folding of the                     square mesh structure                        along the          diago
     point        Y        is    coneected            to     receivingetrattsmitting                          tmeha                                                                     of the
                                                                                                                                    nal        places the         top       edge                      square       mesh in          line    with the
           Metals           for       the     transmission                 and                                of       data
                                                                                       reception                                    West        edge and           the East            edge     of the squareinesh                   in line           with
           between               the
                                        PLVs          North          and      PEs West                       neighbor               the        South    edge The                   2N wraparound                     connections                 of     the
           PES                                                                                                                                       mesh computer                                            which           are   between             the
                                                                                                                                    square                                             organization

     point        Z        is    cannected            to     retvivinoranstnining                             mean            20    Noahseems                    edges        and       the    EaStIVAtSt           INIgeS of         the        square
           nirens           for       the     transmisecion                anti        reception              of       data         array       out he shared                    in the Oracle             mesh erganization                     requir

           between               the    Mils East and                       PEs South neighbor                                      log only               N wraparound                  connections               Counting           the        Oracle

           PEs                                                                                                                      horizontal              interconnection                   wiring       and   considering               the   wrap
     The      dual                              switch                             kvannectionmo                       cnn          around connections                           as ItOtiZOttlal wires remits                        in
                            proetissor                          provides

tiectino         paths           between        points       A 0 CD                 and points               W XY             25

and  Z dependent upon the switch state In the oat switch                                                                                                                                sit
                                                                                              W
                                                                                                                                                                11xistii1                       istimait     Wires

state conesdon paths betweee  points A and    0 and C
and    X and D and V are provided for Tramatut East Receive                                                                                                                                            0                 emir
                                                                                                                                                                                                                                           Ai 41


West         In       a    second            switch     Mate         curesection              paths          between

points       A and X Band r0 and W and 0 and Z are provided                                                                   an

for Transmit                     North        Receive        South           In    a    third       swith            state           Counting                    the      °tack             vertical         interconnection                     wiring

connection                 paths       between         points        Amid V It and                   X C and Z                      mutts in

and 1 and                 A are provided               for   Transmit             South Receive                     North

and in a fourth                   switch       state    connection                paths       between             points                                                                                                             AlYs
                                                                                                                                                                                                             + N
A and Z                                                Y and 0 and X are provided for
                                                                                                                                                                VertNat      Ntrivs             414                  1

                      fl    and IV C and                                                                                      is


transmit           Were              Receive         Cam It           should            he    noted          that       the

receivingArensinitting                                mechanisms                       consists              of        font
                                                                                                                                          The        total      number           of Oracle            wirce
hidirectional                    dieterreceiver                 naechanisms each                        responsive
in one           state          to    drive                     Beat        the        PE     to     an      attectied
                                                                                                                                                 Um NosoNr
                                                sigoala

receiviug                 PE     anti       responsive           in     another          stale          to    receive         41
                                                                                                                                                                            ni   OttSk        Wirgs


signals          to        the       PE from an              attached                                         Pt and
                                                                                  transmitting                                                                                                                           N
                                                                                                                                                                                                                              trY


                                                                                                                                                                                                                                     11
controls          am provided                 to micelle that of the                    four hi directional

drivennieeives                       mechanism               only          two     are        simultaneously
                            data       and two
tranemining                                            are      simultaneously                 receiving               data               Where            K is    equal to             the    atornivr       of imerproccresor                       inter
                                                                Ewe Receive                   West Dimwit
       the       four eases of Transmit
                                                                                                                                                                                                                                     K can
for
                                                                                                                                    volinexstioo             wires        which         for hit aerial interfaces                                     be   1
North        Receive                 South      Transmit             South         Receive              North           and         The        total        number           of    Oracle         wires       is    demonstrated                  to       be
Transmit              West           Receive     East
                                                                                                                                    exactly           one       half the         number of wires required by                          the square
     The      diagonal                 Ma FIG MC sham the WestNoah                                                  ports           mesh         organization
and        the        SouthiEast               ports        requiring             only        two         pnits         per               Under           the   restriction            of naidirectiortal                information trans
                   PE cell EMS 40 through
diagonal                                                                           4J depict            the    setting              fer    between              Ma the two computer organizations                                           ate        next
or the       internal             switches        in support               of the       four       tratritnission
                                                                                                                                    demonstrated                  to   be functionally                 equivalent             Four eases must
modes The                   diagonal                                 internal          switch        mechanism
                                               processor                                                                            he     reviewed              namely
eousists          ot        four connection                                A             X and V where
                                                                                                          R
                                                                                   11
                                                             points                                                                       1     Transmit           North          Receive         South
            A is connected                    to the                         data
                                                                                                                                          2 Transmit South Receive North
point                                                      receiving                     register                   point
11    is    connected                  to                                                            data         to    the
                                                                                                                                          3 Transmit East Receive West
                                             register                 that        supplies                                    SS


interprocentot                   interface           point       X    is   connected               to     recniving
                            meettenisme for the                      bansmissino                and
                                                                                                                                          4 Transmit West Receive East
                                                                                                                WN
transmitting                                                                                              reception
                                                                                                                                                      shown                      the
of data                                                         PEs West                                                                                                                destination                           for    infoimation
                                                                                                                                          It    is                    that
                 between               the    diagonal                                  and        North                                                                                                      points

neighbor                  PEss        and     point         V    is    connected                to      receiving
                                                                                                                                    transmitted              between             the    PEs is the same              in Oracle as                it    is in


                            meehanisms                for the transmissionand reception
                                                                                                                                    the        mesh connected                    organization               For a    PE4
transmitting                                                                                                                  641



of    data       betweeo               the     diagonal          PEs South                    and       East        SE                    1 Transmit               North
                                                                                                                                                                                  PkyeePE0
neighbor              PEri       The        diagonal         switch        provides            eonnectionirso                             21kansmit South PliioPE04

connection                  paths       between             points         A B and                 points           X y                   3 Transmit               East       PlirePiEimi

dependent                  upon         the    switch           Stale       Its    one        switch           state      a               4 Transmit
connection                 path between              points      A end X and between points                                   as          Where            ifielee           or Heti then set iee1 or jeN                           andifi+JaN
     and     V is provided                     for    two                                                           cmea                                                     11             11                                              armee
                                                                                                                                                                                                                   wrap around
11
                                                                inuismissiotiereeeption                                             or    jelaN            then set                    or         for the
                  transmission
namely                                          South           through            point           le     reception                 home




                                                                                                                                                                                                                                            SINGULAR 00001434
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                                                            11                                                                                                                                            12

      In    Oracle         we       will     consider             tirst      the          symmetric tloel                    PL            that        proposed by                   S    Y      Lee and             J K Aggarwal The pro

cells when                                        PL                                   and           the   bottom            PE            ceasing element                       Cananal            structure              is    logically            depicted          ira




                                       i
                             in the top                                                         in


                                                        j
                                                                            icj


cells isj since                 the              and              values             we imerchangtid                                       FIG 2 as adapted                           from Ivo                with a more               explicit depiction

first       consideration             actomits              for all         Pis except                 the         diagonal                of      the    NS FW                      Trattamittinglieoaning                              ports

cells       which        are    considered              next For the symmetric dual                                          PE     5
                                                                                                                                                Assuming  NxN image is already loaded into the NaN
                                                                                                                                                                          an

mils and when                         if    i4a1or j I24 then set iaN or jatN and                                                          mesh P registers and the it` registers are Set  ZO0 the                                                    Itt



if    1+1aN         or j+IrN            then   set it or ja4 for the writpamund                                                            CMAMMion                       algotithm             can      Outdo           with the        broadcast             of the

comma ions                                                                                                                                 first       window             element          W            Th following steps are followed
      I Transmit               North        Receive South                                                                                  for      the     14
                                                                                                                                                               convolution   path where each step                                                in     the    path      is



            PE4      transmits          on the          NW          wire to                                                         tat
                                                                                                                                           depicted           with its corresponding step number                                                 in     FIG 9 It

            PE4 reasims on                   the       SI wire from Pb                                                                     should he noted that                           all   PLs calculate                   the   same operations on

                                                                                          PL                                                                                                                                                                 salmi

                                                                                                                                                                               W
                     transmits          on the          WIN         wire to                                                                their       pixel valuca                  and received                partial          summation

            PE       neeias on               the       LS wire from Pko                                                                                Broadcast                          and    Pb                calculates            RINW154
      2 Transmit               South         Reeeive             North                                                                                 and          transfers         RI        North

            PE4      transmits          on       the    SIL       wire to                                                                        2 Broadcast W                             and     PLi calculates R24214WAP4
            PE 4 receives on the NAV win from

                                                                                                                                                                                                   Ph
                                                                                                                                                       and          transfers         R2        North

            PE transmits on the ES wile to pEo                                                                                                   3 Itmadevst                   W          and                            calculates         R3412+WiP
            PE receives on the Wf14 wire from PEA                                                                                                      ia and              transfers            in East
      3 Transmit               Last Receive                 West
                                                                                                                                                 4 Broadcast WzA and 1145 calculates 114+R3+WPd1
                                                        LAS


                                                                                                                                                                               W
                     transmits          on       the              wire to

                                                                                                Pt
                                                                                                                                                       and          transfers         R4 Exit
            Ple4 receives             on the           WIN         wire              fawn
                                                                                                                                                 S Broadcast                               and                           calculates         It3114+WP
            PE       transmits          on       the    St win to
                                                                                                                                                                    and    transfers            RS South
            Ph receives on the NIW wire froM 4Ejtr
                                                                                                                                                 6 Broadcast W                             and     PF44 calculates R6ii125+WnPv
      4 Tosnsatit West                      Reseive          Last
                                                                                                                                                       and          transfers         R6 South
            PE transmits                   on the       W14 wire to
                     receives         on     the       EISwin from Pla                                                                           7 Broadcast Wx                            and                           calculates         R746+WPi
                                                        NNW wile to                                                                                      vat        and    transfers            R7 WI$1
            PLAA transmits                 on the

            PE receives on the SSE wire from PLA41                                                                                               8 Broadcast                   Wz and PEo calculates R8iill7+W21145
      For the         thitiginal        veils wherni                      iiaj       the following                  inhuma                             and          nattalena         1211      North

 non transfers occur                                                                                                                               9 Broadcast Wz and PE calculates R9R8+WA4                                                                          and

        I    Tranianit          North        Receive              Smith                                                                                stop
             PL transmits                  on the       WIsr        wins to                                                                        Al the end of the                       nine steps            each           Pb contains
             PER receives on                 the       SIE        wire       from              PEAA
                                                                                                                                                                                                                                  etWrie
      2 Transmit South Raisvive North
                                                                                                                                                                                                                           WA
                                                                                                                                     is

                                                                                                                                                                                                        OrnPc44+
        Pla transmits on the SE wire to Kim
                                      an               WIN                           from Ptio4

                                                                                                                                                                                                                                                                      P
             PLii receives                   the                   wire                                                                     In a       similar            manner             the    typical              annotation              operations             on

        3 Transmit              East       Receive           West                                                                          Oracle           ate       depicted             in    EIGS           If       ihrottgh           12    fin       pixel

                                                                                                                                                                           NAN image is already
             Pb transmits on the LiS wire to                                                                                                Assuming                  an                                                        loaded into                 the Oracle

             PL4                       on the          W14         wire              from                                                   Po registers                  and the          Wo registers are set to zero the wave

                                                                                                                                                                                     W
                     receives
                                                                                                                                            halm algorithm
      4 Transmit                west        Receive          Last                                                                                                                    can     begin            with       the     bsoaderee              of    the     first


                                                                                                                                            window                                              The
             Pb transmits on the W44 wire to n121                                                                                                               element                                  hallowing               steps are            followed         lot


                                                                                                                                                                                                        where            each
                                        from FLA
                                                                                                                                            the              convolution                                                                               the
             PLa receives on the EIS                              vvite                                                                                P4                                  path                                       step       in
                                                                                                                                                                                                                                                               path       is


                                                                                                                                                                    with       its                                                number              in    FIGS        10
      In     all    cariea     no conflicts             OCCUI         and            the crrovaa              destination                  depicted                                  corresponding                       step

                   remain       the                          in the                              mesh              connected                through                 12 It       should             be    noted           that     all   PEs calculate                  the
 points                                sante           as                        square
                                                                                                                                            same operations                          on    their pixel values                         and    received           partial
 organization              of       Plis



                                                                                                                                                                                W
                                                                                                                                            summation                  values
                                                       TRANSPOSITION
                                helAfRIX                                                                                                           I     Broadcast                         and                            calculates             R16+WAP
        In the transposition                  of matrix             Tr                 the     row     vectors of the                Sat
                                                                                                                                                                     and transfers                 RI on        the       19W wife

                                                                                                                                                   2 Broadcast Nisr and

                                                                                            e pP
 matrix            become            the     column               vectors               of      the     transposition                                                                                            calculates             1120R14WPAL4
                    p° An athitrary element                                          of matrix                      becomes                              and        transfers         R2 on             the    NiW wire
 element            p     in the           trenspoaition              mania                            The          diagonal                       1 Broadcast Wa and                                                    calculates          R3a52+47
 elements            remain                  same           in     Grade a                     matrix                 and                                                                          R3 on the WS                   win
                                                                                                                             p
                                      the                                                                                                                141 and
                                                                                                                             its
                                                                                                                                                                            transfers

 transmit can he
                                                                                                                                                                               Wa and
                                      easily       selected           since both                     the element
                                                                                                                                     S4            4     linsadcrist                                             calculates             R4aR3+WP
                                                                    pt are prenun                             in the     dual

                                                                                          p
 and         its   tamesporiding                 element
                                                                                                                                                                                                               LS wire
                                                                                                                                                                                W
                                                                                                                                                         and transfers                54 on             the


                                                             P
 elements             Asalector             RI   the    output            of the                     registers         allows
                                                                                                                                                   S Broadcast
                                                                                               Pr                                                                                          and
                                                                                                                                                                                                               A         calculates          ft5aR4+WA

                                                            I
 the                of    the        elements                                or        in                  in
                                                                                                                                                                                                                          SF wire
            use                                         In                                                                                                                                                           A
                                                                                                                    atiesilied
                                                                                                                                                                     and    transfers              RS on the
                          For example a                             matrix                     shown                 FRI 6A                                     I


                                                                                          is                   in
 optratioIa

 and        as loaded           NS    to     Oracle          is   shown                in      FIG     fill                                        6 Broadcaal WAa and PLms calculates RhalkS+WaaP4
                                                                                                                                                                                                               kt wire
        The        trampose          of matrix              P is PT and                        shown          in     WI 7A                               and        transfers         R6 on             the

                                                                                                                                                   7 Broadcast WA and PE4 taliatiatesR1isR6+WP4
                                                                                          is


     and as loaded onto                     Oracle          is    shown              in     rm ilk
        MI 8 minx sents a convolution                                      window FIG                                                                    trit        and transfers                 B7 on        the       WIN wire

                                                                                                                                                                                                   Mg
                                                                                                              if   ilittstrases


     image                                 convolution              on                            mob For the                                      S Broadcast Wti                         and                     calculates

                                                                                                                                                                                                               NW wire
                   processing                                                    a    square

                                                                                                paw a 24 con
                                                                                                                                                                                W
                                                                                                                                                         and        transfers         RS on             the
 image             processing          thali      considered                 in this                                                  ss

     volution        with       a    3x3     convolution                    window FIG If                             will   be                    9 Broadcast                             and      Pb         calculates                                              and
     arsumed          The technique                 employed                     tut    the      mesh structure                is
                                                                                                                                                         stop




                                                                                                                                                                                                                                                              SINGULAR 00001435
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                                                                                                                        US 640515                               131


                                                                     13                                                                                                                                                 14

   Ai the          end of the                        nine stens each                         PLCcimtairisr                                                                                                    continued

                                                                                                                                                                                              4
            Pe49114cov1A                                             Li
                                                                          4343                       W                                                                        tn y            TR1x

                   WRes kfP4114404VPits+116                                                   Pk


Welt for pixel 1145
   0P45nW11P304W12P354W13P344W23P444
                                                                                                                                                                    ireafrwriaria41P03                                                                                            A
           1A+33P54+W32P534W3                                             P564V121P4O+W21P45                                                                                                                                                                                      so

            FINITE                    DIFFERENCE                           METHOD EXAMPLE                                                     10     If       IttPleans            equation              is    considered


   Finite          difference                        methods              for solving                    differential        aqua                                                                                                                                                  4
tiorni      are        widely                used         in a       number                  d   scientille            and       engi
                                                                                                                                                                                      eh

neering          ftel4t               iamb as physies mechanical                                          engineering             and

electriral             engineering                        In   such methods                          the derivatives              45f   a

differential                    equation              am approximated                                by    difference            quo                 Where           An01 and                       RethiEnFoltin0

tittns      that            may          be     obtained              front             a    unmated           Taylor        series                           A unique solution                       may be obtained when the boundary
Additional                      Refrrence                 7                                                                                          conditions                S    in the          regionR are given LaPlams equation

                                                mace                                                                                                 may be exprmed                                as small differences                                substitution the


                                                                                                1
                                                                                                                                                                                                                                                fly
   In      the         finite            dill                      method               consider           a seraindorder
                                                                                                                                                     following equation                            7a          is   obtained
partial
             differential                       equation equation

                                                                                                                                                                    4uspitUxAy100tte4440VWUtxt4t
                 tar    rs                   au                u           at
                                                                                    t   E        4119G
                                                                                                 4
                                                                                                                                                              Ibus she value of Mxyean                                              iimputed by in                          tif        an

                                                                                                                                                      iterative           method              using       the        formula         7b
   nem A                    B C U E P and                                 Cs       are functions            of     x and         y and                              setv044t+kF+1000uti144etcyisirs                                                                               Otit


continuous                      in a      region           R       with        a    boundary              S Me function
                                                                                                                                                                   Places                      Poissons
                                                                                                         S                                                                          and                                  equations              are     widely           used          in

uxy must be etathatiouts in both R and                                                                                                                              theoretinal                    and                                                        such         as     the
                                                                                                                                                      many                                                 application               problems
      In   finite           di ffere nix methods                               a   mesh is superimposed                          over
                                                                                                                                                      analysis           of vibrating mothstries Additional                                                  Reference             ft
the                             R     as shown                  in    F16               13a          and    the        differential

                       1
        region
                                                                                                                                                              Equation             71i can               tie
                                                                                                                                                                                                                   enamptated         on        Oracle            by mapping



                                                                                                W
                                                                               differenee                                        each
                                                                by
                                                                                                                                                                          7b inequation 8 swing the
equation                            is    replaced                        a                              equation           at
                                                                                                                                                                                                                                                 Oracle           notation             as
                                                                                                                                                      equation
mesh                                The                                                                                      central
                                                                                                                                                                                                                             FIG 4
            priim                            partial           derivatives                   are replaced              by
                                                                                                                                                      presented in the                        diseusion                 of
differMst                   quotients                equations                 2a   2d                     131
                                                                                                                                                                                   Pq h4Vi 661V31+141iP
                                                                                                                                                                                          1                                                                                            Cs


                             PO 4 ha r                             14 rilit2Ast
             761
                                                                                                                                                              This notation                   is   continued                 kir nominuity               though            the     Ph
                                                                                                                                                      internal           structure                 PIG        4A        is   nsodifted           for the          finite    differ

                        s lare y                lt    tax y               tAti2k                                                  i219
                                                                                                                                                      ence         method algorithm with the modified PE shown in FIG
                                                                                                                                                      14A           he diagonal PEs are also modified from the form
                                                                                                                                                                               Fla 4F                                                                                              PE
                                                                                                 y
             ▪
                                                                                                                                                      shown              in                          in        a    similar         manner              to    die dual

                            u            +           yi    itt                          Zeck
                                                                                                                                                      structure               The                              PEs contain            one            execution           unit     and
                                                                                                                                                                                     diagonal

                                                                                                                                                      registers           appropriate                for       a single        Ph the structute                     is   interred
                   u                                                                                                                                  from FRI                 14A            the     same transmissionfrectiving                                       PC ports
             1z1
                                tUt   X 74 hs1 Os y                           4         Zkizt

                                                                                                                                                      and eontroIX                 are utilized in the                       new     Ph internal structure hut
                                                                                                                                              as      the       computation                   functions              are      modified      An adder with an
                                                                                                                                                      accumulatimAtitler                            is   tullited to provide                         the Mirilinathnl             and
      Wtuae             Is and tivam the                           mesh spacing                       in the           and   y axes
                                                                                                                                                                                                                                                                  8 The
                                                                                                                  it

                                                                                                                                                      division            by 4 operations                          inquired         by         equation
respectively                                               Usually the mash spicing in limb the
                                                                                                                                                                         monis a maximum atetplat4e
                                                                                                                                   3                                                                                                                                for use
hotiiontal                   and vertical                  directions                   is   the same equation                                        register                                                                             error value                                 by
                                                                                                                                                      the       compere             logic          After a          new Pii value is computed                                     it    is


                                                                                                                                              so      compared                to the previous                       Pitj      value       and if        the difference                  is
                                                                                                                                        C3

                                                                                                                                                      greater than                  the       maximum acceptable                                trial        in
                                                                                                                                                                                                                                                                   any     PE the
                                                                                                     2d in equation 1
                                                                              h
      Substituting                       equations              2ir            thrtaigh
                                                                                                                                                      calculations                 must be continued                           Since           all    Pris must          have          an

            114 and                                                                                                                                   error value               that          is   less than the         maximum acceptable error
with                                  multiplying                  by                   the      following equation                     is


obtained
                                                                                                                                                      the       contnaning                    system               must know the state of the Ks
                                                                                                                                                                                                    This can             be obtained by sending                            a logic
                                                                                                                                               $S     compare                 operation

             narOcoeittla+40ntanetv044v4stat>ititilx0100xrt                                                                             ret
                                                                                                                                                      <aline         front          each           PE      through             the        mash          structure           to     the

                                                                                                                                                      controlling system                            for a global               analysis              Fla          1413     through

 Where                                                                                                                                                    14E      presents the                switch              and   I0 port configurations                            for         the

                                                                                                                                                          North South East and                                     Wan       transaninsiiin             modes

                       11   MY                  2
                                                                                                                                   oat         so             The initial

                                                                                                                                                      dependent                 The
                                                                                                                                                                                    values loaded into the

                                                                                                                                                                                              accumulators
                                                                                                                                                                                                                                      pis

                                                                                                                                                                                                                                    are
                                                                                                                                                                                                                                               reglrirer are psobleit

                                                                                                                                                                                                                                           initialized             to    yero     and
                                                                                                                                                          a   maximum acceptable                               error value                is    loaded into              the      W6
                                                                                                                                   13                                                                                                                         am folliiwed
                                                                                                                                                          register After initialisation                                 the following steps

                                                                                                                                                          refer     to    FIGS         15          smps             1    through          3 corresponding                    to the

                                                                                                                                   01          its        COHOWII314           listed
                                                                                                                                                                                              stops

                                                                                                                                                                                                                                      P
                             ifta                          y
                                                                                                                                                               1                1     Transmit                 North          the               values            and      add         the

                                                                                                                                                                                                                         W
                                                                                                                                                                    Step

                                                                                                                                                                   received          values              us the                value




                                                                                                                                                                                                                                                                         SINGULAR 00001436
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                                                                                                  US 6405185                       BI

                                                  is                                                                                                                               16

   2      Stop     2     Ttaaamil           Last       the    1i      values              and         add     the                  a   Ph designatad ITN                        shares the inputoutput                polls with

        waived          values to          the    114    value                                                                          a   Ph     designated               PL where whom and row sub
   3      Step     3    Transmit           South        the    Po
                                                                       Walk                 and       add     the                       scripts      i    and         j    reapactivaly           are       mammal positive
        received        values       to the   k value                                                                                   intagata

                                                                                                                                        Ks with                                                         Ma
   4 Step 4 Trattamit                      West
                                                   P   the             valutas            and         add     the                                          iaj     are      designated        top

                                                         value                                                                          pia       with             an dasigoatad bottom PEs
        received        values       to the       Ws
                                                                                                                                         PEs       with                                                                PEs      and
   5 Step 5                                                                                                                                                  ioj          are     designated           diagonal
                         Shill      the    accumulated               value             in    R        right
                                                                                                                  2
                                                                                                                                             wherein
                         to accomplith             the    division by 4 and compare
        positions
                                                                                                                               the diagonal              PEs are each              coupled       to   two adjacent oroa           of
        the    shifted        accumulated              value                     with       the       original
                                                                                                                       ss
                                                                    lt`ki


        value                             whether       the two        values arc                widen the                         the      PEs each         at       one of said          plurality of If0 poras               and
                   Pi to verify
                                                                                                                                   each                          PE at a Corner of the array is wraparound
        maximum specified                    error      The    tomtit            of the      cxnupate             is                         diagonal

                                    the              of      the                   where          a                                coupled          to a noncliagonal        PE at another corner of the
        transmitted            to          edge                     stray                               global

        termination of comaTome                                is tested               for                                         array

   If   global     eonsergattoo has not been reached then the abovv
                                                                                                                               2 The processor may aut04in                                    to claim         I wherein the
                                                                                                                             PE4   each           further        compr4t             means         for       transmitting       and
ptraoaasis continued                 until       convergence                is   reacted

                                                                                                                  of         receiving       data    in
   While         we have        described          Our       profaned             et   the


our iovantura            n will      be    trudetstood             that     those skilled in the                               a transmit matMeiIvo avast mode for transmitting                                              data to

                 now and                                                                                                                        PE over one of said II ports while receiving
                                                              may main make various                                                the east
art both                            in the       futurc

improvements              and        enhancements                  which           fall      Within           the                  data      form the west PE over another of the 110                                        MU
scope      of the       claims which              follow       These             <donna          should           be           b transmit northreceive                            south    mode for transmitting               data

construed to maintain                 Mt proper           froXectian for the                      invention                        to       the    notth         PE        over     tate    of    said       10      pinta    while

first   disclosed                                                                                                                  receiving         data        from the           south    PE over          a another of the

   Whin       is   chitin           is                                                                                             Ii0      parka
    1 A processor                         vomprng
                                array
                                                                                                                               c transmit southaveeive                            north    mode for transmitting               data

    a   plurality        of processing             etamanta            PEa arranged                          in    a               in       the    amah          PE         over    one      of       the    110     peals    white

        multidimensional array                         the    PEs each                  comprising                 a
                                                                                                                                   receiving         data        from the          north    PE over another of the 110
        plurality        of    inpuorrumut              14         posts          each           of    the    110
                                                                                                                                   ports          and
        ports      for transmitting and                  receiving               data
                                                                                                                                d transmit westiteceive east mode for transmitting data to
    the   PLa each coupled                 to four adjacent                 onna       of the plurality                            the      west     PE over one                  of the              ports while receiving
                                                                                                                       izi



        of    PES each          at   one     of    said plurality                of    10 ports and                                data      from the            east       PE     over    another          of the   110 ports

        whanio each           PE along an edge of the array is wrap                                                             3 Tha             promssot                array    awarding             to   claim     2     curdle

        around         coupled  to another PE of the plurality of Pfaa                                                                             means of processing                     a square matrix algorithms
                                                                                                                             comprising

        Moult      a    nonadjacent           edge       of the       array said four                       adja             whereby         the    array        is   intemormacied               maim       half as many        PE
        cent onta of the             PEA are designated                     as north             south east                  inurrcooneetions                             two
                                                                                                                                                           as a                   dimensional
                                                                                                                       as
                                                                                                                                                                                                        square array
          and west       PEs                                                                                                   4 The processor array aaaainting to claim 2 wherein said
    wherein        the    PEA       are    cuptart        in 3      folded          nvaah         such       that            VO ports each comprise a bit serial communication scheme
          pairs    of    the    PEa       share     said      plurality             of inputoutput

              ports




                                                                                                                                                                                                                           SINGULAR 00001437
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                         EFS ID                                  16678389




                 Application     Number                          13849606




        International    Application       Number


                Confirmation      Number                        6059




                   Title of   Invention                         Processing    with   Compact Arithmetic          Processing            Element




      First   Named InventorApplicant           Name            Joseph     Bates




                  Customer Number                               24208




                          Filer                                 Robert PlotkinKaren      Del Greco




                  Filer Authorized     By                       Robert Plotkin




               Attorney Docket      Number                      A0006 1001C2



                     Receipt Date                               24AUG2013



                       Filing Date                              25   MAR 2013


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                   Application Type                             Utility   under 35 USC   111a



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Warnings

Information




                                                                                                                                              SINGULAR 00001438
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New Applications Under 35 USC 111
                                                               and the application                                                                                         date see 37 CFR

               d
If   a   new application           is   being       filed                                      includes     the necessary components                       for a filing

153b                   and MPEP         506 a Filing Receipt 37 CFR 154 will be issued in due course and the date shown on this
Acknowledgement                    Receipt      will    establish           the filing      date of the application



National          Stage of an International Application under 35                                  USC 371
If   a timely submission to enter the national stage of an international application                                                    is   compliant with the conditions of 35
USC 371 and other applicable                             requirements a Form PCTDOE0903                               indicating        acceptance of the application as a
national         stage submission under 35                          USC 371          will   be issued     in   addition to the Filing Receipt                    in   due course


New International                Application            Filed with          the USPTO as a Receiving Office

If   a   new international              application            is   being    filed   and the international application includes the necessary components                                             for

an international               filing   date see PCT Article 11 and MPEP                           1810 a Notification of the International                             Application        Number
and of the International Filing Date Form PCTRO105                                               will    be issued   in   due course subject                  to prescriptions concerning

national security               and the date shown on this Acknowledgement                                       Receipt   will   establish        the international             filing    date of

the application




                                                                                                                                                                            SINGULAR 00001439
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                                       PATENT APPLICATION                                                            FEE DETERMINATION                                     RECORD                  Application   or   Docket    Number

                                                                                              Substitute             for   Form               PTO 875                                              13849606



                                        APPLICATION                                AS FILED                      PART               I
                                                                                                                                                                                                                          OTHER THAN
                                                                             Column            1                                    Column 2                                  SMALL ENTITY          OR                   SMALL     ENTITY

                            FOR                                        NUMBER                 FILED                   NUMBER EXTRA                                        RATE$        FEE$                      RATE$                    FEE$

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                                   DL        Of   0
             Ft       1   le
                                                                                       NA                                               NA                                  NA           300                          NA
EXAMINAT                        3N FEr                                                 NA                                               NA                                  NA           360                          NA
37 CFR 1160                        w
TOTAL                     CLAIMS
                                                                            42                                                           22                                  40          880
37 CFR 116i

INDEPENDENT                              CLAIMS
                                                                                                                                                                            210          420
37 CFR 116h

                                                              If       the specification                 and drawings exceed                            100
APPLICATION SIZE                                              sheets             of paper the application                               size fee due          is

FEE                                                           $310 $155 for small entity for each additional                                                                             000
37 CFR 116s                                                   50 sheets or fraction thereof See 35                                               USC
                                                              41a1G and 37 CFR 1165
MULTIPLE                        DEPENDENT                     CLAIM          PRESENT                  37 CFR 116j                                                                        D00

      If   the        difference             in   column           1   is   less       than    zero enter            0     in   column          2                          TOTAL        2030


                                 APPLICATION                                AS AMENDED                                PART               II




                                                                                                                                                                                                                          OTHER THAN
                                                         Column              1                                  Column          2              Column     3                   SMALL ENTITY          OR                   SMALL     ENTITY
                                                              CLAIMS                                             HIGIli

                                                         REMAINING                                               NUMBER                                                               ADDITIONAL                                         ADDITIONAL
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<            Application                Size      Fee   37 CFR              116s

             FIRST              PRESENTATION                  OF MULTIPLE                     DEPENDENT              CLAIM      37 CFR 1160                                                         OR

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             FIRST              PRESENTATION                  OF MULTIPLE                     DEPENDENT              CLAIM      37 CFR 116j

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                 If   the      entry         in   column       1       is less than           the entry         in   column      2 write            0
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                 If   the       Highest            Number              Previously             Paid For          IN   THIS       SPACE is less than 20 enter                  20
                 If   the      Highest            Number       Previously               Paid       For   IN   THIS      SPACE            is   less than   3   enter   3
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                                                                                                                                                                                                                                SINGULAR 00001440
                 Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 269 of 436



                        UNITED SIAFES PATENT                             AND MAD                               OFFICE
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     APPLICATION                FILING   or                 GRP ART
       NUMBER                  371c   DATE                    UNIT           Ill         ILICI                            ATTYD0                                              TOT CLAIMS        IND CLAIMS

     13849606              03252013                          2193                  2100                                   A0006 1001C2                                               42                       5

                                                                                                                                                              CONFIRMATION                      NO 6059
24208                                                                                                                                  UPDATED                     FILING        RECEIPT
ROBERT PLOTKIN PC
15 New England Executive                            Office     Park                                                                        M                                                                  11111
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Burlington MA 01803


                                                                                                                                                                    Date        Mailed 08072013




Receipt     is   acknowledged               of this          non provisional         patent application                  The application              will    be taken up for examination
in   due course Applicant                   will        be notified as        to   the    results     of the        examination            Any correspondence                          concerning                 the

application        must include the following                         identification       information the                US APPLICATION NUMBER                                           FILING          DATE
NAME OF APPLICANT                           and TITLE                OF INVENTION                Fees transmitted               by check            or draft are subject                   to   collection

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Inventors
                                Joseph Bates Newton                          MA
Applicants
                                Singular             Computing          LLC Newton               MA

Power of Attorney The patent                                 practitioners         associated       with       Customer Number 24208


Domestic         Priority data              as claimed by applicant
                                This application            is a CON of 13399884 02172012 PAT 8407273
                                which         is    a   CON of 12816201 06152010 PAT 8150902
                                which claims benefit of 61218691                                  06192009

Foreign Applications                   for     which         priority   is   claimed       You may be eligible                  to   benefit         from the Patent                  Prosecution

Highway program                 at    the   USPTO Please see httpwwwusptogov                                              for   more information                          None
Foreign     application          information                must be provided             in an Application               Data Sheet            in   order to constitute                   a claim         to


foreign    priority      See 37 CFR 155 and 176




Permission         to    Access             A proper            Authorization              to    Permit            Access       to   Application                   by     Participating               Offices

PTOSB39             or   its
                               equivalent               has been received by the                   USPTO



Projected Publication                    Date              To Be Determined                pending completion                   of Security           Review


Non Publication                Request               No


Early Publication               Request                 No
     SMALL ENTITY
                                                                                             page     1   of   3




                                                                                                                                                                                          SINGULAR 00001441
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Title


                     Processing         with       Compact                Arithmetic          Processing                    Element


Preliminary Class

                     708


Statement under 37 CFR                        155 or 178 for AIA First Inventor                                               to   File Transition            Applications              No

                        PROTECTING YOUR INVENTION OUTSIDE THE UNITED                                                                                                    STATES


Since     the   rights     granted       by a         US patent extend only throughout                                             the   territory        of the    United States            and have        no
effect    in   a foreign     country            an    inventor             who wishes               patent             protection        in   another       country        must apply         for    a patent
in   a specific      country      or    in     regional          patent          offices           Applicants                may wish         to    consider       the   filing    of   an    international

application      under the Patent Cooperation                                  Treaty        PCT An international PCT application generally has the same
effect   as a regular national patent application                                      in   each     PCT member country The PCT process                                           simplifies the filing

of patent applications            on the same invention                           in   member countries but does not result                                        in   a grant of an international

patent       and does not eliminate the need of applicants                                          to   file     additional         documents            and fees in countries where patent

protection      is   desired



Almost every country              has        its   own patent law and a person                                         desiring      a patent        in   a particular      country      must make an

application      for    patent    in    that country                 in   accordance               with    its
                                                                                                                   particular         laws Since the laws of many countries                             differ


in   various    respects        from the patent law of the United States applicants                                                      are       advised    to   seek guidance              from specific

foreign      countries     to   ensure that patent rights are not                                   lost    prematurely



Applicants       also are advised              that    in    the case of inventions                        made in the               United        States the Director of the                USPTO       must

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Applicants       may wish        to    consult         the      USPTO            booklet General                            Information       Concerning           Patents        specifically         the

section      entitled   Treaties         and Foreign Patents                                for   more          information          on timeframes and deadlines                        for filing    foreign

patent applications             The guide             is   available            either       by contacting                   the   USPTO           Contact Center          at   8007869199              or   it




can     be viewed on the          USPTO              website              at   httpwwwusptogovwebofficespacdocgeneralindexhtml


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this   website includes selfhelp toolkits                                 giving       innovators           guidance               on how     to    protect    intellectual       property       in   specific

countries       such as China            Korea and Mexico                              For questions                   regarding         patent      enforcement           issues       applicants        may
call   the   US Government               hotline           at    1   866 999 HALT 18669994258




                                                                                                    page        2 of    3




                                                                                                                                                                                         SINGULAR 00001442
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                                                            LICENSE FOR FOREIGN FILING UNDER

                                                           Title     35      United        States            Code Section 184

                                                Title       37 Code of Federal Regulations 511                                                              515

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The       applicant       has been granted                    a license       under 35         USC 184               if       the    phrase          IF REQUIRED                             FOREIGN          FILING

LICENSE             GRANTED followed                        by a date appears             on     this   form Such               licenses             are issued            in        all
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set forth      in   37    CFR 515 The                     scope and limitations of this license are set forth                                        in   37 CFR 515a unless an                                earlier

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respect       to    certain       countries               of other   agencies           particularly         the   Office            of     Defense         Trade          Controls                 Department        of

State       with     respect           to    Arms Munitions and Implements of War 22 CFR 121128 the Bureau of Industry and
Security           Department               of Commerce  15 CFR parts 730774 the Office of Foreign AssetsControl Department of
Treasury           31 CFR         Parts        500+ and the Department                     of       Energy

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LICENSE            GRANTED DOES NOT appear on this form Applicant                                                    may            still   petition       for   a license under 37 CFR                          512
if   a license      is   desired        before        the expiration         of 6   months from the filing                     date of the application                          If     6    months has lapsed

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USC 181 the licensee may foreign                                     file   the application          pursuant            to   37 CFR              515b



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                                                                                            page      3 of   3




                                                                                                                                                                                                    SINGULAR 00001443
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                                  ATTORNEYS            DOCKET      NO        A0006 1001C2


                      IN    THE   UNITED       STATES       PATENT       AND    TRADEMARK         OFFICE




Serial       No                                    13849606
Confirmation          No                           6059

Title                                              Processing            with Compact Arithmetic
                                                   Processing            Element

First    Inventor                                  BATES          Joseph

Filing Date                                        March         25     2013



Examiner                                           NA
Art   Unit                                         NA



         RESPONSE      TO    NOTICE       TO   FILE MISSING             PARTS       OF NONPROVISIONAL


                                                  APPLICATION


        In    response       to    the   Notice        to   File Missing            Parts    of


Nonprovisional             Application         mailed       on    May    30     2013       Applicant       hereby

submits       a   substitute        specification           with        15     line    spacing      in


compliance         with     37    CFR    152b
        No    other    amendments          have    been     made        to    the   substitute


specification              and    the    substitute         specification             contains      no    new


matter


        Applicant          therefore       respectfully            requests         that    the    attached


substitute         specification          be     deemed      to    complete         the    reply to       the


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May   30      2013




                                                                                                           SINGULAR 00001444
         Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 273 of 436
Application    Serial     No    13849606               Attorney     Docket     No    A0006 1001C2




                                                   CONCLUSIONS


       If    the   Examiner         wishes     to    discuss       this   Response          the    Examiner


is   requested       to    call     the     Applicants        attorney         at   the    phone    number

listed below


       No    admission         is   made     herein     explicitly         or       implicitly       that    any


amendments made            herein are         made    for    reasons      of    patentability


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No    501797



Respectfully         submitted



Robert       Plotkin                                        July    30    2013

Robert      Plotkin        Esq                              Date

Reg    No     43861


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                                                             2




                                                                                                     SINGULAR 00001445
         Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 274 of 436



                                  ATTORNEYS            DOCKET      NO        A0006 1001C2


                      IN    THE   UNITED       STATES       PATENT       AND    TRADEMARK         OFFICE




Serial       No                                    13849606
Confirmation          No                           6059

Title                                              Processing            with Compact Arithmetic
                                                   Processing            Element

First    Inventor                                  BATES          Joseph

Filing Date                                        March         25     2013



Examiner                                           NA
Art   Unit                                         NA



         RESPONSE      TO    NOTICE       TO   FILE MISSING             PARTS       OF NONPROVISIONAL


                                                  APPLICATION


        In    response       to    the   Notice        to   File Missing            Parts    of


Nonprovisional             Application         mailed       on    May    30     2013       Applicant       hereby

submits       a   substitute        specification           with        15     line    spacing      in


compliance         with     37    CFR    152b
        No    other    amendments          have    been     made        to    the   substitute


specification              and    the    substitute         specification             contains      no    new


matter


        Applicant          therefore       respectfully            requests         that    the    attached


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May   30      2013




                                                                                                           SINGULAR 00001446
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Application    Serial     No    13849606               Attorney     Docket     No    A0006 1001C2




                                                   CONCLUSIONS


       If    the   Examiner         wishes     to    discuss       this   Response          the    Examiner


is   requested       to    call     the     Applicants        attorney         at   the    phone    number

listed below


       No    admission         is   made     herein     explicitly         or       implicitly       that    any


amendments made            herein are         made    for    reasons      of    patentability


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No    501797



Respectfully         submitted



Robert       Plotkin                                        July    30    2013

Robert      Plotkin        Esq                              Date

Reg    No     43861


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                                                                                                     SINGULAR 00001447
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Attorney   Docket   No A0000 1001C2


                             APPLICATION    FOR

                    UNITED STATES LETTERS         PATENT




Title           Processing with       Compact Arithmetic

                Processing       Element




                        Inventors       Joseph Bates




                                                                 SINGULAR 00001448
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Attorney Docket       No A0006 1001C2



                                             Processing                 with


               Compact Arithmetic Processing Element

                            CrossReference                  to Related            Applications


         0001             This application           is   a continuation           of   US Patent Application
Serial   Number 13399884                   filed   on February 17 2012                    entitled    Processing         with


Compact      Arithmetic Processing                 Element now US Patent Number 8407273

Attorney      Docket      No A0006 1001C1 which                        is    a continuation      of    US Patent
Application    Serial      Number 12816201                    filed   on June 15 2010                entitled


Processing         with   Compact        Arithmetic Processing                    Element now US                Patent

Number 8150902              Attorney         Docket         No AXXXXXXXX                  which claims the benefit


of   US Provisional Patent Application Serial Number 61218691                                           filed   on June

19 2009       entitled     Massively          Parallel       Processing           with   Compact      Arithmetic


Element Attorney             Docket        No A0006 1001L                   all   of which are hereby


incorporated       by reference          herein



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                                                         Background


         0003             The    ability   to compute          rapidly has          become     enormously


important     to   humanity           Weather and           climate    prediction medical applications


such     as drug design and noninvasive                       imaging             national   defense     geological


exploration financial            modeling          Internet    search network communications

scientific   research       in   varied fields           and even the design              of new computing


hardware      have each become dependent                        on the        ability    to rapidly perform        massive

amounts      of calculation            Future progress           such as the computer aided                     design of




                                                                                                                         SINGULAR 00001449
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Attorney Docket         No A0006 1001C2


complex nano scale systems or development                                            of   consumer products                    that can        see

hear and understand                 will       demand        economical               delivery         of    even greater

computing          power

          0004              Gordon Moores prediction                             that computing                performance               per

dollar would        double every two years has proved valid for over 30 years                                                         and

looks     likely   to continue       in    some form               But despite              this   rapid exponential


improvement           the    reality      is   that the      inherent          computing               power      available          from


silicon    has grown far more quickly than                           it   has been              made available               to software


In   other words although the theoretical                            computing                  power of computing                   hardware

has grown exponentially the interfaces through                                            which     software           is   required to


access the hardware                limits      the ability of software                     to use hardware                  to perform


computations          at anything          approaching              the       hardwares            theoretical              maximum

computing          power

          0005              Consider a modern                     silicon      microprocessor                 chip      containing          about


one billion        transistors      clocked           at    roughly       1    GHz On each cycle                        the    chip    delivers


approximately one useful arithmetic                           operation              to the      software         it   is   running         For


instance      a value       might be transferred                    between               registers another                 value might be


incremented perhaps a multiply is accomplished                                                  This   is   not   terribly       different


from what chips did 30 years                       ago       though the clock                   rates are perhaps                   a thousand


times faster today


          0006              Real   computers                are   built       as physical          devices and                the


underlying         physics from which                 the    machines are built                    often exhibits             complex and

interesting        behavior        For example a                  silicon       MOSFET             transistor is a device


capable of performing               interesting             nonlinear operations                        such as exponentiation


The   junction       of two wires can                 add currents              If
                                                                                     configured             properly a         billion



transistors and        wires should be able to perform                                    some significant              fraction      of a


billion   interesting       computational               operations             within a         few propagation                delays of the

basic components             a cycle             if   the overall         design           is   a traditional          digital      design

Yet todays          CPU chips use their billion                      transistors to enable software                              to perform


merely a few such            operations               per cycle not the significant                          fraction       of the billion


that might     be possible




                                                                                                                                             SINGULAR 00001450
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                                                 Summary

        0007           Embodiments          of the present      invention are directed             to a


processor or other device             such as a programmable andor massively                             parallel


processor    or other       device which      includes   processing         elements designed                to


perform arithmetic          operations     possibly but not necessarily            including for

example one or more of addition                 multiplication      subtraction and division                  on

numerical    values of low precision but high dynamic                  range      LPHDR arithmetic
Such a processor or other device               may for example be implemented                       on a single

chip    Whether or not implemented              on a single chip the number                   of   LPHDR

arithmetic   elements        in   the processor    or other device        in   certain   embodiments              of


the present       invention significantly      exceeds      eg by      at least     20 more than three

times the number of arithmetic elements                  in   the processor       or other device            which


are designed       to perform       high dynamic     range arithmetic          of traditional       precision


such    as 32 bit or 64 bit floating         point arithmetic


        0008           In   some embodiments low precision                      processing         elements


perform arithmetic          operations     which produce       results that frequently             differ    from


exact results by at least          1 one       tenth of one     percent         This     is   far worse


precision    than the widely used IEEE 754 single precision floating point standard


Programmable embodiments                   of the present     invention     may be programmed with

algorithms that function           adequately     despite these unusually           large relative           errors

In   some embodiments the processing                 elements       have high dynamic range                       in



the sense that they are capable              of operating     on   inputs      andor producing outputs

spanning     a range at least as large as from one millionth to one million



                                  Brief Description      of the Drawings


        0009           FIG us an example            overall    design of a       SIMD processor

according    to   one embodiment           of the present     invention


        0010           FIG 2 is an example          of the Processing           Element Array of a

SIMD processor         according      to   one embodiment          of the present        invention


        0011           FIG 3 is an example          of how a Processing             Element         in   a


Processing     Element Array communicates                data with other parts of the processor




                                                                                                                  SINGULAR 00001451
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Attorney Docket       No A0006 1001C2


according     to   one embodiment           of the present      invention


           0012        FIG 4 is an example             design for a Processing            Element


according     to   one embodiment           of the present      invention


           0013        FIG 5 is an example LPHDR                  data     word format according              to   one

embodiment         of the   present       invention


           0014        FIG 6 is an example             design for an       LPHDR arithmetic            unit



according     to   one embodiment           of the present      invention


           0015        FIG 7 is an original image

           0016        FIG 8 is an image blurred by a blur kernel according                            to   one

embodiment         of the   present       invention


           0017        FIG 9 is an image produced                by Richardson          Lucy deconvolution

using floating      point arithmetic        according     to   one embodiment       of the present


invention


           0018        FIG 10 is an image produced                by Richardson           Lucy

deconvolution       using     LPHDR floating          point arithmetic     with   added noise fp+noise

according     to   one embodiment           of the present      invention


           0019        FIG 11        is   an image produced       by Richardson           Lucy

deconvolution       using     LPHDR logarithmic            arithmetic    Ins according       to       one

embodiment         of the   present       invention



                                            Detailed      Description


           0020        As described          above     todays    CPU chips make inefficient use of

their transistors       For example a conventional                CPU chip containing            a billion


transistors might enable            software to perform         merely a few operations               per clock


cycle      Although    this   is   highly   inefficient   those having      ordinary skill       in   the   art



design     CPUs in this way for what are widely                 accepted     to be valid     reasons          For


example such designs               satisfy the often       essential     requirement       for software


compatibility      with earlier designs          Furthermore they deliver great precision


performing      exact arithmetic          with integers typically       32 or 64   bits   long    and

performing      rather accurate           and widely standardized          arithmetic     with 32      and 64      bit



floating   point   numbers          Many applications need          this   kind   of precision         As a




                                                                                                                  SINGULAR 00001452
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Attorney Docket     No A0006 1001C2


result   conventional       CPUs typically are designed              to provide such           precision using

on the order of a million transistors to implement the arithmetic operations

         0021        There are many economically                   important            applications however

which are not especially          sensitive       to precision    and that would            greatly benefit        in



the form of application       performance           per transistor from the ability to draw upon a

far greater fraction    of the computing            power      inherent    in   those      million transistors


Current architectures        for general
                                                 purpose computing          fail    to deliver     this
                                                                                                          power

         0022        Because        of the      weaknesses        of conventional           computers such as

typical microprocessors           other kinds of computers             have been developed                  to attain


higher performance           These machines               include single    instruction       streammultiple

data stream      SIMD designs multiple instruction streammultiple data stream
MIMD designs reconfigurable                     architectures     such as field programmable gate


arrays   FPGAs and graphics processing unit designs GPUs which when
applied to general      purpose computing                  may be viewed         as single instruction


streammultiple thread         SIMT designs
         0023        SIMD machines               follow a sequential        program         with    each

instruction    performing     operations         on a collection     of data            They come     in   two main

varieties     vector processors          and    array processors          Vector processors               stream


data through     a processing           element    or small collection          of such      elements          Each

component       of the data stream         is    processed      similarly       Vector     machines gain

speed by eliminating         many instruction fetchdecode                  operations        and by pipelining

the processor     so that the clock            speed      of the operations        is   increased


         0024        Array processors             distribute    data across a grid of processing

elements      PEs Each element has                  its   own memory            Instructions     are broadcast

to the   PEs from a central control              until sequentially        Each         PE performs the

broadcast     instruction    on   its   local data     often with the option to sit            idle   that    cycle

Array processors      gain speed by using silicon efficientlyusing                           just one


instruction    fetchdecode        unit to drive      many small simple execution                   units in


parallel


         0025        Array processors             have been built using fixed               point   arithmetic       at


a wide variety of bit widths such as                1 4 8 and wider             and using      floating      point




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arithmetic            Small      bit   widths allow the processing                          elements to be small which

allows more of them to fit                    in   the   computer               but    many operations must be carried

out in sequence               to perform           conventional                arithmetic       calculations               Wider widths

allow conventional                arithmetic        operations                 to be completed             in   a single cycle           In



practice       wider widths are desirable                            Machines            that   were       originally designed               with


small bit widths              such      as the Connection                      Machine 1 and              the   Goodyear Massively

Parallel       Processor which                each       used        1    bit   wide processing                elements evolved

toward wider data paths to better support fast arithmetic producing                                                          machines

such     as the Connection                Machine 2 which                       included       32   bit   floating         point hardware


and    the     MasPar machines which                      succeeded                the      Goodyear machine and

provided 4           bit   processing         elements          in       the    MasPar1 and               32    bit   processing

elements        in    the    MasPar2

          0026                Array processors             also           have     been designed                to use analog


representations              of   numbers and analog                       circuits      to perform            computations             The

SCAMP          is    such    a    machine           These machines provide low precision arithmetic                                                in




which     each operation                might introduce perhaps                         an error of a few percentage


points    in   its    results          They   also introduce                   noise    into    their computations                 so the


computations               are not repeatable              Further they represent only a small range of


values corresponding                    for instance        to       8    bit   fixed point values               rather than providing


the large       dynamic range              of typical      32 or 64 bit floating point representations


Given these limitations the                        SCAMP was not                   intended as a general                     purpose

computer             but    instead     was designed and used                          for image          processing             and   for


modeling        biological         early vision          processes                Such       applications             do   not   require a


full   range of arithmetic               operations        in    hardware and                   the      SCAMP for example
omits general division                  and    multiplication              from       its   design

          0027                While      SIMD machines were popular                                 in   the    1980s as

priceperformance for microprocessors                                      improved designers                    began       building


machines from               large collections            of communicating                      microprocessors                   These

MIMD machines                 are fast and           can have             priceperformance comparable                              to their


component             microprocessors but they exhibit the                                  same inefficiency                as those


components             in   that they deliver to their software                             relatively      little    computation            per




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transistor


           0028           Field       Programmable         Gate Arrays FPGAs are integrated

circuits    containing         a large grid of general           purpose       digital   elements      with


reconfigurable          wiring    between those elements                  The elements        originally were


single digital         gates such as AND and               OR gates but evolved              to larger elements


that could        for instance          be programmed            to   map 6 inputs to 1 output           according         to



any Boolean function                  This architecture          allows the FPGA to be configured                   from


external    sources       to    perform a wide variety of digital computations which                            allows


the device        to be used          as a co processor          to a   CPU to accelerate         computation

However       arithmetic         operations        such as multiplication           and   division     on integers

and   especially        on floating       point    numbers        require      many gates and          can absorb a


large fraction         of an    FPGAs general             purpose       resources        For this reason modern

FPGAs       often devote a significant               portion     of their area to providing            dozens      or


hundreds      of multiplier blocks             which      can be used instead of general purpose

resources for computations                  requiring      multiplication        These     multiplier blocks


typically   perform       18    bit    or wider    integer   multiplies        and use many         transistors          as

similar multiplier circuits             do when they are part of a general purpose                       CPU

           0029           Existing       Field     Programmable          Analog Arrays FPAAs are


analogous         to   FPGAs          but their configurable          elements     perform analog processing

These devices           generally        are intended to do signal processing such                       as helping

model      neural      circuitry       They are relatively low precision have                 relatively       low


dynamic range and                introduce        noise   into   computation         They have         not   been

designed      as or intended for use as general                         purpose computers              For instance


they are not seen by those having                     ordinary skill      in   the art as   machines          that can


run the variety of         complex algorithms with floating                    point arithmetic        that typically


run on     high    performance           digital   computers

           0030           Finally       Graphics      Processing         Units   GPUs are a variety of
parallel    processor          that evolved        to provide     high   speed graphics        capabilities         to


personal computers                 They offer standard            floating     point computing         abilities    with


very high     performance             for certain tasks          Their computing          model   is   sometimes

based on having           thousands         of nearly      identical     threads of computing            SIMT




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which      are executed                by a collection                of    SIMDlike          internal   computing        engines each

of which      is   directed        and             redirected         to perform        work for which         a slow external


DRAM memory has provided data                                          Like    other machines that implement                        standard


floating     point arithmetic                      they use       many transistors for that arithmetic They                               are

as wasteful of those transistors                                in    the    sense discussed             above    as are general


purpose       CPUs

           0031                 Some GPUs                  include support              for 16 bit floating        point values


sometimes               called    the        Half format The CPU manufacturers                                     currently            such as


NVIDIA       or    AMDATI               describe           this      capability       as being useful for rendering                      images

with higher         dynamic            range than               the    usual 32       bit     RGBA format which                 uses 8     bits



of fixed point data per color while also saving                                         space over         using 32       bit   floating


point for color           components                      The    special       effects        movie firm Industrial         Light        and

Magic      ILM independently                          defined an identical                  representation        in   their OpenEXR


standard which                  they describe               as   a high dynamic range HDR image                                  file   format


developed          by Industrial                  Light      Magic for use in computer imaging applications

Wikipedia          late    2008         describes the 16                     bit   floating     point representation              thusly

This format is used                    in    several        computer graphics environments                             including


OpenEXR OpenGL and D3DX                                          The advantage over 8 bit or 16 bit                       binary


integers      is   that the increased                     dynamic            range allows for more             detail    to be


preserved          in    highlights           and shadows The advantage over 32 bit                                    single     precision


binary formats             is   that    it
                                                  requires      half the      storage         and bandwidth

           0032                 When              a graphics          processor       includes         support for 16       bit    floating


point that support                is   alongside             support for 32             bit   floating    point and       increasingly


64   bit   floating       point        That is the               16    bit   floating    point format is supported                  for those


applications            that    want         it    but    the higher precision                formats also are supported

because they are believed                            to    be needed for traditional                   graphics    applications            and

also for so called general                           purpose           CPU applications Thus                     existing       CPUs

devote substantial                resources               to 32       and     increasingly         64 bit arithmetic            and are

wasteful      of transistors                 in    the    sense discussed               above

           0033                 The     variety of architectures                      mentioned          above are all attempts                 to


get more performance                         from        silicon      than    is   available      in   a traditional     processor




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design      But designers              of traditional          processors       also    have     been       struggling         to use


the   enormous         increase         in   available         transistors to improve            performance             of their


machines          These machines                often are required              because         of history         and

economics         to support           large existing           instruction     sets such         as the      Intel      x86


instruction      set    This      is   difficult        because         of the law of diminishing             returns which

does not enable              twice the        performance           to    be delivered        by twice the transistor

count     One facet of these designers struggle                               has been         to increase         the    precision


of arithmetic      operations since transistors are abundant                                  and some         applications


could    be sped up significantly                  if   the processor          natively supported             long       eg 64
bit   numbers          With     the increase             of native fixed point              precision from         8 to 16 to 32


to 64 bits       and   of floating           point from 32 to 64             and sometimes 128                bits


programmers have come                        to think     in   terms of high         precision        and    to develop


algorithms based on the assumption                              that     computer processors                provide such


precision since          it   comes as an               integral    part of    each new generation                  of silicon


chips and thus          is    free

          0034                Embodiments               of the present        invention       efficiently     provide


computing        power        using a fundamentally                     different   approach          than those described


above       In   particular       embodiments                  of the    present     invention        are directed to


computer processors                or other devices                which     use low precision              high   dynamic

range    LPHDR processing elements to perform computations                                               such       as

arithmetic       operations

          0035                One variety        of     LPHDR arithmetic              represents        values from one

millionth    up to one          million      with a precision             of about     01        If   these values were


represented        and manipulated                 using the        methods         of floating       point arithmetic they


would have        binary       mantissas           of no       more than 10          bits   plus a sign bit        and     binary


exponents        of at least 5 bits plus a sign bit                        However          the circuits to multiply and


divide    these floating          point values            would be relatively           large         One example              of an


alternative      embodiment             is    to use a logarithmic             representation           of the values             In



such     an approach            the values         require        the    same number of bits to represent                        but


multiplication         and     division      are implemented               as addition and            subtraction


respectively of the logarithmic                         representations             Addition    and     subtraction            may be




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implemented           efficiently             as described         below                   As a result              the area of the


arithmetic        circuits       remains relatively               small          and        a greater               number       of computing


elements         can be fit           into    a given      area of silicon                   This      means the machine                          can


perform         a greater        number             of operations           per       unit   of time or per unit                      power which

gives     it   an advantage             for those        computations                      able to be expressed                        in   the   LPHDR

framework

               0036            Another embodiment                      is    to use analog representations                                    and

processing          mechanisms                  Analog          implementation                    of   LPHDR arithmetic                       has the


potential       to be superior to digital                     implementation because                                 it   tends to use the

natural        analog physics of transistors or other physical devices                                                      instead of using


only the        digital    subset of the devices                   behavior                  This      fuller        use of the devices

natural        abilities      may permit smaller mechanisms                                   for doing              LPHDR            arithmetic         In



recent years             in   the     field    of silicon       circuitry             analog methods                      have been

supplanted          by     digital      methods            In   part    this          is   because         of the          ease       of doing


digital     design compared                   to analog          design           Also       in   part         it   is    because           of the


continued         rapid scaling               of digital      technology               Moores             Law compared to analog
technology            In      particular at           deep submicron dimensions analog                                            transistors no


longer work as they had                        in   prior generations                  of larger scale                    technology            This


change         of familiar behavior                  has made analog design                            still        harder       in   recent years


However           digital      transistors are             in   fact analog                transistors used                 in   a digital        way

meaning          digital      circuits        are    really     analog       circuits         designed               to    attempt to switch

the transistors between                       completely         on and completely                        off       states        As scaling

continues even                 this    use of transistors is starting to                           come face to face with the

realities       of analog        behavior             Scaling of transistors for digital use                                     is   expected

either to stall       or to require digital                   designers               increasingly             to    acknowledge               and work

with analog          issues            For these reasons                 digital           embodiments                     may no longer be

easy      reliable         and scalable and analog embodiments                                            of        LPHDR arithmetic may

come to dominate                    commercial          architectures


               0037            Because              LPHDR processing                       elements             are relatively              small a


single      processor or other device                         may include a very large number                                         of    LPHDR

processing          elements adapted                    to operate               in   parallel with                 each other and




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therefore          may constitute       a massively parallel                 LPHDR processor             or other device

Such a processor or other device has not been described or practiced as a

means of doing general                 purpose computing                    by those having ordinary skill                 in   the


art       for at least    two reasons          First   it   is   commonly believed by those having

ordinary skill           in   the art that   LPHDR computation and in particular                              massive


amounts            of   LPHDR computation whether                       performed       in    a massively parallel              way

or not        is   not practical    as a substrate           for moderately            general computing               Second

it   is   commonly believed by those having                           ordinary skill     in   the art that massive


amounts            of even      high precision    computation                on a single chip or in a single

machine as is enabled by a compact                               arithmetic      processing       unit   is   not useful

without        a corresponding         increase        in   bandwidth          between processing elements

within       the machine and into and out of the machine because                                   computing          is   wire


limited       and arithmetic        can be considered                  to   be available       at no cost


              0038             Despite these viewsthat massive amounts of arithmetic                                        on a

chip or in a massively parallel machine                           are not useful and that massive amounts

of    LPHDR arithmetic              are even    worseembodiments                        of the present         invention


disclosed           herein demonstrate          that massively parallel                 LPHDR designs               are    in   fact


useful       and provide         significant    practical         benefits      in   at least several     significant


applications

              100391           To conclude      modern           digital     computing         systems provide high

precision          arithmetic but that precision                 is   costly     A modern double precision

floating       point multiplier may require                 on the order of a           million transistors           even

though only a handful of transistors is required to perform a low precision


multiplication                Despite the common            belief      among those           having ordinary skill             in



the art that modern applications                  require             high precision      processing          in   fact a


variety of useful algorithms function                       adequately          at   much lower precision                  As a

result such algorithms may be performed                                 by processors          or other devices


implemented              according     to   embodiments               of the present          invention which         come

closer to achieving              the goal of using a few transistors to multiply and a wire


junction       to   add thus enabling           massively parallel arithmetic                    computation          to    be

performed           with relatively     small amounts                 of physical      resources    such           as a single




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silicon    chip        Although              certain       specialized        tasks can function           at   low precision            it




is   not   obvious and             in   fact       has been viewed as clearly false by those having


ordinary skill         in   the    art that relatively               general        purpose computing             such      as is


typically      performed           today on general                  purpose computers                can be done at low


precision         However               in   fact   a variety        of useful      and important algorithms can be

made to function             adequately               at    much lower than 32               bit   precision     in   a massively


parallel       computing          framework and                certain        embodiments             of the    present     invention


support such           algorithms thereby offering                           much more efficient               use of transistors

and thereby provide improved speed power andor cost compared                                                           to


conventional           computers

           0040              Various computing                   devices         implemented           according       to


embodiments             of the      present          invention        will    now    be described          Some of these

embodiments                may be an instance of a SIMD computer                                    architecture       Other


architectures          may be used such                      as MIMD architectures                    programmable           array


architectures          such as FPGAs and                       FPAAs or GPUSIMT architectures                                 The

techniques        disclosed             herein       may for example be implemented                             using    any

processor         or other device                  having     such an existing architecture                     and   replacing       or


augmenting            some or all             existing      arithmetic         units   in   the    processor      or other     device

if
     any   with   LPHDR arithmetic                     units    in    any of the ways disclosed                  herein       Devices


implemented            according              to    embodiments              of the present         invention     however           need

not    start    with an existing               processor        design         but instead          may be designed           from

scratch        to include         LPHDR arithmetic                   units within      any of the        architectures        just


described or any other architecture


           0041              Embodiments                   of the present           invention       may for example             be


implemented            using the architecture                   of a particular             kind of   SIMD computer             the


array processor               There are              many variations and               specific       instances       of array


processors         described             in   the scientific         and commercial                literature     Examples

include     the    Illiac    4 the Connection                  Machine          1   and     2 the Goodyear MPP and the

MasPar         line   of    computers

           0042              Embodiments                   of the present           invention       need not however                be


implemented            as SIMD computers                        For example embodiments                         of the present




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invention      may be          implemented        as    FPGAs FPAAs or related architectures                                          that


provide for flexible connectivity                 of a set of processing                      elements             For example

embodiments              of the   present      invention          may be implemented                     as    GPUSIMTs and

as MIMDs            among others              For example embodiments                          of the        present       invention


may be implemented                 as any kind of machine                      which     uses       LPHDR arithmetic

processing          elements       to provide computing                      using a small       amount            of resources


eg       transistors or           volume compared                 with traditional            architectures


Furthermore references                   herein to processing                    elements           within     embodiments                 of


the present          invention     should be understood                       more generally as any kind                        of


execution          unit whether         for performing            LPHDR operations                   or otherwise


             0043             An example SIMD computing                          system        100      is   illustrated        in   FIG 1

The computing                system     100 includes a collection                  of    many processing                  elements


PEs 104                 Sometimes present are a control                         unit    CU 106 an IO                     unit   IOU
108 various             Peripheral      devices        110 and          a Host     computer             102 The collection                   of


PEs     is   referred        to herein   as the Processing                    Element Array              PEA even though
it   need    not    be twodimensional             or an array or grid or other particular                                 layout

Some machines                 include    additional      components such as an                           additional         memory

system called the Staging                     Memory         in   the        Goodyear         MPP but these additional
elements       are neither essential              in   the   computer            nor needed to understand

embodiments              of the   present      invention      and            therefore    are omitted here for clarity of


explanation             One embodiment            of the present                invention      is   a   SIMD computing

system of the kind shown                  in   FIG 1 in which one or more                           eg         all of the            PEs   in




the    PEA 104          are   LPHDR      elements as that term                     is   used    herein


             0044             The Host 102        is    responsible             for overall     control of the computing


system       100        It   performs the serial or mostly serial computation                                      typical      of a


traditional         uniprocessor          The Host 102 could                    have more complicated                       structure

of course           including     parallelism of various                 sorts     Indeed       a heterogeneous


computing           system combining            multiple      computing               architectures           in   a single


machine        is   a   good use for embodiments                    of the present             invention


             0045             A goal of the Host 102               is    to    have     the   PEA 104          perform massive

amounts        of computation            in   a useful    way           It   does this by causing                  the    PEs to




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perform computations typically on data stored locally                                      in    each     PE in parallel with
one another           If   there are        many PEs much work gets done during each                                    unit of


time

           0046             The PEs         in   the PEA 104            may be able to perform their individual

computations          roughly as fast as the Host 102 performs its computations                                              This


means       it
                 may be inefficient          to   have the Host 102 attempt                       to control the        PEA 104

on a time scale as fine as the Hosts or PEAs minimal time step                                                     This minimal

time in a traditional             digital    design would be the clock                     period             For this reason


the specialized            control unit      CU 106 may be included                        in the       architecture         The

CU 106 has the primary task of retrieving and decoding                                           instructions        from an

instruction        memory which              conceptually          is   part of the    CU 106 and issuing the

partially        decoded     instructions         to   all   the   PEs in the PEA 104 This may be

viewed by the          CU software           as happening               roughly simultaneously for all the                     PEs

though      it   need not literally         be synchronous and                 in   fact    it
                                                                                                  may be effective           to use


an asynchronous              design     in   which multiple instructions                   at different            stages of

completion         simultaneously propagate                    gradually across the PEA for instance                            as a

series of wave         fronts

           0047             In   a design which includes the CU                      106 the Host 102                  typically


will   load the instructions           the program for the PEA 104                               into   the   CU instruction

memory not shown in FIG                          1 then       instruct the     CU 106 to interpret the program

and cause the PEA 104 to compute according                                    to the instructions                  The program

may for example look generally similar to a typical machine language                                                    program

with    instructions        to   cause data movement                     logical operations               arithmetic


operations          etc     in   and between the PEs and other                       instructions             to   do similar

operations         together with control flow operations                       within the           CU 106 Thus the CU

106 may run a typical               sort of       program but with the ability                     to issue massively


parallel     instructions        to the     PEA 104

           0048             In   order to get data into and out of the CU 106 and                                    PEA 104

the    IO Unit 108 may interface                   the CU 106 and PEA 104 with the Host                                102 the

Hosts memory not shown                       in   FIG        1 and      the   systems Peripherals                    110 such as

external         storage    eg       disk    drives          display devices for visualization                      of the




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computational           results    and sometimes special                   high    bandwidth        input devices                eg
vision    sensors          The PEAs           ability   to process data far faster                than    the Host 102


makes      it   useful for the     IOU 108 to be able to completely                         bypass       the    Host 102 for


some of its data          transfers       Also the Host 102 may have                        its   own ways of

communicating            with the    Peripherals          110

          0049             The    particular      embodiment            illustrated    in    FIG 1       is   shown merely

for purposes           of example       and does         not    constitute      a limitation      of the present


invention          For example alternatively               the functions          performed         by the       CU 106

could    instead        be performed          by the Host 102 with the              CU 106 omitted                   The CU

106 could         be implemented          as hardware            distant    from the        PEA 104           eg       off      chip

or the    CU 106 could           be near to the           PEA 104       eg on chip                 IO could          be routed


through the CU 106 with the IOU 108 omitted or through the separate                                                  IO

controller       108 as shown            Furthermore the Host 102                     is   optional the          CU 106 may

include for example a               CPU or otherwise                  include     components         sufficient            to


replace the functions             performed        by the Host          102 The Peripherals 110 shown in

FIG 1      are optional          The design shown                in   FIG 1 could          have    a special         memory

such     as the Goodyear           MPPs staging memory which                               provides an intermediate

level    of local      storage     Such       memory could             for example          be bonded           to    the


LPHDR           chip   using 3D fabrication             technology       to provide relatively            fast       parallel



access to the memory from the PEs                         in    the   PEA 104

          0050             The PEA 104           itself    besides       communicating             with the      CU         106


and IOU 108 and             possibly     other mechanisms has ways for data to                                 move within

the
       array       For example the            PEA 104 may be implemented                          such    that data             may

move from PEs only to their nearest                       neighbors that is there are no long                              distance


transfers         FIGS 2 and        3 show embodiments                   of the    present        invention which                use

this    approach        where     the nearest       neighbors           are the four adjacent                 PEs toward          the


North East             West and South           called     a    NEWS       design          For example           FIG 2

shows      a subset       of the   PEs in PEA 104 namely PE 202 PE 204 PE 206 PE

208 and PE 210              When        the   CU 106           issues data movement                instructions            all   the


PEs access data from               or   send data to their             respective     specified          nearest


neighbor          For instance       every       PE might access             a specified          data value          in   its




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neighbor        to the   West and copy                it   into   its   own     local     storage         In    some

embodiments such as some analog embodiments these                                                       kinds       of transfers                  may

result    in   some degradation               of the value              copied

          0051            FIG 3 shows a PE 302                           that   includes data             connections                   to the


IOU 108          PE 302       is   connected            at the North to           PE 304 at the East to PE 306                                     at



the South to        PE 308 and              at the         West to PE 310                 However          driving         signals from


inside    the    PEA 104 out to the IOU 108                          usually      requires           a physically           relatively


large driving       circuit    or analogous                mechanism              Having         those at every              PE may

absorb much of the available                      resources             of the hardware               implementation


technology        such as VLSI area                         In   addition having                independent           connections


from every        PE to the IOU             108      means many such                      connections           and        long


connections         which          also   may absorb much of the available                               hardware            resources

For these reasons the connections                                between        the     PEs and         the     IOU 108 may be

limited    to those      PEs at       the    edges          of the      PE array 104                 In this   case        to     get data

out of and perhaps                 into   the     PEA 104 the data                   is   read and written at the edges

of the    array and       CU       instructions            are performed             to shift    data between                the          edges

and   interior    of the      PEA 104 The design may permit data                                        to be       pushed from                   the


IOU 108 inward           to   any PE         in   the array using direct                   connections               but    may require

readout to occur by using the CU 106 to shift data to the edges where                                                             it    can be

read by the       IOU 108

          0052            Connections                between            the   CU 106 and PEA 104 have                               analogous

variations        One design may include the ability to drive instructions                                                 into        all   the


PEs roughly simultaneously                        but      another approach                is   to   have      the instructions                    flow


gradually       for instance          shift     in   discrete           time steps across the                   PEA 104 to reach

the   PEs Some SIMD designs which may be implemented                                                      in    embodiments                       of


the present       invention          have       a facility        by which       a   wired or or wired and                                   of the


state of every       PE in the PEA 104                      can be read by the CU 106                          in   approximately

one   instruction        delay time

          0053            There are           many well studied                  variations           on these matters                       in   the


literature      any of which          may be incorporated                       into   embodiments                  of the present


invention        For example an interconnect                              such    as an 8 way             local       interconnect




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may be used The              local        connections          may include a mixture of various                     distance


hops such as distance 4 or 16 as well as distance                                    1 The outside          edges may be

connected        using    any topology such as a torus or twisted torus                                  Instead of or             in




addition    to a local     interconnect                a   more complex         global      interconnect          such    as the


hypercube        design may be used                        Furthermore the physical                  implementation           of


the   PEA 104      eg      a    chip could             be replicated          eg      tiled    on a   circuit     board       to



produce     a larger      PEA        The        replication      may form a simple grid or other

arrangement        just as the            component           PEAs may but need                not    be grids


         0054             FIG 4 shows an example                       design for a           PE 400 which may be

used to implement any one or more of the                               PEs in the PEA              104      The PE 400

stores   local   data      The amount                 of   memory for the local             data    varies significantly


from design to design                It
                                          may depend            on the implementation                 technologies

available    for fabricating         the        PE 400        Sometimes rarely changing values

Constants take            less   room than frequently changing values Registers and                                            a


design     may provide more Constants                         than Registers            For instance         this   may be

the case with digital          embodiments                  that use single         transistor cells for the


Constants    eg          floating         gate Flash         memory cells and               multiple    transistor cells for


the   Registers eg 6            transistor            SRAM cells          Sometimes the situation                   is




reversed as        may be the case in analog embodiments where                                        substantial        area for


capacitance       may be needed                  to ensure       stable long        term storage         of Constants


and such embodiments                  may have more Registers                       than Constants              Typical


storage capacities         might be tens or hundreds                      of arithmetic            values   stored       in   the


Registers     and Constants               in    each       PE but these capacities              are adjustable           by the


designer      Some designs                 for instance          may have           Register       storage but no

Constant storage           Some designs may have                         thousands            or even    many more

values stored       in   each    PE            All   of these variations         may be reflected            in




embodiments         of the      present          invention


         0055             Each    PE needs to operate                    on   its   local   data      For this reason


within the    PE 400 there are data paths 402ai                               routing       mechanisms          such as the

multiplexor      MUX 404 and components                           to perform         some collection            of logical         and

arithmetic    operations         such as the                logic unit   406 and       the     LPHDR arithmetic               unit




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408         The     LPHDR arithmetic                 unit   408 performs                  LPHDR arithmetic                operations as

that term      is    used herein               The input output and                       intermediate           values received

by output by and                 operated          on by the         PE 400 may for example take                               the form         of


electrical     signals        representing               numerical values


             0056            The PE 400              also      may have one or more flag bits shown as

Mask 410            in   FIG 4 The purpose of the Mask 410 is to enable some PEs the

ones    in   which         a specified         Mask bit        is   set to ignore                  some      instructions      issued by


the   CU 106             This allows          some variation            in    the    usual lock step behaviors                       of   all




PEs    in    the    PEA 104              For instance           the   CU 106 may issue an instruction that

causes each              PE to reset or set its Mask 410 depending                                        on whether a specified


Register       in    the    PE     is   positive     or negative             A subsequent                    instruction for instance


an arithmetic            instruction          may include a bit meaning                             that the    instruction      should be


performed           only by those             PEs whose Mask 410                         is   reset        This combination           has


the effect         of conditionally            performing           the arithmetic                 instruction    in    each    PE

depending           on whether the specified                        Register        in   that       PE was positive            As with the

Compare instructions                     of traditional        computers             there are             many possible         design

choices for mechanisms                        to   set   and    clear    Masks

             0057            The operation               of the      PEs      is   controlled             by control signals 412a               d
received from the                CU 106 four of which                   are shown                  in    FIG 4 merely for purposes

of example           and     not    limitation           We have        not    shown               details    of this   mechanism               but


the control signals                412a d specify which                 Register or Constant                      memory values                 in




the   PE 400 or one of its neighbors                           to   send to         the data             paths which      operations

should be performed by the Logic                            406       or Arithmetic                408     or other processing


mechanisms where                        the   results     should be stored                    in   the    Registers      how    to set


reset and           use the        Mask 410 and             so on            These matters are well described                             in    the


literature     on        SIMD processors

             0058            Many variations                of this     PE 400 and PEA design                           are possible

and   fall   within the          scope        of the present           invention               Digital       PEs can have        shifters


lookup tables and                  many other mechanisms                           such as described               in   the literature


Analog PEs can have                      time based operators                      filters         comparators          with global


broadcast           signals      and many other mechanisms                               such           as described      in   the




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literature       The   PEA 104 can include global mechanisms                                  such    as wired           OR or
wired   AND for digital PEAs or wired SUM for analog PEAs                                           Again there are

many variations             well described         in   the literature           on digital and analog computing

architectures


         0059               For example            LPHDR operations                  other than andor in addition to

addition    and     multiplication            may be supported                   For example a machine which


can only perform             multiplication        and    the function            1X may be used              to


approximate         addition          and other     arithmetic        operations            Other collections             of


LPHDR operations may be used to approximate LPHDR arithmetic                                                  operations

such as addition multiplication subtraction and division using techniques                                                         that


are wellknown           to those            having ordinary skill           in   the art


         0060               One aspect of embodiments of the present                                invention        that      is




unique     is    the inclusion of LPHDR arithmetic                         mechanisms          in   the   PEs

Embodiments            of such        mechanisms          will   now be described

         0061               One digital embodiment                 of the         LPHDR arithmetic           unit        408

operates        on digital binary representations                          of numbers         In    one   digital


embodiment          these numbers               are represented             by their logarithms             Such         a


representation         is   called a Logarithmic                Number System               LNS which           is       well


understood         by those having ordinary skill                     in   the art


         0062               In   an    LNS numbers             are represented             as a sign and an


exponent There              is   an    implicit   base for the logarithms                  typically 2     when working

with digital      hardware             In   the present embodiment a base of 2                        is   used for

purposes of example                    As a     result a       value say         B   is   represented      by its sign and

a base 2 logarithm say b of its absolute                           value          For numbers         to have


representation         errors of at           most say 1`0 one percent                       the fractional         part of this


logarithm        should be represented                  with   enough        precision that the least possible


change      in   the fraction         corresponds         to about a 1°0             change    in   the value        B       If




fractions       are represented              using 6 bits increasing               or decreasing          the fraction by 1


corresponds         to multiplying or dividing                  B by the 64th root of 2 which                  is




approximately 1011                    This     means that numbers may be represented                                in   the


present embodiment                with a multiplicative            error of approximately                  VA So in this



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                                                                                                                                    SINGULAR 00001467
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example embodiment                             the fraction             part of the representation                            has 6 bits


              0063               Furthermore the space of values                                             processed             in   the present


embodiment                have        high            dynamic range                   To represent numbers whose absolute

value        is   from say one                        billionth   to    one       billion         the integer            part of the logarithm


must be            long   enough               to represent             plus or minus the                         base 2 logarithm                  of   one

billion           That logarithm                 is     about     299            In   the    present embodiment                          the        integer         part


of the       logarithm          representation                    is   5   bits       long       to represent            values from 0 to 31

which        is    sufficient             There also              is   a sign bit           in    the   exponent              Negative              logarithms

are represented                  using           twos complement                       representation


              0064               In       an     LNS the value zero corresponds                                      to the logarithm                    negative


infinity          One can choose                        a representation                to explicitly              represent            this    special


value             However             to minimize resources                            for instance                 area used                 by arithmetic

circuits          the present              embodiment                  represents                 zero by the most negative                           possible


logarithm which                  is       32 corresponding                        to the          twos complement                       bit   representation


100000             000000 and                  denoting a value of approximately 233E10

              0065               When computing                            situations             can arise         in   which          operations

cannot produce reasonable                                    values         An example                  is   when        a   number            is   too large to


be represented                  in    the      chosen word format such as when                                           multiplying             or adding


two large numbers                         or upon            divide     by zero         or nearly zero One common

approach            to this problem                     is   to allow a value to be                      marked as Not A Number

NAN and to make sure that each operation produces NAN                                                                         if   a problem               arises


or if either of           its   inputs           is     NAN        The present embodiment                                uses this approach as

will   be described                  in   the following


              00661              FIG 5 shows the word format 500                                              for these         numbers               in      the


present embodiment                               It    has one         NAN bit 502a one bit 502b for the sign of the

value and            12    bits       502c e representing                         the logarithm                    The       logarithm          bits       include


a 5    bit    integer      part           502d and            a 6 bit fraction               part       502e To           permit the logarithms

to be negative                  there       is        a sign    bit    502c for the                logarithm         which         is    represented                in




twos complement                       form              The    NAN         bit   is   set    if    some problem                has arisen                in




computing            the value                 The word format 500 shown                                     in   FIG 5 is merely an

example and does                          not constitute               a limitation               of the present             invention               Other




                                                                                                                                                                SINGULAR 00001468
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variations        may be used so long                        as they have        low precision and                       high    dynamic

range

           0067              FIG 6 shows an example                           digital      implementation                 of the        LPHDR

arithmetic        unit     408 for the            representation           illustrated       in      FIG 5 The                 unit   408

receives        two inputs           A 602a and B 602b and                       produces an output                       602c The

inputs     602a b and output 602c                         may for example take                        the form of electrical


signals        representing           numerical           values according                to the       representation                 illustrated



in    FIG 5 as is also true of signals                           transmitted      within         the unit          408 by components

of the     unit   408       The       inputs       602a b and output 602c each                           are composed                   of a


Value and a           NAN Not A Number                           bit    The   unit   408        is    controlled         by control

signals        412a   d coming from                    the   CU 106 that determine                      which           available


arithmetic        operation          will    be performed on the inputs 602a                             b         In   this   embodiment

all   the available         arithmetic            operations           are performed             in    parallel         on the inputs

602a b by addersubtractor 604                                multiplier 606          and        divider       608

Addersubtractor 604                    performs           LPHDR          addition     and subtraction                    multiplier 606


performs        LPHDR multiplication and divider 608 performs LPHDR division

           0068              The desired                result    from among              the    outputs of addersubtractor

604      multiplier 606              and     divider      608      is   chosen by the                multiplexers          MUXes 610a
and 610b             The right hand               MUX 610b sends the desired value to the output 602c
The     left   hand      MUX 610a                sends    the corresponding                 NAN        bit   from the desired


operation         to the    OR gate 612 which                      outputs a set           NAN bit           if    either input         is    NAN

or if the specified           arithmetic               operation        yields   NAN        The computing                      architecture


literature      discusses            many variations               which      may be incorporated                        into    the


embodiment            illustrated           in   FIG 6

           0069              LNS       arithmetic            has the great advantage                     that multiplication


MUL and division DIV are very easy to compute and take few physical
resources         eg        little    area        in   a silicon       implementation                  The        sign of the result              is




the exclusive or of the                     signs of the operands                The        logarithm              part of the output                  is




the    sum      in   the   case of MUL or the difference                             in   the case of DIV                  of the


logarithm         parts of the         operands              The sum or difference                     of the       logarithms can

overflow          producing a           NAN result               Certain      other operations                    also are easy              in   LNS




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arithmetic        For instance square root corresponds                               to dividing                 the logarithm         in



half which       in   our representation              means         simply shifting         it    one        bit   position         to the


right


          0070            Thus        the multiplier 606 and divider 608                              in   FIG 6 are

implemented           as circuits that simply add or subtract their inputs which are twos


complement            binary    numbers which                in    turn   happen      to   be logarithms                       If   there    is




overflow       they output a          1   for   NAN

          0071            Implementing               addition       and    subtraction           in    LNS that is the

addersubtractor 604              in   FIG 6 follows                a common         approach                used     in   the       literature



on    LNS      Consider addition                If   we have two positive numbers B and C

represented        by their logarithms b and                      c the representation                     of the    sum of B and C

is   logB+C An approach                    to computing             this   result    that   is    well           known     to those


skilled   in   the art   is    based on noticing              that       logB+C = logB1+CB =

logB+Iog1+CB                   = b+Fcb where                  Fx=Iog1+2x Thus the present
embodiment            computes        c   b feeds          that through         F and adds the result to b using
standard       digital   techniques         known          to those       skilled    in   the art


          0072            Much        of the published              literature      about    LNS is concerned                         with


how to compute           Fx the           special function               for   ADD along with a similar function
for   SUB       Often these two functions                    share circuitry and              this          is   why a single

combined addersubtractor 604                          is   used     in   the embodiment                    of FIG     6 There are

many published ways to compute                             these functions or approximations to them


including      discussions        of how to          do    this    when the values are of low precision                                     Any

such    method or other method may be used                                      Generally speaking the more


appropriate       variations      for massively parallel                   LPHDR arithmetic                       are those that


require the minimal use of resources                              such as circuit area taking advantage                                  of


the fact that the representation                     used     in   the embodiment                of FIG 6            is   low precision

and that       the arithmetic         operations           need not be deterministic nor return the most

accurate possible answer within the low precision representation                                                      Thus

embodiments            of the present           invention         may use circuitry that does not compute

the best possible answer even                        among         the limited      choices available                     in   a low


precision      representation




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           0073               In    order to enable conditional                                  operation        of selected        PEs the

present embodiment                       is   able to reset and                       set the         MASK flag 410 based on results
of computations                    The mechanism                        for doing this                is   that the   CU 106 includes

instructions          that   cause            the        MASK 410               in   each        PE to unconditionally               reset or set


its   flag along       with other instructions                               to perform          basic tests on values               entering          the


MASK 410 on data path                              402f and             to    set the      flag accordingly               Examples          of these


latter   instructions              include copying                      the sign bit or               NAN bit of the word on data                     path

402f     into   the    MASK bit 410                           Another example                    is   to set the      MASK bit 410              if   the 12


bit   value part of the word on data                                    path 402f          is   equal to binary zero                 There are


many additional and                      alternative               ways        for doing          this      that are directly        analogous          to


comparison            instructions                 in   traditional           processors              and which        are well understood


by those        skilled      in    the    art


           0074               It    is   worth noting that while the obvious                                      method of using               the


above      LNS    operations                  is    to    do       LPHDR         arithmetic the programmer also may

consider        selected values                     to    be 12         bit   twos complement                    binary       numbers           MUL

and DIV may be used                       to       add and              subtract          such values           since that      is   precisely


their behavior          in   LNS          implementations                            The Mask              setting    instructions        can


compare these simple binary values                                             So besides doing LPHDR                          computations

this digital     embodiment                   using            LNS       can perform simple binary arithmetic                              on short


signed integers


           0075               Some embodiments                                 of the present                invention    may include analog

representations              and processing methods                                       Such embodiments                    may for example

represent        LPHDR values as charges                                       currents voltages frequencies                              pulse

widths pulse densities various forms of spikes or in other forms not

characteristic          of traditional                  digital         implementations                     There are many such


representations              discussed                   in   the literature              along with mechanisms                     for


processing        values so represented                                      Such     methods               often called Analog            methods

can be used to perform                         LPHDR arithmetic                           in    the broad range of architectures                       we

have discussed               of which               SIMD           is   one example

           0076               An example                      of an analog                SIMD architecture              is   the    SCAMP

design     and        related        designs                  of   Dudek             In   that design          values     have low dynamic




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range being accurate roughly                    to within             1           Values are represented               by charges

on capacitors         Those      capacitors               typically          are the gates of transistors                Each PE

has several      memory cells            analogous               to the          Registers shown          in   FIG 4      Addition


is   performed   by turning on pass transistors from the two operands which                                                 transfer


their charge onto an analog                bus where                   it   is   summed       by the natural          physics of


charge and wires upon                 which     it    is   gated onto another Register to charge up                               its




capacitor     which    then      represents               the   sum of the operands                     The    detailed


mechanism        disclosed       by Dudek             actually              produces    the negative           of the   sum but
the basic concept         is   as described                and    is     a simple way to perform                 addition    and

subtraction     using analog representations                                and simple processing mechanisms

         0077          Variations         of the           SCAMP design have                    been      fabricated      and used

to perform     a range of low precision                         low dynamic            range computations               related to


image processing               These designs do                  not         perform    high    dynamic range arithmetic

nor do they include mechanisms                            for performing             multiplication       or division     of values


stored   in   Registers         However         the         Dudek            designs    suggest the general              feasibility


of constructing       analog     SIMD machines                           The      following    describes        how     to build an


analog    SIMD machine           that performs                  LPHDR arithmetic and                     is   thus an


embodiment       of the    present        invention


         0078          One embodiment                       of the present             invention        represents      values      as

a mixture of analog and               digital   forms This embodiment                              represents         values as low


precision normalized base 2 floating point                                       numbers where the mantissa                  is   an


analog value and         the    exponent             is    a binary digital            value       The analog value may

be accurate to about            1      following            the approach               of   Dudek       which    is   well within


the range of reasonable               analog processing                          techniques        The exponent may be 6

bits   long or whatever          is   needed          to provide the desired                    high     dynamic       range

         0079          To multiply values                       the    embodiment             proceeds         by analogy to

traditional   floating    point       methods              The    digital         exponents        are   summed         using a


binary   arithmetic      adder        a standard            digital          technique        The analog mantissas are

multiplied     Since they represent                   normalized                 values between           approximately 12

and    1 their product may be as small as approximately 14                                               Such    a product value


needs    to be normalized             back to the range                      12 to 1        This   is   done     in   the present




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embodiment by comparing                       the analog                 mantissa to an analog representation                                             of


12 using a threshold                 circuit       If   the mantissa                  is   below        12 then             it       is   doubled and


one    is   subtracted        from the exponent where such                                       subtraction          is    simple digital

subtraction               Doubling the      mantissa               is   implemented                in   a   way that corresponds                              to


the    chosen analog representation                             For example whatever                                means are being

used to add two analog values                           can be used                  to double          the    mantissa by adding                              it




to a   copy     of itself         For example            if   the       mantissa            is   represented               as a current such


as copy        may be produced              by a current mirror or other suitable                                          mechanism and

addition       may be performed               by a current summing junction


            0080              The means           of multiplying                   the original         analog mantissas                           depends

on the representation                chosen             For example                  if    mantissas          are represented                          using


charge        following       SCAMP then any known                                  method from the                  literature                 may be

used to convert charge to current                               For instance                 since the charge on a capacitor


determines            the voltage     on the capacitor                        this
                                                                                     may be implemented                               as a

conversion            from voltage to current which                            is    a basic technique                    in     analog

electronics           known    to those      skilled          in   the art           In
                                                                                           any case            if   the     mantissas                  are


represented            as currents or once the mantissas                                    are converted to currents they


may be multiplied              using for instance                       the    techniques           of Gilbert                  The Gilbert

multiplier produces               a current        representing                    the     product which                  may             if
                                                                                                                                                necessary

then    be converted              back to charge              or whatever                  representation                  is    used              These

are merely examples of how the needed operations                                                   might be performed                                  The

literature      discusses          these matters extensively                              and these           kinds of analog circuits


are known            to   those   skilled    in   the art


            0081              Adding and subtracting                          values requires                 pre normalization of the

values to the same exponent as                             is   done          in    traditional         digital      floating                  point


arithmetic            The present embodiment                            does       this    by comparing               the        exponents               and

choosing the smaller one                     Then        the smaller one                     is   subtracted              from the larger


using       digital    means        The     difference             specifies              how many times the mantissa

which       corresponds           to the smaller exponent                           needs to be divided                         in    half        If   that


mantissa        is    represented         by or converted                      to a current then an analog R 2R                                           style


ladder       may be used           to divide the current                      in    half the       required          number                    of times




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with the stage of the ladder                            specified           by the difference                 of exponents             calculated


as above          The            resulting       scaled down current                       is   added         to   or subtracted from                    if




this   is   an   LPHDR subtraction                           operation             the current          corresponding             to the


mantissa associated                         with the            larger exponent            to yield the            output mantissa                  The

output exponent associated                                 with the output            mantissa           is   the larger        exponent

Post normalization                         may be needed                  at this    point        If   the    output mantissa             is   greater

than     1 then       it   needs            to be divided              in   half    and    the output          exponent          needs to be

incremented                 If   it   is   less than            12 then       it   needs        to be doubled              enough times to

exceed 12 and                    the       output exponent                  must be decremented                      correspondingly

which       may be performed                      by a series of threshold                        circuits         doubler circuits             and

associated         decrementer                   circuits             These increments and decrements                                  of the


binary      digital        exponent and corresponding                                 doublings              and    halvings      of the analog


mantissa current are straightforward                                        operations           well    known           to those      skilled      in




the art


            0082                   The present embodiment                            represents              the exponent          as a digital


binary      number               Alternate            embodiments                  may represent              the exponent             as an


analog value                 However             it   is   important          that the exponent                    be represented              in




storage and           computation                  in   such          a manner that neither noise nor other errors

cause a change                    in    the value          it
                                                                represents            Such        changes           in   the exponent           could

introduce        factors              of two     or in some embodiments                                larger changes             in   the values


of the      stored      numbers                To maintain accuracy                        of the       exponents an embodiment

may quantize               the exponent                 to relatively          few levels for instance 16 values                                plus a


sign bit         During processing                         slight      variations         in    the    analog representation                   of the


exponent         may then                  be removed             by circuitry        that restores                values      to the    16


standard         quantization                levels             To get sufficient dynamic range                           in   such     an


embodiment                 the        floating    point          numbers may be processed                            as base 4 numbers

rather than the                  usual      base 2 numbers                    This        means for instance                    that normalized


mantissas         are       in     the range            14       to   1     The methods discussed                         above     for addition


subtraction and                   multiplication                apply as described with                       slight     and    straightforward


variations


            0083                   The analog and mixed                         signal         embodiments               discussed        above




                                                                                                                                                    SINGULAR 00001474
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are merely examples                and do not      constitute         a limitation         of the    present invention

The published         literature        on neuromorphic analog and                         mixed signal techniques


provides     a wealth of         methods     that enable             LPHDR storage and                    processing               to be


implemented           Such storage and processing                      may introduce                noise as well as


fabrication      errors into the behavior            of    machines performing                   LPHDR arithmetic

The    results   we   present below on software                      applications           running using fp+noise

arithmetic show that despite these very undigital                                    qualities       a   machine                built    in




this   way is surprisingly useful

         0084           Evidence          that   LPHDR arithmetic               is    useful    in   several          important


practical    computing           applications     will    now     be provided              The evidence               is




presented     for a broad variety of              embodiments            of the present              invention thereby


showing that the usefulness                 does     not    depend much on                 the detailed


implementation


         0085           For the goal of showing usefulness                                we choose            a very general


embodiment         of an     LPHDR machine                 Our model         of the        machine            is   that    it
                                                                                                                                 provides

at least the following            capabilities     1       is   massively     parallel         2 provides LPHDR
arithmetic    possibly       with noise          3 provides           a small     amount        of   memory local                       to



each    arithmetic     unit      4 provides        the arithmeticmemory                      units       in   a    two

dimensional       physical         layout with only local            connections            between            units rather


than   some more powerful                 flexible    or sophisticated               connection           mechanism and

5 provides only          limited        bandwidth        between       the   machine and                 the host          machine

Note    that this   model        is    merely an example             which   is      used for the purpose of


demonstrating         the    utility    of various   embodiments             of the present                   invention            and

does not     constitute       a limitation       of the present         invention            This model includes


among     others      implementations             that are digital or analog                 or mixed              have zero or

more noise have             architectures        which      are      FPGAlike or SIMDlike                          or MIMDlike


or otherwise       meet the assumptions                  of the      model      More general architectures

such    as shared      memory designs CPU like designs                                or other sophisticated


designs     subsume         this      models capabilities and so LPHDR                         arithmetic             in        those

architectures       also    is   useful     While    we are thus showing                    that     LPHDR           arithmetic               is




useful for a broad range of designs                      of which       SIMD         is   only an instance                  for




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purpose of discussion                       below we call each                     unit which pairs memory with


arithmetic a Processing                           Element or          PE
         0086                 Several applications                      are discussed                  below       For each the

discussion     shows              1     that the results               are useful       when            computation          is   performed

in   possibly noisy           LPHDR arithmetic and                            2     that the computation                    can be


physically   laid           out   in   two dimensions with only                        local flow of data                 between units

only limited      memory within each                              unit and only limited data flow tofrom the host


machine      in   such a           way that the computation                           makes            efficient    use of the

machines resources area time power                                                The first requirement is referred                       to as


Accuracy and the second                                    requirement Efficiency                      Applications         that       meet both

requirements running                        in   this model          will   function    well       on many kinds of LPHDR

machines and thus those machines are a broadly                                                useful        invention


         0087                 Applications                  are tested       using two embodiments                         for the


machines arithmetic                         One uses accurate                     floating   point arithmetic               but multiplies


the result of each                arithmetic               operation        by a uniformly chosen random number

between 99 and                    101            In    the following        discussion            this    embodiment              is   denoted


fp+noise          It
                        may represent                       the results produced             by an analog embodiment                         of


the machine


         0088                 A second embodiment                            uses logarithmic               arithmetic        with a value


representation              as shown                  in   FIG 5 The arithmetic                   is   repeatable that is not


noisy but because of the short fraction size it                                       produces errors of up to

approximately               12         in    each operation                  In   the following           discussion          this



embodiment             is   denoted              Ins         It
                                                                  may represent         the results produced                      by a


particular   digital         embodiment                     of the   machine

         0089                 To demonstrate                      usefulness         of embodiments                     of the invention         we

shall discuss          three computational                         tasks that are enabled by embodiments                                  of the


invention    and which                 in    turn enable            a variety of practical applications                            Two of the

tasks are related to finding nearest neighbors                                        and the other                is   related to


processing        visual          information                 We shall describe the tasks note their practical

application and then demonstrate                                    that    each     task    is    solvable         using the general

model described               above and thus solvable using embodiments                                                 of the present




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invention


                                               Application                 1 Finding Nearest Neighbors

           0090                Given a large set of vectors                                      called        Examples and               a given


vector     called        Test         the      nearest           neighbor           problem          NN               is   to find the      Example

which    is   closest to Test                  where        the distance                metric            is   the   square of the Euclidean

distance       sum of squares of distances                                       between           respective              components

           0091                NN        is    a widely          useful computation                            One use is for data

compression where                        it   is   called        vector           quantization                  In this     application          we have

a set of relatively            long           vectors       in    a     code book these                         are the Examples                  and

associated          short      code words for instance                                 the       index of the vector                 in   the   code

book       We move through a sequence of vectors to be compressed and for each
such    vector          Test find the                nearest vector                    in    the   code         book and output                 the


corresponding             code word                  This reduces the sequence                                      of vectors       to the     shorter


sequence           of   code words                  Because                the    code words do not completely                              specify     the


original      sequence          of vectors              this       is      a lossy form             of data          compression                Among

other applications                  it
                                         may be used in speech                               compression               and     in   the    MPEG

standards


           0092                Another application                          of    NN    would be               in    determining          whether


snippets       of video occur                  in   a large video                 database                 Here we might              abstract


frames of video from the snippet                                  into          feature       vectors           using known           methods such

as color histograms scale invariant feature                                               extraction etc                   The Examples would

be analogous             feature              vectors extracted from the video database                                              We would like
to   know whether any vector from the snippet was close to any vector from the

database which                 NN        can help us decide


           0093                In     many applications                          of nearest         neighbor               we would prefer to

find   the true         nearest neighbor                    but       it   is    acceptable          if    we sometimes find another

neighbor       that      is   only       slightly     farther              away or          if   we almost always find the true

nearest       neighbor              Thus           an approximate                   solution         to the nearest                 neighbor

problem       is   useful especially                   if   it   can be computed                          especially         quickly or at low


power      or with        some other advantage compared                                            to an exact solution


           0094                We shall now show that approximate                                                nearest neighbor                is




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computable            using embodiments                               of the present             invention          in   a    way that meets the

criteria   of Accuracy                  and            Efficiency


           0095                   Algorithm                The        following          describes       an algorithm                   which         may be

performed        by machines                           implemented           according             to   embodiments                     of the    present

invention        such as by executing                             software          including           instructions               for performing            the


algorithm        The            inputs to the algorithm                       are a set of Examples and a Test vector

The    algorithm            seeks to find the                     nearest          or almost            nearest Example                     to    the      Test

           0096                   In   the         simplest version of the algorithm                                  the      number        of


Examples may be no                            larger than the                number         of   PEs and each vector must be

short   enough             to   fit    within a single                 PEs memory                  The Examples are placed                                 into



the    memories associated                              with the       PEs so that one Example                                is   placed        in   each

PE      Given a Test the Test                              is   passed through               all   the    PEs            in   turn       Accompanying

the Test as          it
                           passes through                       the    PEs is the distance from the Test                                  to the nearest


Example found so far along                                  with information                that indicates                what PE and thus

what Example                    yielded            that nearest          Example found so far                             Each PE computes

the distance              between             the Test           and    the    Example             stored      in     that         PEs memory and

then    passes along the Test together with either the distance                                                               and       indicator         that


was passed                into this           PE if       the    distance          computed by this PE exceeded                                   the


distance        passed            into        the      PE or the distance this PE computed along with
information          indicating               this       PEs Example                is   the nearest           so far if            the distance


computed by this PE                           is   less than the             distance        passed           into       the       PE Thus the
algorithm       is    doing a simple minimization operation                                             as the Test                is   passed through

the set of      PEs When                       the       Test and        associated              information             leave the last PE the


output     is   a representation                        of which        PE and Example was closest                                       to the       Test

along with the distance                            between            that   Example and                the    Test

           0097                   In   a      more efficient             variant of this algorithm                            the Test      is    first




passed along                for example                   the top        row then every column                            passes the Test and

associated           information                   downward             effectively         doing a search                    in    parallel      with other


columns and once                        the        information          reaches the bottom                     it
                                                                                                                    passes across the

bottom row computing                               a   minimum distance                   Example         of    all      the       columns

processed        so far as               it
                                               passes across                 the    row      This       means that the time required




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to process         the Test          is   proportional         to the greater of the                number of PEs in a row

or column


             0098             An enhancement                   of this algorithm         proceeds          as above but


computes and passes along                          information          indicating      both    the nearest and the


second nearest Example found so far When                                        this information            exits the array of


PEs the digital processor                     that    is      hosting the     PE array computes                in high

precision the distance                     between the Test and the two Examples                              indicated       by the

PE array and the nearer of the two is output                                    as the   likely     nearest neighbor            to the


Test

             0099             Accuracy          We expressed the arithmetic                         performed        by the

enhanced           algorithm         described            above as code          in   the C programming language


That code computes                    both    nearest neighbors which are discussed                              here along

with weighted            scores which are discussed                         below

             0100              The C code performs the same set of arithmetic                                   operations          in



the    same order using the same methods                                 of performing         arithmetic       as an actual


implementation                of the present          invention such as one implemented                           in    hardware

It   thus yields the same results as the enhanced                                    algorithm would yield when


running on an implementation                         of the present             invention           How the algorithm               is




organized          to run efficiently          on such an implementation                       is   discussed        below     in   the


section      on Efficiency

             0101              In   particular       when computing               the distance            between the Test

and each       Example               the   code uses Kahans method discussed                                 below      to perform


the possibly long              summation           required           to form the      sum of the squares              of the


distances          between vector components                           of the Test     and Example

             0102              The C code contains                    several    implementations             for arithmetic              as


discussed          above            When compiled              with    Vdefine fp the arithmetic                is   done using

IEEE standard             floating         point     If   a   command         line    argument       is    passed      in   to enable


noisy arithmetic then random noise                               is   added     to the result of every calculation


This    is   the   fp+noise form of arithmetic                           When        compiled without Itdefine                fp the

arithmetic         is   done using low precision                      logarithmic      arithmetic         with a 6 bit      base 2

fraction       This      is   the Ins form of arithmetic




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           0103         When          the       code was run            it
                                                                             produced   traces     showing the results

of the    computations        it    performed               These traces shown below show that                         with


certain    command      line        arguments           the      enhanced        algorithm       yielded    certain    results


for    LPHDR nearest neighbor                     calculations               These   results    provide details showing

the usefulness     of this          approach            We shall discuss the results briefly here

           0104         The        first       results are for fp+noise                 Ten     distinct   runs were


performed       Each    run         generated           one      million random         Example       vectors   of length


five    where each      component                of   each vector was drawn from                    N01the
Gaussian      normal distribution                     with   mean zero and            standard      deviation      1   Each

run then generated        one hundred Test                       vectors       of length five       where each

component       of each     vector             also   was drawn from             N01           For each     Test    the


nearest     neighbor was computed                       both     according       to the   enhanced          algorithm     above

and according      to the          standard        nearest        neighbor       method using          high   precision


floating    point arithmetic               A count was            kept of the number of times the enhanced


algorithm     yielded   the        same result as the standard                       floating    point     method      The

results    were as follows




             aout 5 10 1000000                        100    1




           Representation            is    Floating      Point with noise


           Run 1 On 100 tests 1001000             081 mean score error   matches and

           Run 2 On 100 tests 1001000 matches and 084 mean score error

           Run 3 On 100 tests 1001000 matches and 098 mean score error

           Run 4 On 100 tests 1001000 matches and 081 mean score error

           Run 5 On 100 tests 1001000 matches and 094 mean score error

           Run 6 On 100 tests 1001000 matches and 082 mean score error

           Run 7 On 100 tests 1001000 matches and 078 mean score error

           Run 8 On 100 tests 1001000 matches and 086 mean score error

           Run 9 On 100 tests 1001000 matches and 085 mean score error

           Run 10 On 100 tests 99990 matches and 086 mean score error

           Average percentage                   of time      LPHDR with final DP correction finds

           nearest example                 =   9990


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          Average score       error between           LPHDR and DP = 085



          0105       The   mean score error values are considered                          below      in   the


discussion      of weighted    scores         The matches            information    is   relevant     here

          0106       Of the     ten      runs   only    one had any test         of the 100 tests


performed which       yielded           a nearest     neighbor     different   from what the usual high


precision      method yielded            Thus   the    average     percentage      of   matches between

the   enhanced     algorithm        running with fp+noise             arithmetic   and    the   usual method


was   999
          0107       A similar computation               was then performed             using   Ins    arithmetic


In this   case   the results    were



          °A   aout 5 10 1000000             100 0


          Representation       is   LNS     without     noise


          Run 1 On 100 tests 1001000             015 mean score error
                                                              matches and

          Run 2 On 100 tests 1001000 matches and 007 mean score error

          Run 3 On 100 tests 1001000 matches and 008 mean score error

          Run 4 On 100 tests 1001000 matches and 009 mean score error

          Run 5 On 100 tests 1001000 matches and 011 mean score error

          Run 6 On 100 tests 1001000 matches and 016 mean score error

          Run 7 On 100 tests 1001000 matches and 007 mean score error

          Run 8 On 100 tests 1001000 matches and 013 mean score error

          Run 9 On 100 tests 99990 matches and 017 mean score error

          Run 10 On 100 tests 98980 matches and 016 mean score error

          Average percentage             of time    LPHDR with final DP correction finds

          nearest example           =   9970
          Average score       error between           LPHDR and DP = 012



          0108       The average percentage                   of   matches was      997         slightly    worse

than for fp+noise


          0109       The accuracy shown by the enhanced                         nearest neighbor




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algorithm     using two forms of LPHDR arithmetic                     is   surprising        To perform many

calculations     sequentially    with    1°0   error and          yet produce     a final     result with less


than   1°0   error may    seem counter intuitive                  Nonetheless       the      LPHDR arithmetic

proves effective      and    the accuracy        shown       is    high    enough      to be useful         in




applications     for which    approximate        nearest neighbor             calculations         are useful




                                                            5
        0110         As an extreme case                a variant of fp+noise            was tested           in   which

the noise varied     uniformly from          +10 to                  Thus each         arithmetic      operation


produced      a result that   was between             10 too large and 5 too small The
enhanced nearest neighbor algorithm as described                             above       was performed where

each   run    generated     100000 Example vectors                    The    surprising       results       below

show that even      with this extreme          level   of imprecise          noisy and            non zero mean

LPHDR arithmetic useful results can be achieved



Run 1 On 100 tests           97970 matches
Run    2 On 100 tests 1001000                    matches

Run    3 On 100 tests 1001000                    matches

Run    4 On 100 tests 98980                    matches

Run    5 On 100 tests 98980                    matches

Run    6 On 100 tests 99990                    matches

Run    7 On 100 tests 99990                    matches

Run    8 On 100 tests 99990                    matches

Run    9 On 100 tests 99990                    matches

Run 10 On 100 tests           99990 matches
Average percentage           of time   LPHDR with final DP correction finds nearest

example =      9880


        0111         Efficiency         In   contrast to the surprising             Accuracy         results       it   is




clear to those     having    ordinary skill      in   the   art   that the calculations            of the    enhanced

nearest      neighbor algorithm        can be performed             efficiently   in   the    computing           model

presented where the arithmeticmemory units are connected                                     in   a two


dimensional      physical    layout using only local               communication          between           PEs



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However          this    does not address the matter of keeping the machine busy doing

useful       work using only low bandwidth                       to the host       machine

             0112            When         computing       the nearest        neighbor to a single Test the Test

flows        across    all   the   PEs in the array As discussed above                               if        the array is an MxM


grid    it   takes at least         0M steps            for the Test to pass through                           the       machine and

return       results to the         host     During this time the machine                     performs                    0MxM
nearest neighbor              distance       computations           but since the            machine                     is   capable of


performing           0MxM calculations at each step a factor of 0M                                                  is    lost


             0113            This    speedup compared                  to a serial     machine                      of a factor                 of   0M
is   significant       and useful           However        the efficiency          can be even higher                                 If




sufficiently         many Test        vectors say          0M       or more are to             be processed then they

can be streamed               into the      machine and made to flow through                                   in   a pipelined


fashion                    0M Tests remains 0M the same as a
                The time to process                                                                                                  for         single


Test but now the machine performs 0M x 0MxM distance computations and

thus within a constant factor the full                      computing        capacity of the machine                                       is   used

             0114            Thus         the machine       is   especially        efficient    if   it        is   processing                   at


least as
               many Test vectors              as the square root of the number of PEs                                             There are

applications          that   fit   well   into this form such as pattern recognition                                          or compression

of many        independent           Tests     eg blocks            of an    image          parts of a file                     price


histories of independent                   stocks as well as the problem                     of finding                       the nearest


neighbor to every Example                     in   the set of Examples                This     is    in        contrast              to the


general        view    among those having                 ordinary skill      in   the art as discussed                                above

that   machines          with very         many arithmetic          processing         elements on a single chip or


similar are not very useful


                                          Application      2 Distance Weighted Scoring

             0115            A task related to Nearest                 Neighbor        is   Distance Weighted


Scoring         In    this   task each        Example has an associated                      Score                  This        is   a number

that in      some way characterizes                     the Example          For instance                 if    the           Examples are

abstractions          of the history of prices of a given stock the Scores                                               might be

historical      probabilities         of whether         the price     is   about to increase or decrease


Given a Test vector the task                       is   to form a weighted           sum of the Scores                               of all      the




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Examples where               the weights           are a diminishing            function          of the distance               from the


Test to the respective           Examples                 For example               this   weighted         score might be

taken    as a prediction        of the future             price of the stock               whose       history     is    represented


by the Test          This use of embodiments                     of the invention                might help support for

instance       high   speed     trading    of stocks             as is performed                  by certain quantitative

hedge funds despite             the general               view by those having                   ordinary skill          in   the    art



that low precision           computation            is   not   of use    in    financial         applications


         0116             The C code described                    above        computes weighted scores along

with nearest       neighbors          The scores assigned                      to    Examples          in   this   computation

are random numbers drawn                  uniformly from                 the    range           01 The weight                  for each


Example      in   this   computation       is       defined to be the unnormalized weight for the


Example      divided      by the sum of the unnormalized weights for all                                          Examples

where    the   unnormalized weight                       for each       Example        is   defined to be the reciprocal


of the   sum of one plus the squared                        distance      from the Example to the Test vector

As discussed          above     the    code        performs         a   number         of   runs each          producing             many

Examples and Tests and compares                                results of traditional              floating       point


computations          with   results calculated                using fp+noise              and     Ins arithmetic


         0117             Looking      again at the trace results of running the simulation

above      we see that for fp+noise                  the       LPHDR weighted                   scores on average                were

within   85       of the correct        value and              never were as much as 1`0 different                                   For Ins


arithmetic     the    errors were even               smaller averaging just                      12 error
         0118             These       results are surprising                  given that computing                  an overall


weighted score involves               summing             the individual            weighted scores associated                         with


each     Example         Since each       run        was processing                 1000000           Examples                this   means

that the   sums were over one                 million small positive                   values         The naive           method           of


summing one           million small values                with errors of about                  1`0   in   each    addition          should


yield results that approximate                     noise        However         the        code    performs        its    sums using

a long   known        method invented by Kahan                          Kahan         William         January       1965
Further remarks on reducing truncation                              errors Communications                          of the       ACM 8

1 40         The method makes                 it   feasible       to perform           long      sums such          as are done

for Distance       Weighted Scores                  or as might be used                    in   computational            finance




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when    computing             prices of derivative                securities    using Monte Carlo methods or for


performing             deconvolution             in   image processing algorithms as will be discussed

next

           0119               The Efficiency              of this algorithm is similar to that of                    NN as
discussed             earlier      If   many Test vectors               are processed        at       once the machine

performs especially                     efficiently


                                        Application        3 Removing motion blur in images

           0120               In   order to gather sufficient                light   to form an         image camera

shutters          are often     left         open for long enough            that   camera motion can cause

blurring             This can happen as a result of camera shake                                 in   inexpensive       consumer

cameras as well as with very expensive but fast moving cameras mounted on

satellites or aircraft                  If   the motion path of the camera                  is   known        or can be

computed               then the blur can be substantially                     removed using various                   deblurring


algorithms              One such             algorithm is the Richardson Lucy method                           RL         and we

show here that embodiments                             of the present        invention      can run that algorithm and

produce              useful results            Following the discussion              format above              we discuss

criteria   of Accuracy              and        Efficiency


           0121               Algorithm               The Richardson Lucy algorithm                      is   well   known        and

widely available                Assume that an image has been                          blurred         using a known         kernel

In   particular          assume          that the kernel          is   a straight    line   and that the image has

been oriented             so that the blur has occurred                      purely    in   a horizontal           direction


Consider the particular                       kernel for which the Jth pixel in                  each row of the blurred

image      is        the uniformly weighted                mean of pixels J through                   J+31    in   the original

unblurred             image

           0122               Accuracy                We implemented           in   the C programming language                          a


straightforward            version of the               RL method         that uses     LPHDR arithmetic                 The

program reads a test image                             blurs it   using the kernel discussed                   above     then


deblurs         it
                     using either fp+noise                or Ins arithmetic          The RL algorithm computes

sums such as when convolving                               the kernel with the current approximation                           of the


deblurred             image     Our implementation                     computes      these       sums using the Kahan

method discussed                   earlier            FIG 7 shows the test image in original form                            It   is   a




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satellite     picture of a building                used during Barack                  Obamas inauguration FIG 8

shows the image extremely blurred by the kernel                                          It   is   difficult   to   see any

particular      objects        in this   image               FIG 9 shows the result of deblurring                             using

standard floating             point arithmetic                 FIG 10 shows the result of deblurring                                using

fp+noise       arithmetic and               FIG11 shows the result                      of deblurring           using Ins

arithmetic        In   all    these cases the image                    is   sufficiently           restored that         it   is   possible

to recognize       buildings streets parking lots and                                  cars

           0123               In    addition       to displaying        the images herein for judgement using


the human        eye we computed                        a numerical         measure           of deblurring         performance

We computed the mean difference over                                    all       pixels in the      image between each

original      pixel value           a gray scale value from 0 to 255 and the corresponding
value    in   the image reconstructed                         by the   RL method Those                     numerical               measures

are shown        below         in   Table      1

                         Image type                                                     Mean         pixel error


                         Blurred                                                        320

                         RL using standard                     floating     point       130

                         RL using fp+noise                                              138

                         RL using Ins                                                   148

                                                                   Table      1




           0124               These      results together               with the subjective               but    important

judgements        made             by the    human eye show that LPHDR arithmetic                                        provides a

substantial      and         useful    degree           of deblurring             compared         to standard       floating        point


arithmetic        Further            in this   example we chose an extreme degree                                    of blurring         to


better   convey the concept and                         visual impact of the deblurring                        using      LPHDR

arithmetic        On more gentle and                         typical   blur kernels           the resulting         deblurred


images are much closer                      to the originals than in this case                         as can be seen by


shrinking      the kernel length and running the                                  RL algorithm with LPHDR                      arithmetic


on those more typical cases

           0125               Efficiency           It   is   clear to those with ordinary skill                     in   the art that


Richardson Lucy using a local kernel performs only local computational


operations         An image to be deblurred can be loaded into the PE array storing




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one or more pixels per PE the deconvolution                               operation        of   RL can     then    be


iterated    dozens    or hundreds          of times          and    the     deblurred      image can be read back

to the    host processor           As long as sufficient               iterations    are performed            this      makes

efficient   use of the machine


          0126          An extreme form                of   image deblurring          is   the Iterative


Reconstruction        method used in computational                          tomography            Reconstructing           3D

volumes from 2D            projections      is   an extremely computational                      task      The method

discussed     above generalizes             naturally        to Iterative       Reconstruction             and makes

efficient   use of the machine


          0127          Among the advantages                     of   embodiments           of the       invention      are one


or more of the following


          0128          PEs implemented                 according         to certain       embodiments            of the


present     invention      may be relatively            small for PEs that can                  do arithmetic           This


means that there are many PEs per unit of resource                                   eg         transistor    area

volume       which    in   turn   means that there is a large amount                            of arithmetic


computational        power per unit of resource                       This enables         larger problems           to be


solved with a given amount of resource than                             does traditional           computer designs

For instance      a digital       embodiment            of the     present     invention         built   as a large      silicon



chip   fabricated    with current         state of the        art     technology      might perform tens of

thousand      of arithmetic        operations          per cycle as opposed                 to hundreds       in    a


conventional     CPU or a handful                in   a conventional          multicore         CPU       These      ratios


reflect   an architectural         advantage          of    embodiments           of the present          invention that


should persist as fabrication              technology          continues        to   improve even as we reach

nanotechnology         or other implementations                     for digital    and analog computing

          0129          Doing      arithmetic         with few resources             generally           means and         in   the


embodiments          shown       specifically         means that the arithmetic                  is   done using low

power       As a result      a    machine implemented                  in   accordance           with    embodiments            of


the present     invention         can have       extremely high             performance          with     reasonable


power for instance           in   the    tens of watts or low power for instance a fraction of a


watt with reasonably              high   performance               This     means that such embodiments

may be suitable for the full              range of computing from supercomputers through




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desktops down                    to mobile     computing            Similarly and         since cost          is   generally


associated               with the      amount       of available     resources embodiments                         of the      present

invention           may provide           a relatively       high   amount       of computing           power per unit of

cost    compared             to conventional           computing          devices


              0130               The SIMD architecture               is   rather old     and      is   frequently         discarded


as an approach                   to   computer      design by those having               ordinary skill            in   the    art


However             if   the processing          elements       of a     SIMD machine             can be       made

particularly             small while       retaining     important        functionality        such         as general

arithmetic          ability       the architecture        can be useful            The embodiments                      presented

herein        have        precisely      those qualities


              0131               The discovery          that massive           amounts     of     LPHDR arithmetic                   is




useful as a fairly               general computing             framework as opposed                     to the      common            belief


that    it   is   not     useful can be an advantage                     in
                                                                              any massively            or   non massively

parallel          machine design              or non parallel design              not just   in   SIMD embodiments                              It




could        be used        in    FPGAs FPAAs GPUSIMT                           machines MIMD machines and                                  in




any kind           of    machine        that uses     compact        arithmetic      processing             elements           to



perform           large     amounts        of computation           using a small         amount        of resources                like


transistors or volume


              0132               Another advantage             of embodiments             of the present                invention          is




that they are not                merely useful for performing                   computations           efficiently        in   general

but    that they can              be used      to   tackle    a variety       of real world       problems which                    are


typically         assumed             to require high precision               computing      elements even though

such         embodiments               include only     or predominantly                low precision              computing

elements                 Although several examples                  of such      real   world problems have been

presented             herein and although               we have        also had      success           implementing                 non

bonded            force field         computations       for molecular          dynamics        simulation              and other

tasks these are merely examples                              and do not         constitute     an exhaustive              set of the


real   world problems                  that   embodiments           of the present        invention           may be used to

solve


              0133               The embodiments              disclosed         above are merely examples and do

not    constitute           limitations of the present              invention           Rather embodiments                      of the




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present    invention      may be implemented                  in   a variety of other        ways       such as the


following

          0134            For example embodiments                     of the present            invention   may

represent     values      in   any of a variety        of   ways      such as by using digital or analog


representations such              as fixed point logarithmic or floating point representations


voltages currents charges                    pulse width pulse density frequency                         probability


spikes timing or combinations                   thereof        These       underlying      representations           may

be used      individually       or   in   combination       to represent       the   LPHDR values               LPHDR

arithmetic     circuits    may be implemented                 in   any of a variety       of ways        such      as by


using various        digital    methods which may be                  parallel    or serial pipelined           or   not or

analog methods or combinations                       thereof       Arithmetic     elements         may be connected

using various connection                  architectures       such as nearest            4 nearest 8 hops of
varying   degree and            architectures         which    may or may not be rectangular                    or grid


like   Any method may be used for communication                                among      arithmetic        elements

such   as parallel or serial digital or analog                      or mixed    mode communication

Arithmetic     elements         may operate          synchronously          or asynchronously               and may

operate globally simultaneously or not                        Arithmetic       elements         may be

implemented          for example on a single                physical       device such as a silicon chip                   or


spread across multiple devices and                      an embodiment            built   from multiple devices


may have       its   arithmetic      elements        connected        in   a variety     of ways        including    for


example being connected                   as a grid torus hypercube                  tree or other          method

Arithmetic     elements         may be connected              to   a host    machine       if
                                                                                                 any in a variety      of


ways    depending         on the cost and            bandwidth        and other requirements                of a


particular    embodiment              For example there             may be many host machines

connected      to the collection           of arithmetic       elements

          0135            Although         certain   embodiments            of the present         invention are


described      as being        implemented           as a   SIMD architecture             this    is   merely an


example and does               not constitute        a limitation     of the present        invention        For


example embodiments                   of the present        invention       may be implemented               as


reconfigurable        architectures          such     as but not limited to programmable                     logic


devices      field   programmable            analog arrays or field            programmable              gate array




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architectures such           as a design      in   which      existing      multiplier blocks of an            FPGA are

replaced with or supplemented                 by LPHDR arithmetic                 elements        of any of the kinds


disclosed      herein or for example             in   which      LPHDR       elements       are included       in   a   new

or existing     reconfigurable       device design               As another example embodiments                         of


the present       invention     may be implemented                as a      GPU   or SIMTstyle          architecture


which       incorporates     LPHDR arithmetic              elements of any of the kinds disclosed

herein       For example          LPHDR elements            could         supplement      or replace      traditional



arithmetic      elements     in   current   or   new    graphics          processing      unit    designs      As yet

another example embodiments                      of the present           invention    may be implemented                as


a   MIMDstyle       architecture      which      incorporates             LPHDR arithmetic         elements         of any


of the      kinds disclosed       herein     For example             LPHDR arithmetic             elements      could


supplement        or replace traditional           arithmetic        elements     in   current    or   new MIMD

computing       system designs            As yet another example embodiments                            of the


present      invention     may be implemented               as any kind of machine including a


massively       parallel   machine which              uses compact arithmetic               processing      elements

to provide large      amounts        of arithmetic         computing         capability     using a small amount

of resources       for example transistors or area or volume                             compared       with


traditional     architectures


            0136         Although     certain      embodiments             of the present         invention are


described       herein as executing          software         this   is   merely an example and             does        not


constitute      a limitation    of the present         invention           Alternatively     for example


embodiments         of the     present     invention       may be implemented               using microcode             or a


hardware       sequencer       or state     machine        or other controller           to control    LPHDR

arithmetic      elements     of   any of the       kinds   disclosed         herein      Alternatively      for


example embodiments                of the present          invention        may be implemented            using

hardwired burned or otherwise                    preprogrammed               controllers     to   control   LPHDR

arithmetic      elements     of   any of the       kinds   disclosed         herein


            0137         Although     certain      embodiments             of the present         invention are


described       herein as being       implemented           using custom          silicon    as the hardware

this   is   merely an example        and does          not constitute         a limitation    of the    present

invention       Alternatively       for example         embodiments             of the    present      invention        may




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be implemented           using       FPGA or other reconfigurable                 chips as the underlying

hardware        in   which     the   FPGAs or other reconfigurable                  chips are configured              to


perform the          LPHDR operations         disclosed          herein     As another example

embodiments           of the    present    invention    may be implemented                   using any


programmable            conventional      digital   or analog computing               architecture          including

those which          use high precision computing                elements          including       those which       use

other kinds      of    nonLPHDR hardware               to perform         LPHDR arithmetic and                    including


those which          are massively parallel which                has been         programmed             with software      to


perform the          LPHDR operations         disclosed          herein     For example embodiments                        of


the present      invention       may be implemented               using a software           emulator of the


functions      disclosed       herein


            0138         As yet another example embodiments                           of the       present invention


may be implemented               using    3D fabrication         technologies whether based on                       silicon



chips or otherwise              Some example embodiments                    are those        in   which     a    memory

chip    has been       bonded onto a processor              or other device           chip   or     in   which    several


memory andor            processor       or other device          chips have        been bonded            to each    other


in   a stack     3D embodiments            of the present         invention        are very useful as they             may

be denser than          2D embodiments and may enable 3D communication                                       of


information      between        the processing        units which          enables       more algorithms to            run


efficiently    on those embodiments               compared         to   2D embodiments

            0139         Although       certain     embodiments           of the present           invention are


described      herein as being          implemented         using       silicon   chip   fabrication        technology

this   is   merely an example           and does     not constitute         a limitation          of the present


invention       Alternatively         for example      embodiments            of the     present         invention    may

be implemented           using technologies          that   may enable other sorts of traditional

digital     and analog computing           processors        or other devices             Examples           of such


technologies          include   various nanomechanical                  and nanoelectronic               technologies


chemistry      based technologies           such     as for DNA computing nanowire                          and

nanotube       based technologies            optical   technologies               mechanical        technologies


biological     technologies and other technologies                       whether      based on           transistors or


not    that are capable         of implementing        LPHDR architectures                of the kinds disclosed




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herein


          0140               Certain   embodiments         of the      present    invention      have been

described        as massively          parallel embodiments               Although       certain     embodiments

of the    present invention            may include thousands              millions or     more       arithmetic


units embodiments               of the present       invention        may include any number of

arithmetic       units      as few as one       For example even                 an embodiment          which

includes       only a single      LPHDR unit may be used within a serial processing                                 unit or


other device           to provide    a significant    amount       of   LPHDR      processing         power      in   a


small inexpensive              processor    or other      device

          0141               For certain embodiments             of the   present invention           even     if




implemented            using only digital techniques the arithmetic                    operations       may not

yield deterministic            repeatable or the most accurate possible                        results within the


chosen low precision representation                       For instance         on certain specific        input


values an arithmetic             operation    may produce a result which                  is   not   the nearest


value    in   the    chosen     representation       to   the true arithmetic          result


          0142               The degree     of precision        of a   low precision       high      dynamic         range

arithmetic       element       may vary from implementation                to implementation             For


example         in   certain   embodiments        a   LPHDR arithmetic             element produces                 results


which     include fractions            that is values     greater than      zero and       less than      one         For


example         in   certain   embodiments        a   LPHDR arithmetic             element produces                 results


which     are sometimes or all of the time no closer than                          005 to the correct result
that is the absolute value of the difference                      between        the   produced       result   and        the


correct       result   is   no more than one twentieth of one percent of the absolute                                value


of the   correct        result    As another example              a    LPHDR     arithmetic      element       may

produce        results which        are sometimes or all of the time no closer than                       01Yo         to


the correct         result     As another example           a    LPHDR arithmetic          element      may

produce        results which        are sometimes or al of the time no closer than                        02           to


the correct         result     As yet another example             a    LPHDR arithmetic           element      may

produce        results which        are sometimes or all of the time no closer than                       05           to


the correct         result    As yet further examples             a    LPHDR     arithmetic      element       may

produce        results which        are sometimes or all of the time no closer than                       1`0         or




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2 5    or           or   10 or 20           to the correct          result


            0143           Besides having various               possible degrees of precision

implementations            may vary in the dynamic                  range of the space of values they

process        For example           in   certain    embodiments a LPHDR                      arithmetic    element


processes        values     in   a space which         may range approximately from one millionth

to one million           As another example              in   certain    embodiments a LPHDR                     arithmetic


element processes                values    in    a space which        may range approximately from one

billionth    to one billion         As yet another example                   in   certain   embodiments a

LPHDR arithmetic             element processes                values    in   a space which        may range

approximately from one sixty five thousandth                           to sixty five        thousand       As yet

further     examples        in   certain    embodiments a LPHDR                      arithmetic     element


processes        values     in   a space which         may range from any specific                    value between


zero and one sixty five thousandth                    up to any specific value greater than sixty five

thousand         As yet further examples other embodiments                               may process         values    in



spaces       with   dynamic       ranges that        may combine and may fall between                        the prior


examples         for example         ranging from approximately one                     billionth   to ten    million       In



all   of these      example embodiments               of the present              invention as well as in other


embodiments the values                    that   we are discussing may be signed                      so that the

above       descriptions     characterize           the absolute       values of the numbers               being

discussed

            0144           The frequency           with which        LPHDR arithmetic            elements        may yield

only approximations               to correct      results     may vary from implementation                  to


implementation             For example consider an embodiment                            in   which   LPHDR

arithmetic      elements         can perform one or more operations                         perhaps including         for


example        trigonometric functions                and for each operation the                 LPHDR elements

each accept a set of inputs drawn from a range of valid values and                                         for each


specific     set of input values           the    LPHDR elements              each     produce one or more


output values            for example simultaneously computing                          both sin and cos of an


input and the output values produced                          for a specific         set of inputs     may be

deterministic or          non deterministic            In   such an example embodiment consider


further a fraction         F of the       valid inputs      and a     relative error amount           E by which the




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result calculated          by an       LPHDR element may differ from the mathematically

correct     result    In   certain       embodiments            of the present         invention for each                      LPHDR

arithmetic    element            for at least   one operation          that the        LPHDR unit              is   capable of


performing for at least fraction F of the possible valid inputs to that operation for

at least    one output         signal     produced       by that operation the statistical                          mean over

repeated execution of the numerical                       values represented              by that output signal of

the    LPHDR unit when executing that operation                            on each       of those             respective


inputs differs by at least               E from the result of an exact mathematical                                 calculation          of


the operation        on those same input values where F is 1°0 and E is                                        005              In



several other        example embodiments F is not                        1      but instead              one of       2             or


5
                                                                                                    is




       or   10 or 20 or 50 For each                             of these    example embodiments each

with   some specific           value for F there are other example embodiments                                       in     which        E

is   not   005 but instead               is   01    or   02       or   05         or   1 2 5  or              or               or   10
or    20 These            varied       embodiments        are merely examples and do not constitute

limitations of the present               invention


            0145           For certain devices            such     as computers           or processors                   or other


devices      embodied according the present invention the number                                          of    LPHDR

arithmetic    elements           in    the device   eg computer or processor or other device
exceeds the number                    possibly zero of arithmetic               elements       in   the device which


are designed         to perform          high dynamic       range arithmetic            of traditional              precision


that is floating          point arithmetic       with a word        length       of   32 or more bits                  If      NL is

the total number of              LPHDR elements            in   such a device           and    NH        is   the total


number      of elements           in   the device which are designed                   to perform             high   dynamic

range arithmetic           of traditional      precision then          NL exceeds          TNH where TO                             is




some function             Any of a variety       of functions       may be used as the function                                TO
For example          in   certain       embodiments         TNH may be twenty plus three times NH
and the number            of   LPHDR arithmetic            elements        in   the device          may exceed twenty

more than three times the number of arithmetic                             elements       in    the device                if
                                                                                                                               any

designed      to perform          high    dynamic range          arithmetic       of traditional          precision                 As

another example             in    certain     embodiments          the   number of LPHDR                      arithmetic


elements      in   the device          may exceed fifty more than five times the number                                        of




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arithmetic         elements       in    the device         if
                                                                 any designed            to perform         high    dynamic range

arithmetic         of traditional           precision      As yet another example                      in   certain


embodiments               the   number         of    LPHDR arithmetic                  elements       in   the device       may

exceed one hundred more than                           five      times the number of arithmetic                     elements            in




the    device       if
                         any designed              to perform       high    dynamic range              arithmetic      of


traditional        precision       As yet another example                         in   certain   embodiments                the


number        of   LPHDR arithmetic                  elements       in   the device        may exceed one thousand

more than          five   times the number of arithmetic                          elements       in   the   device     if
                                                                                                                            any

designed       to perform         high        dynamic range              arithmetic       of traditional       precision           As

yet another         example            in   certain   embodiments                 the   number        of    LPHDR arithmetic

elements       in     the device        may exceed five thousand more than five times the

number        of arithmetic        elements           in   the device        if
                                                                                  any designed              to perform       high


dynamic range             arithmetic          of traditional        precision           Certain       embodiments            of the


present       invention         may be implemented                  within a single            physical      device         such       as

but    not   limited      to a silicon        chip    or a chip      stack        or a chip      package       or a circuit


board and           the   number NL of LPHDR                       elements        in   the physical         device and the


number NH             of elements            designed      to perform        high       dynamic range              arithmetic          of


traditional        precision      in   the physical             device    may be the total counts of the

respective         elements       within that physical               device            Certain       embodiments            of the


present       invention         may be implemented                  in   a computing            system       including       more

than one physical device                      such    as but not limited to a collection                      of silicon      chips or

chip    stacks or chip packages or circuit boards coupled                                       to   and communicating

with each          other using any            means such             as a    bus switch any kind of network

connection            or other    means of communication                           and    in   this   case the number                  NL

of    LPHDR elements              in    the    computing           system and the number                     NH    of elements


designed       to perform         high        dynamic range              arithmetic       of traditional       precision          in   the


computing          system       may be the total counts of the respective                                  elements    within          all




those physical devices jointly


             0146           Certain          embodiments            of the    present          invention      may constitute                 or


may be part of             processors which                 are devices capable                  of executing         software to


perform       computations                  Such     processors          may include mechanisms                     for storing




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software for using the software                     to determine          what operations         to   perform          for


performing    those operations for storing numerical                            data   for modifying              data


according    to the software              specified       operations and for communicating                         with


devices connected              to the processor             Processors         may be reconfigurable                 devices

such     as without       limitation field          programmable           arrays      Processors            may be co

processors     to   assist      host machines or may be capable of operating


independently        of an external             host      Processors       may be formed           as a collection             of


component      host processors               and co processors              of various     types such as CPUs

GPUs FPGAs or other processors                            or other devices         which     in   the art may be


referred    to as a heterogeneous                  processor         design or heterogeneous                 computing


system some or all              of which        components          might incorporate the              same or distinct

varieties   of embodiments                of the    present    invention


          0147            Embodiments              of the present         invention    may however                 be


implemented         in   devices     in    addition       to or other than processors                  For example a


computer     including         a processor          and other components               such       as   memory coupled

to the   processor by a data               path         wherein the       processor    includes         components             for


performing    LPHDR operations                     in
                                                        any of the ways disclosed            herein          is   an example

of an    embodiment         of the present              invention     More generally any device                     or


combination      of devices          whether or not           falling     within the   meaning          of a


processor which                performs      the functions          disclosed    herein     may constitute               an


example     of an    embodiment             of the present           invention


          0148            More generally any of the techniques described                                above        may be

implemented         for example            in   hardware software              tangibly    stored      on a computer

readable    medium          firmware         or    any combination           thereof       The techniques

described    above        may be implemented                  in   one or more computer                programs

executing on a programmable computer                               including   a processor         a storage            medium

readable    by the processor               including for example                volatile    and nonvolatile

memory andor             storage elements                 at least   one    input device      and       at   least      one

output device            Program code may be                 applied      to input entered         using the         input


device to perform the functions described                           and    to generate      output       The output

may be provided           to   one   or    more output devices




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          0149               Each    computer program               within the    scope      of the claims below


may be implemented                  in   any programming            language such as assembly language

machine language               a highlevel          procedural       programming            language     or an object


oriented        programming          language         The programming             language       may for example
be a compiled or interpreted                  programming            language

          0150               Each    such computer            program    may be implemented               in   a


computer program product                    tangibly    embodied        in   a   machinereadable storage

device for execution            by a computer           processor         Method steps          of the invention


may be performed               by a computer          processor       executing         a   program    tangibly


embodied on            a   computer readable medium                   to perform        functions     of the invention


by operating           on input and generating              output Suitable         processors         include by way

of example         both      general and          special   purpose microprocessors Generally the

processor        receives      instructions         and data from a readonly memory andor                              a


random access memory                       Storage devices suitable              for tangibly    embodying

computer program               instructions        include for example            all   forms of nonvolatile


memory such                as semiconductor          memory devices              including     EPROM EEPROM
and     flash   memory devices               magnetic       disks such       as internal hard disks and

removable         disks      magneto optical disks and                 CDROMs               Any of the foregoing

may be supplemented                  by or incorporated             in specially designed             ASICs

application specific            integrated         circuits    or   FPGAs Field Programmable Gate

Arrays A computer can                      generally   also receive          programs and data from                a


storage     medium such as an                 internal disk     not shown          or a removable             disk These

elements        will   also be found         in   a conventional       desktop      or workstation        computer           as

well as other computers                  suitable    for executing       computer programs implementing

the   methods described                  herein which       may be used in conjunction                 with   any digital

print   engine or marking engine display monitor or other raster output device


capable of producing                color or gray scale pixels on                paper      film display screen             or


other output           medium




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                                                          Claims




1 A device comprising

         at least   one       first   low precision       high dynamic          range     LPHDR execution unit
adapted     to   execute a        first   operation      on a first    input signal       representing     a first

numerical     value to produce a               first   output signal representing            a second numerical


value

                  wherein         the dynamic          range of the possible valid inputs to the first


         operation       is   at least as wide as from 165000 through                        65000 and for at

         least   X=5 of the possible valid inputs to the                         first   operation the statistical


         mean over repeated                 execution of the first operation               on each     specific      input


         from the at least            X    of the possible           valid inputs to the     first   operation of

         the numerical           values represented             by the first output signal of the LPHDR

         unit executing          the first operation           on   that input differs by at least        Y=05
         from the result of an exact mathematical                         calculation      of the first   operation

         on the numerical values                 of that   same input and

         at least   one       first   computing        device       adapted to control the operation            of the


at least   one   first   LPHDR execution                unit




2 The method of claim 1 wherein the at least one first computing device

comprises at least one of a central processing                           unit   CPU a graphics processing
unit   GPU a        field     programmable gate array                  FPGA a microcode based
processor a hardware                  sequencer and a state machine



3 The device of claim 2 wherein the number of LPHDR execution                                         units in the


device     exceeds by at least one hundred the non negative                               integer    number of

execution     units in the device            adapted to execute at least the operation                     of


multiplication     on floating         point    numbers        that are at least 32 bits        wide




4 The device of claim 3 wherein X=10



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5 The device of claim 3 wherein Y=2


6 The device of claim 3 wherein X=10 and Y=2


7 The device of claim 3 wherein the dynamic                          range of the possible valid inputs

to the first    operation     is    at least as wide as from          11000000          through       1000000



8 The device of claim 3 wherein the first operation                          is   multiplication




9 A device comprising
        at least    one     first   low precision      high dynamic       range       LPHDR execution unit
adapted    to   execute a       first   operation     on a first    input signal      representing     a first

numerical      value to produce a           first   output signal representing           a second numerical


value

                  wherein          the dynamic      range of the possible valid inputs to the first

        operation      is   at least as wide as from 165000                   through    65000 and for at

        least    X=5 of the possible valid inputs to the                     first   operation the statistical

        mean over repeated                 execution of the first operation            on each     specific      input


        from the at least           X     of the possible        valid inputs to the first     operation of

        the numerical          values represented            by the first output signal of the LPHDR

        unit executing         the first    operation     on     that input differs by at least        Y=05
        from the result of an exact mathematical                      calculation      of the first   operation

        on the numerical values               of that   same input and

                  wherein          the at least one first        LPHDR execution         unit comprises          at


        least    one   of a chemistrytechnology based                    execution      unit a biological


        technology      based           execution    unit a      DNA technology based            execution       unit


        a nanomechanicaltechnologybased                            execution      unit a nanoelectronic


        technologybased                 execution    unit a      nanowiretechnologybased               execution


        unit a     nanotubetechnologybased                       execution    unit    and an optical

        technology based                execution    unit




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10 The device of claim 9 wherein                    the number of LPHDR execution                 units in the


device   exceeds by at least one hundred the non negative                            integer   number of

execution      units in the device            adapted to execute at least the operation              of


multiplication     on floating    point        numbers      that are at least 32 bits      wide




11 The device of claim 10 wherein                    X=10


12 The device of claim 10 wherein                    Y=2

13 The device of claim 10 wherein                    X=10 and Y=2


14 The device of claim 10 wherein                    the    dynamic range of the possible            valid


inputs to the first       operation     is    at least as wide       as from   11000000          through

1000000



15 The device of claim 10 wherein                    the first operation       is   multiplication




16 A device comprising

         a   plurality    of components          comprising

                   at least     one   first    low precision       high dynamic      range   LPHDR
         execution        unit adapted         to execute    a first operation      on a first   input signal


         representing       a first   numerical       value to produce         a first output signal


         representing       a   second numerical value

                             wherein         the dynamic         range of the possible valid inputs to the

                  first   operation      is    at least as wide as from        165000 through 65000

                   and for at least           X=5 of the possible valid inputs to the              first



                  operation the          statistical   mean over repeated execution                  of the first


                  operation      on each         specific    input from the at least      X      of the


                   possible valid inputs to the first               operation of the numerical             values


                   represented        by the first output signal of the             LPHDR unit executing



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                 the first operation     on that    input differs by at least     Y=05 from the
                 result of an exact mathematical            calculation    of the first   operation    on

                 the numerical    values of that         same input



17 The device of claim 16 wherein            the    plurality   of components       are arranged       in   a


stack




18 The device of claim 17 wherein            the number of LPHDR execution                  units in the


device   exceeds by at least one hundred the non negative                   integer   number of

execution   units in the device        adapted   to execute     at least the operation       of


multiplication   on floating   point    numbers     that are at least 32 bits      wide




19 The device of claim 18 wherein             X=10


20 The device of claim 18 wherein             Y=2

21 The device of claim 18 wherein             X=10 and Y=2


22 The device of claim 18 wherein             the   dynamic range of the possible            valid


inputs to the first   operation   is   at least as wide     as from   11000000            through

1000000



23 The device of claim 18 wherein             the first operation     is   multiplication




24 The device of claim 16 wherein the plurality of components                       are bonded




25 The device of claim 16 wherein the plurality of components                       are arranged       in   a

stack and   bonded




                                                    54




                                                                                                      SINGULAR 00001501
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Attorney Docket       No A0006 1001C2


26 A device comprising              a computer         processor      and a computer readable               memory

storing   computer       program        instructions      wherein the computer           program

instructions      are executable         by the processor          to emulate   a second device


comprising

          at least   one   first   low precision       high dynamic       range    LPHDR execution unit
adapted to execute a           first   operation      on a first    input signal   representing        a first

numerical     value to produce a            first   output signal representing        a second numerical


value

          wherein     the dynamic         range of the possible valid inputs to the first

operation    is   at least as wide as from 165000 through                     65000 and for at least

X=5 of the possible valid inputs to the                   first    operation the statistical       mean over

repeated execution          of the first     operation     on each      specific   input from the at least


X    of the possible       valid    inputs to the first        operation of the numerical          values


represented       by the first output signal of the               LPHDR unit executing          the first


operation    on that     input differs by at least         Y=05 from the result of an exact
mathematical         calculation       of the first   operation     on the numerical values            of that


same input and

          wherein     the at least one first          LPHDR execution        unit comprises at least one


of a chemistry technology based                     execution     unit a biological technology          based

execution     unit a    DNA technology based                  execution   unit a    nanomechanical

technologybased            execution       unit a nanoelectronictechnologybased                     execution


unit a    nanowiretechnologybased                     execution unit a nanotubetechnologybased


execution     unit and an optical technology based                     execution    unit




27 The device of claim 26 wherein the number of LPHDR execution                                     units in the


second device exceeds by at least one hundred the non negative                                  integer     number

of execution      units in the     second device adapted               to execute    at least the operation


of multiplication      on floating       point      numbers    that are at least    32   bits   wide




28 The device of claim 27 wherein                     X=10




                                                          55




                                                                                                                 SINGULAR 00001502
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Attorney Docket       No A0006 1001C2


29 The device of claim 27 wherein                        Y=2

30 The device of claim 27 wherein                        X=10 and Y=2


31 The device of claim 27 wherein                        the    dynamic range of the possible               valid


inputs to the first        operation        is    at least as wide       as from   11000000             through

1000000



32 The device of claim 27 wherein                        the first operation       is    multiplication




33 A device comprising                   a computer       processor       and a computer readable                 memory

storing   computer         program         instructions         wherein the computer             program

instructions      are executable            by the processor            to emulate      a second device


comprising

          a   plurality    of components             comprising

                    at least     one      first   low precision        high dynamic        range    LPHDR
          execution        unit adapted           to execute      a first operation       on a first    input signal


          representing       a   first    numerical       value to produce         a    first   output signal


          representing       a second numerical                  value

                              wherein            the dynamic         range of the possible valid inputs to the

                   first   operation         is   at least as wide as from         165000 through 65000

                    and for at least              X=5 of the possible valid inputs to the                 first



                   operation the             statistical   mean over repeated execution                    of the first


                    operation       on each          specific    input from the at least          X     of the


                    possible valid inputs to the first                  operation of the numerical                values


                    represented           by the first output signal of the               LPHDR unit executing

                   the first operation              on that     input differs by at least         Y=05 from the
                    result of an exact mathematical                     calculation      of the first   operation     on

                   the numerical             values of that          same input




                                                                56




                                                                                                                     SINGULAR 00001503
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Attorney Docket     No A0006 1001C2




34 The device of claim 33 wherein the plurality of components                       are arranged       in   a

stack




35 The device of claim 34 wherein the number of LPHDR execution                           units in the


second device exceeds by at least one hundred the non negative                         integer   number

of execution   units in the    second device adapted             to execute     at least the operation


of multiplication     on floating   point   numbers        that are at least 32 bits wide




36 The device of claim 35 wherein               X=10


37 The device of claim 35 wherein               Y=2

38 The device of claim 35 wherein               X=10 and Y=2


39 The device of claim 35 wherein               the   dynamic range of the possible           valid


inputs to the first    operation    is   at least as wide     as from   11000000       through

1000000



40 The device of claim 35 wherein               the first operation     is   multiplication




41 The device of claim 33 wherein the plurality of components                       are bonded




42 The device of claim 33 wherein the plurality of components                       are arranged       in   a

stack and   bonded




                                                      57




                                                                                                      SINGULAR 00001504
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Attorney Docket        No A0006 1001C2



                                                    Abstract




A processor      or other device such as a programmable andor massively parallel


processor or other device             includes processing          elements designed       to perform


arithmetic   operations          possibly but not necessarily          including for example one or

more of addition        multiplication subtraction            and division on numerical values of

low precision     but high dynamic           range    LPHDR arithmetic             Such    a processor or

other device      may for example be implemented                    on a single chip      Whether or not

implemented       on a single chip the number                of   LPHDR arithmetic       elements    in   the


processor or other device            in   certain   embodiments       of the present     invention


significantly    exceeds     eg by         at least   20 more than three times the number                 of


arithmetic   elements       if
                                 any in the processor         or other device which are designed

to perform      high   dynamic      range arithmetic        of traditional   precision   such   as 32     bit



or 64 bit floating      point arithmetic




                                                       58




                                                                                                          SINGULAR 00001505
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                                         Electronic Patent Application             Fee Transmittal


Application      Number                                        13849606




Filing Date                                                    25 Mar2013




Title of Invention                                             Processing   with   Compact Arithmetic   Processing    Element




First   Named InventorApplicant               Name             Joseph   Bates




Filer                                                          Robert PlotkinKaren     Del Greco




Attorney Docket      Number                                    A0006 1001C2



Filed as Small Entity




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Pages



Claims



                            Claims in excess of 20                          2202               22                40                 880




                  Independent         Claims in Excess of 3                 2201               2                210                 420




Miscellaneous Filing




                                                                                                                            SINGULAR 00001506
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Petition




Patent Appeals and Interference




Post Allowance   and Post Issuance



Extension   of Time



Miscellaneous



                                                                     Total   in   USD   $               2100




                                                                                                     SINGULAR 00001507
               Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 336 of 436
                                             Electronic         Acknowledgement                      Receipt


                            EFS ID                                     16456459




                    Application        Number                          13849606




          International     Application          Number


                    Confirmation        Number                         6059




                      Title of   Invention                             Processing    with   Compact Arithmetic       Processing   Element




       First   Named InventorApplicant                 Name            Joseph     Bates




                     Customer Number                                   24208




                             Filer                                     Robert PlotkinKaren       Del Greco




                     Filer Authorized       By                         Robert Plotkin




                Attorney Docket          Number                        A0006 1001C2



                        Receipt Date                                   301UL2013



                         Filing Date                                   25   MAR 2013


                         Time Stamp                                    163015



                      Application Type                                 Utility   under 35 USC   111a



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                                                                             05/19/23 Page 337 of 436
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153b            and MPEP        506 a Filing Receipt 37 FR 154 will be issued in due course and the date shown on this
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USC 371 and other applicable                   requirements a Form PCTDOE0903                              indicating          acceptance of the application as a
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the application




                                                                                                                                                                     SINGULAR 00001509
                               Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 338 of 436

                                       PATENT APPLICATION                                                            FEE DETERMINATION                                     RECORD                  Application   or   Docket    Number

                                                                                              Substitute             for   Form               PTO 875                                              13849606



                                        APPLICATION                                AS FILED                      PART               I
                                                                                                                                                                                                                          OTHER THAN
                                                                             Column            1                                    Column 2                                  SMALL ENTITY          OR                   SMALL     ENTITY

                            FOR                                        NUMBER                 FILED                   NUMBER EXTRA                                        RATE$        FEE$                      RATE$                    FEE$

                                                                                       NA                                               NA                                  NA            70                          NA
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             Ft       1   le
                                                                                       NA                                               NA                                  NA           300                          NA
EXAMINAT                        3N FEr                                                 NA                                               NA                                  NA           360                          NA
37 CFR 1160                        w
TOTAL                     CLAIMS
                                                                            42                                                           22                                  40          880
37 CFR 116i

INDEPENDENT                              CLAIMS
                                                                                                                                                                            210          420
37 CFR 116h

                                                              If       the specification                 and drawings exceed                            100
APPLICATION SIZE                                              sheets             of paper the application                               size fee due          is

FEE                                                           $310 $155 for small entity for each additional                                                                             000
37 CFR 116s                                                   50 sheets or fraction thereof See 35                                               USC
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MULTIPLE                        DEPENDENT                     CLAIM          PRESENT                  37 CFR 116j                                                                        D00

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                                 APPLICATION                                AS AMENDED                                PART               II




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             FIRST              PRESENTATION                  OF MULTIPLE                     DEPENDENT              CLAIM      37 CFR 1160                                                         OR

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             FIRST              PRESENTATION                  OF MULTIPLE                     DEPENDENT              CLAIM      37 CFR 116j

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       NUMBER                  371c   DATE                    UNIT           Ill         ILICI                            ATTYDOCKETNO                                       TOT CLAIMS        IND CLAIMS

     13849606              03252013                          2193                  000                                    A0006 1001C2                                              42              5

                                                                                                                                                             CONFIRMATION                      NO 6059
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Inventors
                                Joseph Bates Newton                          MA
Applicants
                                Singular             Computing          LLC Newton               MA
Assignment           For Published                      Patent       Application

                                Singular             Computing          LLC Newton               MA

Power of Attorney The patent                                 practitioners         associated         with     Customer Number 24208


Domestic         Priority data              as claimed by applicant
                                This application            is a CON of 13399884 02172012 PAT 8407273
                                which         is    a   CON of 12816201 06152010 PAT 8150902
                                which claims benefit of 61218691                                  06192009

Foreign Applications                   for     which         priority   is   claimed       You may be eligible                  to   benefit         from the Patent                 Prosecution

Highway program                 at    the   USPTO Please see httpwwwusptogov                                              for   more information                         None
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     SMALL ENTITY
                                                                                               page   1   of   3




                                                                                                                                                                                         SINGULAR 00001511
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Title


                     Processing         with       Compact                Arithmetic          Processing                    Element


Preliminary Class

                     708


Statement under 37 CFR                        155 or 178 for AIA First Inventor                                               to   File Transition            Applications              No

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Almost every country              has        its   own patent law and a person                                         desiring      a patent        in   a particular      country      must make an

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                                                                                                    page        2 of    3




                                                                                                                                                                                         SINGULAR 00001512
                   Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 341 of 436




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                                                                                                                                                                                                    SINGULAR 00001513
            Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 342 of 436



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           13849606                                                    03252013                                               Joseph   Rates                                           A0006 1001C2

                                                                                                                                                                         CONFIRMATION                         NO 6059
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ROBERT PLOTKIN PC
15 New England Executive                             Office           Park                                                                   II   II   II

                                                                                                                                                                  11111Ijoloilmmliiii11111111111111111111

Burlington         MA 01803
                                                                                                                                                                               Date        Mailed 05302013




               NOTICE TO FILE MISSING PARTS OF NONPROVISIONAL                                                                                                           APPLICATION

                                                                                FILED UNDER 37 CFR                            153b
                                                                                      Filing    Date Granted


Items Required To Avoid                              Abandonment

An application            number and filing                      date have         been accorded            to     this       application              The items indicated below
however      are        missing Applicant                        is   given TWO MONTHS                  from the date of this Notice within which                                               to    file   all



required    items         below        to    avoid      abandonment Extensions                          of time       may be obtained                            by filing      a petition accompanied

by the extension            fee        under the provisions                      of 37    CFR 1136a

    The    statutory            basic       filing    fee    is       missing

    Applicant           must submit $70                     to    complete         the basic   filing       fee for a          small entity


The application            is   informal         since           it   does not comply with the regulations                             for   the        reasons                indicated         below

The required items identified below must be                                          timely submitted                to       avoid    abandonment

    A substitute           specification               in   compliance             with   37 CFR        152         1121b3                   and            1125         is   required The substitute

    specification           must be submitted                          with     markings    and be accompanied                         by a clean version without                                    markings as
    set   forth     in   37 CFR             1125c            and a statement               that the substitute                  specification                contains           no new          matter        see 37
    CFR 1125b The specification                                           claims andor         abstract          pages            submitted                 is   not     acceptable             and cannot be

    scanned or properly                      stored         because
          The line spacing on                        the specification              claims     andor         abstract            is   not 112          or double              spaced see 37 CFR
          152b
Applicant     is   cautioned                that correction               of the   above items may cause the specification                                              and drawings                 page count          to


exceed     100 pages              If   the specification                   and drawings        exceed            100 pages applicant                             will    need        to   submit the required

application        size    fee


The applicant needs                    to    satisfy    supplemental                fees   problems          indicated            below

The required items identified below must be                                          timely submitted                to       avoid    abandonment

    Additional           claim    fees of $            1300 as a small entity                  including           any required              multiple              dependent               claim       fee         are

    required Applicant                      must submit the additional                      claim   fees or cancel                    the additional                    claims       for   which fees are

    due




                                                                                               page     1   of 2




                                                                                                                                                                                                     SINGULAR 00001514
                 Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 343 of 436




        A surcharge     for late submission of the basic                     filing    fee    search fee examination           fee or inventors      oath or

        declaration    as set forth          in   37 CFR 116f of $ 70 for a small entity                     in   compliance     with   37 CFR 127 must be
        submitted


SUMMARY OF FEES DUE

Total     fees required        within      TWO MONTHS from the date of this Notice is $ 2100 for a small entity
        $ 70 Statutory     basic      filing    fee

        $ 70 Surcharge
        The application search             fee    has not been paid           Applicant        must submit $ 300 to complete             the search    fee

        The application examination                  fee   has not been paid            Applicant    must submit $ 360 to complete             the   examination

        fee for a small entity        in   compliance           with   37 CFR       127
        Total additional      claim    fees          for this   application    is     $ 1300
           $ 420 for 2 independent                   claims over       3
           $ 880 for 22 total claims over 20


Replies must be received                in     theUSPTO within the set time period or must include a proper Certificate of Mailing
or Transmission         under 37 CFR              18 with a mailing or transmission date within the set time period For more
information        and a suggested             format see Form PTOSB92 and MPEP 512


                       Replies should be mailed to

                                                       Mail     Stop Missing          Parts

                                                       Commissioner for Patents

                                                       PO Box 1450
                                                       Alexandria          VA 223131450

Registered         users of   EFSWeb may alternatively                       submit their reply       to   this   notice via   EFSWeb
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For more information            about          EFSWeb please call the USPTO                       Electronic      Business     Center at 18662179197           or

visit   our website     at   httpwwwusptogovebc

            If
                 you are not using                EFSWeb to submit your reply you must include a copy of this notice




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Office of        Data Management Application                     Assistance         Unit   571 2724000             or   571 2724200       or   18887860101




                                                                                    page 2 of 2




                                                                                                                                                  SINGULAR 00001515
                 Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 344 of 436



                     UNITED STATES           PATENT AND                                  OFFICE
                                                                                                                    UNITED             STATES       DEPARTMENT         OF COMMERCE
                                                                                                                    United States              Patent and        Trademark Office
                                                                                                                    Address       COMMISSIONER             FOR   PATENTS
                                                                                                                                  PC   Box   1450

                                                                                                                                  Alexandria   liqpiia   223131450
                                                                                                                                  mew nspionor

       APPLICATION    NUMBER                  FILING   OR 371C DATE                          FIRST   NAMED    APPLICANT                                  ATTY DOCKET NOTITLE

             13849606                             03252013                                       Joseph       Bates                                          A0006 1X 1C2
                                                                                                                                               CONFIRMATION                    NO 6059
24208                                                                                                            POA ACCEPTANCE LETTER
ROBERT PLOTKIN PC




                                                                                                                 1111
15 New England Executive               Office   Park                                                                    11   11                                        iiii    1111111111111
                                                                                                                                  D11111hitiLIEiii113                 J11111
Burlington         MA 01803
                                                                                                                                                     Date Mailed              05302013




                                 NOTICE OF ACCEPTANCE OF POWER                                                OF ATTORNEY

This   is   in   response   to the   Power of Attorney         filed   04082013

The Power          of Attorney   in this   application   is   accepted    Correspondence                     in this         application            will     be mailed to the

above address as provided              by 37 CFR       133




                       dnguyen




Office of        Data Management Application             Assistance      Unit   571 2724000                    or       571 2724200                          or      18887860101




                                                                         page   1   of   1




                                                                                                                                                                         SINGULAR 00001516
        Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 345 of 436




                                                                     Declaration


                                                    Equivalent to LISPTO Form ProA1401



Application          Number            13849606                            Attorney      Docket       Number          A0006 1001C2




Filing       Date                      03252013                            Examiner       Name                        Michael   a Yaary


First       Named Inventor             BATES Joseph                        Art Unit                                   NA


Title       of   Invention             Processing   with   Compact   Arithmetic   Processing   Element




        Each      below named inventor               hereby declares that




        1        Application



        This Declaration          is   directed     to


                                   the attached application or



                                    United States          application    or PCT     international         application     number 131849606


                                   filed   on     032512013            mmiddyyyy




        2        Declaration




        The above identified              application       was made or authorized to be made by                       me

        I   believe that     I   am the original         inventor    or an original joint inventor            of a    claimed invention       in   the

        application



        I

            hereby acknowledge that any willful false statement                          made in this         Declaration        is   punishable   under

        18       USC 1001 by fine or imprisonment of not more than                             five   5 years         or both




                 Duty of Disclosure



        I
            hereby acknowledge the duty to disclose information which                                 is   material    to patentability      as defined

        in   37 CFR    156 including for continuation                  in part applications            material information             which become

        available      between the filing date of the prior application                        and the national or PCT international                 filing


        date of the continuation             in part application




                                                                                                                                              Page    1   of 4




                                                                                                                                                   SINGULAR 00001517
Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 346 of 436




       Warning


The undersigned          isare cautioned to avoid submitting                    personal     information      in    documents      filed   in a



patent    application      that    may contribute            to identity theft    Personal information             such   as   social   security


numbers bank account               numbers or credit               card   numbers other than a check               or credit card

authorization      form PIO2038 submitted                     for payment      purposes      is   never required       by the 11SPTO to

support a petition         or an application          if   this   type of personal information          is   included     in   documents

submitted       to the   USPTO          petitionersapplicants should             consider redacting          such    personal information

from the documents before submitting them to the USPTO The undersigned                                          isare advised           that   the

record of a patent         application      is   available to the         public after publication      of the application          unless a

non publication          request    in   compliance with 37 CFR               1213a   is    made in the application             or issuance


of a   patent Furthermore the record from an abandoned application                                   may also be available to the

public   if   the application      is   referenced         in a   published   application    or an issued      patent     see 37 CFR

114 Checks and credit card authorization                           forms PTO 2038 submitted           for payment         purposes are

not retained      in the   application       file   and therefore         are not publicly available




                                                                                                                                   Page 2 of 4




                                                                                                                                         SINGULAR 00001518
Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 347 of 436



  Signatures




      Inventor    1


      Given    Name First and Middle   Joseph




      Familaast Name                   Bates



                      ii



                                        24 vvogsti Lei
      Signature                        Date




  b   Inventor    2

      Given    Name First and Middle


      Family   Last Name




      Signature                        Date




      Inventor    3

      Given    Name First and Middle


      Family   Last Name




      Signature                        Date




  d   Inventor1

      Given    Name First and Middle

      Family   Last Name




      Signature                        Date




                                                              Page 3 of 4




                                                                SINGULAR 00001519
Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 348 of 436




     Inventor    5

     Given    Name First and Middle


     Family   Last Name




     Signature                        Date




     Inventor    6

     Given    Name First and Middle


     Family   Last Name




     Signature                        Date




                                                              Page 4 of 4




                                                                SINGULAR 00001520
              Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 349 of 436
                                      Electronic     Acknowledgement                   Receipt


                         EFS ID                           15455240




                 Application   Number                     13849606




        International   Application      Number


                Confirmation     Number                   6059




                  Title of   Invention                    Processing    with   Compact Arithmetic          Processing            Element




      First   Named InventorApplicant         Name        Joseph     Bates




                  Customer Number                         24208




                         Filer                            Robert PlotkinKaren      Del Greco




                  Filer Authorized   By                   Robert Plotkin




               Attorney Docket    Number                  A0006 1001C2



                     Receipt Date                         08 APR 2013




                      Filing Date




                     Time Stamp                           123415



                   Application Type                       Utility   under 35 USC   111a



Payment information

Submitted with Payment                                    no



File Listing


 Document                                                                                      File Size Bytes                         Multi       Pages
                     Document     Description                    File   Name
  Number                                                                                       Message Digest                        Part   zip   if   appl

                                                                                                          827679

                      Oath or Declaration   filed     DeclarationA00061001C2pdf                                                            no
                                                                                          fatlbeS7b1348a89c908004ada2a23980ecc

                                                                                                            07b




Warnings

Information




                                                                                                                                       SINGULAR 00001521
                 Case 1:19-cv-12551-FDS Document  494-5    Filed 05/19/23 Page 350  of 436
                                            Total     Size                       827679     Files       in bytes



This Acknowledgement               Receipt       evidences        receipt       on the noted date by the USPTO of the indicated                         documents
characterized      by the applicant and including page counts where applicable                                         It   serves as evidence       of receipt      similarto a

Post Card as described            in   MPEP 503


New Applications Under 35 USC 111
         new application                          and the application                                                                                    date see 37 CFR

            d
If   a                      is
                                 being    filed                                    includes     the    necessary components              for a filing

153b            and MPEP         506 a Filing Receipt 37 CFR 154 will be issued in due course and the date shown on this
Acknowledgement            Receipt       will   establish       the filing      date of the application



National      Stage of an International Application under 35                          USC 371
If   a timely submission to         enter the national stage of an international application                                 is   compliant with the conditions of 35
USC 371 and other applicable                    requirements a Form PCTDOE0903                             indicating        acceptance of the application as a
national      stage submission under 35                 USC 371          will   be issued     in    addition to the Filing Receipt            in   due course


New       International   Application           Filed with      the USPTO as a Receiving Office

If   a   new international       application       is
                                                        being    filed   and the international application includes the necessary components                                    for

an international      filing     date see PCT Article 11 and MPEP                      1810 a Notification of the International                      Application      Number
and of the International Filing Date Form PCTRO105                                   will    be issued    in   due course subject          to prescriptions concerning

national security         and the date shown on this Acknowledgement                                  Receipt   will   establish      the international     filing    date of

the application




                                                                                                                                                          SINGULAR 00001522
Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 351 of 436




                                                  Power of Attorney

                                         Equivalent to USPTO      Form PTOMIA1828




1       Revocation of Previous Powers of Attorney



livve   hereby revoke all         previous    powers of attorney       given   in   the application   identified   in the



attached transmittal            letter   form PTOAlA82A         or equivalent




        Appointment of Practitioners


1we hereby appoint the Practitioners                    associated with    Customer Number 24208 which                is




associated       with      the law firm of Robert Plotkin      PC as myour attorneysagents and to transact
all   business   in   the    United States    Patent    and Trademark Office connected           therewith for the

application      referenced       in   the attached transmittal letter form           PTOAIA82A or equivalent




3       Change of Correspondence              Address



                                          the correspondence     address for the application                       in the
Please    recognize or change                                                                         identified


attached     transmittal        letter   to the   address associated    with the     above mentioned       customer number

24208     which       is   associated with    the   law firm of Robert Plotkin         PC




                                                                                                                       Page 1 of 4




                                                                                                                            SINGULAR 00001523
Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 352 of 436




4   Simatureisi

    a   Applicant     1




        I   am an Applicant

                  O       inventor       or Joint Inventor


                  0       Legal Representative        of a Deceased   or Legally        Incapacitated    Inventor


                  181     Assignee or Person to           Whom the Inventor      is    Under an Obligation     to Assign


                  O Person Who Otherwise Shows                   Sufficient     Proprietary   Interest    eg    a petition

                          under 37 CFR           146b2 was granted        in   the application   or is concurrently      being


                 1        filed   with    this   document


                                                                                P0               3



        Signatvfre                                                 Date




        Name                                                       Telephone


                           011411
                                                                   Singular     Computing     ILO

        Title                                                      Company




    b   Applicant     2




            am an Applicant

                     O    Inventor       or Joint Inventor

                     0    Legal               Deceased
                                   Representative     of a             or Legally Incapacitated          Inventor


                     O Assignee Person Whom the
                                         or          to             Inventor      is   Under an Obligation     to Assign


                     O Person Who Otherwise Shows                Sufficient     Proprietary Interest      eg    a petition


                          under 37 CFR           146b2 was granted        in   the application      or is concurrently   being

                          filed   with    this   document




        Signature                                                  Date




        Name                                                       Telephone




        Title                                                      Company




                                                                                                                    Page 2 of 4




                                                                                                                         SINGULAR 00001524
Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 353 of 436




      Applicant   3




          am an Applicant

                0     Inventor   or Joint Inventor

                O     Legal   Representative      of a Deceased     or Legally Incapacitated           Inventor


                0     Assignee or Person to Whom the Inventor                   is   Under an Obligation to Assign

                El Person Who Otherwise Shows                Sufficient    Proprietary Interest        eg    a petition

                      under 37 CFR           146b2 was granted       in   the application      or is concurrently    being

                      filed   with this document




      Signature                                               Date




      Name                                                    Telephone




      Title                                                   Company




  d   Applicant   4




      I   am an Applicant

                  0   Inventor       or Joint Inventor

                  0   Legal   Representative      of a   Deceased   or Legally        Incapacitated    Inventor


                  0   Assignee or Person to Whom the Inventor                   is   Under an Obligation    to Assign


                  0   Person Who Otherwise          Shows    Sufficient    Proprietary      Interest   eg    a petition


                      under 37 CFR           146b2 was granted       in   the    application   or is concurrently    being

                      filed   with    this   document




      Signature                                               Date




      Name                                                    Telephone




      Title                                                   Company




                                                                                                                  Page 3 of 4




                                                                                                                    SINGULAR 00001525
Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 354 of 436




  e   Applicant    5




      I
          am an Applicant
                  0    Inventor   or Joint Inventor


                  0    Legal               Deceased
                               Representative        of a             or Legally       Incapacitated    Inventor


                  0 Assignee Person Whom the
                                      or           to              Inventor      is   Under an Obligation to Assign

                  0 Person Who Otherwise Shows                  Sufficient     Proprietary   Interest   eg    a petition


                       under 37 CFR          146b2 was granted           in   the application   or is concurrently    being


                       filed   with this document




      Signature                                                   Date




      Name                                                        Telephone




      Title                                                       Company




      Applicant    6




      I   am an Applicant

                  0         or
                       Inventor            Joint Inventor


                  0    Legal RepresentativeDeceased or  of a              Legally      Incapacitated    Inventor


                  0 Assignee Person Whom the
                                      or           to              Inventor      is   Under an Obligation    to Assign


                  0 Person Who Otherwise Shows                  Sufficient     Proprietary Interest     eg    a petition


                       under 37 CFR          146b2         was granted   in   the application   or is concurrently    being


                       filed   with   this   document




      Signature                                                   Date




          Name                                                    Telephone




      Title                                                       Company




                                                                                                                   Page 4 of 4




                                                                                                                     SINGULAR 00001526
              Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 355 of 436
                                       Electronic      Acknowledgement                   Receipt


                         EFS ID                             15455305




                 Application   Number                       13849606




        International   Application      Number


                Confirmation     Number                     6059




                  Title of   Invention                      Processing    with   Compact Arithmetic             Processing           Element




      First   Named InventorApplicant           Name        Joseph     Bates




                  Customer Number                           24208




                         Filer                              Robert PlotkinKaren      Del Greco




                  Filer Authorized     By                   Robert Plotkin




               Attorney Docket    Number                    A0006 1001C2



                     Receipt Date                           08 APR 2013




                      Filing Date




                     Time Stamp                             123824



                   Application Type                         Utility   under 35 USC   111a



Payment information

Submitted with Payment                                      no



File Listing


 Document                                                                                           File Size Bytes                        Multi       Pages
                     Document     Description                      File   Name
  Number                                                                                            Message Digest                       Part   zip   if   appl

                                                                                                               93227
                                                        POATransmittalA00061001C2
                         Transmittal   Letter                                                                                                  no
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Warnings

Information




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                 Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 356 of 436
                                                                                                                                       1036556

                               Oath   or Declaration     filed                      POAA00061001C2pdf                                                                     no

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Post Card as described           in    MPEP 503


New       Applications Under 35          USC 111
                                                 and the application                                                                                                                   FR
            d
If   a   new application   is   being    filed                                      includes     the    necessary components                     fora filing        date see 37

153b            and MPEP        506 a Filing Receipt 37 CFR 154 will be issued in due course and the date shown on this
Acknowledgement            Receipt      will   establish         the filing      date of the application



National      Stage of an International Application under 35                           USC 371
If   a timely submission to           enter the national stage of an international application                               is
                                                                                                                                  compliant with the conditions of 35
USC 371 and other applicable                   requirements a Form PCTDOE0903                               indicating       acceptance of the application as a
national      stage submission under 35                USC 371            will   be issued     in    addition to the Filing Receipt                    in   due course


New       International   Application          Filed with        the USPTO as a Receiving Office

If   a   new international      application       is
                                                       being      filed   and the international application includes the necessary components                                                 for

an international      filing    date see PCT Article 11 and MPEP                        1810 a Notification of the International                                 Application        Number
and of the International Filing Date Form PCTRO105                                    will    be issued    in   due course subject                  to prescriptions concerning

national      security and the date shown on this Acknowledgement                                      Receipt   will   establish         the international               filing    date of

the application




                                                                                                                                                                      SINGULAR 00001528
         Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 357 of 436




                                     Transmittal for Power of Attorney


                             to One or More Registered                                            Practitioners


                                             Equivalent           to   USPTO     Form PTOMIA82A


Application           Number        13849606                             Attorney Docket          Number        A0006 1001C2




Filing    Date                      03252013                             Examiner      Name                     Michael   D Yaary


First    Named Inventor             BATES   Joseph                       Art   Unit                             NA


Title    of   Invention             Processing   with   Compact   Arithmetic   Processing     Element




This    form     is   being submitted with the attached                 Power of Attorney by Applicant               PTOAIA8213         or


equivalent            to identify   the application       to   which the Power of Attorney              is   directed     in   accordance    with 37

CFR     15




Signature        of    Patent Practitioner




Robert        Plotkin     Reg43861                                                    April   8 2013


Signature                                                                           Date




Robert        Plotkin                                                                 9783189914


Name                                                                                Telephone




43861



Registration           Number




                                                                                                                                        SINGULAR 00001529
                                                                                                                                                                                                                   PTOAIA14        0313
                       Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 358 of 436
                                                                                     01312014                                                               Approved        for use          through                 OMB 06510032
                                                                                                                                  US Patent and Trademark                   Office        US DEPARTMENT              OF COMMERCE
                     Under the Paperwork        Reduction        Act   of   1995 no persons     are   required   to   respond    to   a collection    of information       unless       it   contains   a valid   OMB   control   number



                                                                                           Attorney         Docket Number                            A0006 1001C2
 Application                 Data Sheet 37 CFR 176
                                                                                           Application            Number


 Title   of Invention                  Processing         with     Compact Arithmetic Processing                         Element


 The    application    data sheet       is   part of the provisional            or nonprovisional        application         for which     it   is being    submitted The foNowing form contains                            the

 bibliographic       data arranged       in   a format specified             by the   United    States   Patent       and Trademark             Office     as   outlined    in   37 CFR           176
 This    document  may be completed electronically   and submitted to the                                   Office      in   electronic         format using       the     Electronic            Filing   System        EFS or the
 document     may be printed and included in a paper Med application




Secrecy Order 37 CFR 52
         Portions or all      of the application                 associated           with this Application               Data Sheet               may fall        under a Secrecy                        Order pursuant             to

 0 37 CFR 52 Paper                            filers    only Applications                 that    fall   under Secrecy                    Order may not be filed electronically



Inventor              Information

                                                                                                                                                                                    Remove
 Inventor              I


 Legal     Name

 Prefix       Given Name                                                              Middle       Name                                              Family Name                                                                  Suffix


              Joseph                                                                                                                                 Bates


  Residence Information                         Select           One           i US      Residency                           Non US Residency                                Active            US Military Service

 City         Newton                                                           StateProvince                      MA             Country of Residence                               i           US




Mailing Address               of Inventor


 Address         1                                Singular             Computing       LLC

 Address 2                                         10    Regent Street

 City                      Newton                                                                                            StateProvince                               MA

 Postal      Code                                  02465                                                         Country              i
                                                                                                                                                     US

 All     Inventors          Must       Be      Listed             Additional           Inventor          Information             blocks           may be
 generated           within   this form by selecting                         the    Add button


Correspondence                                Information

 Enter either Customer                        Number or complete the Correspondence                                                   Information               section          below
 For further information                       see 37 CFR 133a


 fl      An Address               is   being provided                       for the    correspondence                   Information                  of this application


 Customer Number                                       24208


 Email Address                                         rplotkin©rplotkincom                                                                                                  Add Email                            Remove Email




Application Information

 Title    of the Invention                             Processing            with   Compact Arithmetic Processing                          Element


 Attorney        Docket           Number               A0006 1001C2                                                           Small Entity Status Claimed


 Application               Type                        Nonprovisional


 Subject Matter                                        Utility




 Total     Number of Drawing Sheets if any                                                 11                                   Suggested Figure for Publication                                            if    any




EFS Web    226


                                                                                                                                                                                                          SINGULAR 00001530
                                                                                                                                                                                                           PTOA1A14       0313
                     Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 359 of 436
                                                                                   01312014                                                                 Approved   for use        through  OMB 06510032
                                                                                                                                   US Patent        and Trademark   Office US DEPARTMENT       OF COMMERCE
                   Under    the Paperwork    Reduction    Act of   1995 no persons          are   requited       to   respond     to a collection   of information unless  contains a valid OMB control number
                                                                                                                                                                                 it




                                                                                      Attorney           Docket Number                              A0006 1001C2
 Application Data Sheet 37 CFR                                        176
                                                                                      Application                 Number


Title     of Invention              Processing     with     Compact Arithmetic Processing                                   Element




 Publication                     Information

fl        Request      Early Publication              Fee required              at time of           Request                37 CFR           1219

          Request Not to Publish                                       I
                                                                           hereby           request that the attached                           application            not be published               under

E         35   USC 122b and                   certify      that the invention                 disclosed                in   the    attached         application         has not and                will    not be the

          subject    of an        application     filed    in   another         country or under a                           multilateral           international        agreement                 that requires

          publication           at eighteen     months after filing




Representative                         Information


 Representative            information       should      be     provided        for   all
                                                                                              practitioners                 having       a    power        of   attorney    in         the      application       Providing
this   information         in   the Application    Data Sheet does not constitute                            a    power         of attorney         in the   application     see 37 CFR 132
 Either    enter    Customer Number or complete                      the    Representative               Name               section      below        If   both sections         are completed             the    customer
 Number will be used for the Representative                         Information         during        processing




 Please Select             One                     Customer Number                                0 US           Patent         Practitioner                0     Limited Recognition                 37 CFR 119

 Customer Number                             24208




Domestic BenefitNational Stage Information
This section allows for the applicant to either claim                                       benefit          under 35             USC 119e 120 121 or 365c or indicate
 National      Stage entry from a PCT application                                Providing           this        information             in   the    application        data sheet constitutes                      the

 specific      reference          required    by 35       USC 119e or 120 and 37 CFR 178
     Prior Application             Status       Pending                                                                                                                                    Remove


       Application          Number                              Continuity        Type                                Prior Application                Number              Filing          Date     YYYYMMDD
                                                Continuation         of                                               13399884                                          20120217

     Prior Application             Status       Patented                                                                                                                                   Remove

                                                                                                                                                                                                                  Date
                                                                                                                                  Filing Date
                                                                                Prior Application                                                                                                         Issue
       Application
                                                                                                                                                                           Number
                                       Continuity Type
                                                                                                                                                                                                    YYYYMMDD
                                                                                                                                                                 Patent
          Number                                                                      Number                                 YYYYMMDD
 13399884                         Continuation     of                      12816201                                     20100615                                  8150902                          20120403

     Prior Application             Status       Expired                                                                                                                                    Remove


       Application          Number                              Continuity        Type                                Prior Application                Number              Filing          Date     YYYYMMDD
 12816201                                       non provisional            of                                     61218691                                              20090619

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Foreign            Priority            Information




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                                                                                                                                                                                                                      PTOA1A14    0313
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                                                                                        01312014                                                              Approved       for use              OMB 06510032
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                                                                                                 Attorney         Docket Number                        A0006 1001C2
     Application Data Sheet 37 CFR                                                176
                                                                                                 Application             Number


     Title    of Invention                 Processing        with    Compact Arithmetic Processing                           Element




This section            allows    for the     applicant      to   claim       priority   to a foreign          application           Providing         this   information        in the         application            data sheet

constitutes        the claim         for priority     as required            by   35   USC 119b and 37 CFR 155d                                      When       priority     is claimed               to   a foreign       application

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automatically attempt                 retrieval      pursuant       to 37        CFR 155h1 and                    2        Under the PDX program applicant                                  bears the ultimate

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property        office    or a      certified      copy    of the   foreign       priority      application         is   filed   within      the time period specified                      in 37      CFR 155g1


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          Application           Number                                       Country
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                                                                                                                 Filing     Date      YYYYMMDD                                    Access                   Codei if        applicable




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Statement under 37                                         CFR 155 or 178 for AIA First Inventor to File Transition
Applications


          This application                1       claims priority to or the benefit of an application                                        filed   before      March 16 2013 and                             2       also

0 contains                 or contained              at any time              a claim to a claimed                  invention          that     has an effective              filing          date on or after March

            16 2013




Authorization to Permit Access


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to 1 the instant patent application as filed                                 2
                                                                  d
                                                any foreign application to which the instant patent application
claims priority under 35         119a      USC
                                             a copy of the foreign application that satisfies the certified copy requirement
                                                                        if                                                                                                                                            of

37 CFR 155 has been                       filed   in the   instant      patent application               and     3 any US application as                      filed   from which               benefit        is



sought         in the instant                     application
                                    patent



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                                                                                               Attorney       Docket Number                         A0006 1001C2
     Application Data Sheet 37 CFR                                              176
                                                                                               Application          Number


     Title   of Invention                    Processing        with   Compact Arithmetic Processing                         Element




Applicant Information


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If   the applicant            is    the inventor     or the remaining               joint   inventor   or inventors         under      37 CFR 145           this    section         should    not    be completed
The information                to    be provided      in this section       name and address of the legal representative who is the applicant under 37 CFR
                                                                               is   the

143 or the name and address                           of the assignee person to whom the inventor is under an obligation to assign the invention or person

who otherwise shows sufficient                        proprietary interest in the matter who is the applicant under 37 CFR 146 If the applicant is an

applicant       under          37 CFR 146 assignee person to whom the inventor is obligated to assign or person who otherwise shows sufficient

proprietary interest together             with one or more joint inventors then the joint inventor or inventors who are also the applicant should be

identified      in this section
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          Assignee                                                     0       Legal        Representative         under      35   USC 117                          0     Joint          Inventor



          Person   to whom the inventor                  is   obligated      to assign                                   0          Person who shows            sufficient           proprietary interest


If
      applicant         is    the legal representative                    indicate          the authority         to file   the patent application the inventor                              is




 Name of the Deceased                          or Legally           Incapacitated             Inventor


     If   the Applicant              is   an Organization             check     here

     Organization              Name
                                                   Singular Computing                 LLC


     Mailing Address                      Information


     Address            1                                10 Regent Street


     Address 2


     City                                                Newton                                                           StateProvince                       MA

     Country        I

                              US                                                                                          Postal      Code                    02465


     Phone Number                                                                                                         Fax Number

     Email Address



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                                                                                         01312014                                                      Approved   for use        through   OMB 06510032
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                                                                                                                                                                            it




                                                                                        Attorney           Docket Number                        A0006 1001C2
 Application Data Sheet 37 CFR                                                176
                                                                                        Application             Number


 Title    of Invention                      Processing       with     Compact Arithmetic Processing                    Element




  Assignee

Complete this section only non applicant assignee information is desired to be included on the patent application publication in
                                               if




accordance with 37 CFR 1215b Do not include in this section an applicant under 37 CFR 146 assignee person to whom the
inventor      is   obligated           to   assign or person             who otherwise shows           sufficient      proprietary interest as the patent application                                publication    will


include    the      name         of the     applicants

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 Country             i                                                                                                Postal        Code

 Phone Number                                                                                                         Fax Number


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 NOTE              This form must be signed                         in   accordance      with       37 CFR          133        See 37 CFR 14 for signature                                 requirements and
 certifications



 Signature                  Robert Plotkin Reg43861                                                                                             Date       YYYYMMDD                           20130325


 First    Name                   Robed                                Last   Name            Plotkin                                            Registration        Number                    43861



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 is to file    and by the USPTO to process an application                                     Confidentiality is          governed         by 35      USC 122 and 37 CFR 114                             This

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                                                                                                      Privacy Act Statement




 The    Privacy         Act of     1974     PL 93579                     requires       that      you be given             certain      information            in   connection      with     your     submission of the attached                   form     related      to

 a patent         application         or   patent      Accordingly               pursuant            to the requirements                 of the      Act       please     be advised         that      1     the general       authority         for the   collection

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 The    information           provided         by you        in   this    form   will        be subject       to the       following          routine      uses


          1                  The      information       on        this   form    will    be treated          confidentially             to the      extent      allowed        under   the    Freedom         of    Information       Act   5 USC 552
                   and the       Privacy       Act     5 USC 552a                        Records from this system of records                                    may be disclosed             to the    Department           of Justice      to    determine
                   whether       the       Freedom          of Information              Act    requires       disclosure           of these         records


          2                  A record from this system of records may be disclosed as a routine use in the course                                                                          of presenting           evidence     to    a court          magistrate       or

                   administrative           tribunal         including          disclosures            to   opposing         counsel          in   the    course        of settlement        negotiations



          3                  A record in        this
                                                       system of records                      may be disclosed as a routine use to a Member of Congress submitting a request involving an
                   individual to           whom        the       record       pertains        when the individual has requested assistance from the Member with respect to the subject matter                                                                            of

                   the   record



          4                  A record in this system of records may be disclosed as a routine use to a contractor                                                                      of the       Agency         having    need for       the    information          in


                   order to perform             a contract               Recipients           of information           shall      be    required          to   comply      with   the requirements             of the Privacy         Act of       1974     as

                   amended             pursuant        to    5    USC 552am

          5                  A record related               to    an International             Application         filed     under       the       Patent       Cooperation        Treaty      in   this   system     of records       may be disclosed
                   as a      routine       use to the            International          Bureau         of the     World         Intellectual        Property         Organization           pursuant         to the   Patent    Cooperation             Treaty


          6                  A record in        this   system of records                      may be        disclosed           as     a routine      use to another              federal     agency         for purposes       of National            Security

                   review      35 USC 181 and for review                                     pursuant        to the    Atomic          Energy Act              42 USC 218c

          7                  A record from this system of records may be disclosed as a routine use to the Administrator General Services or hisher designee
                   during     an inspection of records conducted  by GSA as part of that agencys responsibility to recommend improvements  in records


                   management               practices            and programs under                    authority       of    44      USC 2904 and 2906 Such disclosure shall be made accordance with the                         in


                   GSA regulations                                                                                                              other relevant ie GSA or Commerce directive
                                                governing                inspection          of records       for this      purpose and any                                                 Such

                   disclosure          shall   not     be used           to   make determinations                    about       individuals



          8                  A record from this system of records may be                                         disclosed             as a routine            use to the       public after        either   publication      of the     application         pursuant
                   to   35   USC 122b or issuance                              of a patent           pursuant         to   35    USC 151                  Further        a recordmay be disclosed subject to the limitations of 37
                   CFR 114 as a routine use to the public                                       if   the    record    was       filed    in   an    application          which became abandoned  or in which the proceedings    were
                   terminated          and which            application          is   referenced            by   either     a published             application           an   application      open       to public      inspections        or an      issued

                   patent


          9            A record from this system of records may be                                               disclosed             as a routine            use to a Federal State                 or   local    law   enforcement         agency         if   the

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Attorney   Docket   No A0000 1001C2


                                       FOR
                             APPLICATION
                    UNITED STATES LETTERS PATENT




Title           Processing      with   Compact Arithmetic
                Processing       Element




                        Inventors        Joseph Bates




                                                                 SINGULAR 00001536
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Attorney Docket        No A0006 1001C2



                                               Processing                  with

               Compact Arithmetic Processing                                                      Element

                             Cross Reference                  to Related            Applications


         0001              This application            is   a continuation           of   US Patent Application
Serial   Number 13399884                     filed   on February         17 2012            entitled     Processing         with


Compact      Arithmetic           Processing         Element now              US Patent Number 8407273
Attorney      Docket        No A0006 1001C1                     which    is    a continuation          of   US Patent
Application        Serial   Number 12816201                     filed   on June           15 2010       entitled


Processing         with     Compact          Arithmetic       Processing            Element now             US Patent
Number 8150902                Attorney         Docket         No AXXXXXXXX                  which      claims the benefit

of   US Provisional Patent Application Serial Number 61218691                                                filed   on June


19 2009       entitled       Massively             Parallel    Processing with Compact                      Arithmetic


Element Attorney Docket                      No A0006 1001L                   all   of which      are hereby


incorporated        by reference           herein



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         0002              A portion       of the disclosure            of this patent           document contains

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patent disclosure as               it
                                        appears      in    the Patent    and Trademark              Office      patent   file    or


records but otherwise                   reserves     all    copyright    rights       whatsoever



                                                           Background


         0003              The     ability    to   compute       rapidly      has become enormously


important     to    humanity            Weather and           climate    prediction          medical applications


such     as drug design and noninvasive                         imaging             national     defense       geological


exploration financial             modeling           Internet    search network communications

scientific   research        in   varied      fields       and even     the design          of   new   computing

hardware      have     each       become dependent                on the        ability    to rapidly       perform    massive

amounts      of calculation              Future progress such                 as the      computer aided design                 of


complex nano scale systems or development                                 of    consumer products               that can        see




                                                                                                                           SINGULAR 00001537
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hear and understand                 will       demand economical                      delivery      of    even greater

computing          power

          0004              Gordon Moores prediction                             that computing             performance               per

dollar would        double every two years has proved valid for over 30 years                                                      and

looks     likely   to continue       in    some form               But despite           this   rapid exponential


improvement           the    reality      is   that the      inherent          computing            power      available          from

silicon    has grown far more quickly than                           it   has been           made available               to software


In   other words although the theoretical                            computing               power of computing                   hardware


has grown exponentially the interfaces through                                         which     software           is   required to


access the hardware                limits      the ability of software                  to use hardware                  to perform


computations          at anything          approaching              the       hardwares         theoretical              maximum

computing          power

          0005              Consider a modern                     silicon      microprocessor              chip      containing          about


one billion        transistors      clocked           at    roughly       1    GHz On each cycle                     the    chip    delivers


approximately one useful arithmetic                           operation              to the   software         it   is   running         For


instance      a value       might be transferred                    between           registers another                  value might be


incremented perhaps a multiply is accomplished                                               This   is   not   terribly       different


from what chips did 30 years                       ago       though the clock                 rates are perhaps                  a thousand


times faster today


          0006              Real   computers                are   built       as physical       devices and                the


underlying         physics from which                 the    machines are built often exhibits complex and

interesting        behavior        For example a                  silicon       MOSFET          transistor is a device


capable of performing               interesting             nonlinear operations                     such as exponentiation


The   junction       of two wires can                 add currents              If
                                                                                     configured          properly a         billion



transistors and        wires should be able to perform                                some significant               fraction      of a


billion   interesting       computational               operations             within a       few propagation               delays of the

basic components             a cycle             if   the overall         design        is   a traditional          digital      design

Yet todays          CPU chips use their billion                      transistors to enable software                           to perform


merely a few such            operations               per cycle not the significant                       fraction       of the billion


that might     be possible




                                                                                                                                          SINGULAR 00001538
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                                                 Summary

        0007           Embodiments          of the present      invention are directed             to a


processor or other device             such as a programmable andor massively                             parallel


processor    or other       device which      includes   processing         elements designed                to


perform arithmetic          operations     possibly but not necessarily            including for

example one or more of addition                 multiplication      subtraction and division                  on

numerical    values of low precision but high dynamic                  range      LPHDR arithmetic
Such a processor or other device               may for example be implemented                       on a single

chip    Whether or not implemented              on a single chip the number                   of   LPHDR

arithmetic   elements        in   the processor    or other device        in   certain   embodiments              of


the present       invention significantly      exceeds      eg by      at least     20 more than three

times the number of arithmetic elements                  in   the processor       or other device            which


are designed       to perform       high dynamic     range arithmetic          of traditional       precision


such    as 32 bit or 64 bit floating         point arithmetic


        0008           In   some embodiments low precision                      processing         elements


perform arithmetic          operations     which produce       results that frequently             differ    from


exact results by at least          1 one       tenth of one     percent         This     is   far worse


precision    than the widely used IEEE 754 single precision floating point standard


Programmable embodiments                   of the present     invention     may be programmed with

algorithms that function           adequately     despite these unusually           large relative           errors

In   some embodiments the processing                 elements       have high dynamic range                       in



the sense that they are capable              of operating     on   inputs      andor producing outputs

spanning     a range at least as large as from one millionth to one million



                                  Brief Description      of the Drawings


        0009           FIG us an example            overall    design of a       SIMD processor

according    to   one embodiment           of the present     invention


        0010           FIG 2 is an example          of the Processing           Element Array of a

SIMD processor         according      to   one embodiment          of the present        invention


        0011           FIG 3 is an example          of how a Processing             Element         in   a


Processing     Element Array communicates                data with other parts of the processor




                                                                                                                  SINGULAR 00001539
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according     to   one embodiment           of the present      invention


           0012        FIG 4 is an example             design for a Processing            Element


according     to   one embodiment           of the present      invention


           0013        FIG 5 is an example LPHDR                  data     word format according              to   one

embodiment         of the   present       invention


           0014        FIG 6 is an example             design for an       LPHDR arithmetic            unit



according     to   one embodiment           of the present      invention


           0015        FIG 7 is an original image

           0016        FIG 8 is an image blurred by a blur kernel according                            to   one

embodiment         of the   present       invention


           0017        FIG 9 is an image produced                by Richardson          Lucy deconvolution

using floating      point arithmetic        according     to   one embodiment       of the present


invention


           0018        FIG 10 is an image produced                by Richardson           Lucy

deconvolution       using     LPHDR floating          point arithmetic     with   added noise fp+noise

according     to   one embodiment           of the present      invention


           0019        FIG 11        is   an image produced       by Richardson           Lucy

deconvolution       using     LPHDR logarithmic            arithmetic    Ins according       to       one

embodiment         of the   present       invention



                                            Detailed      Description


           0020        As described          above     todays    CPU chips make inefficient use of

their transistors       For example a conventional                CPU chip containing            a billion


transistors might enable            software to perform         merely a few operations               per clock


cycle      Although    this   is   highly   inefficient   those having      ordinary skill       in   the   art



design     CPUs in this way for what are widely                 accepted     to be valid     reasons          For


example such designs               satisfy the often       essential     requirement       for software


compatibility      with earlier designs          Furthermore they deliver great precision


performing      exact arithmetic          with integers typically       32 or 64   bits   long    and

performing      rather accurate           and widely standardized          arithmetic     with 32      and 64      bit



floating   point   numbers          Many applications need          this   kind   of precision         As a




                                                                                                                  SINGULAR 00001540
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result   conventional       CPUs typically are designed              to provide such           precision using

on the order of a million transistors to implement the arithmetic operations

         0021        There are many economically                   important            applications however

which are not especially          sensitive       to precision    and that would            greatly benefit        in



the form of application       performance           per transistor from the ability to draw upon a

far greater fraction    of the computing            power      inherent    in   those      million transistors


Current architectures        for general
                                                 purpose computing          fail    to deliver     this
                                                                                                          power

         0022        Because        of the      weaknesses        of conventional           computers such as

typical microprocessors           other kinds of computers             have been developed                  to attain


higher performance           These machines               include single    instruction       streammultiple

data stream      SIMD designs multiple instruction streammultiple data stream
MIMD designs reconfigurable                     architectures     such as field programmable gate


arrays   FPGAs and graphics processing unit designs GPUs which when
applied to general      purpose computing                  may be viewed         as single instruction


streammultiple thread         SIMT designs
         0023        SIMD machines               follow a sequential        program         with    each

instruction    performing     operations         on a collection     of data            They come     in   two main

varieties     vector processors          and    array processors          Vector processors               stream


data through     a processing           element    or small collection          of such      elements          Each

component       of the data stream         is    processed      similarly       Vector     machines gain

speed by eliminating         many instruction fetchdecode                  operations        and by pipelining

the processor     so that the clock            speed      of the operations        is   increased


         0024        Array processors             distribute    data across a grid of processing

elements      PEs Each element has                  its   own memory            Instructions     are broadcast

to the   PEs from a central control              until sequentially        Each         PE performs the

broadcast     instruction    on   its   local data     often with the option to sit            idle   that    cycle

Array processors      gain speed by using silicon efficientlyusing                           just one


instruction    fetchdecode        unit to drive      many small simple execution                   units in


parallel


         0025        Array processors             have been built using fixed               point   arithmetic       at


a wide variety of bit widths such as                1 4 8 and wider             and using      floating      point




                                                                                                                SINGULAR 00001541
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arithmetic            Small      bit   widths allow the processing                          elements to be small which

allows more of them to fit                    in   the   computer               but    many operations must be carried

out in sequence               to perform           conventional                arithmetic       calculations               Wider widths

allow conventional                arithmetic        operations                 to be completed             in   a single cycle           In



practice       wider widths are desirable                            Machines            that   were       originally designed               with


small bit widths              such      as the Connection                      Machine 1 and              the   Goodyear Massively

Parallel       Processor which                each       used        1    bit   wide processing                elements evolved

toward wider data paths to better support fast arithmetic producing                                                          machines

such     as the Connection                Machine 2 which                       included       32   bit   floating         point hardware


and    the     MasPar machines which                      succeeded                the      Goodyear machine and

provided 4           bit   processing         elements          in       the    MasPar1 and               32    bit   processing

elements        in    the    MasPar2

          0026                Array processors             also           have     been designed                to use analog


representations              of   numbers and analog                       circuits      to perform            computations             The

SCAMP          is    such    a    machine           These machines provide low precision arithmetic                                                in




which     each operation                might introduce perhaps                         an error of a few percentage


points    in   its    results          They   also introduce                   noise    into    their computations                 so the


computations               are not repeatable              Further they represent only a small range of


values corresponding                    for instance        to       8    bit   fixed point values               rather than providing


the large       dynamic range              of typical      32 or 64 bit floating point representations


Given these limitations the                        SCAMP was not                   intended as a general                     purpose

computer             but    instead     was designed and used                          for image          processing             and   for


modeling        biological         early vision          processes                Such       applications             do   not   require a


full   range of arithmetic               operations        in    hardware and                   the      SCAMP for example
omits general division                  and    multiplication              from       its   design

          0027                While      SIMD machines were popular                                 in   the    1980s as

priceperformance for microprocessors                                      improved designers                    began       building


machines from               large collections            of communicating                      microprocessors                   These

MIMD machines                 are fast and           can have             priceperformance comparable                              to their


component             microprocessors but they exhibit the                                  same inefficiency                as those


components             in   that they deliver to their software                             relatively      little    computation            per




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transistor


           0028           Field       Programmable         Gate Arrays FPGAs are integrated

circuits    containing         a large grid of general           purpose       digital   elements      with


reconfigurable          wiring    between those elements                  The elements        originally were


single digital         gates such as AND and               OR gates but evolved              to larger elements


that could        for instance          be programmed            to   map 6 inputs to 1 output           according         to



any Boolean function                  This architecture          allows the FPGA to be configured                   from


external    sources       to    perform a wide variety of digital computations which                            allows


the device        to be used          as a co processor          to a   CPU to accelerate         computation

However       arithmetic         operations        such as multiplication           and   division     on integers

and   especially        on floating       point    numbers        require      many gates and          can absorb a


large fraction         of an    FPGAs general             purpose       resources        For this reason modern

FPGAs       often devote a significant               portion     of their area to providing            dozens      or


hundreds      of multiplier blocks             which      can be used instead of general purpose

resources for computations                  requiring      multiplication        These     multiplier blocks


typically   perform       18    bit    or wider    integer   multiplies        and use many         transistors          as

similar multiplier circuits             do when they are part of a general purpose                       CPU

           0029           Existing       Field     Programmable          Analog Arrays FPAAs are


analogous         to   FPGAs          but their configurable          elements     perform analog processing

These devices           generally        are intended to do signal processing such                       as helping

model      neural      circuitry       They are relatively low precision have                 relatively       low


dynamic range and                introduce        noise   into   computation         They have         not   been

designed      as or intended for use as general                         purpose computers              For instance


they are not seen by those having                     ordinary skill      in   the art as   machines          that can


run the variety of         complex algorithms with floating                    point arithmetic        that typically


run on     high    performance           digital   computers

           0030           Finally       Graphics      Processing         Units   GPUs are a variety of
parallel    processor          that evolved        to provide high       speed graphics        capabilities         to


personal computers                 They offer standard            floating     point computing         abilities    with


very high     performance             for certain tasks          Their computing          model   is   sometimes

based on having           thousands         of nearly      identical     threads of computing            SIMT




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which      are executed                by a collection                of    SIMDlike          internal   computing        engines each

of which      is   directed        and             redirected         to perform        work for which         a slow external


DRAM memory has provided data                                          Like    other machines that implement                        standard


floating     point arithmetic                      they use       many transistors for that arithmetic They                               are

as wasteful of those transistors                                in    the    sense discussed             above    as are general


purpose       CPUs

           0031                 Some GPUs                  include support              for 16 bit floating        point values


sometimes               called    the        Half format The CPU manufacturers                                     currently            such as


NVIDIA       or    AMDATI               describe           this      capability       as being useful for rendering                      images

with higher         dynamic            range than               the    usual 32       bit     RGBA format which                 uses 8     bits



of fixed point data per color while also saving                                         space over         using 32       bit   floating


point for color           components                      The    special       effects        movie firm Industrial         Light        and

Magic      ILM independently                          defined an identical                  representation        in   their OpenEXR


standard which                  they describe               as   a high dynamic range HDR image                                  file   format


developed          by Industrial                  Light      Magic for use in computer imaging applications

Wikipedia          late    2008         describes the 16                     bit   floating     point representation              thusly

This format is used                    in    several        computer graphics environments                             including


OpenEXR OpenGL and D3DX                                          The advantage over 8 bit or 16 bit                       binary


integers      is   that the increased                     dynamic            range allows for more             detail    to be


preserved          in    highlights           and shadows The advantage over 32 bit                                    single     precision


binary formats             is   that    it
                                                  requires      half the      storage         and bandwidth

           0032                 When              a graphics          processor       includes         support for 16       bit    floating


point that support                is   alongside             support for 32             bit   floating    point and       increasingly

64   bit   floating       point        That is the               16    bit   floating    point format is supported                  for those


applications            that    want         it    but    the higher precision                formats also are supported

because they are believed                            to    be needed for traditional                   graphics    applications            and

also for so called general                           purpose           CPU applications Thus                     existing       CPUs

devote substantial                resources               to 32       and     increasingly         64 bit arithmetic            and are

wasteful      of transistors                 in    the    sense discussed               above

           0033                 The     variety of architectures                      mentioned          above are all attempts                 to


get more performance                         from        silicon      than    is   available      in   a traditional     processor




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design      But designers              of traditional          processors       also    have     been       struggling         to use


the   enormous         increase         in   available         transistors to improve            performance             of their


machines          These machines                often are required              because         of history         and

economics         to support           large existing           instruction     sets such         as the      Intel      x86


instruction      set    This      is   difficult        because         of the law of diminishing             returns which

does not enable              twice the        performance           to    be delivered        by twice the transistor

count     One facet of these designers struggle                               has been         to increase         the    precision


of arithmetic      operations since transistors are abundant                                  and some         applications


could    be sped up significantly                  if   the processor          natively supported             long       eg 64
bit   numbers          With     the increase             of native fixed point              precision from         8 to 16 to 32


to 64 bits       and   of floating           point from 32 to 64             and sometimes 128                bits


programmers have come                        to think     in   terms of high         precision        and    to develop


algorithms based on the assumption                              that     computer processors                provide such


precision since          it   comes as an               integral    part of    each new generation                  of silicon


chips and thus          is    free

          0034                Embodiments               of the present        invention       efficiently     provide


computing        power        using a fundamentally                     different   approach          than those described


above       In   particular       embodiments                  of the    present     invention        are directed to


computer processors                or other devices                which     use low precision              high   dynamic

range    LPHDR processing elements to perform computations                                               such       as

arithmetic       operations

          0035                One variety        of     LPHDR arithmetic              represents        values from one

millionth    up to one          million      with a precision             of about     01        If   these values were


represented        and manipulated                 using the        methods         of floating       point arithmetic they


would have        binary       mantissas           of no       more than 10          bits   plus a sign bit        and     binary


exponents        of at least 5 bits plus a sign bit                        However          the circuits to multiply and


divide    these floating          point values            would be relatively           large         One example              of an


alternative      embodiment             is    to use a logarithmic             representation           of the values             In



such     an approach            the values         require        the    same number of bits to represent                        but


multiplication         and     division      are implemented               as addition and            subtraction


respectively of the logarithmic                         representations             Addition    and     subtraction            may be




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implemented           efficiently            as described         below                   As a result              the area of the


arithmetic        circuits       remains relatively              small          and        a greater               number       of computing


elements         can be fit           into   a given      area of silicon                   This      means the machine                          can


perform         a greater        number            of operations           per       unit   of time or per unit                      power which

gives     it   an advantage             for those       computations                      able to be expressed                        in   the   LPHDR

framework

               0036            Another embodiment                     is    to use analog representations                                    and

processing          mechanisms                 Analog          implementation                    of   LPHDR arithmetic                       has the


potential       to be superior to digital                    implementation because                                 it   tends to use the

natural        analog physics of transistors or other physical devices                                                     instead of using


only the        digital    subset of the devices                  behavior                  This      fuller        use of the devices

natural        abilities      may permit smaller mechanisms                                  for doing              LPHDR            arithmetic         In



recent years             in   the field       of silicon       circuitry             analog methods                      have been

supplanted          by     digital     methods            In   part    this          is   because         of the          ease       of doing


digital     design compared                  to analog          design           Also       in   part         it   is    because           of the


continued         rapid scaling              of digital      technology               Moores             Law compared to analog
technology            In      particular at          deep submicron dimensions analog                                            transistors no


longer work as they had                       in   prior generations                  of larger scale                    technology            This


change         of familiar behavior                 has made analog design                            still        harder       in   recent years


However           digital      transistors are            in   fact analog                transistors used                 in   a digital        way

meaning          digital      circuits       are    really     analog       circuits         designed               to    attempt to switch

the transistors between                      completely         on and completely                        off       states        As scaling

continues even                 this    use of transistors is starting to                          come face to face with the

realities       of analog        behavior            Scaling of transistors for digital use                                     is   expected

either to stall       or to require digital                  designers               increasingly             to    acknowledge               and work

with analog          issues           For these reasons                 digital           embodiments                     may no longer be

easy      reliable         and scalable and analog embodiments                                           of        LPHDR arithmetic may

come to dominate                 commercial            architectures


               0037            Because             LPHDR processing                       elements             are relatively              small a


single      processor or other device                        may include a very large number                                         of    LPHDR

processing          elements adapted                   to operate               in   parallel with                 each other and




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therefore          may constitute       a massively parallel                 LPHDR processor             or other device

Such a processor or other device has not been described or practiced as a

means of doing general                 purpose computing                    by those having ordinary skill                 in   the


art       for at least    two reasons          First   it   is   commonly believed by those having

ordinary skill           in   the art that   LPHDR computation and in particular                              massive


amounts            of   LPHDR computation whether                       performed       in    a massively parallel              way

or not        is   not practical    as a substrate           for moderately            general computing               Second

it   is   commonly believed by those having                           ordinary skill     in   the art that massive


amounts            of even      high precision    computation                on a single chip or in a single

machine as is enabled by a compact                               arithmetic      processing       unit   is   not useful

without        a corresponding         increase        in   bandwidth          between processing elements

within       the machine and into and out of the machine because                                   computing          is   wire


limited       and arithmetic        can be considered                  to   be available       at no cost


              0038             Despite these viewsthat massive amounts of arithmetic                                        on a

chip or in a massively parallel machine                           are not useful and that massive amounts

of    LPHDR arithmetic              are even    worseembodiments                        of the present         invention


disclosed          herein demonstrate           that massively parallel                 LPHDR designs               are    in   fact


useful       and provide         significant    practical         benefits      in   at least several     significant


applications

              100391           To conclude      modern           digital     computing         systems provide high

precision          arithmetic but that precision                 is   costly     A modern double precision

floating       point multiplier may require                 on the order of a           million transistors           even

though only a handful of transistors is required to perform a low precision


multiplication                Despite the common            belief      among those           having ordinary skill             in



the art that modern applications                  require             high precision      processing          in   fact a


variety of useful algorithms function                       adequately          at   much lower precision                  As a

result such algorithms may be performed                                 by processors          or other devices


implemented              according     to   embodiments               of the present          invention which         come

closer to achieving              the goal of using a few transistors to multiply and a wire


junction       to   add thus enabling           massively parallel arithmetic                    computation          to    be

performed           with relatively     small amounts                 of physical      resources    such           as a single




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silicon    chip        Although              certain       specialized        tasks can function           at   low precision            it




is   not   obvious and             in   fact       has been viewed as clearly false by those having


ordinary skill         in   the    art that relatively               general        purpose computing             such      as is


typically      performed           today on general                  purpose computers                can be done at low


precision         However               in   fact   a variety        of useful      and important algorithms can be

made to function             adequately               at    much lower than 32               bit   precision     in   a massively


parallel       computing          framework and                certain        embodiments             of the    present     invention


support such           algorithms thereby offering                           much more efficient               use of transistors

and thereby provide improved speed power andor cost compared                                                           to


conventional           computers

           0040              Various computing                   devices         implemented           according       to


embodiments             of the      present          invention        will    now    be described          Some of these

embodiments                may be an instance of a SIMD computer                                    architecture       Other


architectures          may be used such                      as MIMD architectures                    programmable           array


architectures          such as FPGAs and                       FPAAs or GPUSIMT architectures                                 The

techniques        disclosed             herein       may for example be implemented                             using    any

processor         or other device                  having     such an existing architecture                     and   replacing       or


augmenting            some or all             existing      arithmetic         units   in   the    processor      or other     device

if
     any   with   LPHDR arithmetic                     units    in    any of the ways disclosed                  herein       Devices


implemented            according              to    embodiments              of the present         invention     however           need

not    start    with an existing               processor        design         but instead          may be designed           from


scratch        to include         LPHDR arithmetic                   units within      any of the        architectures        just


described or any other architecture


           0041              Embodiments                   of the present           invention       may for example             be


implemented            using the architecture                   of a particular             kind of   SIMD computer             the


array processor               There are              many variations and               specific       instances       of array


processors         described             in   the scientific         and commercial                literature     Examples

include     the    Illiac    4 the Connection                  Machine          1   and     2 the Goodyear MPP and the

MasPar         line   of    computers

           0042              Embodiments                   of the present           invention       need not however                be


implemented            as SIMD computers                        For example embodiments                         of the present




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invention      may be          implemented        as    FPGAs FPAAs or related architectures                                          that


provide for flexible connectivity                 of a set of processing                      elements             For example

embodiments              of the   present      invention          may be implemented                     as    GPUSIMTs and

as MIMDs            among others              For example embodiments                          of the        present       invention


may be implemented                 as any kind of machine                      which     uses       LPHDR arithmetic

processing          elements       to provide computing                      using a small       amount            of resources


eg       transistors or           volume compared                 with traditional            architectures


Furthermore references                   herein to processing                    elements           within     embodiments                 of


the present          invention     should be understood                       more generally as any kind                        of


execution          unit whether         for performing            LPHDR operations                   or otherwise


             0043             An example SIMD computing                          system        100      is   illustrated        in   FIG 1

The computing                system     100 includes a collection                  of    many processing                  elements


PEs 104                 Sometimes present are a control                         unit    CU 106 an IO                     unit   IOU
108 various             Peripheral      devices        110 and          a Host     computer             102 The collection                   of


PEs     is   referred        to herein   as the Processing                    Element Array              PEA even though
it   need    not    be twodimensional             or an array or grid or other particular                                 layout

Some machines                 include    additional      components such as an                           additional         memory

system called the Staging                     Memory         in   the        Goodyear         MPP but these additional
elements       are neither essential              in   the   computer            nor needed to understand

embodiments              of the   present      invention      and            therefore    are omitted here for clarity of


explanation             One embodiment            of the present                invention      is   a   SIMD computing

system of the kind shown                  in   FIG 1 in which one or more                           eg         all of the            PEs   in




the    PEA 104          are   LPHDR      elements as that term                     is   used    herein


             0044             The Host 102        is    responsible             for overall     control of the computing


system       100        It   performs the serial or mostly serial computation                                      typical      of a


traditional         uniprocessor          The Host 102 could                    have more complicated                       structure

of course           including     parallelism of various                 sorts     Indeed       a heterogeneous


computing           system combining            multiple      computing               architectures           in   a single


machine        is   a   good use for embodiments                    of the present             invention


             0045             A goal of the Host 102               is    to    have     the   PEA 104          perform massive

amounts        of computation            in   a useful    way           It   does this by causing                  the    PEs to




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perform computations typically on data stored locally                                      in    each     PE in parallel with
one another           If   there are        many PEs much work gets done during each                                    unit of


time

           0046             The PEs         in   the PEA 104            may be able to perform their individual

computations          roughly as fast as the Host 102 performs its computations                                              This


means       it
                 may be inefficient          to   have the Host 102 attempt                       to control the        PEA 104

on a time scale as fine as the Hosts or PEAs minimal time step                                                     This minimal

time in a traditional             digital    design would be the clock                     period             For this reason


the specialized            control unit      CU 106 may be included                        in the       architecture         The

CU 106 has the primary task of retrieving and decoding                                           instructions        from an

instruction        memory which              conceptually          is   part of the    CU 106 and issuing the

partially        decoded     instructions         to   all   the   PEs in the PEA 104 This may be

viewed by the          CU software           as happening               roughly simultaneously for all the                     PEs

though      it   need not literally         be synchronous and                 in   fact    it
                                                                                                  may be effective           to use


an asynchronous              design     in   which multiple instructions                   at different            stages of

completion         simultaneously propagate                    gradually across the PEA for instance                            as a

series of wave         fronts

           0047             In   a design which includes the CU                      106 the Host 102                  typically


will   load the instructions           the program for the PEA 104                               into   the   CU instruction

memory not shown in FIG                          1 then       instruct the     CU 106 to interpret the program

and cause the PEA 104 to compute according                                    to the instructions                  The program

may for example look generally similar to a typical machine language                                                    program

with    instructions        to   cause data movement                     logical operations               arithmetic


operations          etc     in   and between the PEs and other                       instructions             to   do similar

operations         together with control flow operations                       within the           CU 106 Thus the CU

106 may run a typical               sort of       program but with the ability                     to issue massively


parallel     instructions        to the     PEA 104

           0048             In   order to get data into and out of the CU 106 and                                    PEA 104

the    IO Unit 108 may interface                   the CU 106 and PEA 104 with the Host                                102 the

Hosts memory not shown                       in   FIG        1 and      the   systems Peripherals                    110 such as

external         storage    eg       disk    drives          display devices for visualization                      of the




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computational           results    and sometimes special                   high    bandwidth        input devices                eg
vision    sensors          The PEAs           ability   to process data far faster                than    the Host 102


makes      it   useful for the     IOU 108 to be able to completely                         bypass       the    Host 102 for


some of its data          transfers       Also the Host 102 may have                        its   own ways of

communicating            with the    Peripherals          110

          0049             The    particular      embodiment            illustrated    in    FIG 1       is   shown merely

for purposes           of example       and does         not    constitute      a limitation      of the present


invention          For example alternatively               the functions          performed         by the       CU 106

could    instead        be performed          by the Host 102 with the              CU 106 omitted                   The CU

106 could         be implemented          as hardware            distant    from the        PEA 104           eg       off      chip

or the    CU 106 could           be near to the           PEA 104       eg on chip                 IO could          be routed


through the CU 106 with the IOU 108 omitted or through the separate                                                  IO

controller       108 as shown            Furthermore the Host 102                     is   optional the          CU 106 may

include for example a               CPU or otherwise                  include     components         sufficient            to


replace the functions             performed        by the Host          102 The Peripherals 110 shown in

FIG 1      are optional          The design shown                in   FIG 1 could          have    a special         memory

such     as the Goodyear           MPPs staging memory which                               provides an intermediate

level    of local      storage     Such       memory could             for example          be bonded           to    the


LPHDR           chip   using 3D fabrication             technology       to provide relatively            fast       parallel



access to the memory from the PEs                         in    the   PEA 104

          0050             The PEA 104           itself    besides       communicating             with the      CU         106


and IOU 108 and             possibly     other mechanisms has ways for data to                                 move within

the
       array       For example the            PEA 104 may be implemented                          such    that data             may

move from PEs only to their nearest                       neighbors that is there are no long                              distance


transfers         FIGS 2 and        3 show embodiments                   of the    present        invention which                use

this    approach        where     the nearest       neighbors           are the four adjacent                 PEs toward          the


North East             West and South           called     a    NEWS       design          For example           FIG 2

shows      a subset       of the   PEs in PEA 104 namely PE 202 PE 204 PE 206 PE

208 and PE 210              When        the   CU 106           issues data movement                instructions            all   the


PEs access data from               or   send data to their             respective     specified          nearest


neighbor          For instance       every       PE might access             a specified          data value          in   its




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neighbor        to the   West and copy                it   into   its   own     local     storage         In    some

embodiments such as some analog embodiments these                                                       kinds       of transfers                  may

result    in   some degradation               of the value              copied

          0051            FIG 3 shows a PE 302                           that   includes data             connections                   to the


IOU 108          PE 302       is   connected            at the North to           PE 304 at the East to PE 306                                     at



the South to        PE 308 and              at the         West to PE 310                 However          driving         signals from


inside    the    PEA 104 out to the IOU 108                          usually      requires           a physically           relatively


large driving       circuit    or analogous                mechanism              Having         those at every              PE may

absorb much of the available                      resources             of the hardware               implementation


technology        such as VLSI area                         In   addition having                independent           connections


from every        PE to the IOU             108      means many such                      connections           and        long


connections         which          also   may absorb much of the available                               hardware            resources

For these reasons the connections                                between        the     PEs and         the     IOU 108 may be

limited    to those      PEs at       the    edges          of the      PE array 104                 In this   case        to     get data

out of and perhaps                 into   the     PEA 104 the data                   is   read and written at the edges

of the    array and       CU       instructions            are performed             to shift    data between                the          edges

and   interior    of the      PEA 104 The design may permit data                                        to be       pushed from                   the


IOU 108 inward           to   any PE         in   the array using direct                   connections               but    may require

readout to occur by using the CU 106 to shift data to the edges where                                                             it    can be

read by the       IOU 108

          0052            Connections                between            the   CU 106 and PEA 104 have                               analogous

variations        One design may include the ability to drive instructions                                                 into        all   the


PEs roughly simultaneously                        but      another approach                is   to   have      the instructions                    flow


gradually       for instance          shift     in   discrete           time steps across the                   PEA 104 to reach

the   PEs Some SIMD designs which may be implemented                                                      in    embodiments                       of


the present       invention          have       a facility        by which       a   wired or or wired and                                   of the


state of every       PE in the PEA 104                      can be read by the CU 106                          in   approximately

one   instruction        delay time

          0053            There are           many well studied                  variations           on these matters                       in   the


literature      any of which          may be incorporated                       into   embodiments                  of the present


invention        For example an interconnect                              such    as an 8 way             local       interconnect




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may be used The              local        connections          may include a mixture of various                     distance


hops such as distance 4 or 16 as well as distance                                    1 The outside          edges may be

connected        using    any topology such as a torus or twisted torus                                  Instead of or             in




addition    to a local     interconnect                a   more complex         global      interconnect          such    as the


hypercube        design may be used                        Furthermore the physical                  implementation           of


the   PEA 104      eg      a    chip could             be replicated          eg      tiled    on a   circuit     board       to



produce     a larger      PEA        The        replication      may form a simple grid or other

arrangement        just as the            component           PEAs may but need                not    be grids


         0054             FIG 4 shows an example                       design for a           PE 400 which may be

used to implement any one or more of the                               PEs in the PEA              104      The PE 400

stores   local   data      The amount                 of   memory for the local             data    varies significantly


from design to design                It
                                          may depend            on the implementation                 technologies

available    for fabricating         the        PE 400        Sometimes rarely changing values

Constants take            less   room than frequently changing values Registers and                                            a


design     may provide more Constants                         than Registers            For instance         this   may be

the case with digital          embodiments                  that use single         transistor cells for the


Constants    eg          floating         gate Flash         memory cells and               multiple    transistor cells for


the   Registers eg 6            transistor            SRAM cells          Sometimes the situation                   is




reversed as        may be the case in analog embodiments where                                        substantial        area for


capacitance       may be needed                  to ensure       stable long        term storage         of Constants


and such embodiments                  may have more Registers                       than Constants              Typical


storage capacities         might be tens or hundreds                      of arithmetic            values   stored       in   the


Registers     and Constants               in    each       PE but these capacities              are adjustable           by the


designer      Some designs                 for instance          may have           Register       storage but no

Constant storage           Some designs may have                         thousands            or even    many more

values stored       in   each    PE            All   of these variations         may be reflected            in




embodiments         of the      present          invention


         0055             Each    PE needs to operate                    on   its   local   data      For this reason


within the    PE 400 there are data paths 402ai                               routing       mechanisms          such as the

multiplexor      MUX 404 and components                           to perform         some collection            of logical         and

arithmetic    operations         such as the                logic unit   406 and       the     LPHDR arithmetic               unit




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408         The     LPHDR arithmetic                 unit   408 performs                  LPHDR arithmetic                operations as

that term      is    used herein               The input output and                       intermediate           values received

by output by and                 operated          on by the         PE 400 may for example take                               the form         of


electrical     signals        representing               numerical values


             0056            The PE 400              also      may have one or more flag bits shown as

Mask 410            in   FIG 4 The purpose of the Mask 410 is to enable some PEs the

ones    in   which         a specified         Mask bit        is   set to ignore                  some      instructions      issued by


the   CU 106             This allows          some variation            in    the    usual lock step behaviors                       of   all




PEs    in    the    PEA 104              For instance           the   CU 106 may issue an instruction that

causes each              PE to reset or set its Mask 410 depending                                        on whether a specified


Register       in    the    PE     is   positive     or negative             A subsequent                    instruction for instance


an arithmetic            instruction          may include a bit meaning                             that the    instruction      should be


performed           only by those             PEs whose Mask 410                         is   reset        This combination           has


the effect         of conditionally            performing           the arithmetic                 instruction    in    each    PE

depending           on whether the specified                        Register        in   that       PE was positive            As with the

Compare instructions                     of traditional        computers             there are             many possible         design

choices for mechanisms                        to   set   and    clear    Masks

             0057            The operation               of the      PEs      is   controlled             by control signals 412a d

received from the                CU 106 four of which                   are shown                  in    FIG 4 merely for purposes

of example           and     not    limitation           We have        not    shown               details    of this   mechanism               but


the control signals                412a d specify which                 Register or Constant                      memory values                 in




the   PE 400 or one of its neighbors                           to   send to         the data             paths which      operations

should be performed by the Logic                            406       or Arithmetic                408     or other processing


mechanisms where                        the   results     should be stored                    in   the    Registers      how    to set


reset and           use the        Mask 410 and             so on            These matters are well described                             in    the


literature     on        SIMD processors

             0058            Many variations                of this     PE 400 and PEA design                           are possible

and   fall   within the          scope        of the present           invention               Digital       PEs can have        shifters


lookup tables and                  many other mechanisms                           such as described               in   the literature


Analog PEs can have                      time based operators                      filters         comparators          with global


broadcast           signals      and many other mechanisms                               such           as described      in   the




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literature       The   PEA 104 can include global mechanisms                                  such    as wired           OR or
wired   AND for digital PEAs or wired SUM for analog PEAs                                           Again there are

many variations             well described         in   the literature           on digital and analog computing

architectures


         0059               For example            LPHDR operations                  other than andor in addition to

addition    and     multiplication            may be supported                   For example a machine which


can only perform             multiplication        and    the function            1X may be used              to


approximate         addition          and other     arithmetic        operations            Other collections             of


LPHDR operations may be used to approximate LPHDR arithmetic                                                  operations

such as addition multiplication subtraction and division using techniques                                                         that


are wellknown           to those            having ordinary skill           in   the art


         0060               One aspect of embodiments of the present                                invention        that      is




unique     is    the inclusion of LPHDR arithmetic                         mechanisms          in   the   PEs

Embodiments            of such        mechanisms          will   now be described

         0061               One digital embodiment                 of the         LPHDR arithmetic           unit        408

operates        on digital binary representations                          of numbers         In    one   digital


embodiment          these numbers               are represented             by their logarithms             Such         a


representation         is   called a Logarithmic                Number System               LNS which           is       well


understood         by those having ordinary skill                     in   the art


         0062               In   an    LNS numbers             are represented             as a sign and an


exponent There              is   an    implicit   base for the logarithms                  typically 2     when working

with digital      hardware             In   the present embodiment a base of 2                        is   used for

purposes of example                    As a     result a       value say         B   is   represented      by its sign and

a base 2 logarithm say b of its absolute                           value          For numbers         to have


representation         errors of at           most say 1`0 one percent                       the fractional         part of this


logarithm        should be represented                  with   enough        precision that the least possible


change      in   the fraction         corresponds         to about a 1°0             change    in   the value        B       If




fractions       are represented              using 6 bits increasing               or decreasing          the fraction by 1


corresponds         to multiplying or dividing                  B by the 64th root of 2 which                  is




approximately 1011                    This     means that numbers may be represented                                in   the


present embodiment                with a multiplicative            error of approximately                  VA So in this



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example embodiment                             the fraction             part of the representation                            has 6 bits


              0063               Furthermore the space of values                                             processed             in   the present


embodiment                have        high            dynamic range                   To represent numbers whose absolute

value        is   from say one                        billionth   to    one       billion         the integer            part of the logarithm


must be            long   enough               to represent             plus or minus the                         base 2 logarithm                  of   one

billion           That logarithm                 is     about     299            In   the    present embodiment                          the        integer         part


of the       logarithm          representation                    is   5   bits       long       to represent            values from 0 to 31

which        is    sufficient             There also              is   a sign bit           in    the   exponent              Negative              logarithms

are represented                  using           twos complement                       representation


              0064               In       an     LNS the value zero corresponds                                      to the logarithm                     negative


infinity          One can choose                        a representation                to explicitly              represent            this    special


value             However             to minimize resources                            for instance                 area used                 by arithmetic

circuits          the present              embodiment                  represents                 zero by the most negative                           possible


logarithm which                  is       32 corresponding                        to the          twos complement                       bit   representation


100000             000000 and                  denoting a value of approximately 233E10

              0065               When computing                            situations             can arise         in   which          operations

cannot produce reasonable                                    values         An example                  is   when        a   number            is   too       large to


be represented                  in    the      chosen word format such as when                                           multiplying             or adding


two large numbers                         or upon            divide     by zero         or nearly zero One common

approach            to this problem                     is   to allow a value to be                      marked as Not A Number

NAN and to make sure that each operation produces NAN                                                                         if   a problem               arises


or if either of           its   inputs           is     NAN        The present embodiment                                uses this approach as

will   be described                  in   the following


              00661              FIG 5 shows the word format 500                                              for these         numbers               in      the


present embodiment                               It    has one         NAN bit 502a one bit 502b for the sign of the

value and            12    bits       502c e representing                         the logarithm                    The       logarithm          bits       include


a 5    bit    integer      part           502d and            a 6 bit fraction               part       502e To           permit the logarithms

to be negative                  there       is        a sign    bit    502c for the                logarithm         which         is    represented                in




twos complement                       form              The    NAN         bit   is   set    if    some problem                has arisen                in




computing            the value                 The word format 500 shown                                     in   FIG 5 is merely an

example and does                          not constitute               a limitation               of the present             invention               Other




                                                                                                                                                                SINGULAR 00001556
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variations        may be used so long                        as they have        low precision and                       high    dynamic

range

           0067              FIG 6 shows an example                           digital      implementation                 of the        LPHDR

arithmetic        unit     408 for the            representation           illustrated       in      FIG 5 The                 unit   408

receives        two inputs           A 602a and B 602b and                       produces an output                       602c The

inputs     602a b and output 602c                         may for example take                        the form of electrical


signals        representing           numerical           values according                to the       representation                 illustrated



in    FIG 5 as is also true of signals                           transmitted      within         the unit          408 by components

of the     unit   408       The       inputs       602a b and output 602c each                           are composed                   of a


Value and a           NAN Not A Number                           bit    The   unit   408        is    controlled         by control

signals        412a   d coming from                    the   CU 106 that determine                      which           available


arithmetic        operation          will    be performed on the inputs 602a                             b         In   this   embodiment

all   the available         arithmetic            operations           are performed             in    parallel         on the inputs

602a b by addersubtractor 604                                multiplier 606          and        divider       608

Addersubtractor 604                    performs           LPHDR          addition     and subtraction                    multiplier 606


performs        LPHDR multiplication and divider 608 performs LPHDR division

           0068              The desired                result    from among              the    outputs of addersubtractor

604      multiplier 606              and     divider      608      is   chosen by the                multiplexers          MUXes 610a
and 610b             The right hand               MUX 610b sends the desired value to the output 602c
The     left   hand      MUX 610a                sends    the corresponding                 NAN        bit   from the desired


operation         to the    OR gate 612 which                      outputs a set           NAN bit           if    either input         is    NAN

or if the specified           arithmetic               operation        yields   NAN        The computing                      architecture


literature      discusses            many variations               which      may be incorporated                        into    the


embodiment            illustrated           in   FIG 6

           0069              LNS       arithmetic            has the great advantage                     that multiplication


MUL and division DIV are very easy to compute and take few physical
resources         eg        little    area        in   a silicon       implementation                  The        sign of the result              is




the exclusive or of the                     signs of the operands                The        logarithm              part of the output                  is




the    sum      in   the   case of MUL or the difference                             in   the case of DIV                  of the


logarithm         parts of the         operands              The sum or difference                     of the       logarithms can

overflow          producing a           NAN result               Certain      other operations                    also are easy              in   LNS




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arithmetic        For instance square root corresponds                               to dividing                 the logarithm         in



half which       in   our representation              means         simply shifting         it    one        bit   position         to the


right


          0070            Thus        the multiplier 606 and divider 608                              in   FIG 6 are

implemented           as circuits that simply add or subtract their inputs which are twos


complement            binary    numbers which                in    turn   happen      to   be logarithms                       If   there    is




overflow       they output a          1   for   NAN

          0071            Implementing               addition       and    subtraction           in    LNS that is the

addersubtractor 604              in   FIG 6 follows                a common         approach                used     in   the       literature



on    LNS      Consider addition                If   we have two positive numbers B and C

represented        by their logarithms b and                      c the representation                     of the    sum of B and C

is   logB+C An approach                    to computing             this   result that      is    well           known     to those


skilled   in   the art   is    based on noticing              that       logB+C = logB1+CB =

logB+Iog1+CB                   = b+Fcb where                  Fx=Iog1+2x Thus the present
embodiment            computes        c   b feeds          that through         F and adds the result to b using
standard       digital   techniques         known          to those       skilled    in   the art


          0072            Much        of the published              literature      about    LNS is concerned                         with


how to compute           Fx the           special function               for   ADD along with a similar function
for   SUB       Often these two functions                    share circuitry and              this          is   why a single

combined addersubtractor 604                          is   used     in   the embodiment                    of FIG     6 There are

many published ways to compute                             these functions or approximations to them


including      discussions        of how to          do    this    when the values are of low precision                                     Any

such    method or other method may be used                                      Generally speaking the more


appropriate       variations      for massively parallel                   LPHDR arithmetic                       are those that


require the minimal use of resources                              such as circuit area taking advantage                                  of


the fact that the representation                     used     in   the embodiment                of FIG 6            is   low precision

and that       the arithmetic         operations           need not be deterministic nor return the most

accurate possible answer within the low precision representation                                                      Thus

embodiments            of the present           invention         may use circuitry that does not compute

the best possible answer even                        among         the limited      choices available                     in   a low


precision      representation




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           0073               In    order to enable conditional                                  operation        of selected        PEs the

present embodiment                       is   able to reset and set the MASK flag 410 based on results

of computations                    The mechanism                        for doing this                is   that the   CU 106 includes

instructions          that   cause            the        MASK 410               in   each        PE to unconditionally               reset or set


its   flag along       with other instructions                               to perform          basic tests on values               entering          the


MASK 410 on data path                              402f and             to    set the      flag accordingly               Examples          of these


latter   instructions              include copying                      the sign bit or               NAN bit of the word on data                     path

402f     into   the    MASK bit 410                           Another example                    is   to set the      MASK bit 410              if   the 12


bit   value part of the word on data                                    path 402f          is   equal to binary zero                 There are


many additional and                      alternative               ways        for doing          this      that are directly        analogous          to


comparison            instructions                 in   traditional           processors              and which        are well understood


by those        skilled      in    the    art


           0074               It    is   worth noting that while the obvious                                      method of using               the


above      LNS    operations                  is    to    do       LPHDR         arithmetic the programmer also may

consider        selected values                     to    be 12         bit   twos complement                    binary       numbers           MUL

and DIV may be used                       to       add and              subtract          such values           since that      is   precisely


their behavior          in   LNS          implementations                            The Mask              setting    instructions        can


compare these simple binary values                                             So besides doing LPHDR                          computations

this digital     embodiment                   using            LNS       can perform simple binary arithmetic                              on short


signed integers


           0075               Some embodiments                                 of the present                invention    may include analog

representations              and processing methods                                       Such embodiments                    may for example

represent        LPHDR values as charges                                       currents voltages frequencies                              pulse

widths pulse densities various forms of spikes or in other forms not

characteristic          of traditional                  digital         implementations                     There are many such


representations              discussed                   in   the literature              along with mechanisms                     for


processing        values so represented                                      Such     methods               often called Analog            methods

can be used to perform                         LPHDR arithmetic                           in    the broad range of architectures                       we

have discussed               of which               SIMD           is   one example

           0076               An example                      of an analog                SIMD architecture              is   the    SCAMP

design     and related designs                                of   Dudek             In   that design          values have          low dynamic




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range being accurate roughly                    to within             1           Values are represented               by charges

on capacitors         Those      capacitors               typically          are the gates of transistors                Each PE

has several      memory cells            analogous               to the          Registers shown          in   FIG 4      Addition


is   performed   by turning on pass transistors from the two operands which                                                 transfer


their charge onto an analog                bus where                   it   is   summed       by the natural          physics of


charge and wires upon                 which     it    is   gated onto another Register to charge up                               its




capacitor     which    then      represents               the   sum of the operands                     The    detailed


mechanism        disclosed       by Dudek             actually              produces    the negative           of the   sum but
the basic concept         is   as described                and    is     a simple way to perform                 addition    and

subtraction     using analog representations                                and simple processing mechanisms

         0077          Variations         of the           SCAMP design have                    been      fabricated      and used

to perform     a range of low precision                         low dynamic            range computations               related to


image processing               These designs do                  not         perform    high    dynamic range arithmetic

nor do they include mechanisms                            for performing             multiplication       or division     of values


stored   in   Registers         However         the         Dudek            designs    suggest the general              feasibility


of constructing       analog     SIMD machines                           The      following    describes        how     to build an


analog    SIMD machine           that performs                  LPHDR arithmetic and                     is   thus an


embodiment       of the    present        invention


         0078          One embodiment                       of the present             invention        represents      values      as

a mixture of analog and               digital   forms This embodiment                              represents         values as low


precision normalized base 2 floating point                                       numbers where the mantissa                  is   an


analog value and         the    exponent             is    a binary digital            value       The analog value may

be accurate to about            1      following            the approach               of   Dudek       which    is   well within


the range of reasonable               analog processing                          techniques        The exponent may be 6

bits   long or whatever          is   needed          to provide the desired                    high     dynamic       range

         0079          To multiply values                       the    embodiment             proceeds         by analogy to

traditional   floating    point       methods              The    digital         exponents        are   summed         using a


binary   arithmetic      adder        a standard            digital          technique        The analog mantissas are

multiplied     Since they represent                   normalized                 values between           approximately 12

and    1 their product may be as small as approximately 14                                               Such    a product value


needs    to be normalized             back to the range                      12 to 1        This   is   done     in   the present




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embodiment by comparing                       the analog                 mantissa to an analog representation                                             of


12 using a threshold                 circuit       If   the mantissa                  is   below        12 then             it       is   doubled and


one    is   subtracted        from the exponent where such                                       subtraction          is    simple digital

subtraction               Doubling the      mantissa               is   implemented                in   a   way that corresponds                              to


the    chosen analog representation                             For example whatever                                means are being

used to add two analog values                           can be used                  to double          the    mantissa by adding                              it




to a   copy     of itself         For example            if   the       mantissa            is   represented               as a current such


as copy        may be produced              by a current mirror or other suitable                                          mechanism and

addition       may be performed               by a current summing junction


            0080              The means           of multiplying                   the original         analog mantissas                           depends

on the representation                chosen             For example                  if    mantissas          are represented                          using


charge        following       SCAMP then any known                                  method from the                  literature                 may be

used to convert charge to current                               For instance                 since the charge on a capacitor


determines            the voltage     on the capacitor                        this
                                                                                     may be implemented                               as a

conversion            from voltage to current which                            is    a basic technique                    in     analog

electronics           known    to those      skilled          in   the art           In
                                                                                           any case            if   the     mantissas                  are


represented            as currents or once the mantissas                                    are converted to currents they


may be multiplied              using for instance                       the    techniques           of Gilbert                  The Gilbert

multiplier produces               a current        representing                    the     product which                  may             if
                                                                                                                                                necessary

then    be converted              back to charge              or whatever                  representation                  is    used              These

are merely examples of how the needed operations                                                   might be performed                                  The

literature      discusses          these matters extensively                              and these           kinds of analog circuits


are known            to   those   skilled    in   the art


            0081              Adding and subtracting                          values requires                 pre normalization of the

values to the same exponent as                             is   done          in    traditional         digital      floating                  point


arithmetic            The present embodiment                            does       this    by comparing               the        exponents               and

choosing the smaller one                     Then        the smaller one                     is   subtracted              from the larger


using       digital    means        The     difference             specifies              how many times the mantissa

which       corresponds           to the smaller exponent                           needs to be divided                         in    half        If   that


mantissa        is    represented         by or converted                      to a current then an analog R 2R                                           style


ladder       may be used           to divide the current                      in    half the       required          number                    of times




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with the stage of the ladder                            specified           by the difference                 of exponents             calculated


as above          The            resulting       scaled down current                       is   added         to   or subtracted from                    if




this   is   an   LPHDR subtraction                           operation             the current          corresponding             to the


mantissa associated                         with the            larger exponent            to yield the            output mantissa                  The

output exponent associated                                 with the output            mantissa           is   the larger        exponent

Post normalization                         may be needed                  at this    point        If   the    output mantissa             is   greater

than     1 then       it   needs            to be divided              in   half    and    the output          exponent          needs to be

incremented                 If   it   is   less than            12 then       it   needs        to be doubled              enough times to

exceed 12 and                    the       output exponent                  must be decremented                      correspondingly

which       may be performed                      by a series of threshold                        circuits         doubler circuits             and

associated         decrementer                   circuits             These increments and decrements                                  of the


binary      digital        exponent and corresponding                                 doublings              and    halvings      of the analog


mantissa current are straightforward                                        operations           well    known           to those      skilled      in




the art


            0082                   The present embodiment                            represents              the exponent          as a digital


binary      number               Alternate            embodiments                  may represent              the exponent             as an


analog value                 However             it   is   important          that the exponent                    be represented              in




storage and           computation                  in   such          a manner that neither noise nor other errors

cause a change                    in    the value          it
                                                                represents            Such        changes           in   the exponent           could

introduce        factors              of two     or in some embodiments                                larger changes             in   the values


of the      stored      numbers                To maintain accuracy                        of the       exponents an embodiment

may quantize               the exponent                 to relatively          few levels for instance 16 values                                plus a


sign bit         During processing                         slight      variations         in    the    analog representation                   of the


exponent         may then                  be removed             by circuitry        that restores                values      to the    16


standard         quantization                levels             To get sufficient dynamic range                           in   such     an


embodiment                 the        floating    point          numbers may be processed                            as base 4 numbers

rather than the                  usual      base 2 numbers                    This        means for instance                    that normalized


mantissas         are       in     the range            14       to   1     The methods discussed                         above     for addition


subtraction and                   multiplication                apply as described with                       slight     and    straightforward


variations


            0083                   The analog and mixed                         signal         embodiments               discussed        above




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are merely examples                and do not      constitute         a limitation         of the    present invention

The published         literature        on neuromorphic analog and                         mixed signal techniques


provides     a wealth of         methods     that enable             LPHDR storage             and processing                      to be


implemented           Such storage and processing                      may introduce                noise as well as


fabrication      errors into the behavior            of    machines performing                   LPHDR arithmetic

The    results   we   present below on software                      applications           running using fp+noise

arithmetic show that despite these very undigital                                    qualities       a   machine                built    in




this   way is surprisingly useful

         0084           Evidence          that   LPHDR arithmetic               is    useful    in   several          important


practical    computing           applications     will    now     be provided              The evidence               is




presented     for a broad variety of              embodiments            of the present              invention thereby


showing that the usefulness                 does     not    depend much on                 the detailed


implementation


         0085           For the goal of showing usefulness                                we choose            a very general


embodiment         of an     LPHDR machine                 Our model         of the        machine            is   that    it
                                                                                                                                 provides

at least the following            capabilities     1       is   massively     parallel         2 provides LPHDR
arithmetic    possibly       with noise          3 provides           a small     amount        of   memory local                       to



each    arithmetic     unit      4 provides        the arithmeticmemory                      units       in   a    two

dimensional       physical         layout with only local            connections            between            units rather


than   some more powerful                 flexible    or sophisticated               connection           mechanism and

5 provides only          limited        bandwidth        between       the   machine and                 the host          machine

Note    that this   model        is    merely an example             which   is      used for the purpose of


demonstrating         the    utility    of various   embodiments             of the present                   invention            and

does not     constitute       a limitation       of the present         invention            This model includes


among     others      implementations             that are digital or analog                 or mixed              have zero or

more noise have             architectures        which      are      FPGAlike or SIMDlike                          or MIMDlike


or otherwise       meet the assumptions                  of the      model      More general architectures

such    as shared      memory designs CPU like designs                                or other sophisticated


designs     subsume         this      models capabilities and so LPHDR                         arithmetic             in        those

architectures       also    is   useful     While    we are thus showing                    that     LPHDR           arithmetic               is




useful for a broad range of designs                      of which       SIMD         is   only an instance                  for




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purpose of discussion                       below we call each                     unit which pairs memory with


arithmetic a Processing                           Element or          PE
         0086                 Several applications                      are discussed                  below       For each the

discussion     shows              1     that the results               are useful       when            computation          is   performed

in   possibly noisy           LPHDR arithmetic and                            2     that the computation                    can be


physically   laid           out   in   two dimensions with only                        local flow of data                 between units

only limited      memory within each                              unit and only limited data flow tofrom the host


machine      in   such a           way that the computation                           makes            efficient    use of the

machines resources area time power                                                The first requirement is referred                       to as


Accuracy and the second                                    requirement Efficiency                      Applications         that       meet both

requirements running                        in   this model          will   function    well       on many kinds of LPHDR

machines and thus those machines are a broadly                                                useful        invention


         0087                 Applications                  are tested       using two embodiments                         for the


machines arithmetic                         One uses accurate                     floating   point arithmetic               but multiplies


the result of each                arithmetic               operation        by a uniformly chosen random number

between 99 and                    101            In    the following        discussion            this    embodiment              is   denoted


fp+noise          It
                        may represent                       the results produced             by an analog embodiment                         of


the machine


         0088                 A second embodiment                            uses logarithmic               arithmetic        with a value


representation              as shown                  in   FIG 5 The arithmetic                   is   repeatable that is not


noisy but because of the short fraction size it                                       produces errors of up to

approximately               12         in    each operation                  In   the following           discussion          this



embodiment             is   denoted              Ins         It
                                                                  may represent         the results produced                      by a


particular   digital         embodiment                     of the   machine

         0089                 To demonstrate                      usefulness         of embodiments                     of the invention         we

shall discuss          three computational                         tasks that are enabled by embodiments                                  of the


invention    and which                 in    turn enable            a variety of practical applications                            Two of the

tasks are related to finding nearest neighbors                                        and the other                is   related to


processing        visual          information                 We shall describe the tasks note their practical

application and then demonstrate                                    that    each     task    is    solvable         using the general

model described               above and thus solvable using embodiments                                                 of the present




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invention


                                               Application                 1 Finding Nearest Neighbors

           0090                Given a large set of vectors                                      called        Examples and               a given


vector     called        Test         the      nearest           neighbor           problem          NN               is   to find the      Example

which    is   closest to Test                  where        the distance                metric            is   the   square of the Euclidean

distance       sum of squares of distances                                       between           respective              components

           0091                NN        is    a widely          useful computation                            One use is for data

compression where                        it   is   called        vector           quantization                  In this     application          we have

a set of relatively            long           vectors       in    a     code book these                         are the Examples                  and

associated          short      code words for instance                                 the       index of the vector                 in   the   code

book       We move through a sequence of vectors to be compressed and for each
such    vector          Test find the                nearest vector                    in    the   code         book and output                 the


corresponding             code word                  This reduces the sequence                                      of vectors       to the     shorter


sequence           of   code words                  Because                the    code words do not completely                              specify     the


original      sequence          of vectors              this       is      a lossy form             of data          compression                Among

other applications                  it
                                         may be used in speech                               compression               and     in   the    MPEG

standards


           0092                Another application                          of    NN    would be               in    determining          whether


snippets       of video occur                  in   a large video                 database                 Here we might              abstract


frames of video from the snippet                                  into          feature       vectors           using known           methods such

as color histograms scale invariant feature                                               extraction etc                   The Examples would

be analogous             feature              vectors extracted from the video database                                              We would like
to   know whether any vector from the snippet was close to any vector from the

database which                 NN        can help us decide


           0093                In     many applications                          of nearest         neighbor               we would prefer to

find   the true         nearest neighbor                    but       it   is    acceptable          if    we sometimes find another

neighbor       that      is   only       slightly     farther              away or          if   we almost always find the true

nearest       neighbor              Thus           an approximate                   solution         to the nearest                 neighbor

problem       is   useful especially                   if   it   can be computed                          especially         quickly or at low


power      or with        some other advantage compared                                            to an exact solution


           0094                We shall now show that approximate                                                nearest neighbor                is




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computable            using embodiments                               of the present             invention          in   a    way that meets the

criteria   of Accuracy                  and            Efficiency


           0095                   Algorithm                The        following          describes       an algorithm                   which         may be

performed        by machines                           implemented           according             to   embodiments                     of the    present

invention        such as by executing                             software          including           instructions               for performing            the


algorithm        The            inputs to the algorithm                       are a set of Examples and a Test vector

The    algorithm            seeks to find the                     nearest          or almost            nearest Example                     to    the      Test

           0096                   In   the         simplest version of the algorithm                                  the      number        of


Examples may be no                            larger than the                number         of   PEs and each vector must be

short   enough             to   fit    within a single                 PEs memory                  The Examples are placed                                 into



the    memories associated                              with the       PEs so that one Example                                is   placed        in   each

PE      Given a Test the Test                              is   passed through               all   the    PEs            in   turn       Accompanying

the Test as          it
                           passes through                       the    PEs is the distance from the Test                                  to the nearest


Example found so far along                                  with information                that indicates                what PE and thus

what Example                    yielded            that nearest          Example found so far                             Each PE computes

the distance              between             the Test           and    the    Example             stored      in     that         PEs memory and

then    passes along the Test together with either the distance                                                               and       indicator         that


was passed                into this           PE if       the    distance          computed by this PE exceeded                                   the


distance        passed            into        the      PE or the distance this PE computed along with
information          indicating               this       PEs Example                is   the nearest           so far if            the distance


computed by this PE                           is   less than the             distance        passed           into       the       PE Thus the
algorithm       is    doing a simple minimization operation                                             as the Test                is   passed through

the set of      PEs When                       the       Test and        associated              information             leave the last PE the


output     is   a representation                        of which        PE and Example was closest                                       to the       Test

along with the distance                            between            that   Example and                the    Test

           0097                   In   a      more efficient             variant of this algorithm                            the Test      is    first




passed along                for example                   the top        row then every column                            passes the Test and

associated           information                   downward             effectively         doing a search                    in    parallel      with other


columns and once                        the        information          reaches the bottom                     it
                                                                                                                    passes across the

bottom row computing                               a   minimum distance                   Example         of    all      the       columns

processed        so far as               it
                                               passes across                 the    row      This       means that the time required




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to process         the Test          is   proportional         to the greater of the                number of PEs in a row

or column


             0098             An enhancement                   of this algorithm         proceeds          as above but


computes and passes along                          information          indicating      both    the nearest and the


second nearest Example found so far When                                        this information            exits the array of


PEs the digital processor                     that    is      hosting the     PE array computes                in high

precision the distance                     between the Test and the two Examples                              indicated       by the

PE array and the nearer of the two is output                                    as the   likely     nearest neighbor            to the


Test

             0099             Accuracy          We expressed the arithmetic                         performed        by the

enhanced           algorithm         described            above as code          in   the C programming language


That code computes                    both    nearest neighbors which are discussed                              here along

with weighted            scores which are discussed                         below

             0100              The C code performs the same set of arithmetic                                   operations          in



the    same order using the same methods                                 of performing         arithmetic       as an actual


implementation                of the present          invention such as one implemented                           in    hardware

It   thus yields the same results as the enhanced                                    algorithm would yield when


running on an implementation                         of the present             invention           How the algorithm               is




organized          to run efficiently          on such an implementation                       is   discussed        below     in   the


section      on Efficiency

             0101              In   particular       when computing               the distance            between the Test

and each       Example               the   code uses Kahans method discussed                                 below      to perform


the possibly long              summation           required           to form the      sum of the squares              of the


distances          between vector components                           of the Test     and Example

             0102              The C code contains                    several    implementations             for arithmetic              as


discussed          above            When compiled              with    Vdefine fp the arithmetic                is   done using

IEEE standard             floating         point     If   a   command         line    argument       is    passed      in   to enable


noisy arithmetic then random noise                               is   added     to the result of every calculation


This    is   the   fp+noise form of arithmetic                           When        compiled without Itdefine                fp the

arithmetic         is   done using low precision                      logarithmic      arithmetic         with a 6 bit      base 2

fraction       This      is   the Ins form of arithmetic




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           0103           When          the       code was run              it
                                                                                 produced      traces    showing the results

of the    computations          it    performed                These traces shown below show that                             with


certain    command         line       arguments            the       enhanced        algorithm       yielded      certain     results


for    LPHDR nearest neighbor                       calculations                 These   results    provide details showing

the usefulness       of this          approach             We shall discuss the results briefly here

           0104           The        first       results are for fp+noise                   Ten     distinct     runs were


performed         Each     run        generated            one       million random         Example           vectors    of length


five    where each        component                 of   each vector was drawn from                          N01the
Gaussian        normal distribution                      with   mean zero and             standard           deviation   1     Each

run then generated           one hundred Test                         vectors      of length five        where each

component         of each     vector             also    was drawn from               N01          For each       Test    the


nearest     neighbor was computed                          both       according       to the    enhanced          algorithm     above

and according        to the          standard        nearest          neighbor        method using             high   precision


floating    point arithmetic                 A count was              kept of the number of times the enhanced


algorithm       yielded   the        same result as the standard                         floating    point      method        The

results    were as follows



           Yo   aout 5 10 1000000                        100    1


           Representation              is    Floating       Point with noise

           Run 1 On 100 tests 1001000             081 mean score error       matches and
           Run 2 On 100 tests 1001000             084 mean score error       matches and
           Run 3 On 100 tests 1001000 matches and 098 mean score error
           Run 4 On 100 tests 1001000 matches and 081 mean score error
           Run 5 On 100 tests 1001000 matches and 094 mean score error
           Run 6 On 100 tests 1001000 matches and 082 mean score error
           Run 7 On 100 tests 1001000 matches and 078 mean score error
           Run 8 On 100 tests 1001000 matches and 086 mean score error
           Run 9 On 100 tests 1001000 matches and 085 mean score error
           Run 10 On 100 tests 99990 matches and 086 mean score error

           Average percentage                     of time       LPHDR with final DP correction finds
           nearest example                   =   9990
           Average score              error between                 LPHDR and DP = 085


           0105           The        mean score error values are considered                                     below    in   the


discussion       of weighted            scores            The matches                information        is   relevant    here

           0106           Of the         ten      runs     only       one had any test             of the 100 tests


performed which            yielded               a nearest          neighbor       different   from what the usual high




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precision      method yielded            Thus     the average         percentage      of    matches between

the    enhanced     algorithm        running with fp+noise              arithmetic     and    the    usual method


was    999
          01071        A similar computation               was then performed              using    Ins    arithmetic


In this   case    the results    were


          °A   aout 5 10 1000000             100 0

          Representation        is   LNS    without       noise

          Run 1 On 100 tests 1001000             015 mean score error
                                                                matches and
          Run 2 On 100 tests 1001000 matches and 007 mean score error
          Run 3 On 100 tests 1001000 matches and 008 mean score error
          Run 4 On 100 tests 1001000 matches and 009 mean score error
          Run 5 On 100 tests 1001000 matches and 011 mean score error
          Run 6 On 100 tests 1001000 matches and 016 mean score error
          Run 7 On 100 tests 1001000 matches and 007 mean score error
          Run 8 On 100 tests 1001000 matches and 013 mean score error
          Run 9 On 100 tests 99990 matches and 017 mean score error
          Run 10 On 100 tests 98980 matches and 016 mean score error

          Average percentage             of time    LPHDR with final DP correction finds
          nearest example            =   9970
          Average score         error between         LPHDR and DP = 012


          0108         The average percentage                   of   matches was       997          slightly    worse

than for fp+noise


          0109         The accuracy shown by the enhanced                          nearest neighbor


algorithm       using two forms of LPHDR arithmetic                     is   surprising      To perform many

calculations      sequentially       with   1°0   error and       yet produce      a final    result with less


than    1°0    error may   seem counter intuitive                 Nonetheless         the   LPHDR arithmetic

proves effective        and   the accuracy         shown        is   high    enough   to be useful        in




applications      for which     approximate         nearest neighbor            calculations        are useful




                                                            5
          0110         As an extreme case                 a variant of fp+noise         was tested         in   which

the noise varied       uniformly from         +10 to                   Thus each       arithmetic      operation


produced        a result that   was between          10 too large and 5 too small The
enhanced nearest neighbor algorithm as described                               above       was performed where

each    run    generated      100000 Example vectors                    The    surprising     results     below

show that even        with this extreme           level   of imprecise         noisy and      non zero mean

LPHDR         arithmetic useful results can be achieved




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Run     1 On 100 tests 97970                     matches
Run    2 On 100 tests 1001000                       matches
Run    3 On 100 tests 1001000                       matches
Run    4 On 100 tests 98980                      matches
Run 5 On 100 tests 98980                         matches
Run 6 On 100 tests 99990                         matches
Run 7 On 100 tests 99990                         matches
Run 8 On 100 tests 99990                         matches
Run 9 On 100 tests 99990                         matches
Run 10 On 100 tests               99990 matches
Average percentage               of time   LPHDR with final DP correction finds nearest
example        =   9880

             0111          Efficiency      In   contrast       to the surprising Accuracy                           results        it   is



clear to those         having ordinary skill        in    the art that the calculations                        of the    enhanced

nearest neighbor           algorithm can be performed                  efficiently    in        the computing                     model

presented where the arithmeticmemory                             units are connected                 in    a two

dimensional         physical     layout using only local communication                               between           PEs

However         this   does not address the matter of keeping the machine busy doing

useful       work using only low bandwidth                    to the host   machine

             0112         When     computing       the nearest          neighbor to a single Test the Test

flows across        all   the   PEs in the array As discussed above                             if   the array is an MxM


grid    it   takes at least      0M steps        for the Test to pass through                        the       machine and

return       results to the     host   During this time the machine                  performs                   0MxM
nearest neighbor           distance     computations             but since the       machine                   is   capable of

performing         0MxM calculations at each step a factor of 0M                                          is    lost


             0113         This   speedup compared                   to a serial   machine                 of a factor             of    0M
is   significant    and useful         However       the efficiency         can be even higher                          If




sufficiently       many Test      vectors say       0M           or more are to be processed                             then they

can be streamed            into the    machine and made to flow through                              in   a pipelined

fashion                    0M Tests remains 0M the same as a
               The time to process                                                                                     for          single


Test but now the machine performs 0M x 0MxM distance computations and

thus within a constant factor the full               computing           capacity of the machine                             is   used

             0114         Thus     the machine           is   especially    efficient      if   it   is   processing                at


least as       many Test vectors        as the square root of the number of PEs                                        There are




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applications       that   fit    well   into this form such as pattern                          recognition       or compression

of many      independent           Tests     eg blocks                of an   image             parts of a file        price


histories of independent                 stocks as well as the problem                           of finding       the nearest


neighbor to every Example                   in    the set of Examples                  This        is   in    contrast to the


general     view    among those having                      ordinary skill      in   the art as discussed                     above

that   machines      with very           many arithmetic              processing           elements on a single chip or

similar are not very useful


                                        Application          2 Distance Weighted Scoring

          0115            A task related to Nearest                     Neighbor           is   Distance Weighted


Scoring      In   this    task each         Example has an associated                            Score          This   is   a number

that in   some way characterizes                      the Example             For instance               if   the Examples are


abstractions       of the history of prices of a given stock the Scores                                          might be

historical   probabilities          of whether             the price    is   about to increase or decrease

Given a Test vector the task                     is   to form a weighted              sum of the Scores                     of all   the


Examples where the weights are a diminishing function                                             of the distance             from the


Test to the respective              Examples                For example         this   weighted               score might be

taken     as a prediction of the future price of the stock                             whose            history is represented


by the Test        This use of embodiments                       of the invention                might help support for

instance high speed trading of stocks as                               is    performed           by certain quantitative

hedge funds despite                the general              view by those having ordinary skill                        in    the art

that low precision              computation           is   not of use in financial               applications

          0116            The      C code described               above computes                   weighted scores along

with    nearest neighbors                The scores assigned                  to Examples               in this   computation

are random numbers drawn                     uniformly from the range                       01 The weight                     for each


Example      in   this computation               is   defined to be the unnormalized weight for the


Example      divided      by the sum of the unnormalized weights for all                                         Examples

where the unnormalized weight                              for each   Example         is    defined to be the reciprocal


of the    sum of one plus the squared                         distance from the Example to the Test vector


As discussed        above          the code performs a number of runs each                                       producing           many

Examples and Tests and compares                                results of traditional              floating      point


computations        with results           calculated          using fp+noise          and         Ins arithmetic




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           0117         Looking             again at the trace results of running the simulation

above      we see that for fp+noise                     the    LPHDR weighted                   scores on average                  were

within     85      of the correct           value and           never were as much as 1°0 different                                 For Ins


arithmetic     the   errors were even                   smaller averaging just                      12 error
           0118         These             results are surprising             given that computing                      an overall


weighted score involves                    summing            the individual        weighted scores associated                        with


each     Example       Since each                run    was processing              1000000               Examples           this   means

that the     sums were over one                   million small positive                 values           The naive          method    of


summing one          million small values                     with errors of about              1°0       in   each   addition      should


yield results that approximate                         noise     However        the       code           performs     its   sums using

a long     known     method invented by Kahan                         Kahan              William          January      1965
Further remarks on reducing truncation                              errors Communications                             of the    ACM 8

1 40         The method makes                     it   feasible    to perform            long       sums such          as are done

for Distance       Weighted Scores                     or as might be used                in    computational               finance

when computing           prices of derivative                   securities     using Monte Carlo methods or for

performing      deconvolution               in   image processing algorithms as will be discussed

next


           0119         The          Efficiency         of this algorithm           is   similar to that of            NN as
discussed      earlier        If
                                   many Test vectors                are processed                   at   once the machine

performs      especially           efficiently


                                   Application           3 Removing           motion blur in images


           0120          In    order to gather sufficient                   light    to form             an image camera

shutters     are often    left
                                         open for long enough            that       camera motion can cause

blurring      This can happen as a result of camera shake                                           in   inexpensive         consumer

cameras as well as with very expensive                              but fast        moving cameras mounted on

satellites    or aircraft           If   the motion path           of the    camera            is    known       or can       be


computed        then the blur can be substantially                          removed using various                           deblurring


algorithms         One such              algorithm       is   the Richardson             Lucy method              RC           and we

show here that embodiments                         of the      present      invention           can run that algorithm                and

produce      useful results                Following the discussion                 format above                 we discuss

criteria   of Accuracy             and     Efficiency




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           0121                   Algorithm           The Richardson Lucy algorithm                             is   well    known            and

widely available                   Assume that an image has been blurred                                      using a known              kernel

In   particular          assume           that the kernel         is   a straight         line     and that the image has

been    oriented            so that the blur has occurred                          purely    in    a horizontal            direction


Consider the particular                      kernel for which the Jth pixel in                          each row of the blurred

image      is        the uniformly weighted                mean of pixels J through                          J+31     in   the original


unblurred             image

           0122                   Accuracy            We implemented                 in   the C programming language                                a


straightforward               version of the            RL method         that       uses     LPHDR arithmetic                         The

program reads a test image                             blurs it   using the kernel discussed                          above            then

deblurs         it
                     using either fp+noise                or Ins arithmetic                The RL algorithm computes

sums such as when convolving                               the kernel with the current approximation                                      of the


deblurred             image        Our implementation                  computes           these         sums using the Kahan

method discussed                        earlier    FIG 7 shows the test image in original form                                           It   is   a

satellite       picture of a building                 used during Barack                  Obamas inauguration FIG 8

shows the image extremely blurred by the kernel                                              It   is   difficult     to    see any

particular           objects       in this    image        FIG 9 shows the result of deblurring                                   using

standard floating                 point arithmetic            FIG 10 shows the result of deblurring                                      using


fp+noise             arithmetic and           FIG11 shows the result                       of deblurring             using Ins

arithmetic             In   all   these cases the image                 is   sufficiently              restored that         it   is   possible


to recognize             buildings streets parking lots and                               cars

           0123                   In    addition      to displaying      the images herein for judgement using


the   human eye we computed                             a numerical          measure              of deblurring            performance

We computed the mean difference over                                     all       pixels in the         image between each

original     pixel value                a gray scale value from 0 to 255 and the corresponding
value   in      the     image reconstructed                 by the      RL method Those                        numerical               measures

are shown              below       in   Table     1

                              Image type                                                    Mean         s   mei error

                              Blurred                                                       320
                              RL using standard               floating       point          130
                              RL using fp+noise                                             138
                              RL using Ins                                                  148
                                                                   Table       1




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         0124           These     results together             with the subjective            but important


judgements made by the human eye show that                               LPHDR arithmetic                  provides a

substantial    and    useful     degree       of deblurring         compared      to standard           floating    point


arithmetic     Further      in this   example we chose an extreme degree                               of blurring        to


better   convey the concept and                   visual impact of the deblurring               using      LPHDR

arithmetic     On more gentle and                  typical   blur kernels        the resulting         deblurred


images are much closer            to the originals than in this              case as can be seen by

shrinking    the kernel length and running the                      RL algorithm with LPHDR                   arithmetic


on those more typical cases

         0125           Efficiency      It    is   clear to those with ordinary skill                 in   the art that

Richardson Lucy using a local kernel performs only                            local      computational


operations      An image to be deblurred can be loaded into the PE array storing

one or more pixels per PE the deconvolution                           operation         of RL    can then be

iterated    dozens or hundreds          of times and              the deblurred         image can be read back

to the host processor            As long as sufficient              iterations    are performed this makes

efficient   use of the machine

         0126           An extreme form of image deblurring                        is   the    Iterative



Reconstruction       method used in computational                      tomography              Reconstructing          3D

volumes from 2D           projections        is   an extremely computational                  task     The method

discussed     above generalizes naturally                    to Iterative   Reconstruction             and makes

efficient   use of the machine




         0127           Among      the advantages              of   embodiments          of the invention          are one


or more of the following


         0128           PEs implemented               according       to certain        embodiments           of the


present     invention     may be relatively           small for PEs that can              do arithmetic            This


means that there are many PEs per unit of resource                               eg       transistor        area

volume       which   in   turn   means that there is a large amount                       of arithmetic


computational        power per unit of resource                     This enables        larger problems to           be

solved with a given amount              of resource           than does traditional             computer designs

For instance a digital embodiment                     of the present        invention         built   as a large silicon




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chip    fabricated           with current         state of the       art      technology       might perform tens of

thousand            of arithmetic          operations         per cycle as opposed                  to hundreds             in   a


conventional               GPU      or a handful        in   a conventional           multicore           CPU         These      ratios


reflect      an architectural              advantage         of   embodiments            of the present               invention that


should persist as fabrication                      technology         continues         to   improve even as we reach

nanotechnology                   or other implementations                  for digital    and analog computing

             0129                Doing     arithmetic        with few resources              generally           means and             in   the


embodiments                 shown        specifically        means that the arithmetic                    is   done using low

power             As a result        a    machine implemented                  in   accordance            with   embodiments                of


the present              invention        can have      extremely high              performance           with        reasonable


power for instance                   in   the    tens of watts or low power for instance a fraction of a


watt with reasonably                      high   performance             This       means that such embodiments

may be suitable for the full                      range of computing from supercomputers through

desktops down                 to mobile          computing           Similarly and           since cost          is   generally


associated               with the    amount        of available       resources embodiments                           of the     present

invention          may provide            a relatively        high   amount         of computing           power per unit of

cost    compared             to    conventional       computing            devices


             0130                The SIMD architecture                is   rather old        and     is   frequently         discarded


as an approach                to    computer       design by those having                    ordinary skill           in   the   art


However             if   the processing           elements        of a   SIMD machine                can be       made

particularly             small while       retaining     important functionality                   such        as general

arithmetic          ability       the architecture           can be useful            The embodiments                      presented

herein        have        precisely       those qualities


             0131                The discovery          that massive            amounts        of    LPHDR            arithmetic       is




useful as a fairly               general computing                framework as opposed                     to the      common          belief


that    it   is   not     useful can be an advantage                     in
                                                                              any massively               or   non massively

parallel          machine design            or non parallel design                   not just   in   SIMD embodiments                        It




could        be used        in    FPGAs FPAAs GPUSIMT                           machines MIMD machines and                                  in




any kind           of    machine      that uses      compact          arithmetic        processing             elements to


perform           large     amounts        of computation            using a small           amount        of resources              like


transistors or volume




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          0132           Another advantage               of embodiments           of the present        invention        is




that they are not        merely useful for performing                   computations        efficiently    in   general

but    that they can      be used        to   tackle   a variety      of real world       problems which         are


typically   assumed        to require high precision                 computing        elements even though

such    embodiments            include only       or predominantly              low precision       computing

elements       Although several examples                     of such     real   world problems have been

presented      herein and although               we have        also had     success       implementing          non

bonded      force field    computations           for molecular         dynamics         simulation    and other

tasks these are merely examples                        and do not       constitute      an exhaustive      set of the


real   world problems          that      embodiments           of the present         invention   may be used to

solve


          0133           The embodiments                disclosed       above are merely examples and do

not    constitute   limitations of the present                 invention        Rather embodiments              of the


present     invention     may be implemented                   in   a variety of other      ways    such as the


following

          0134           For example embodiments                       of the present       invention     may

represent     values      in
                               any of a variety         of   ways      such as by using digital or analog


representations such             as fixed point logarithmic or floating point representations


voltages currents charges                     pulse width pulse density frequency                     probability


spikes timing or combinations                    thereof        These     underlying       representations           may

be used     individually       or   in   combination         to represent       the    LPHDR      values        LPHDR

arithmetic    circuits    may be implemented                   in   any of a variety      of ways     such      as by


using various       digital    methods which may be                    parallel   or serial pipelined           or   not or

analog methods or combinations                     thereof          Arithmetic    elements        may be connected

using various connection                 architectures         such as nearest          4 nearest 8 hops of
varying     degree and         architectures           which    may or may not be rectangular                   or grid


like    Any method may be used for communication                                among     arithmetic      elements

such    as parallel or serial digital or analog                      or mixed    mode communication

Arithmetic     elements        may operate         synchronously           or asynchronously              and may

operate globally simultaneously or not                         Arithmetic       elements     may be

implemented         for example on a single                  physical     device such as a silicon chip                  or




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spread across multiple devices and                      an embodiment          built    from multiple devices


may have       its   arithmetic    elements        connected        in   a variety     of ways          including        for


example being connected               as a grid torus hypercube                   tree or other             method

Arithmetic     elements      may be connected              to   a host     machine        if
                                                                                               any in a variety              of


ways     depending        on the cost and          bandwidth        and other requirements                   of a


particular    embodiment           For example there              may be many host machines

connected      to the collection       of arithmetic        elements

         0135           Although      certain      embodiments            of the present          invention are


described      as being     implemented           as a    SIMD architecture             this     is   merely an


example and does           not constitute         a limitation      of the present         invention          For


example embodiments                of the present         invention       may be implemented                  as


reconfigurable        architectures         such       as but not limited to programmable                     logic


devices      field   programmable         analog arrays or field             programmable                  gate array

architectures such          as a design       in   which       existing    multiplier blocks of an                 FPGA are

replaced with or supplemented                 by LPHDR arithmetic               elements              of any of the kinds


disclosed     herein or for example               in   which    LPHDR elements                 are included         in   a   new

or existing    reconfigurable        device design              As another example embodiments                               of


the present      invention    may be implemented                  as a    GPU    or SIMTstyle               architecture


which    incorporates       LPHDR arithmetic              elements of any of the kinds disclosed


herein    For example            LPHDR elements             could        supplement      or replace          traditional



arithmetic     elements     in    current    or   new     graphics       processing      unit     designs           As yet

another example embodiments                       of the present         invention     may be implemented                      as


a   MIMDstyle        architecture     which       incorporates       LPHDR arithmetic                  elements          of any


of the   kinds disclosed         herein      For example           LPHDR arithmetic                   elements      could


supplement        or replace traditional           arithmetic     elements       in    current        or   new MIMD

computing       system designs          As yet another example embodiments                                  of the


present   invention       may be implemented               as any kind of machine including a


massively      parallel   machine which                uses compact arithmetic                 processing       elements

to provide large        amounts      of arithmetic        computing         capability         using a small amount

of resources         for example transistors or area or volume                          compared            with


traditional    architectures




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            0136         Although       certain      embodiments         of the present         invention are


described      herein as executing           software       this   is   merely an example and                 does    not


constitute     a limitation      of the present        invention        Alternatively     for example


embodiments           of the    present    invention      may be implemented              using microcode             or a


hardware       sequencer        or state    machine       or other controller         to control        LPHDR

arithmetic     elements        of    any of the   kinds   disclosed       herein      Alternatively           for


example embodiments                   of the present      invention      may be implemented               using

hardwired burned or otherwise                     preprogrammed           controllers      to    control      LPHDR

arithmetic     elements        of    any of the   kinds   disclosed       herein


            0137         Although       certain      embodiments         of the present         invention are


described      herein as being          implemented        using custom        silicon     as the hardware

this   is   merely an example           and does      not constitute       a limitation        of the   present

invention       Alternatively         for example       embodiments          of the    present        invention      may

be implemented           using       FPGA or other reconfigurable             chips as the underlying

hardware        in   which     the   FPGAs or other reconfigurable              chips are configured                 to


perform the          LPHDR operations          disclosed        herein    As another example

embodiments           of the    present    invention      may be implemented              using any


programmable           conventional        digital   or analog computing           architecture          including

those which          use high precision computing               elements      including         those which         use

other kinds      of   nonLPHDR hardware                to perform        LPHDR arithmetic and                  including


those which          are massively parallel which               has been     programmed               with software        to


perform the          LPHDR operations          disclosed        herein    For example embodiments                         of


the present      invention       may be implemented              using a software         emulator of the


functions      disclosed       herein


            0138         As yet another example embodiments                        of the       present invention


may be implemented               using    3D fabrication        technologies whether based on                       silicon



chips or otherwise             Some example embodiments                   are those       in   which     a    memory

chip   has been        bonded onto a processor              or other device        chip   or     in   which    several


memory andor            processor       or other device         chips have     been bonded              to each     other

in   a stack     3D embodiments            of the present        invention    are very useful as they                 may

be denser than          2D embodiments and may enable 3D communication                                    of




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                                                                                                                     SINGULAR 00001578
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information            between    the processing          units which          enables        more algorithms to              run


efficiently       on those embodiments             compared            to   2D embodiments

             0139           Although    certain    embodiments                 of the present         invention are


described          herein as being      implemented              using      silicon   chip    fabrication      technology

this   is   merely an example           and does          not constitute         a limitation        of the    present

invention          Alternatively      for example          embodiments             of the     present      invention         may

be implemented              using technologies            that   may enable other sorts of traditional

digital     and analog computing             processors           or other devices             Examples         of such


technologies            include    various   nanomechanical                 and nanoelectronic             technologies


chemistry          based technologies          such       as for DNA computing nanowire                         and

nanotube          based technologies           optical      technologies              mechanical       technologies


biological        technologies and other technologies                        whether      based on         transistors or


not    that are capable           of implementing          LPHDR architectures                 of the kinds disclosed


herein


             0140           Certain   embodiments            of the      present       invention       have been

described          as massively       parallel embodiments                     Although        certain     embodiments

of the      present invention         may include thousands                    millions or      more       arithmetic


units embodiments                 of the present      invention         may include any number of

arithmetic         units   as few as one          For example even                    an embodiment            which

includes         only a single      LPHDR unit may be used within a serial processing                                      unit or


other device           to provide    a significant        amount       of    LPHDR processing                 power     in   a


small inexpensive                processor   or other       device

             0141           For certain embodiments                   of the   present invention              even    if




implemented             using only digital techniques the arithmetic                         operations        may not

yield deterministic              repeatable or the most accurate possible                            results within the


chosen low precision representation                         For instance          on certain specific            input


values an arithmetic               operation    may produce a result which                      is   not   the nearest


value       in   the   chosen     representation      to   the true arithmetic               result


             0142           The degree       of precision         of a      low precision        high      dynamic          range

arithmetic         element       may vary from implementation                   to implementation                For


example           in   certain   embodiments          a   LPHDR arithmetic              element produces                   results




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                                                                                                                             SINGULAR 00001579
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which include fractions that is values greater than zero and less than one                                            For


example       in   certain          embodiments a        LPHDR arithmetic              element produces            results


which are sometimes or all of the time no closer than                                  005 to the correct result
that is the absolute                 value of the difference         between the produced              result   and the

correct     result      is   no more than one twentieth              of one percent          of the absolute       value


of the correct          result        As another example            a   LPHDR arithmetic            element     may

produce      results which are               sometimes or all        of the        time no closer than        01      to


the correct result              As another example a               LPHDR arithmetic            element       may

produce      results which are               sometimes or al of the time no closer than                       02      to


the correct result              As yet another example a LPHDR                        arithmetic    element     may

produce      results which are               sometimes or all        of the        time no closer than        05      to


the correct result As yet further examples                          a   LPHDR arithmetic            element     may

produce      results which are               sometimes or all        of the        time no closer than        1     or


2 5    or          or    10 or 20              to the correct      result


            0143              Besides having various            possible degrees of precision

implementations               may vary in the dynamic              range of the space of values they

process       For example               in   certain   embodiments a LPHDR                   arithmetic   element


processes        values        in   a space which       may range approximately from one millionth

to    one   million          As another example          in   certain    embodiments a LPHDR                   arithmetic


element processes                   values    in   a space which     may range approximately from one

billionth    to one billion            As yet another example                in   certain   embodiments a

LPHDR arithmetic                element processes             values    in   a space which        may range

approximately from one sixty five thousandth                            to sixty five       thousand      As yet

further     examples           in   certain    embodiments a LPHDR                   arithmetic     element


processes        values        in   a space which       may range from any specific                 value between


zero and one sixty five thousandth                      up to any specific value greater than sixty five

thousand         As yet further examples other embodiments                               may process         values   in



spaces      with   dynamic           ranges that       may combine and may fall between                      the prior


examples         for example           ranging from approximately one                   billionth   to ten    million      In



all   of these     example embodiments                  of the present            invention as well as in other


embodiments the values                       that   we are discussing may be signed                  so that the




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above       descriptions          characterize          the absolute        values     of the     numbers being

discussed

            0144                The frequency           with which       LPHDR       arithmetic        elements                 may yield

only approximations                 to correct        results    may vary from implementation                          to


implementation                  For example consider an embodiment                           in   which      LPHDR

arithmetic     elements            can perform one or more operations                        perhaps including                             for


example        trigonometric             functions and for each                operation      the      LPHDR elements

each accept           a set of inputs           drawn from a range of valid values and                                for each


specific     set of input values                the   LPHDR elements             each     produce one or more


output values          for example simultaneously computing                                both sin and cos of an


input and        the output values                produced        for a specific       set of inputs         may be

deterministic or            non deterministic              In   such    an example embodiment consider

further a fraction              F of the   valid inputs         and    a relative error amount               E by which                    the


result     calculated           by an    LPHDR element may differ from the mathematically

correct     result         In   certain    embodiments            of the     present      invention         for each             LPHDR

arithmetic     element            for at least        one operation         that the      LPHDR unit             is   capable of


performing for at least fraction                       F of the possible valid inputs to that operation for


at least     one output           signal    produced          by that operation the           statistical             mean over

repeated       execution of the numerical                       values      represented      by that output signal of

the    LPHDR unit when executing that operation                                on each      of those         respective


inputs      differs    by at least E from the result of an exact mathematical                                         calculation                of


the operation          on those          same input values where                 F is 1°0 and          E    is   005                  In



several      other example embodiments                          F is not     1   but      instead      is   one       of   2          or


5      or   10        or   20       or    50 For each             of these      example embodiments each

with   some specific              value for      F there are other example embodiments                                     in   which        E

is   not   005 but instead                 is   01       or   02       or   05       or   1 2 5   or             or              or    10
or    20 These              varied      embodiments             are merely examples               and do not               constitute


limitations of the present                 invention


            0145                For certain devices             such    as computers         or processors                  or other


devices embodied according                            the present      invention     the    number          of    LPHDR

arithmetic     elements            in   the device       eg computer             or processor           or other            device




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                                                                                                                                       SINGULAR 00001581
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exceeds       the       number           possibly       zero of arithmetic                   elements           in   the device               which


are designed            to perform             high   dynamic        range arithmetic                 of traditional              precision


that is floating             point arithmetic            with a      word        length of 32 or                more bits               If    NL is

the total    number           of    LPHDR elements                  in   such      a device          and        NH     is   the    total



number      of elements             in    the    device which             are designed             to perform               high   dynamic

range arithmetic              of traditional           precision then             NL exceeds               TNH where TO                          is




some function                Any of a variety            of functions            may be used as the function                                   TO
For example             in   certain          embodiments            TNH may be twenty plus three times NH
and   the   number            of   LPHDR         arithmetic         elements            in   the device              may exceed twenty

more than        three times the                number        of arithmetic             elements           in    the   device            if
                                                                                                                                              any

designed      to perform            high        dynamic range                 arithmetic       of traditional           precision                As

another example                in   certain       embodiments                  the     number        of    LPHDR            arithmetic


elements      in     the device           may exceed fifty more than                          five   times the number of


arithmetic       elements           in    the device         if
                                                                   any designed               to perform             high    dynamic range

arithmetic       of traditional               precision      As yet another example                             in   certain


embodiments              the       number        of    LPHDR arithmetic                     elements       in    the device             may

exceed one hundred more than                             five      times the number of arithmetic                             elements                in




the   device       if
                        any designed              to perform          high       dynamic range                  arithmetic         of


traditional      precision           As yet another example                            in   certain    embodiments                      the


number      of   LPHDR             arithmetic          elements          in   the device        may exceed one thousand

more than        five    times the number of arithmetic                                elements       in    the       device       if
                                                                                                                                         any

designed      to perform            high        dynamic range                 arithmetic       of traditional           precision                As

yet another        example               in   certain   embodiments                    the   number         of       LPHDR arithmetic

elements      in     the device           may exceed five thousand more than five times the

number      of arithmetic            elements           in   the device           if
                                                                                       any designed                  to perform               high


dynamic range                arithmetic         of traditional        precision              Certain       embodiments                       of the


present     invention          may be implemented                        within a single             physical          device           such         as

but   not   limited      to a silicon           chip    or a chip         stack        or a chip      package           or a circuit


board and         the    number NL of LPHDR elements                                    in   the physical             device and the

number NH            of elements               designed      to perform           high       dynamic range                  arithmetic               of


traditional      precision          in   the physical             device       may be the total counts of the




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respective    elements within that physical device                         Certain          embodiments           of the


present     invention      may be implemented                 in    a computing        system       including        more

than one physical device                  such     as but not limited to a collection                   of silicon     chips or


chip    stacks or chip packages or circuit boards coupled                              to   and communicating

with each     other using any             means such          as a     bus switch any kind of network

connection      or other      means of communication                      and    in   this   case the number                 NL

of   LPHDR    elements        in   the     computing        system and the number                  NH     of elements


designed     to perform       high       dynamic range             arithmetic   of traditional           precision      in   the


computing      system       may be the total counts of the respective                         elements           within      all




those physical devices jointly


          0146            Certain    embodiments              of the   present        invention     may constitute                 or


may be part of           processors which                are devices capable           of executing          software to


perform     computations            Such      processors           may include mechanisms                   for storing


software for using the software                     to determine       what operations             to    perform       for


performing     those operations for storing numerical                           data    for modifying            data


according     to the software             specified       operations and for communicating                        with


devices connected           to the processor                Processors      may be reconfigurable                    devices

such     as without       limitation field          programmable         arrays        Processors           may be co

processors     to   assist    host machines or may be capable of operating


independently        of an external          host         Processors     may be formed              as a collection            of


component      host processors               and co processors            of various         types such as CPUs

GPUs FPGAs or other processors                            or other devices        which       in   the art may be


referred    to as a heterogeneous                  processor        design or heterogeneous                  computing


system some or all           of which        components             might incorporate the               same or distinct

varieties    of embodiments               of the    present    invention


          0147            Embodiments              of the present       invention       may however               be


implemented         in   devices     in    addition       to or other than processors                   For example a


computer      including      a processor            and other components               such        as    memory coupled

to the   processor by a data               path         wherein the     processor       includes         components            for


performing     LPHDR operations                    in
                                                        any of the ways disclosed             herein        is   an example

of an    embodiment         of the present              invention     More generally any device                    or




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combination      of devices         whether or not        falling     within the           meaning    of a


processor which              performs     the functions         disclosed        herein      may constitute             an


example       of an   embodiment          of the present        invention


        0148            More generally any of the techniques described                                above           may be

implemented           for example        in   hardware software             tangibly        stored   on a computer


readable      medium      firmware        or    any combination            thereof         The techniques

described      above    may be implemented                in   one or more computer                  programs

executing on a programmable computer                           including       a processor         a storage           medium

readable      by the processor           including for example                 volatile     and nonvolatile

memory andor           storage elements             at least     one    input device           and   at   least       one

output device          Program code may be               applied      to input entered           using the            input


device to perform the functions described                       and   to generate           output     The output

may be provided         to   one    or   more output devices

        0149            Each     computer program               within the      scope        of the claims below


may be implemented             in   any programming             language such as assembly language

machine language             a highlevel         procedural      programming               language       or an object


oriented      programming        language          The programming               language        may for example
be a compiled or interpreted                  programming        language

        0150            Each     such computer           program       may be implemented                    in   a


computer program product                 tangibly    embodied         in   a   machinereadable storage

device for execution          by a computer          processor         Method steps             of the invention


may be performed             by a computer         processor       executing           a   program    tangibly


embodied on       a    computer readable medium                   to perform           functions     of the invention


by operating      on input and generating                output Suitable           processors         include by way

of example       both   general and            special   purpose microprocessors Generally the


processor      receives      instructions       and data from a readonly memory andor                                  a


random access memory                 Storage devices suitable                   for tangibly     embodying

computer program             instructions       include for example              all   forms of nonvolatile


memory such           as semiconductor            memory devices               including       EPROM EEPROM
and   flash   memory devices             magnetic        disks such        as internal hard disks and

removable       disks    magneto optical disks and                  CDROMs                  Any of the foregoing




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may be supplemented          by or incorporated         in specially designed   ASICs

application specific      integrated    circuits   or   FPGAs Field Programmable Gate

Arrays     A computer       can generally    also receive    programs and data from a

storage    medium such as an       internal disk    not shown       or a removable     disk These


elements    will   also be found   in   a conventional    desktop   or workstation   computer    as


well as other computers        suitable   for executing     computer programs implementing

the   methods described       herein which     may be used in conjunction       with   any digital

print   engine or marking engine display monitor or other raster output device

capable of producing        color or gray scale pixels on      paper   film display screen      or


other output       medium




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                                                          Claims



1 A device       comprising

        at least      one     first   low precision       high dynamic          range     LPHDR execution unit
adapted to execute a              first   operation      on a first    input signal       representing     a first

numerical    value to produce a                first   output signal representing            a second numerical


value

                     wherein      the dynamic          range of the possible valid inputs to the first

        operation        is   at least as wide as from 165000 through                        65000 and          for at


        least    X=5 of the possible valid inputs to the                         first   operation the statistical


        mean over repeated                   execution of the first operation              on each     specific      input


        from the at least             X    of the possible           valid inputs to the     first   operation of

        the numerical            values represented             by the first output signal of the LPHDR

        unit executing           the first     operation       on   that input differs by at least        Y=05
        from the result of an exact mathematical                          calculation      of the first   operation

        on the numerical values                  of that   same input and

        at least      one     first   computing        device       adapted to control the operation             of the


at least   one   first   LPHDR execution                unit




2 The method of claim 1 wherein the at least one first computing                                     device

comprises at least one of a central processing                           unit   CPU a graphics processing
unit   GPU       programmable gate array
                 a   field                       a microcode based     FPGA
processor a hardware sequencer and a state machine


3 The device of claim 2 wherein the number of LPHDR execution                                         units in the

device exceeds           by at least one hundred the non negative                         integer    number of
execution    units in the device             adapted       to execute      at least the operation          of

multiplication       on floating       point    numbers        that are at least 32 bits        wide


4 The device of claim 3 wherein X=10

5 The device of claim 3 wherein Y=2

6 The device of claim 3 wherein X=10 and Y=2




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7 The device        of claim        3 wherein the dynamic              range of the possible valid inputs
to the first    operation     is    at least as wide        as from 11000000              through       1000000

8 The device of claim 3 wherein the first operation                            is   multiplication



9 A device comprising
         at least   one     first   low precision        high dynamic       range       LPHDR execution unit
adapted    to    execute a      first    operation      on a first    input signal      representing     a first

numerical      value to produce a             first   output signal representing           a second numerical


value

                  wherein          the   dynamic range         of the possible         valid inputs to the     first




         operation     is   at least as wide as from 165000                     through    65000 and          for at


         least   X=5 of the possible valid inputs to the                       first   operation the statistical

         mean over repeated                 execution of the first operation             on each     specific      input


         from the at least          X      of the possible         valid inputs to the first      operation of

         the numerical         values represented              by the first output signal of the LPHDR

         unit executing        the first operation          on     that input differs by at least        Y=05
         from the result of an exact mathematical                       calculation      of the first   operation

         on the numerical values                of that   same input and

                  wherein          the at least one first          LPHDR execution         unit comprises at


         least   one   of a chemistrytechnology based                      execution      unit a biological


         technology based                execution     unit a      DNA technology based            execution       unit


         a nanomechanicaltechnologybased                             execution      unit a nanoelectronic


         technologybased                 execution     unit a      nanowiretechnologybased               execution


         unit a    nanotubetechnologybased                         execution    unit    and an optical

         technology     based            execution     unit




10 The device of claim 9 wherein                      the number of LPHDR execution                  units in the

device   exceeds       by at least one hundred the non negative                         integer   number of
execution      units in the device          adapted       to execute      at least the operation         of

multiplication     on floating        point    numbers        that are at least 32 bits       wide


11 The device        of claim        10 wherein         X=10

12 The device of claim 10 wherein                       Y=2


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13 The device of claim 10 wherein                    X=10 and Y=2

14 The device of claim 10 wherein                    the dynamic        range of the possible valid
inputs to the first      operation      is    at least as wide       as from   11000000            through
1000000

15 The device of claim 10 wherein                    the first     operation   is   multiplication



16 A device comprising

        a   plurality    of components           comprising

                  at least   one      first    low precision       high dynamic      range   LPHDR
        execution        unit adapted          to execute     a first operation      on a first    input signal


        representing        a first   numerical         value to produce       a first output      signal


        representing        a second numerical               value

                            wherein          the dynamic         range of the possible valid inputs to the

                 first   operation       is    at least as wide as from        165000 through 65000

                  and for at least            X=5 of the possible valid inputs to the                first



                 operation the           statistical     mean over repeated execution                 of the first


                 operation       on each         specific    input from the at least       X       of the


                  possible valid inputs to the first operation of the numerical                              values


                  represented         by the first output signal of the              LPHDR unit executing

                 the first operation            on that     input differs by at least      Y=05 from the
                  result of an exact mathematical                   calculation     of the first   operation        on

                  the numerical          values of that          same input



17 The device of claim 16 wherein                    the    plurality   of components        are arranged           in   a

stack




18 The device of claim 17 wherein                    the number of LPHDR execution                   units in the

device exceeds          by at least     one hundred the non negative                  integer number          of

execution     units in the device             adapted    to execute     at least the operation         of

multiplication    on floating     point        numbers      that are at least       32 bits wide


19 The device of claim 18 wherein                    X=10

20 The device       of claim     18 wherein          Y=2


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21 The device of claim 18 wherein                       X=10 and Y=2

22 The device of claim 18 wherein                       the   dynamic range of the possible            valid

inputs to the first     operation        is   at least as wide as from          11000000        through
1000000

23 The device of claim 18 wherein                       the first operation     is    multiplication




24 The device of claim 16 wherein the plurality of components                                are bonded




25 The device of claim 16 wherein the plurality of components                                are arranged         in   a

stack and     bonded



26 A device comprising              a computer           processor       and a computer readable            memory

storing   computer       program        instructions          wherein the computer         program

instructions      are executable         by the processor              to emulate    a second device


comprising

          at least   one   first   low precision         high dynamic        range     LPH DR execution           unit


adapted     to    execute a    first   operation        on a first     input signal    representing    a first

numerical     value to produce a              first   output signal representing          a second numerical


value

          wherein     the dynamic         range of the possible valid inputs to the first

operation    is   at least as wide as from               165000 through 65000 and for at least

X=5 of the possible valid inputs to the                       first   operation the statistical    mean over

repeated     execution of the first operation                  on each     specific    input from the at least


X   of the possible        valid    inputs to the first            operation of the numerical         values


represented        by the first output signal of the                  LPHDR unit executing      the first


operation    on that     input differs by at least             Y=05 from the result of an exact
mathematical         calculation       of the first     operation       on the numerical values        of that


same input and

          wherein     the at least one first            LPH DR execution        unit comprises at least           one

of a chemistrytechnology               based          execution       unit a biological technology based


execution     unit a    DNA technology based                   execution     unit a    nanomechanical




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technology based            execution             unit a nanoelectronictechnologybased                         execution


unit a    nanowiretechnologybased                        execution unit a nanotubetechnologybased


execution       unit and an optical technology based                         execution           unit




27 The device of claim 26 wherein the number of LPHDR execution                                                units in the

second device exceeds by at least one hundred the non negative integer number
of execution units in the second device adapted to execute at least the operation

of multiplication         on floating        point    numbers         that are at least      32    bits   wide


28 The device of claim 27 wherein                         X=10°0


29 The device of claim 27 wherein                         Y=2
30 The device of claim 27 wherein                         X=10 and Y=2

31 The device of claim 27 wherein                         the dynamic        range of the possible valid
inputs to the first        operation         is    at least as wide       as from   11000000                through
1000000

32 The device of claim 27 wherein                         the first operation       is    multiplication




33 A device comprising                    a computer       processor       and a computer readable                    memory

storing   computer         program          instructions         wherein the computer              program

instructions      are executable             by the processor            to emulate      a second device


comprising

          a   plurality    of components              comprising

                    at least      one      first   low precision        high dynamic        range       LPH DR
          execution        unit adapted            to execute     a first operation        on a first       input signal


          representing        a   first    numerical       value to produce         a    first    output signal


          representing        a second numerical                 value

                              wherein             the dynamic         range of the possible valid inputs to the

                   first   operation          is   at least as wide as from         165000 through 65000

                    and for at least               X=5 of the possible valid inputs to the                    first



                   operation the              statistical   mean over repeated execution                       of the first


                   operation         on each          specific    input from the at least               X   of the


                    possible       valid      inputs to the first        operation of the numerical                   values




                                                                 55




                                                                                                                         SINGULAR 00001590
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                 represented          by the   first    output signal of the            LPHDR unit executing

                 the first   operation        on that input differs           by   at   least    Y=05 from the
                 result of an exact mathematical                      calculation       of the   first    operation      on

                 the numerical         values of that             same input



34 The device       of claim    33 wherein             the plurality     of components            are arranged           in    a


stack




35 The device       of claim    34 wherein             the   number      of   LPHDR execution               units   in   the

second device exceeds by at least one hundred                            the non negative                integer   number
of execution units in the second device adapted                          to execute        at least the operation

of multiplication       on floating    point   numbers            that are at least 32 bits wide



36 The device       of claim    35 wherein X=10`0

37 The device       of claim    35 wherein             Y=2
38 The device       of claim    35 wherein             X=10 and Y=2

39 The device       of claim    35 wherein             the   dynamic range          of the possible valid

inputs to the   first    operation     is   at least as wide as from               11000000              through
1000000

40 The device       of claim    35 wherein             the   first   operation     is   multiplication




41 The device       of claim    33 wherein             the plurality     of components            are bonded




42 The device       of claim    33 wherein             the plurality     of components            are arranged           in    a


stack   and bonded




                                                             56




                                                                                                                      SINGULAR 00001591
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                                                    Abstract




A processor      or other device such as a programmable andor massively                          parallel


processor or other device             includes      processing     elements designed       to perform


arithmetic   operations          possibly but not necessarily          including for example one or

more of addition        multiplication subtraction            and division on numerical values of

low precision     but high dynamic           range    LPHDR arithmetic             Such    a processor          or

other device      may for example be implemented                    on a single chip      Whether or not

implemented       on a single chip the number                of   LPHDR arithmetic       elements    in   the


processor or other device            in   certain   embodiments       of the present     invention


significantly    exceeds     eg by         at least   20 more than three times the number of

arithmetic   elements       if
                                 any in the processor         or other device which are designed

to perform      high   dynamic      range arithmetic        of traditional   precision   such   as 32     bit



or 64 bit floating      point arithmetic




                                                       57




                                                                                                          SINGULAR 00001592
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                                                                                100




                                                        104




               106




     Control                                 Processing       Element
    Unit   CU                                     Array   PEA




                     108


                                                         1
                              InputOutput Unit   IOU


                                  102                                   110




                           Host                        Peripherals




                                   FIG   1




                                                                              SINGULAR 00001593
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                                                         104




                                FIG 2




                                                                SINGULAR 00001594
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                                  304




                          PE
                        NORTH

               310                 302              306




          PE                                  PE
                          PE
        WEST                                 EAST




                          PE
                        SOUTH




                           308


                                         V
                                 To IO Unit 108




                                  FIG 3




                                                                SINGULAR 00001595
                                                                                                                                     400




                                                                                                        W




                                                         TO
                                                               NEIGHBORS


                                                                                              FROM
                                                                                           NEIGHBORS
                                                   402b                                                              402c
                                                                                                            402a
CONTROL            412a
SIGNALS



                                                                                                 +if
                                                         402d




                                                   it
                                                                                                  MUX
          412b
                                                                                                               404




          412c




                                                              V
                                                                                                              402e
          412d            REGISTERS                                                                                         CONSTANTS
                                                                     LOGIC          LPHDR ARITH
                                                                                                        I



                                                                     UNIT           L      UNIT




              11

          1
                                             406
                                                                                                        408




                                                        402g                              402f

                                      402i
                                                                             MASK
                                                                                                                             t


                                                                                                                                    402h
                                                                                    410




                                      IT


                                 UN
                                                                                                                              I0




                            IO
                                                                                                                                   UNIT
                                                                                                                                           Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 424 of 436




                                                                      4

                                                               FIG
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                                                     502e
500




                                FRACTION
                                           PORTION
                          FP




                                                     502d
                 VALUE




                                                                  5
                                           PORTION
                                INTEGER




                          IP
                                                                  FIG
                                                     502c
                                           SIGN




                          ES     EXP
                                                     502b
                                VALUE
                                           SIGN




                          VS
                                                     502a




                                 A
                                       NUMBER




                          NAN

                                NOT
       Case 1:19-cv-12551-FDS Document 494-5 Filed 05/19/23 Page 426 of 436



       408




602b




                                       608
                VALUE
        INPUT




         B




                                                                    610b
                NAN           DIV




                                                     V
                                                             MUX




                                                                                                       602c
                                      606




                                                                    610a




                                                                                                VALUE
                                                                                                                       6




                                                                                                              OUTPUT
                              +
                              MUL                                                                                      FIG

                                                             MUX
                                                                                                 NAN




                                       604
602a




                             ADDSUB
                VALUE
        INPUT




                                                                           612




         A
                NAN
                                            412a




                                                                            CONTROL
                                                                                      SIGNALS
                                                          412c
                                                   412b



                                                                   412d
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                                                 NIL




                                FIG 7




                                                                SINGULAR 00001599
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                                         =am
                                         man




W                                                 MEM




                                FIG 8




                                                                SINGULAR 00001600
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                      att




                                FIG 9




                                                                SINGULAR 00001601
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                             mvm




                               FIG 10




                                                                SINGULAR 00001602
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s      6                                             A




                                   FIG 11




                                                                    SINGULAR 00001603
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                                         Electronic Patent Application             Fee Transmittal


Application      Number


Filing Date




Title of Invention                                             Processing   with   Compact Arithmetic   Processing    Element




First   Named InventorApplicant               Name             Joseph   Bates




Filer                                                          Robert PlotkinKaren     Del Greco




Attorney Docket      Number                                    A0006 1001C2



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Claims



                            Claims in excess of 20                          2202               22                40                 880




                  Independent         Claims in Excess of 3                 2201               2                210                 420




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Patent Appeals and Interference




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                         EFS ID                          15340277




                 Application   Number                    13849606




        International   Application      Number


                Confirmation      Number                 6059




                  Title of   Invention                   Processing    with   Compact Arithmetic          Processing          Element




      First   Named InventorApplicant         Name       Joseph     Bates




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                                                                                                                                         217009

                                      Specification                                  Specificationpdf                                                                           no              57

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                                                  and the application
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the application




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